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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND


  STATE OF COLORADO, et al.,

                         Plaintiffs,     C.A. No.

        v.

  U.S. DEPARTMENT OF HEALTH AND
  HUMAN SERVICES, et al.,

                         Defendants.
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                       DECLARATION OF TEESHA R. KIRSCHBAUM

                I, Teesha R. Kirschbaum, declare as follows:

        1.      I am a resident of the State of Washington. I am over the age of 18 and have

 personal knowledge of all the facts stated herein, except to those matters stated upon information

 and belief; as to those matters, I believe them to be true. If called as a witness, I could and would

 testify competently to the matters set forth below.

        2.      I am currently employed by the Washington State Health Care Authority (HCA) as

 the Director of the Division of Behavioral Health and Recovery (DBHR).

        3.      The goals of DBHR are to support the delivery of a public behavioral health system

 that provides effective, accessible, and fiscally responsible mental health and addiction treatment

 as a public safety net.

        4.      As Director of DBHR, I am responsible for administering the publicly funded

 behavioral health system in Washington State as the Mental Health Commissioner and Substance

 use Disorder Single State Authority.

        5.      After the COVID pandemic placed an enormous strain on Washington’s behavioral

 healthcare system, Congress took action to address this increased and currently ongoing need. The

 American Rescue Plan Act of 2021 (ARPA), signed by President Biden on March 11, 2021,

 directed the U.S. Department of Health and Human Services (HHS), Substance Abuse and Mental

 Health Services Administration (SAMHSA) to provide additional funds to support states through

 Block Grants to address the effects of the COVID -19 pandemic for Americans with mental illness

 and substance use disorders. ARPA allocated $1.5 billion each for Mental Health Block Grant

 (MHBG) and Substance Abuse Prevention and Treatment Block (SABG) grants to the states.

 Congress allocated funding to the states to spend through September 30, 2025.



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            6.   SAMHSA awarded HCA with four of these grants. However, on March 24, 2025,

 HCA received terminations for all four awards from SAMHSA–effective immediately. The total

 value of the remaining available fund balance of the terminated awards was over 30 million dollars.

 All terminations were based on the end of the COVID pandemic, rather than failure of the Division

 to follow the terms or conditions of the grants. Each award termination uses the same language

 stating,

                 The termination of this award is for cause. The block grant provisions at 42
                 U.S.C. §300x-55 permit termination if the state “has materially failed to
                 comply with the agreements or other conditions required for the receipt of
                 a grant under the program involved.” The end of the pandemic provides
                 cause to terminate COVID-related grants and cooperative agreements.
                 These grants and cooperative agreements were issued for a limited purpose:
                 to ameliorate the effects of the pandemic. Now that the pandemic is over,
                 the grants and cooperative agreements are no longer necessary as their
                 limited purpose has run out.

 Descriptions of each award and the effects of these terminations follow.

 Substance Abuse Prevention and Treatment Block Grant

            7.   In 2021, SAMHSA invited applications for Substance Abuse Prevention and

 Treatment Block Grant (SABG) under the American Rescue Plan Act of 2021 (ARPA).

            8.   States are required to plan for, expend, and report on the FY 21 SABG ARPA

 Supplemental Funding based on 42 U.S.C. Chapter 6A, Subchapter XVII, Part B, Subpart II: Block

 Grants for Prevention and Treatment of Substance Abuse, and 45 CFR, Part 96, Subpart L.

            9.   As set out in its grant proposal, HCA intended to expend not less than twenty

 percent (20%) of their total allocation for substance use disorder primary prevention services for

 individuals who do not require treatment for substance abuse, in accordance with 42 USC 300x–

 22 and 45 CFR 96.124 and 96.125.




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           10.   In 2021, HCA received notice of award (NOA) for the SABG in the amount of

 $30,586,435 with an award period beginning September 1, 2021 and ending September 30, 2025.

 A true and correct copy of this notice is attached as Exhibit A.

           11.   In 2020, SAMHSA issued a document entitled “Certification and Assurances/Letter

 Designating Signatory Authority [SA],” setting forth the terms and conditions of the SABG grant

 award. A true and correct copy of this document is attached as Exhibit B. Neither the NOA nor the

 Certification and Assurances provided any process whereby HHS could unilaterally issue

 retroactive termination of an award already made to the State for use of these funds.

           12.   Since September 2021, HCA has used the SABG funds in a manner fully consistent

 with HHS’s statements regarding the nature of the grant and HCA’s grant application. This

 includes various evidence-based services and supports for individuals, families, and communities.

 Integral to the SABG are its efforts to support health equity through its priority focus on the

 provision of substance use disorder prevention, treatment, and recovery support services to

 identified underserved populations. These underserved and marginalized populations include, but

 are not limited to, pregnant women and women with dependent children; persons who inject drugs;

 persons using opioids and/or stimulant drugs associated with drug overdoses; persons at risk for

 HIV, TB, and Hepatitis; persons experiencing homelessness; persons involved in the justice

 system; persons involved in the child welfare system; Black, Indigenous, and People of Color

 (BIPOC); LGBTQ individuals; rural populations; Tribal Governments, and other underserved

 groups.

           13.   Nevertheless, on March 24, 2025, HCA received an email from SAMHSA,

 purporting to terminate the grant effective March 24, 2025. A true and correct copy of the grant

 award termination email is attached as Exhibit C. On March 28, 2025, HCA received another email



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 termination notice from SAMHSA. This notice “superseded” the prior notice but the effective date

 remained the same. A true and correct copy of the grant award termination email is attached as

 Exhibit D.

 Block Grants for Community Mental Health Services

        14.     In 2021, SAMHSA invited applications for Community Mental Health Services

 Block Grants (MHBG) under the American Rescue Plan Act of 2021 (ARPA).

        15.     States must spend the MHBG funds based on 42 U.S.C. Chapter 6A, Subchapter

 XVII, Part B, Subpart I: Block Grants for Community Mental Health Services for adults with

 Serious Mental Illness and children with Serious Emotional Disturbances. The MHBG allocation

 requires states to set aside ten percent (10%) of their total allocation for first-episode psychosis or

 early serious mental illness programs.

        16.     As set out in its grant proposal, HCA intended to support community mental health

 services for adults with Serious Mental Illness (SMI) and children with Serious Emotional

 Disturbances (SED). Focus on support of a behavioral health crisis continuum is encouraged. An

 effective statewide crisis system affords equal access to crisis supports that meet needs anytime,

 anyplace, and for anyone. This includes those living in remote areas and underserved communities

 as well as youth, older adults, persons of diverse backgrounds, and other marginalized populations;

 the crisis service continuum will need to be able to equally and adeptly serve everyone.

        17.     In 2021, HCA received notice of award (NOA) for the MHBG in the amount of

 $33,202,279 with an award period beginning September 1, 2021 and ending September 30, 2025.

 A true and correct copy of this notice is attached as Exhibit E.

        18.     In 2020, SAMHSA issued a document entitled “Certification and Assurances/Letter

 Designating Signatory Authority [MH],” setting forth the terms and conditions of the MHBG grant



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 award. A true and correct copy of this document is attached as Exhibit F. Neither the NOA nor the

 Certification and Assurances provided any process whereby HHS could unilaterally issue

 retroactive termination of an award already made to the State for use of these funds.

        19.     Since September 2021, HCA has used the MHBG funds in a manner fully

 consistent with HHS’s statements regarding the nature of the grant and HCA’s grant application.

        20.     Nevertheless, on March 24, 2025, HCA received an email from SAMHSA,

 purporting to terminate the grant effective March 24, 2025. A true and correct copy of the grant

 award termination email is attached as Exhibit G. On March 28, 2025, HCA received another email

 termination notice from SAMHSA. This notice “superseded” the prior notice but the effective date

 remained the same. A true and correct copy of the grant award termination email is attached as

 Exhibit H.

 Mental Health and Substance Abuse Block Grants–COVID Mitigation

        21.     In 2021, SAMHSA invited applications for SABG-COVID Mitigation and MHBG-

 COVID Mitigation under the American Rescue Plan Act of 2021 (ARPA).

        22.     As set out in its grant proposal, HCA intended to use the SABG-COVID Mitigation

 and MHBG-COVID Mitigation awards to address the following: People with mental illness and

 substance use disorder are more likely to have co-morbid physical health issues like diabetes,

 cardiovascular disease, and obesity. Such chronic illnesses are associated with higher instances of

 contracting COVID-19 as well as higher risk of death or a poor outcome from an episode of

 COVID-19. To address this concern, SAMHSA invested $2,218,856 in Washington state to

 expand dedicated testing and mitigation resources for people with mental health and substance use

 disorders.




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          23.   In 2021, HCA received notice of award (NOA) for the MHBG-COVID Mitigation

 in the amount of $1,142,613 with an award period beginning September 1, 2021 and ending

 September 30, 2025. A true and correct copy of this notice is attached as Exhibit I. The terms and

 conditions for this award are set forth in Certification and Assurances attached as Exhibit F.

 Neither the NOA nor the Certification and Assurances provided any process whereby HHS could

 unilaterally issue retroactive termination of an award already made to the State for use of these

 funds.

          24.   In 2021, HCA also received the SABG-COVID Mitigation award, in the amount of

 $1,076,243 with an award period beginning September 1, 2021, and ending September 30, 2025.

 A true and correct copy of this notice is attached as Exhibit J. The terms and conditions for this

 award are set forth in Exhibit B. Neither the NOA nor the Certification and Assurances provided

 any process whereby HHS could unilaterally issue retroactive termination of an award already

 made to the State for use of these funds.

          25.   Since September 2021, HCA has used the MHBG-COVID Mitigation and SABG-

 COVID Mitigation funds in a manner fully consistent with HHS’s statements regarding the nature

 of the grant and HCA’s grant application.

          26.   Nevertheless, on March 24, 2025, HCA received emails from SAMHSA,

 purporting to terminate these grant effective March 24, 2025. True and correct copies of these

 grant award termination emails are attached as Exhibits K and L. On March 28, 2025, HCA

 received additional email termination notices from SAMHSA. These notices “superseded” the

 prior notices but the effective date remained the same. A true and correct copy of these grant award

 termination emails are attached as Exhibit M and N.

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 These Federal Funds Support Washington’s Behavioral Healthcare System

        27.     The above federal awards fund our regional Behavioral Health Administrative

 Service Organizations (BH-ASO) through direct contracts with community behavioral health

 agencies and 16 federally recognized tribal governments in the state of Washington. This funding

 is supporting low-income non-Medicaid individuals with serious mental illnesses and substance

 use disorders, populations disproportionately impacted by the pandemic. While the funds were

 appropriated in direct federal response to COVID-19, it’s important to note the grants support a

 broad range of providers and services intended to help some of Washington’s most vulnerable

 populations.

        28.        HCA received the funding in 2021 and began contracting with our regional

 BH-ASOs and with a large volume of community behavioral health agencies to deliver behavioral

 health services with the funding from these awards. HCA has worked in partnership with these

 contractors to ensure funding is utilized to its fullest extent to meet unmet behavioral health needs

 of Washington’s population that resulted from the COVID-19 pandemic.

        29.     The contracting impacts of the federal termination are significant because HCA’s

 research has shown that this would impact approximately 200 contracts with subgrantees, many of

 which require that HCA give 15 days’ notice for termination, yet SAMHSA has terminated the

 grants effective immediately. This is unprecedented.

 The COVID Pandemic Created a Behavioral Health Crisis That is Far From Over

        30.        As a result of the COVID-19 pandemic Washington experienced an increased

 need for behavioral health crisis services to support individuals and families experiencing a

 behavioral health crisis. This need is ongoing. Funding supports 24/7 crisis hotlines that would be




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 called in a crisis, mobile crisis response teams that would provide outreach, and crisis stabilization

 services to support people as their crisis resolves and help them engage with ongoing care.

        31.        HCA utilized funding to prioritize meeting the behavioral health needs for low-

 income non-Medicaid individuals as they were destabilized financially from the COVID-19

 pandemic to ensure they were able to access the outpatient fundamental behavioral health services

 to help meet those increased needs.

        32.        Children and youth experienced some of the highest behavioral health impacts

 from the COVID-19 pandemic and that need has not returned to the pre-pandemic baselines. HCA

 utilized this funding to support children, youth, and their families as they navigated new and

 continuing serious behavioral health challenges including ensuring prevention, school-based, and

 treatment services.

        33.        Substance use disorder increased significantly as a result of the COVID-19

 pandemic. HCA used this funding for essential prevention support for community prevention and

 wellness initiatives to ensure healthier Washington communities. As well as services and support

 for people experiencing addiction, naloxone to prevent overdose, and recovery and housing to help

 people regain their lives.

 These Terminations Cost Washington Over 30 Million in Behavioral Health Care Funds

        34.     As of March 24, 2025, Washington stands to lose over 30 million dollars in funds

 already obligated to provide behavioral health care services. SABG has a remaining committed

 balance of $12,928,561.36, MHBG has a remaining committed balance of $17,645,116.06, SABG-

 COVID Mitigation has a remaining committed balance of $763,394.71 and MHBG-COVID

 Mitigation has a remaining committed balance of $1,136,501.14.




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         35.     Funding for these awards would have been used to provide payment for services

  provided for low income, non-Medicaid programs and treatment services for individuals with, or

  at risk of substance use disorder and individuals diagnosed with serious emotional disturbances or

  serious mental illness.

         36.     The next scheduled disbursement was set for April 9, 2025 for all four awards.

  Although the termination emails informed HCA that it would be able to draw funds for costs up to

  March 24, 2025, that has not been HCA’s experience. Normally, upon initiating a draw from PMS,

  claims are processed within 24 hours and HCA receives funds. However, on March 24, 2025, HCA

  tried to draw funds for claims incurred prior to March 24, 2025. HCA has yet to receive these

  funds. Moreover, as of March 28, 2025, the federal payment system also appears to be locked for

  draws of all other mental health and substance use block grant funds that are separate from these

  particular grant awards.

         37.     As of March 28, 2025, HCA has not received further instructions on drawing

  funding for work prior to March 24, 2025, or further communication regarding the 90 day close

  out period requirements from SAMHSA. This has impaired HCA’s ability to pay contractors on

  outstanding claims.

  Loss of These Funds Harms HCA’s Ability to Provide Services

         38.     HCA has consistently submitted deliverables on or before deadlines set by

  SAMHSA, provided quality and detailed applications, workplans and annual progress reports, and

  been responsive to and compliant with requests from SAMHSA. HCA has been considered a top

  performing agency and a leader in health care innovation and our dedication to supporting

  behavioral health services across the continuum of care for individuals most in need. Our

  SAMHSA Project Officers have thanked us for our “willingness to go above and beyond” and



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  have invited us to present at various meetings with other states as national leaders in the integration

  of behavioral health care. HCA has worked diligently to ensure we maintain a strong working

  relationship with our SAMHSA Project Officers and maintain open communication on a regular

  basis.

           39.   HCA relied and acted upon its expectation and understanding that HHS would

  fulfill its commitment to provide the funding it had awarded to HCA. This funding was planned to

  support critical services and positions in behavioral health treatment through September 2025, the

  abrupt loss of which will cause immediate staffing shortages, with no time to transition care for

  individuals receiving services or prepare workforce. Without the planned remaining six months of

  these awards to bridge the individuals receiving services and the workforce from this funding,

  these agencies may be forced to abruptly discontinue services and/or close their doors. Behavioral

  health agencies operate on a very small margin and an abrupt funding loss threatens their viability

  which impacts the entire behavioral health system. These effects would be magnified in rural areas

  with limited providers. This would destabilize the state behavioral health system, including the

  crisis system and deep end behavioral health supports that are essential to support the safety net

  needed to keep individuals in the state safe, healthy, and out of the criminal legal system.

           40.   With the loss of this funding the Washington behavioral health system will be

  destabilized, individuals and families will experience delays, service gaps, and/or the negative

  impacts of untreated behavioral health conditions. The abrupt loss of funding will have the greatest

  impact on individuals and families and will result in the inability to transition individuals from the

  care they are currently receiving. This may result in decreased functioning, relapse, hospitalization,

  arrest, and other adverse outcomes.




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             41.   The award terminations have had ramifications for HCA’s network of contracted

  behavioral healthcare sub-grantees and providers. HCA has had to provide notices to terminate

  services for approximately 200 sub-grantees and could incur the financial cost of these services.

  This also damages the HCA’s relationships and other work underway with our small community

  providers and Tribal Governments who may lose trust in our funding sources for current or future

  efforts.

             42.   To this day, HHS SAMHSA has never provided HCA with notice, written or

  otherwise, that the grant administered by HCA was in any way unsatisfactory.

        I declare under penalty of perjury under the laws of the United States that, to the best of my

  knowledge, the foregoing is true and correct.

                   Executed on March 28th , 2025, at Olympia, WA.



                                                       TEESHA KIRSCHBAUM, Director
                                                       Division of Behavioral Health and Recovery
                                                       Washington Health Care Authority




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                      Exhibit A
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                                            Notice of Award
   SABG                                                    Issue Date:                  05/17/2021
   Department of Health and Human Services
   Substance Abuse and Mental Health Services Administration

   Center for Substance Abuse Treatment



     Award Number: 1B08TI083977-01
     FAIN:          B08TI083977-01
     Contact Person:

     Program: Substance Abuse Prevention & Treatment Block Grant

     HEALTH CARE AUTHORITY
     626 8TH AVENUE SE

     OLYMPIA, WA 98501

     Award Period: 09/01/2021 – 09/30/2025

     Dear Grantee:

     The Substance Abuse and Mental Health Services Administration hereby awards a
     grant in the amount of     $30,586,435 (see “Award Calculation” in Section I) to
     HEALTH CARE AUTHORITY in support of the above referenced project. This award is
     pursuant to the authority of Subparts II&III,B,Title XIX,PHS Act/45 CFR Part96 and is
     subject to the requirements of this statute and regulation and of other referenced,
     incorporated or attached terms and conditions.

     Acceptance of this award including the “Terms and Conditions” is acknowledged by the
     grantee when funds are drawn down or otherwise obtained from the grant payment
     system.

     If you have any questions about this award, please contact your Grants Management
     Specialist and your Government Project Officer listed in your terms and conditions.


     Sincerely yours,

     Grants Management Officer
     Division of Grants Management

     See additional information below




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     SECTION I – AWARD DATA – 1B08TI083977-01

     FEDERAL FUNDS APPROVED:                                                                        $30,586,435

     AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                         $30,586,435

     CUMULATIVE AWARDS TO DATE:                                                                     $30,586,435

     UNAWARDED BALANCE OF CURRENT YEAR’S                                                                    $0
     FUNDS:


     Fiscal Information:
     CFDA Number:              93.959
     EIN:                1911412780A
                                    1
     Document            21B1WASAP
     Number:                     TC6
     Fiscal Year:                2021

     IC                        CAN                                           01
     TI                        C96D570                                       $30,586,435



     PCC: SAPT / OC: 4115

     SECTION II – PAYMENT/HOTLINE INFORMATION –                                          1B08TI083977-01

     Payments under this award will be made available through the HHS Payment
     Management System (PMS). PMS is a centralized grants payment and cash management
     system, operated by the HHS Program Support Center (PSC), Division of Payment
     Management (DPM). Inquiries regarding payment should be directed to: The Division of
     Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
     – Telephone Number: 1-877-614-5533.

     The HHS Inspector General maintains a toll-free hotline for receiving information
     concerning fraud, waste, or abuse under grants and cooperative agreements. The
     telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
     of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
     Independence Ave., SW, Washington, DC 20201.

     SECTION III – TERMS AND CONDITIONS – 1B08TI083977-01

     STANDARD TERMS AND CONDITIONS

     SABG FY2021 ARPA funding
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      This Notice of Award (NoA) provides American Rescue Plan Act (ARPA)
      Supplemental Funding for the Substance Abuse Prevention and Treatment (SABG)
      Block Grant Program, in accordance with H.R. 1319 - American Rescue Plan Act of
      2021. Consistent with HHS Disaster Relief Flexibilities, SAMHSA may waive
      requirements with respect to allowable activities, timelines, or reporting requirements
      for the SABG as deemed necessary to facilitate a grantee’s response to coronavirus.
      A proposal of the state’s spending plan must be submitted by July 2, 2021 via the Web
      Block Grant Application System (WebBGAS). Using the WebBGAS Revision Request
      for the FFY 2021 Block Grant Application, grantees are required to upload the Plan
      document (Microsoft Word or pdf), using the associated tab in the State Information
      Section, Chief Executive Officer’s Funding Agreement – Certifications and
      Assurances/Letter Designating Signatory Authority [SA]. Please title this document
      "ARPA Funding Plan 2021-SA" (States must upload separate proposals based on
      MHBG and SABG guidance into the WebBGAS system.
      Further information on this is included in the letter from Acting Assistant Secretary for
      Mental Health and Substance Use, Tom Coderre.


      Standard Terms of Award:
      1) Acceptance of the Terms of an Award
      By drawing or otherwise obtaining funds from the HHS Payment Management System,
      the recipient acknowledges acceptance of the terms and conditions of the award and is
      obligated to perform in accordance with the requirements of the award. Except for any
      waiver granted explicitly elsewhere in this section, this award does not constitute
      approval for waiver of any Federal statutory/regulatory requirements for a SABG.
      Once a recipient accepts an award, the contents of the Notice of Award (NoA) are
      binding on the recipient unless and until modified by a revised NoA signed by the
      GMO.
      Certification Statement:
      By drawing down funds, The recipient agrees to abide by the statutory requirements of
      all sections of the Substance Abuse Prevention and Treatment Block Grant (SABG)
      (Public Health Service Act, Sections 1921-1935 and sections 1941-1957) (42 U.S.C.
      300x-21-300x-35 and 300x-51-300x-67, as amended), and other administrative and
      legal requirements as applicable for the duration of the award.
      2) Availability of Funds
      Funds provided under this grant must be obligated and expended by September 30,
      2025.
      3) Fiscal and administrative requirements
      This NoA issued is subject to the administrative requirements for HHS block grants
      under 45 CFR Part 96, as applicable, and 45 CFR Part 75, as specified. Except for
      section 75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
      requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
      (reference 45 CFR Part 75 Subpart B, 75.101(d)).
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      Fiscal control and accounting procedures - Fiscal control and accounting procedures
      must be sufficient to (a) permit preparation of reports required by the statute
      authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
      adequate to establish that such funds have not been used in violation of the restrictions
      and prohibitions of the statute authorizing the block grant.
      ARPA funding is being issued under a separate grant award number and has a unique
      subaccount in the Payment Management System. Accordingly, ARPA funds must be
      tracked and reported separately from other FY 2021 awarded funds, including
      COVID-19 Supplemental funding and the Annual Block Grant Allotment.
      Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
      with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
      OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
      Organizations.” The audits shall be made by an independent auditor in accordance with
      generally accepted Government auditing standards covering financial audits.
      Except for any waiver granted explicitly elsewhere in this section, this award does not
      constitute approval for waiver of any Federal statutory/regulatory requirements for a
      SABG.
      4) Flow-down of requirements to sub-recipients
      The grantee, as the awardee organization, is legally and financially responsible for all
      aspects of this award including funds provided to sub-recipients, in accordance with 45
      CFR 75.351-75.353, Sub-recipient monitoring and management.
      5) Executive Pay
      The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
      December 27, 2020 restricts the amount of direct salary to Executive Level II of the
      Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
      Executive Level II is $199,300.
      For awards issued prior to this change, if adequate funds are available in active awards,
      and if the salary cap increase is consistent with the institutional base salary, recipients
      may re-budget to accommodate the current Executive Level II salary level. However,
      no additional funds will be provided to these grant awards.
      6) Marijuana Restriction:
      Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
      marijuana or treatment using marijuana. Treatment in this context includes the
      treatment of opioid use disorder. Grant funds also cannot be provided to any individual
      who or organization that provides or permits marijuana use for the purposes of treating
      substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
      ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
      requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
      manufacture, sale, purchase or distribution of marijuana). This prohibition does not
      apply to those providing such treatment in the context of clinical research permitted by
      the DEA and under an FDA-approved investigational new drug application where the
      article being evaluated is marijuana or a constituent thereof that is otherwise a banned
      controlled substance under federal law.
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      7) SAM and DUNS Requirements
      THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
      25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
      DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
      Appendix A4
      System of Award Management (SAM) and Universal Identifier Requirements
      A. Requirement for System of Award Management:
      Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
      recipient, must maintain the currency of your information in the SAM, until you
      submit the final financial report required under this award or receive the final payment,
      whichever is later. This requires that you review and update the information at least
      annually after the initial registration, and more frequently if required by changes in
      your information or another award term.
      B. Requirement for unique entity identifier If you are authorized (reference project
      description) to make subawards under this award, you:
      1. Must notify potential subrecipients that no entity (see definition in paragraph C of
      this award term) may receive a subaward from you, unless the entity has provided its
      unique entity identifier to you.
      2. May not make a subaward to an entity, unless the entity has provided its unique
      entity identifier to you.
      C. Definitions. For purposes of this award term:
      1. System of Award Management (SAM) means the federal repository into which an
      entity must provide information required for the conduct of business as a recipient.
      Additional information about registration procedures may be found at the SAM
      Internet site (currently at: http://www.sam.gov).
      2. Unique entity identifier means the identifier required for SAM registration to
      uniquely identify business entities.
      3. Entity, as it is used in this award term, means all of the following, as defined at 2
      CFR Part 25, Subpart C:
      a. A governmental organization, which is a state, local government, or Indian Tribe; b.
      A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
      or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
      under an award or sub-award to a nonfederal entity.
      4. Sub-award:
      a. This term means a legal instrument to provide support for the performance of any
      portion of the substantive project or program for which you received this award and
      that you as the recipient award to an eligible sub-recipient. b. The term does not
      include your procurement of property and services needed to carry out the project or
      program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
      provided through any legal agreement, including an agreement that you consider a
      contract.
      5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
      award; and b. Is accountable to you for the use of the federal funds provided by the
      sub-award.
      8) Federal Financial Accountability and Transparency Act (FFATA)
      Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
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      a. Reporting of first tier subawards.
      1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
      you must report each action that obligates $25,000 or more in Federal funds that does
      not include Recovery funds (as defined in section 1512(a)(2) of the American
      Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
      (see definitions in paragraph e. of this award term).
      2. Where and when to report.
      i. You must report each obligating action described in paragraph a.1. of this award
      term to http://www.fsrs.gov.
      ii. For subaward information, report no later than the end of the month following the
      month in which the obligation was made. (For example, if the obligation was made on
      November 7, 2010, the obligation must be reported by no later than December 31,
      2010.)
      3. What to report. You must report the information about each obligating action that
      the submission instructions posted at http://www.fsrs.gov specify.
      b. Reporting Total Compensation of Recipient Executives.
      1. Applicability and what to report. You must report total compensation for each of
      your five most highly compensated executives for the preceding completed fiscal year,
      if
      i. the total Federal funding authorized to date under this award is $25,000 or more;
      ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
      gross revenues from Federal procurement contracts (and subcontracts) and Federal
      financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
      subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
      procurement contracts (and subcontracts) and Federal financial assistance subject to
      the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
      iii. The public does not have access to information about the compensation of the
      executives through periodic reports filed under section 13(a) or 15(d) of the Securities
      Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
      Revenue Code of 1986. (To determine if the public has access to the compensation
      information, see the U.S. Security and Exchange Commission total compensation
      filings at http://www.sec.gov/answers/execomp.htm.)
      2. Where and when to report. You must report executive total compensation described
      in paragraph b. 1. of this award term:
      i. As part of your registration profile at https://www.sam.gov.
      ii. By the end of the month following the month in which this award is made, and
      annually thereafter.
      c. Reporting of Total Compensation of Subrecipient Executives.
      1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
      of this award term, for each first tier subrecipient under this award, you shall report the
      names and total compensation of each of the subrecipient's five most highly
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      compensated executives for the subrecipient's preceding completed fiscal year, if
      i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
      more of its annual gross revenues from Federal procurement contracts (and
      subcontracts) and Federal financial assistance subject to the Transparency Act, as
      defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
      gross revenues from Federal procurement contracts (and subcontracts), and Federal
      financial assistance subject to the Transparency Act (and subawards); and
      ii. The public does not have access to information about the compensation of the
      executives through periodic reports filed under section 13(a) or 15(d) of the Securities
      Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
      Revenue Code of 1986. (To determine if the public has access to the compensation
      information, see the U.S. Security and Exchange Commission total compensation
      filings at http://www.sec.gov/answers/execomp.htm.)
      2. Where and when to report. You must report subrecipient executive total
      compensation described in paragraph c. 1. of this award term:
      i. To the recipient.
      ii. By the end of the month following the month during which you make the subaward.
      For example, if a subaward is obligated on any date during the month of October of a
      given year (i.e., between October 1 and 31), you must report any required
      compensation information of the subrecipient by November 30 of that year.
      d. Exemptions If, in the previous tax year, you had gross income, from all sources,
      under $300,000, you are exempt from the requirements to report:
      i. Subawards, and
      ii. The total compensation of the five most highly compensated executives of any
      subrecipient.
      e. Definitions. For purposes of this award term:
      1. Entity means all of the following, as defined in 2 CFR part 25:
      i. A Governmental organization, which is a State, local government, or Indian tribe;
      ii. A foreign public entity;
      iii. A domestic or foreign nonprofit organization;
      iv. A domestic or foreign for-profit organization;
      v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
      Federal entity.
      2. Executive means officers, managing partners, or any other employees in
      management positions.
      3. Subaward:
      i. This term means a legal instrument to provide support for the performance of any
      portion of the substantive project or program for which you received this award and
      that you as the recipient award to an eligible subrecipient.

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      ii. The term does not include your procurement of property and services needed to
      carry out the project or program (for further explanation, see Sec. __. 210 of the
      attachment to OMB Circular A-133, Audits of States, Local Governments, and
      Nonprofit Organizations).
      iii. A subaward may be provided through any legal agreement, including an agreement
      that you or a subrecipient considers a contract.
      4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
      under this award; and ii. Is accountable to you for the use of the Federal funds
      provided by the subaward.
      5. Total compensation means the cash and noncash dollar value earned by the
      executive during the recipient's or subrecipient's preceding fiscal year and includes the
      following (for more information see 17 CFR 229.402(c)(2)):
      i. Salary and bonus.
      ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
      recognized for financial statement reporting purposes with respect to the fiscal year in
      accordance with the Statement of Financial Accounting Standards No. 123 (Revised
      2004) (FAS 123R), Shared Based Payments.
      iii. Earnings for services under non-equity incentive plans. This does not include group
      life, health, hospitalization or medical reimbursement plans that do not discriminate in
      favor of executives and are available generally to all salaried employees.
      iv. Change in pension value. This is the change in present value of defined benefit and
      actuarial pension plans.
      v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
      Other compensation, if the aggregate value of all such other compensation (e.g.
      severance, termination payments, value of life insurance paid on behalf of the
      employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
      Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
      9) Mandatory Disclosures
      Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
      manner, in writing to the HHS Office of Inspector General (OIG), all information
      related to violations, or suspected violations, of Federal criminal law involving fraud,
      bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
      must disclose, in a timely manner, in writing to the prime recipient (pass through
      entity) and the HHS OIG, all information related to violations, or suspected violations,
      of Federal criminal law involving fraud, bribery, or gratuity violations potentially
      affecting the Federal award. Disclosures must be sent in writing to the awarding
      agency and to the HHS OIG at the following addresses:
      U.S. Department of Health and Human Services Office of Inspector General
      ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence Avenue,
      SW, Cohen Building Room5527 Washington, DC 20201
      Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or email:
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      MandatoryGranteeDisclosures@oig.hhs.gov
      Failure to make required disclosures can result in any of the remedies described in 45
      CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
      CFR parts 180 & 376 and 31 U.S.C. 3321).
      10) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
      amended, and 2 C.F.R. PART 175
      The Trafficking Victims Protection Act of 2000 authorizes termination of financial
      assistance provided to a private entity, without penalty to the Federal government, if
      the recipient or subrecipient engages in certain activities related to trafficking in
      persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
      entity recipient, or a private entity subrecipient, or their employees: a) Engage in
      severe forms of trafficking in persons during the period of time that the award is in
      effect; b) Procure a commercial sex act during the period of time that the award is in
      effect; or, c) Use forced labor in the performance of the award or subawards under the
      award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
      http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
      sec175-15.pdf.
      11) Drug-Free Workplace Requirements
      The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
      organizations receiving grants from any Federal agency agree to maintain a drug-free
      workplace. When the AR signed the application, the AR agreed that the recipient will
      provide a drug-free workplace and will comply with the requirement to notify
      SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
      comply with these requirements may be cause for debarment. Government wide
      requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
      part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
      recipients of SAMHSA grant funds must comply with the requirements in Subpart B
      (or Subpart C if the recipient is an individual) of Part 382.
      12) Lobbying
      No funds provided under the attached Notice of Award (NoA) may be used by you or
      any sub-recipient under the grant to support lobbying activities to influence proposed
      or pending federal or state legislation or appropriations. The prohibition relates to the
      use of federal grant funds and is not intended to affect your right or that of any other
      organization, to petition Congress or any other level of government, through the use of
      other nonfederal resources. Reference 45 CFR Part 93.
      13) Accessibility Provisions
      Grant recipients of Federal financial assistance (FFA) from HHS must administer their
      programs in compliance with Federal civil rights law. This means that recipients of
      HHS funds must ensure equal access to their programs without regard to a person s
      race, color, national origin, disability, age, and in some circumstances, sex and
      religion. This includes ensuring your programs are accessible to persons with limited
      English proficiency. The HHS Office for Civil Rights also provides guidance on
      complying with civil rights laws enforced by HHS. Please see

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      http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
      of FFA also have specific legal obligations for serving qualified individuals with
      disabilities. Please see
      http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
      the HHS Office for Civil Rights for more information about obligations and
      prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
      rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
      an HHS Departmental goal to ensure access to quality, culturally competent care,
      including long-term services and supports, for vulnerable populations. For further
      guidance on providing culturally and linguistically appropriate services, recipients
      should review the National Standards for Culturally and Linguistically Appropriate
      Services in Health and Health Care at
      https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
      14) Audits
      Non-Federal recipients that expend $750,000 or more in federal awards during the
      recipient's fiscal year must obtain an audit conducted for that year in accordance with
      the provisions of 45 CFR 96.31.
      Recipients are responsible for submitting their Single Audit Reports and the Data
      Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
      Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
      after the FY s end of the audit period. The FAC operates on behalf of the OMB.
      For specific questions and information concerning the submission process: Visit the
      Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
      toll-free number: (800) 253-0696


      Reporting Requirements:
      Federal Financial Report (FFR)
      The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
      close of the performance period (project period). The SF-425 shall report total funds
      obligated and total funds expended by the grantee.
      Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
      Financial Report (FFR) via the Payment Management System (PMS). If the individual
      responsible for FFR submission does not already have an account with PMS,
      please contact PMS to obtain access.
      Recipients must liquidate all obligations incurred under an award not later than ninety
      (90) days after the end of the award obligation and expenditure period (i.e., the project
      period) which also coincides with the due date for submission of the FINAL SF-425,
      Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
      locked. SAMHSA does not approve extensions to the ninety (90) day post-award
      reconciliation/liquidation period. Therefore, recipients are expected to complete all
      work and reporting within the approved project period and the aforementioned 90-day
      post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
      occurring after the aforementioned periods are denied. In rare instances, SAMHSA

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                      Exhibit B
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   State Information                                                #: 3078


   Chief Executive Officer's Funding Agreement - Certifications and Assurances / Letter Designating Signatory Authority [SA]



   Fiscal Year 2020
                                                         U.S. Department of Health and Human Services
                                                  Substance Abuse and Mental Health Services Administrations
                                                                    Funding Agreements
                                                                           as required by
                                                 Substance Abuse Prevention and Treatment Block Grant Program
                                                                          as authorized by
                                            Title XIX, Part B, Subpart II and Subpart III of the Public Health Service Act
                                                                                 and
                                                  Tile 42, Chapter 6A, Subchapter XVII of the United States Code



                                                   Title XIX, Part B, Subpart II of the Public Health Service Act



        Section                                                               Title                                                      Chapter


    Section 1921      Formula Grants to States                                                                                      42 USC § 300x-21


    Section 1922      Certain Allocations                                                                                           42 USC § 300x-22


    Section 1923      Intravenous Substance Abuse                                                                                   42 USC § 300x-23


    Section 1924      Requirements Regarding Tuberculosis and Human Immunodeficiency Virus                                          42 USC § 300x-24


    Section 1925      Group Homes for Recovering Substance Abusers                                                                  42 USC § 300x-25


    Section 1926      State Law Regarding the Sale of Tobacco Products to Individuals Under Age 18                                  42 USC § 300x-26


    Section 1927      Treatment Services for Pregnant Women                                                                         42 USC § 300x-27


    Section 1928      Additional Agreements                                                                                         42 USC § 300x-28


    Section 1929      Submission to Secretary of Statewide Assessment of Needs                                                      42 USC § 300x-29


    Section 1930      Maintenance of Effort Regarding State Expenditures                                                            42 USC § 300x-30


    Section 1931      Restrictions on Expenditure of Grant                                                                          42 USC § 300x-31


    Section 1932      Application for Grant; Approval of State Plan                                                                 42 USC § 300x-32


    Section 1935      Core Data Set                                                                                                 42 USC § 300x-35


                                                   Title XIX, Part B, Subpart III of the Public Health Service Act


    Section 1941      Opportunity for Public Comment on State Plans                                                                 42 USC § 300x-51


    Section 1942      Requirement of Reports and Audits by States                                                                   42 USC § 300x-52



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    Section 1943 Additional Requirements
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    Section 1946     Prohibition Regarding Receipt of Funds                                                  42 USC § 300x-56


    Section 1947     Nondiscrimination                                                                       42 USC § 300x-57


    Section 1953     Continuation of Certain Programs                                                        42 USC § 300x-63


    Section 1955     Services Provided by Nongovernmental Organizations                                      42 USC § 300x-65


    Section 1956      Services for Individuals with Co-Occurring Disorders                                   42 USC § 300x-66




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                                          ASSURANCES - NON-CONSTRUCTION PROGRAMS

   Certain of these assurances may not be applicable to your project or program. If you have questions, please contact the
   awarding agency. Further, certain Federal awarding agencies may require applicants to certify to additional assurances. If such is
   the case, you will be notified.


   As the duly authorized representative of the applicant I certify that the applicant:


    1. Has the legal authority to apply for Federal assistance, and the institutional, managerial and financial capability (including funds
        sufficient to pay the non-Federal share of project costs) to ensure proper planning, management and completion of the project
        described in this application.
    2. Will give the awarding agency, the Comptroller General of the United States, and if appropriate, the State, through any authorized
        representative, access to and the right to examine all records, books, papers, or documents related to the award; and will establish
        a proper accounting system in accordance with generally accepted accounting standard or agency directives.
    3. Will establish safeguards to prohibit employees from using their positions for a purpose that constitutes or presents the
        appearance of personal or organizational conflict of interest, or personal gain.
    4. Will initiate and complete the work within the applicable time frame after receipt of approval of the awarding agency.
    5. Will comply with the Intergovernmental Personnel Act of 1970 (42 U.S.C. §§4728-4763) relating to prescribed standards for merit
        systems for programs funded under one of the nineteen statutes or regulations specified in Appendix A of OPM's Standard for a
        Merit System of Personnel Administration (5 C.F.R. 900, Subpart F).
    6. Will comply with all Federal statutes relating to nondiscrimination. These include but are not limited to: (a) Title VI of the Civil Rights
        Act of 1964 (P.L. 88-352) which prohibits discrimination on the basis of race, color or national origin; (b) Title IX of the Education
        Amendments of 1972, as amended (20 U.S.C. §§1681-1683, and 1685-1686), which prohibits discrimination on the basis of sex; (c)
        Section 504 of the Rehabilitation Act of 1973, as amended (29 U.S.C. §§794), which prohibits discrimination on the basis of
        handicaps; (d) the Age Discrimination Act of 1975, as amended (42 U.S.C. §§6101-6107), which prohibits discrimination on the basis
        of age; (e) the Drug Abuse Office and Treatment Act of 1972 (P.L. 92-255), as amended, relating to nondiscrimination on the basis
        of drug abuse; (f) the Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment and Rehabilitation Act of 1970 (P.L. 91-
        616), as amended, relating to nondiscrimination on the basis of alcohol abuse or alcoholism; (g) §§523 and 527 of the Public Health
        Service Act of 1912 (42 U.S.C. §§290 dd-3 and 290 ee-3), as amended, relating to confidentiality of alcohol and drug abuse patient
        records; (h) Title VIII of the Civil Rights Act of 1968 (42 U.S.C. §§3601 et seq.), as amended, relating to non-discrimination in the sale,
        rental or financing of housing; (i) any other nondiscrimination provisions in the specific statute(s) under which application for
        Federal assistance is being made; and (j) the requirements of any other nondiscrimination statute(s) which may apply to the
        application.
    7. Will comply, or has already complied, with the requirements of Title II and III of the Uniform Relocation Assistance and Real
        Property Acquisition Policies Act of 1970 (P.L. 91-646) which provide for fair and equitable treatment of persons displaced or
        whose property is acquired as a result of Federal or federally assisted programs. These requirements apply to all interests in real
        property acquired for project purposes regardless of Federal participation in purchases.
    8. Will comply with the provisions of the Hatch Act (5 U.S.C. §§1501-1508 and 7324-7328) which limit the political activities of
        employees whose principal employment activities are funded in whole or in part with Federal funds.
    9. Will comply, as applicable, with the provisions of the Davis-Bacon Act (40 U.S.C. §§276a to 276a-7), the Copeland Act (40 U.S.C.
        §276c and 18 U.S.C. §874), and the Contract Work Hours and Safety Standards Act (40 U.S.C. §§327-333), regarding labor standards
        for federally assisted construction subagreements.
   10. Will comply, if applicable, with flood insurance purchase requirements of Section 102(a) of the Flood Disaster Protection Act of
        1973 (P.L. 93-234) which requires recipients in a special flood hazard area to participate in the program and to purchase flood
        insurance if the total cost of insurable construction and acquisition is $10,000 or more.
   11. Will comply with environmental standards which may be prescribed pursuant to the following: (a) institution of environmental
        quality control measures under the National Environmental Policy Act of 1969 (P.L. 91-190) and Executive Order (EO) 11514; (b)
        notification of violating facilities pursuant to EO 11738; (c) protection of wetland pursuant to EO 11990; (d) evaluation of flood
        hazards in floodplains in accordance with EO 11988; (e) assurance of project consistency with the approved State management
        program developed under the Coastal Zone Management Act of 1972 (16 U.S.C. §§1451 et seq.); (f) conformity of Federal actions
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        to State (Clear Air) Implementation Plans under Section 176(c) of the Clean Air Act of 1955, as amended (42 U.S.C. §§7401 et seq.);
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        (g) protection of underground sources of drinking water under the Safe Drinking Water Act of 1974, as amended, (P.L. 93-523); and
        (h) protection of endangered species under the Endangered Species Act of 1973, as amended, (P.L. 93-205).
   12. Will comply with the Wild and Scenic Rivers Act of 1968 (16 U.S.C. §§1271 et seq.) related to protecting components or potential
        components of the national wild and scenic rivers system.
   13. Will assist the awarding agency in assuring compliance with Section 106 of the National Historic Preservation Act of 1966, as
        amended (16 U.S.C. §470), EO 11593 (identification and protection of historic properties), and the Archaeological and Historic
        Preservation Act of 1974 (16 U.S.C. §§469a-1 et seq.).
   14. Will comply with P.L. 93-348 regarding the protection of human subjects involved in research, development, and related activities
        supported by this award of assistance.
   15. Will comply with the Laboratory Animal Welfare Act of 1966 (P.L. 89-544, as amended, 7 U.S.C. §§2131 et seq.) pertaining to the
        care, handling, and treatment of warm blooded animals held for research, teaching, or other activities supported by this award of
        assistance.
   16. Will comply with the Lead-Based Paint Poisoning Prevention Act (42 U.S.C. §§4801 et seq.) which prohibits the use of lead based
        paint in construction or rehabilitation of residence structures.
   17. Will cause to be performed the required financial and compliance audits in accordance with the Single Audit Act of 1984.
   18. Will comply with all applicable requirements of all other Federal laws, executive orders, regulations and policies governing this
        program.
   19. Will comply with the requirements of Section 106(g) of the Trafficking Victims Protection Act (TVPA) of 2000, as amended (22 U.S.C.
        7104) which prohibits grant award recipients or a sub-recipient from (1) Engaging in severe forms of trafficking in persons during
        the period of time that the award is in effect (2) Procuring a commercial sex act during the period of time that the award is in effect
        or (3) Using forced labor in the performance of the award or subawards under the award.




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                                                               #: 3082
                                                          LIST of CERTIFICATIONS
   1. Certification Regarding Debarment and Suspension


   The undersigned (authorized official signing for the applicant organization) certifies to the best of his or her knowledge and belief that
   the applicant, defined as the primary participant in accordance with 2 CFR part 180, and its principals:
    a. Agrees to comply with 2 CFR Part 180, Subpart C by administering each lower tier subaward or contract that exceeds $25,000 as a
        "covered transaction" and verify each lower tier participant of a "covered transaction" under the award is not presently debarred
        or otherwise disqualified from participation in this federally assisted project by:
         a. Checking the Exclusion Extract located on the System for Award Management (SAM) at http://sam.gov
         b. Collecting a certification statement similar to paragraph (a)
         c. Inserting a clause or condition in the covered transaction with the lower tier contract


   2. Certification Regarding Drug-Free Workplace Requirements


   The undersigned (authorized official signing for the applicant organization) certifies that the applicant will, or will continue to, provide a
   drug-free work place in accordance with 2 CFR Part 182 by:
    a. Publishing a statement notifying employees that the unlawful manufacture, distribution, dispensing, possession or use of a
        controlled substance is prohibited in the grantee's work-place and specifying the actions that will be taken against employees for
        violation of such prohibition;
    b. Establishing an ongoing drug-free awareness program to inform employees about--
         1. The dangers of drug abuse in the workplace;
         2. The grantee's policy of maintaining a drug-free workplace;
         3. Any available drug counseling, rehabilitation, and employee assistance programs; and
         4. The penalties that may be imposed upon employees for drug abuse violations occurring in the workplace;
     c. Making it a requirement that each employee to be engaged in the performance of the grant be given a copy of the statement
        required by paragraph (a) above;
    d. Notifying the employee in the statement required by paragraph (a), above, that, as a condition of employment under the grant, the
        employee will--
         1. Abide by the terms of the statement; and
         2. Notify the employer in writing of his or her conviction for a violation of a criminal drug statute occurring in the workplace no
             later than five calendar days after such conviction;
    e. Notifying the agency in writing within ten calendar days after receiving notice under paragraph (d)(2) from an employee or
        otherwise receiving actual notice of such conviction. Employers of convicted employees must provide notice, including position title,
        to every grant officer or other designee on whose grant activity the convicted employee was working, unless the Federal agency
        has designated a central point for the receipt of such notices. Notice shall include the identification number(s) of each affected
        grant;
     f. Taking one of the following actions, within 30 calendar days of receiving notice under paragraph (d) (2), with respect to any
        employee who is so convicted?
         1. Taking appropriate personnel action against such an employee, up to and including termination, consistent with the
             requirements of the Rehabilitation Act of 1973, as amended; or
         2. Requiring such employee to participate satisfactorily in a drug abuse assistance or rehabilitation program approved for such
             purposes by a Federal, State, or local health, law enforcement, or other appropriate agency;
    g. Making a good faith effort to continue to maintain a drug-free workplace through implementation of paragraphs (a), (b), (c), (d),
        (e), and (f).


   3. Certifications Regarding Lobbying


   Per 45 CFR §75.215, Recipients are subject to the restrictions on lobbying as set forth in 45 CFR part 93. Title 31, United States Code,
   Section 1352, entitled "Limitation on use of appropriated funds to influence certain Federal contracting and financial transactions,"
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   generally prohibits recipients of Federal grants and cooperative agreements from using Federal (appropriated) funds for lobbying the
                                                               #: 3083
   Executive or Legislative Branches of the Federal Government in connection with a SPECIFIC grant or cooperative agreement. Section
   1352 also requires that each person who requests or receives a Federal grant or cooperative agreement must disclose lobbying
   undertaken with non-Federal (non- appropriated) funds. These requirements apply to grants and cooperative agreements EXCEEDING
   $100,000 in total costs.


   The undersigned (authorized official signing for the applicant organization) certifies, to the best of his or her knowledge and belief, that
    1. No Federal appropriated funds have been paid or will be paid, by or on behalf of the undersigned to any person for influencing
        or attempting to influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or
        an employee of a Member of Congress in connection with the awarding of any Federal contract, the making of any Federal grant,
        the making of any Federal loan, the entering into of any cooperative agreement, and the extension, continuation, renewal,
        amendment, or modification of any Federal contract, grant, loan, or cooperative agreement.
    2. If any funds other than Federally appropriated funds have been paid or will be paid to any person for influencing or attempting to
        influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or an employee of a
        Member of Congress in connection with this Federal contract, grant, loan, or cooperative agreement, the undersigned shall
        complete and submit Standard Form-LLL, "Disclosure of Lobbying Activities," in accordance with its instructions. (If needed,
        Standard Form-LLL, "Disclosure of Lobbying Activities," its instructions, and continuation sheet are included at the end of this
        application form.)
    3. The undersigned shall require that the language of this certification be included in the award documents for all subawards at all
        tiers (including subcontracts, subgrants, and contracts under grants, loans and cooperative agreements) and that all subrecipients
        shall certify and disclose accordingly.


   This certification is a material representation of fact upon which reliance was placed when this transaction was made or entered into.
   Submission of this certification is a prerequisite for making or entering into this transaction imposed by Section 1352, U.S. Code. Any
   person who fails to file the required certification shall be subject to a civil penalty of not less than $10,000 and not more than $100,000
   for each such failure.


   4. Certification Regarding Program Fraud Civil Remedies Act (PFCRA) (31 U.S.C § 3801- 3812)


   The undersigned (authorized official signing for the applicant organization) certifies that the statements herein are true, complete, and
   accurate to the best of his or her knowledge, and that he or she is aware that any false, fictitious, or fraudulent statements or claims
   may subject him or her to criminal, civil, or administrative penalties. The undersigned agrees that the applicant organization will comply
   with the Public Health Service terms and conditions of award if a grant is awarded as a result of this application.


   5. Certification Regarding Environmental Tobacco Smoke


   Public Law 103-227, also known as the Pro-Children Act of 1994 (Act), requires that smoking not be permitted in any portion of any
   indoor facility owned or leased or contracted for by an entity and used routinely or regularly for the provision of health, daycare, early
   childhood development services, education or library services to children under the age of 18, if the services are funded by Federal
   programs either directly or through State or local governments, by Federal grant, contract, loan, or loan guarantee. The law also
   applies to children's services that are provided in indoor facilities that are constructed, operated, or maintained with such Federal
   funds. The law does not apply to children's services provided in private residence, portions of facilities used for inpatient drug or
   alcohol treatment, service providers whose sole source of applicable Federal funds is Medicare or Medicaid, or facilities where WIC
   coupons are redeemed.


   Failure to comply with the provisions of the law may result in the imposition of a civil monetary penalty of up to $1,000 for each
   violation and/or the imposition of an administrative compliance order on the responsible entity.


   By signing the certification, the undersigned certifies that the applicant organization will comply with the requirements of the Act and
   will not allow smoking within any portion of any indoor facility used for the provision of services for children as defined by the Act.


   The applicant organization agrees that it will require that the language of this certification be included in any subawards which contain
   provisions for children's services and that all subrecipients shall certify accordingly.

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   The Public Health Services strongly encourages all grant recipients to provide a smoke-free workplace and promote the non-use of
                                                               #: 3084
   tobacco products. This is consistent with the PHS mission to protect and advance the physical and mental health of the American
   people.


   HHS Assurances of Compliance (HHS 690)


   ASSURANCE OF COMPLIANCE WITH TITLE VI OF THE CIVIL RIGHTS ACT OF 1964, SECTION 504 OF THE REHABILITATION ACT OF 1973,
   TITLE IX OF THE EDUCATION AMENDMENTS OF 1972, THE AGE DISCRIMINATION ACT OF 1975, AND SECTION 1557 OF THE
   AFFORDABLE CARE ACT


   The Applicant provides this assurance in consideration of and for the purpose of obtaining Federal grants, loans, contracts, property,
   discounts or other Federal financial assistance from the U.S. Department of Health and Human Services.


   THE APPLICANT HEREBY AGREES THAT IT WILL COMPLY WITH:


    1. Title VI of the Civil Rights Act of 1964 (Pub. L. 88-352), as amended, and all requirements imposed by or pursuant to the Regulation
        of the Department of Health and Human Services (45 C.F.R. Part 80), to the end that, in accordance with Title VI of that Act and the
        Regulation, no person in the United States shall, on the ground of race, color, or national origin, be excluded from participation in,
        be denied the benefits of, or be otherwise subjected to discrimination under any program or activity for which the Applicant
        receives Federal financial assistance from the Department.
    2. Section 504 of the Rehabilitation Act of 1973 (Pub. L. 93-112), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 C.F.R. Part 84), to the end that, in accordance with Section 504 of
        that Act and the Regulation, no otherwise qualified individual with a disability in the United States shall, solely by reason of her or
        his disability, be excluded from participation in, be denied the benefits of, or be subjected to discrimination under any program or
        activity for which the Applicant receives Federal financial assistance from the Department.
    3. Title IX of the Education Amendments of 1972 (Pub. L. 92-318), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 C.F.R. Part 86), to the end that, in accordance with Title IX and the
        Regulation, no person in the United States shall, on the basis of sex, be excluded from participation in, be denied the benefits of,
        or be otherwise subjected to discrimination under any education program or activity for which the Applicant receives Federal
        financial assistance from the Department.
    4. The Age Discrimination Act of 1975 (Pub. L. 94-135), as amended, and all requirements imposed by or pursuant to the Regulation
        of the Department of Health and Human Services (45 C.F.R. Part 91), to the end that, in accordance with the Act and the Regulation,
        no person in the United States shall, on the basis of age, be denied the benefits of, be excluded from participation in, or be
        subjected to discrimination under any program or activity for which the Applicant receives Federal financial assistance from the
        Department.
    5. Section 1557 of the Affordable Care Act (Pub. L. 111-148), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 CFR Part 92), to the end that, in accordance with Section 1557 and
        the Regulation, no person in the United States shall, on the ground of race, color, national origin, sex, age, or disability be
        excluded from participation in, be denied the benefits of, or be subjected to discrimination under any health program or activity
        for which the Applicant receives Federal financial assistance from the Department.


   The Applicant agrees that compliance with this assurance constitutes a condition of continued receipt of Federal financial assistance,
   and that it is binding upon the Applicant, its successors, transferees and assignees for the period during which such assistance is
   provided. If any real property or structure thereon is provided or improved with the aid of Federal financial assistance extended to the
   Applicant by the Department, this assurance shall obligate the Applicant, or in the case of any transfer of such property, any transferee,
   for the period during which the real property or structure is used for a purpose for which the Federal financial assistance is extended
   or for another purpose involving the provision of similar services or benefits. If any personal property is so provided, this assurance
   shall obligate the Applicant for the period during which it retains ownership or possession of the property. The Applicant further
   recognizes and agrees that the United States shall have the right to seek judicial enforcement of this assurance.


   The grantee, as the awardee organization, is legally and financially responsible for all aspects of this award including funds provided to
   sub-recipients in accordance with 45 CFR §§ 75.351-75.352, Subrecipient monitoring and management.


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                                                                                 #:Subpart
   I hereby certify that the state or territory will comply with Title XIX, Part B, 3085II and Subpart III of the Public Health Service (PHS) Act, as amended, and
   summarized above, except for those sections in the PHS Act that do not apply or for which a waiver has been granted or may be granted by the Secretary
   for the period covered by this agreement.


   I also certify that the state or territory will comply with the Assurances Non-construction Programs and other Certifications summarized above.


   State:



   Name of Chief Executive Officer (CEO) or Designee:


                                  1
   Signature of CEO or Designee :


   Title: Assistant Director, Division of Behavioral Health &                      Date Signed:
            Recovery

                                                                                                                        mm/dd/yyyy




   1
    If the agreement is signed by an authorized designee, a copy of the designation must be attached.

   OMB No. 0930-0168 Approved: 04/19/2019 Expires: 04/30/2022

       Footnotes:




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                      Exhibit C
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                      Exhibit D
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   Enclosure
   [[Correspondence Token: 593f7461-2116-43c1-be2b-a1ba5068bbb4]] -- Do not delete or change
   this line. --
   Please 'Reply All' and do NOT delete eracorrespondence@nih.gov from the list of recipients or
   change the subject line.
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                      Exhibit E
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                                            Notice of Award
   MHBG                                                    Issue Date:                   05/17/2021
   Department of Health and Human Services
   Substance Abuse and Mental Health Services Administration

   Center for Mental Health Services



     Award Number: 1B09SM085384-01
     FAIN:          B09SM085384-01
     Contact Person:

     Program: Block Grants for Community Mental Health Services

     HEALTH CARE AUTHORITY
     626 8TH AVENUE SE

     OLYMPIA, WA 98501

     Award Period: 09/01/2021 – 09/30/2025

     Dear Grantee:

     The Substance Abuse and Mental Health Services Administration hereby awards a
     grant in the amount of     $33,202,279 (see “Award Calculation” in Section I) to
     HEALTH CARE AUTHORITY in support of the above referenced project. This award is
     pursuant to the authority of Subparts I&III,B,Title XIX,PHS Act/45 CFR Part96 and is
     subject to the requirements of this statute and regulation and of other referenced,
     incorporated or attached terms and conditions.

     Acceptance of this award including the “Terms and Conditions” is acknowledged by the
     grantee when funds are drawn down or otherwise obtained from the grant payment
     system.

     If you have any questions about this award, please contact your Grants Management
     Specialist and your Government Project Officer listed in your terms and conditions.


     Sincerely yours,

     Grants Management Officer
     Division of Grants Management

     See additional information below




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     SECTION I – AWARD DATA – 1B08S3 097- 9MU01

     FEDERAL FUNDS APPROVED:                                                                        $33,202,279

     A3 OHNT OF T( IS ACTION LFEDERA) S( AREl:                                                      $33,202,279

     CUMULATIVE AWARDS TO DATE:                                                                     $33,202,279

     UNAWARDED BALANCE OF CURRENT YEAR’S                                                                    $0
     FUNDS:


     Fiscaf InYormation:
     CFDA Number:              93.958
     EIN:                1911412780A
                                    1
     Document             21B1WACM
     Number:                    HSC6
     Fiscaf / ear:               2021

     IC                        CAN                                           01
     SM                        C96D540                                       $33,202,279



     PCC: CMHS GOC: 4115

     SECTION II – PA/ 3 ENTG( OT) INE INFOR3 ATION –                                     1B08S3 097- 9MU01

     Payments under this award will be made available through the HHS Payment
     Management System (PMS). PMS is a centralized grants payment and cash management
     system, operated by the HHS Program Support Center (PSC), Division of Payment
     Management (DPM). Inquiries regarding payment should be directed to: The Division of
     Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
     – Telephone Number: 1-877-614-5533.

     The HHS Inspector General maintains a toll-free hotline for receiving information
     concerning fraud, waste, or abuse under grants and cooperative agreements. The
     telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
     of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
     Independence Ave., SW, Washington, DC 20201.

     SECTION III – TER3 S AND CONDITIONS – 1B08S3 097- 9MU01

     STANDARD TER3 S AND CONDITIONS

     3 ( B2 F/ k0k1 ARPA Yunding
      Remarps:
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      This Notice of Award (NoA) provides American Rescue Plan Act of 2021 (ARPA)
      funding for the Community Mental Health Services (MHBG) Block Grant Program, in
      accordance with H.R. 1319 – American Rescue Plan Act of 2021 the ARPA Act, 2021
      [P.L. 117-2]. Consistent with HHS Disaster Relief Flexibilities, SAMHSA may waive
      requirements with respect to allowable activities, timelines, or reporting requirements
      for the MHBG, as deemed necessary to facilitate a grantee’s response to coronavirus.
      A proposal of the state’s spending plan must be submitted by July 2, 2021 via the Web
      Block Grant Application System (WebBGAS).
      Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
      grantees are required to upload the Plan document (Microsoft Word or pdf), using the
      associated tab in the State Information Section, Chief Executive Officer’s Funding
      Agreement – Certifications and Assurances/Letter Designating Signatory Authority
      [MH]. Please title this document “ARPA Funding Plan 2021-MH". States must upload
      separate proposals based on MHBG and SABG guidance into the WebBGAS system.
      Further information on this is included in the letter from Acting Assistant Secretary for
      Mental Health and Substance Use, Tom Coderre


      Standard Terms oYAward:
      1l Accehtance oYtve Terms oYan Award
      By drawing or otherwise obtaining funds from the HHS Payment Management System,
      the recipient acknowledges acceptance of the terms and conditions of the award and is
      obligated to perform in accordance with the requirements of the award. Except for any
      waiver granted explicitly elsewhere in this section, this award does not constitute
      approval for waiver of any Federal statutory/regulatory requirements for a MHBG.
      Once an award is accepted by a recipient, the contents of the Notice of Award (NoA)
      are binding on the recipient unless and until modified by a revised NoA signed by the
      GMO.
      CertiYication Statement: By drawing down funds, The recipient agrees to abide by
      the statutory requirements of all sections of the Mental Health Block Grant (MHBG)
      (Public Health Service Act, Sections 1911-1920 and sections 1941-1957) (42 U.S.C.
      300x-1-300x-9 and 300x-51-300x-67, as amended), and other administrative and legal
      requirements as applicable for the duration of the award.
      kl OYYiciaf Form Designee
      The States Chief Executive Officer, or authorized designee is considered the official
      form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
      must be notified immediately before any changes in this key position are made. Please
      note that individuals that are suspended or debarred are prohibited from serving on
      Federal grant awards.
      - l Ayaifabifitq oYFunds
      Funds provided under this grant must be obligated and expended by September 30,
      2025.
      Ml Fiscaf and administratiye re4uirements
                                                   Page 4 of 12
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      This award is subject to the administrative requirements for HHS block grants under
      45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
      75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
      requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
      (reference 45 CFR Part 75 Subpart B, 75.101(d)).
      Fiscaf controf and accounting hrocedures - Fiscal control and accounting procedures
      must be sufficient to (a) permit preparation of reports required by the statute
      authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
      adequate to establish that such funds have not been used in violation of the restrictions
      and prohibitions of the statute authorizing the block grant.
      ARPA funding is being issued under a separate grant award number and has a unique
      subaccount in the Payment Management System. Accordingly, ARPA funds must be
      tracked and reported separately from other FY 2021 awarded funds, including
      COVID-19 Supplemental funding and the Annual Block Grant Allotment.
      Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
      with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
      OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
      Organizations.” The audits shall be made by an independent auditor in accordance with
      generally accepted Government auditing standards covering financial audits.
      7l FfowUdown oYre4uirements to subUrecihients
      The grantee, as the awardee organization, is legally and financially responsible for all
      aspects of this award including funds provided to sub-recipients, in accordance with 45
      CFR 75.351-75.353, Sub-recipient monitoring and management.
      5l Earfq Serious 3 entaf Iffness SetUAside
      The 21st Century Cures Act, P.L. 114-255 amended Section 1920(c) of the Public
      Health Service Act (42 U.S.C. 300x 9(c)). States must set-aside not less than 10
      percent of their total MHBG allocation amount for each fiscal year to support
      evidence-based programs that address the needs of individuals with early serious
      mental illness, including psychotic disorders, regardless of the age of the individual at
      onset. In lieu of expending 10 percent of the amount, the State receives for a fiscal
      year, states have the flexibility to expend not less than 20 percent of such amount by
      the end of the succeeding fiscal year.
      xl E6ecutiye Paq
      The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
      December 27, 2020 restricts the amount of direct salary to Executive Level II of the
      Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
      Executive Level II is $199,300.
      For awards issued prior to this change, if adequate funds are available in active awards,
      and if the salary cap increase is consistent with the institutional base salary, recipients
      may re-budget to accommodate the current Executive Level II salary level. However,
      no additional funds will be provided to these grant awards.
      9l 3 arijuana Restriction:

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      Grant funds may not be used, directly or indirectly, to purchase, prescribe, or provide
      marijuana or treatment using marijuana. Treatment in this context includes the
      treatment of opioid use disorder. Grant funds also cannot be provided to any individual
      who or organization that provides or permits marijuana use for the purposes of treating
      substance use or mental disorders. See, e.g., 45 C.F.R. 75.300(a) (requiring HHS to
      ensure that Federal funding is expended . . . in full accordance with U.S. statutory . . .
      requirements.); 21 U.S.C. 812(c) (10) and 841 (prohibiting the possession,
      manufacture, sale, purchase or distribution of marijuana). This prohibition does not
      apply to those providing such treatment in the context of clinical research permitted by
      the DEA and under an FDA-approved investigational new drug application where the
      article being evaluated is marijuana or a constituent thereof that is otherwise a banned
      controlled substance under federal law.
      8l SA3 and DHNS Re4uirements
      THIS AWARD IS SUBJECT TO REQUIREMENTS AS SET FORTH IN 2 CFR
      25.110 CENTRAL CONTRACTOR REGISTRATION CCR) (NOW SAM) AND
      DATA UNIVERSAL NUMBER SYSTEM (DUNS) NUMBERS. 2 CFR Part 25 -
      Appendix A4
      System of Award Management (SAM) and Universal Identifier Requirements
      A. Requirement for System of Award Management:
      Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
      recipient, must maintain the currency of your information in the SAM, until you
      submit the final financial report required under this award or receive the final payment,
      whichever is later. This requires that you review and update the information at least
      annually after the initial registration, and more frequently if required by changes in
      your information or another award term.
      B. Requirement for unique entity identifier If you are authorized (reference project
      description) to make subawards under this award, you:
      1. Must notify potential subrecipients that no entity (see definition in paragraph C of
      this award term) may receive a subaward from you, unless the entity has provided its
      unique entity identifier to you.
      2. May not make a subaward to an entity, unless the entity has provided its unique
      entity identifier to you.
      C. Definitions. For purposes of this award term:
      1. System of Award Management (SAM) means the federal repository into which an
      entity must provide information required for the conduct of business as a recipient.
      Additional information about registration procedures may be found at the SAM
      Internet site (currently at: http://www.sam.gov).
      2. Unique entity identifier means the identifier required for SAM registration to
      uniquely identify business entities.
      3. Entity, as it is used in this award term, means all of the following, as defined at 2
      CFR Part 25, Subpart C:
      a. A governmental organization, which is a state, local government, or Indian Tribe; b.
      A foreign public entity; c. A domestic or foreign nonprofit organization; d. A domestic
      or foreign for-profit organization; and e. A Federal agency, but only as a sub-recipient
      under an award or sub-award to a nonfederal entity.
      4. Sub-award:

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      a. This term means a legal instrument to provide support for the performance of any
      portion of the substantive project or program for which you received this award and
      that you as the recipient award to an eligible sub-recipient. b. The term does not
      include your procurement of property and services needed to carry out the project or
      program (for further explanation, see 2 CFR 200.330). c. A sub-award may be
      provided through any legal agreement, including an agreement that you consider a
      contract.
      5. Sub-recipient means an entity that: a. Receives a sub-award from you under this
      award; and b. Is accountable to you for the use of the federal funds provided by the
      sub-award.
      10l Federaf Financiaf Accountabifitq and Transharencq Act LFFATAl
      Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part 170
      a. Reporting of first tier subawards.
      1. Applicability. Unless you are exempt as provided in paragraph d. of this award term,
      you must report each action that obligates $25,000 or more in Federal funds that does
      not include Recovery funds (as defined in section 1512(a)(2) of the American
      Recovery and Reinvestment Act of 2009, Pub. L. 111-5) for a subaward to an entity
      (see definitions in paragraph e. of this award term).
      2. Where and when to report.
      i. You must report each obligating action described in paragraph a.1. of this award
      term to http://www.fsrs.gov.
      ii. For subaward information, report no later than the end of the month following the
      month in which the obligation was made. (For example, if the obligation was made on
      November 7, 2010, the obligation must be reported by no later than December 31,
      2010.)
      3. What to report. You must report the information about each obligating action that
      the submission instructions posted at http://www.fsrs.gov specify.
      b. Reporting Total Compensation of Recipient Executives.
      1. Applicability and what to report. You must report total compensation for each of
      your five most highly compensated executives for the preceding completed fiscal year,
      if
      i. the total Federal funding authorized to date under this award is $25,000 or more;
      ii. in the preceding fiscal year, you received (A) 80 percent or more of your annual
      gross revenues from Federal procurement contracts (and subcontracts) and Federal
      financial assistance subject to the Transparency Act, as defined at 2 CFR 170. 320 (and
      subawards); and (B) $25,000,000 or more in annual gross revenues from Federal
      procurement contracts (and subcontracts) and Federal financial assistance subject to
      the Transparency Act, as defined at 2 CFR 170.320 (and subawards); and
      iii. The public does not have access to information about the compensation of the
      executives through periodic reports filed under section 13(a) or 15(d) of the Securities
      Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
      Revenue Code of 1986. (To determine if the public has access to the compensation
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      information, see the U.S. Security and Exchange Commission total compensation
      filings at http://www.sec.gov/answers/execomp.htm.)
      2. Where and when to report. You must report executive total compensation described
      in paragraph b. 1. of this award term:
      i. As part of your registration profile at https://www.sam.gov.
      ii. By the end of the month following the month in which this award is made, and
      annually thereafter.
      c. Reporting of Total Compensation of Subrecipient Executives.
      1. Applicability and what to report. Unless you are exempt as provided in paragraph d.
      of this award term, for each first tier subrecipient under this award, you shall report the
      names and total compensation of each of the subrecipient's five most highly
      compensated executives for the subrecipient's preceding completed fiscal year, if
      i. in the subrecipient's preceding fiscal year, the subrecipient received (A) 80 percent or
      more of its annual gross revenues from Federal procurement contracts (and
      subcontracts) and Federal financial assistance subject to the Transparency Act, as
      defined at 2 CFR 170.320 (and subawards); and (B) $25,000,000 or more in annual
      gross revenues from Federal procurement contracts (and subcontracts), and Federal
      financial assistance subject to the Transparency Act (and subawards); and
      ii. The public does not have access to information about the compensation of the
      executives through periodic reports filed under section 13(a) or 15(d) of the Securities
      Exchange Act of 1934 (15 U.S.C. 78m(a), 78o(d)) or section 6104 of the Internal
      Revenue Code of 1986. (To determine if the public has access to the compensation
      information, see the U.S. Security and Exchange Commission total compensation
      filings at http://www.sec.gov/answers/execomp.htm.)
      2. Where and when to report. You must report subrecipient executive total
      compensation described in paragraph c. 1. of this award term:
      i. To the recipient.
      ii. By the end of the month following the month during which you make the subaward.
      For example, if a subaward is obligated on any date during the month of October of a
      given year (i.e., between October 1 and 31), you must report any required
      compensation information of the subrecipient by November 30 of that year.
      d. Exemptions If, in the previous tax year, you had gross income, from all sources,
      under $300,000, you are exempt from the requirements to report:
      i. Subawards, and
      ii. The total compensation of the five most highly compensated executives of any
      subrecipient.
      e. Definitions. For purposes of this award term:
      1. Entity means all of the following, as defined in 2 CFR part 25:
      i. A Governmental organization, which is a State, local government, or Indian tribe;
      ii. A foreign public entity;
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      iii. A domestic or foreign nonprofit organization;
      iv. A domestic or foreign for-profit organization;
      v. A Federal agency, but only as a subrecipient under an award or subaward to a non-
      Federal entity.
      2. Executive means officers, managing partners, or any other employees in
      management positions.
      3. Subaward:
      i. This term means a legal instrument to provide support for the performance of any
      portion of the substantive project or program for which you received this award and
      that you as the recipient award to an eligible subrecipient.
      ii. The term does not include your procurement of property and services needed to
      carry out the project or program (for further explanation, see Sec. __. 210 of the
      attachment to OMB Circular A-133, Audits of States, Local Governments, and
      Nonprofit Organizations).
      iii. A subaward may be provided through any legal agreement, including an agreement
      that you or a subrecipient considers a contract.
      4. Subrecipient means an entity that: i. Receives a subaward from you (the recipient)
      under this award; and ii. Is accountable to you for the use of the Federal funds
      provided by the subaward.
      5. Total compensation means the cash and noncash dollar value earned by the
      executive during the recipient's or subrecipient's preceding fiscal year and includes the
      following (for more information see 17 CFR 229.402(c)(2)):
      i. Salary and bonus.
      ii. Awards of stock, stock options, and stock appreciation rights. Use the dollar amount
      recognized for financial statement reporting purposes with respect to the fiscal year in
      accordance with the Statement of Financial Accounting Standards No. 123 (Revised
      2004) (FAS 123R), Shared Based Payments.
      iii. Earnings for services under non-equity incentive plans. This does not include group
      life, health, hospitalization or medical reimbursement plans that do not discriminate in
      favor of executives and are available generally to all salaried employees.
      iv. Change in pension value. This is the change in present value of defined benefit and
      actuarial pension plans.
      v. Above-market earnings on deferred compensation which is not tax-qualified. vi.
      Other compensation, if the aggregate value of all such other compensation (e.g.
      severance, termination payments, value of life insurance paid on behalf of the
      employee, perquisites or property) for the executive exceeds $10,000. [75 FR 55669,
      Sept. 14, 2010, as amended at 79 FR 75879, Dec. 19, 2014]
      11l 3 andatorq Discfosures
      Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
      manner, in writing to the HHS Office of Inspector General (OIG), all information

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      related to violations, or suspected violations, of Federal criminal law involving fraud,
      bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
      must disclose, in a timely manner, in writing to the prime recipient (pass through
      entity) and the HHS OIG, all information related to violations, or suspected violations,
      of Federal criminal law involving fraud, bribery, or gratuity violations potentially
      affecting the Federal award. Disclosures must be sent in writing to the awarding
      agency and to the HHS OIG at the following addresses:
      U.S. Department of Health and Human Services Office of Inspector General
      ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence Avenue,
      SW, Cohen Building Room5527 Washington, DC 20201
      Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or email:
      MandatoryGranteeDisclosures@oig.hhs.gov
      Failure to make required disclosures can result in any of the remedies described in 45
      CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
      CFR parts 180 & 376 and 31 U.S.C. 3321).
      1kl Tve TraYYicping Victims Protection Act oYk000 Lkk H.S.C. x10ML2 ll, as
      amended, and k C.F.R. PART 1x7
      The Trafficking Victims Protection Act of 2000 authorizes termination of financial
      assistance provided to a private entity, without penalty to the Federal government, if
      the recipient or subrecipient engages in certain activities related to trafficking in
      persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
      entity recipient, or a private entity subrecipient, or their employees: a) Engage in
      severe forms of trafficking in persons during the period of time that the award is in
      effect; b) Procure a commercial sex act during the period of time that the award is in
      effect; or, c) Use forced labor in the performance of the award or subawards under the
      award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
      http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
      sec175-15.pdf.
      1- l DrugUFree Worphface Re4uirements
      The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
      organizations receiving grants from any Federal agency agree to maintain a drug-free
      workplace. When the AR signed the application, the AR agreed that the recipient will
      provide a drug-free workplace and will comply with the requirement to notify
      SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
      comply with these requirements may be cause for debarment. Government wide
      requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
      part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
      recipients of SAMHSA grant funds must comply with the requirements in Subpart B
      (or Subpart C if the recipient is an individual) of Part 382.
      1Ml ) obbqing
      No funds provided under the attached Notice of Award (NoA) may be used by you or
      any sub-recipient under the grant to support lobbying activities to influence proposed
      or pending federal or state legislation or appropriations. The prohibition relates to the
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      use of federal grant funds and is not intended to affect your right or that of any other
      organization, to petition Congress or any other level of government, through the use of
      other nonfederal resources. Reference 45 CFR Part 93.
      17l Accessibifitq Proyisions
      Grant recipients of Federal financial assistance (FFA) from HHS must administer their
      programs in compliance with Federal civil rights law. This means that recipients of
      HHS funds must ensure equal access to their programs without regard to a person s
      race, color, national origin, disability, age, and in some circumstances, sex and
      religion. This includes ensuring your programs are accessible to persons with limited
      English proficiency. The HHS Office for Civil Rights also provides guidance on
      complying with civil rights laws enforced by HHS. Please see
      http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
      of FFA also have specific legal obligations for serving qualified individuals with
      disabilities. Please see
      http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
      the HHS Office for Civil Rights for more information about obligations and
      prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
      rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
      an HHS Departmental goal to ensure access to quality, culturally competent care,
      including long-term services and supports, for vulnerable populations. For further
      guidance on providing culturally and linguistically appropriate services, recipients
      should review the National Standards for Culturally and Linguistically Appropriate
      Services in Health and Health Care at
      https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
      15l Audits
      Non-Federal recipients that expend $750,000 or more in federal awards during the
      recipient's fiscal year must obtain an audit conducted for that year in accordance with
      the provisions of 45 CFR 96.31.
      Recipients are responsible for submitting their Single Audit Reports and the Data
      Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
      Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
      after the FY s end of the audit period. The FAC operates on behalf of the OMB.
      For specific questions and information concerning the submission process: Visit the
      Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
      toll-free number: (800) 253-0696


      Rehorting Re4uirements:
      Federaf Financiaf Rehort LFFRl
      The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
      close of the performance period (project period). The SF-425 shall report total funds
      obligated and total funds expended by the grantee.
      Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
      Financial Report (FFR) via the Payment Management System (PMS). If the individual
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                      Exhibit )
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   State Information                                                  #: 3122


   Chief Executive Officer's Funding Agreement - Certifications and Assurances / Letter Designating Signatory Authority [MH]



   Fiscal Year 2021
                                                           U.S. Department of Health and Human Services
                                                    Substance Abuse and Mental Health Services Administrations
                                                                      Funding Agreements
                                                                             as required by
                                                       Community Mental Health Services Block Grant Program
                                                                            as authorized by
                                              Title XIX, Part B, Subpart II and Subpart III of the Public Health Service Act
                                                                                   and
                                                   Tile 42, Chapter 6A, Subchapter XVII of the United States Code



                                                     Title XIX, Part B, Subpart II of the Public Health Service Act



        Section                                                                 Title                                                      Chapter


    Section 1911      Formula Grants to States                                                                                        42 USC § 300x


    Section 1912      State Plan for Comprehensive Community Mental Health Services for Certain Individuals                           42 USC § 300x-1


    Section 1913      Certain Agreements                                                                                              42 USC § 300x-2


    Section 1914      State Mental Health Planning Council                                                                            42 USC § 300x-3


    Section 1915      Additional Provisions                                                                                           42 USC § 300x-4


    Section 1916      Restrictions on Use of Payments                                                                                 42 USC § 300x-5


    Section 1917      Application for Grant                                                                                           42 USC § 300x-6


                                                     Title XIX, Part B, Subpart III of the Public Health Service Act


    Section 1941      Opportunity for Public Comment on State Plans                                                                   42 USC § 300x-51


    Section 1942      Requirement of Reports and Audits by States                                                                     42 USC § 300x-52


    Section 1943      Additional Requirements                                                                                         42 USC § 300x-53


    Section 1946      Prohibition Regarding Receipt of Funds                                                                          42 USC § 300x-56


    Section 1947      Nondiscrimination                                                                                               42 USC § 300x-57


    Section 1953      Continuation of Certain Programs                                                                                42 USC § 300x-63


    Section 1955      Services Provided by Nongovernmental Organizations                                                              42 USC § 300x-65


    Section 1956      Services for Individuals with Co-Occurring Disorders                                                            42 USC § 300x-66



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                                          ASSURANCES - NON-CONSTRUCTION PROGRAMS

   Certain of these assurances may not be applicable to your project or program. If you have questions, please contact the
   awarding agency. Further, certain Federal awarding agencies may require applicants to certify to additional assurances. If such is
   the case, you will be notified.


   As the duly authorized representative of the applicant I certify that the applicant:


    1. Has the legal authority to apply for Federal assistance, and the institutional, managerial and financial capability (including funds
        sufficient to pay the non-Federal share of project costs) to ensure proper planning, management and completion of the project
        described in this application.
    2. Will give the awarding agency, the Comptroller General of the United States, and if appropriate, the State, through any authorized
        representative, access to and the right to examine all records, books, papers, or documents related to the award; and will establish
        a proper accounting system in accordance with generally accepted accounting standard or agency directives.
    3. Will establish safeguards to prohibit employees from using their positions for a purpose that constitutes or presents the
        appearance of personal or organizational conflict of interest, or personal gain.
    4. Will initiate and complete the work within the applicable time frame after receipt of approval of the awarding agency.
    5. Will comply with the Intergovernmental Personnel Act of 1970 (42 U.S.C. §§4728-4763) relating to prescribed standards for merit
        systems for programs funded under one of the nineteen statutes or regulations specified in Appendix A of OPM's Standard for a
        Merit System of Personnel Administration (5 C.F.R. 900, Subpart F).
    6. Will comply with all Federal statutes relating to nondiscrimination. These include but are not limited to: (a) Title VI of the Civil Rights
        Act of 1964 (P.L. 88-352) which prohibits discrimination on the basis of race, color or national origin; (b) Title IX of the Education
        Amendments of 1972, as amended (20 U.S.C. §§1681-1683, and 1685-1686), which prohibits discrimination on the basis of sex; (c)
        Section 504 of the Rehabilitation Act of 1973, as amended (29 U.S.C. §§794), which prohibits discrimination on the basis of
        handicaps; (d) the Age Discrimination Act of 1975, as amended (42 U.S.C. §§6101-6107), which prohibits discrimination on the basis
        of age; (e) the Drug Abuse Office and Treatment Act of 1972 (P.L. 92-255), as amended, relating to nondiscrimination on the basis
        of drug abuse; (f) the Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment and Rehabilitation Act of 1970 (P.L. 91-
        616), as amended, relating to nondiscrimination on the basis of alcohol abuse or alcoholism; (g) §§523 and 527 of the Public Health
        Service Act of 1912 (42 U.S.C. §§290 dd-3 and 290 ee-3), as amended, relating to confidentiality of alcohol and drug abuse patient
        records; (h) Title VIII of the Civil Rights Act of 1968 (42 U.S.C. §§3601 et seq.), as amended, relating to non-discrimination in the sale,
        rental or financing of housing; (i) any other nondiscrimination provisions in the specific statute(s) under which application for
        Federal assistance is being made; and (j) the requirements of any other nondiscrimination statute(s) which may apply to the
        application.
    7. Will comply, or has already complied, with the requirements of Title II and III of the Uniform Relocation Assistance and Real
        Property Acquisition Policies Act of 1970 (P.L. 91-646) which provide for fair and equitable treatment of persons displaced or
        whose property is acquired as a result of Federal or federally assisted programs. These requirements apply to all interests in real
        property acquired for project purposes regardless of Federal participation in purchases.
    8. Will comply with the provisions of the Hatch Act (5 U.S.C. §§1501-1508 and 7324-7328) which limit the political activities of
        employees whose principal employment activities are funded in whole or in part with Federal funds.
    9. Will comply, as applicable, with the provisions of the Davis-Bacon Act (40 U.S.C. §§276a to 276a-7), the Copeland Act (40 U.S.C.
        §276c and 18 U.S.C. §874), and the Contract Work Hours and Safety Standards Act (40 U.S.C. §§327-333), regarding labor standards
        for federally assisted construction subagreements.
   10. Will comply, if applicable, with flood insurance purchase requirements of Section 102(a) of the Flood Disaster Protection Act of
        1973 (P.L. 93-234) which requires recipients in a special flood hazard area to participate in the program and to purchase flood
        insurance if the total cost of insurable construction and acquisition is $10,000 or more.
   11. Will comply with environmental standards which may be prescribed pursuant to the following: (a) institution of environmental
        quality control measures under the National Environmental Policy Act of 1969 (P.L. 91-190) and Executive Order (EO) 11514; (b)
        notification of violating facilities pursuant to EO 11738; (c) protection of wetland pursuant to EO 11990; (d) evaluation of flood
        hazards in floodplains in accordance with EO 11988; (e) assurance of project consistency with the approved State management
        program developed under the Costal Zone Management Act of 1972 (16 U.S.C. §§1451 et seq.); (f) conformity of Federal actions to
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        State (Clear Air) Implementation Plans under Section 176(c) of the Clear Air Act of 1955, as amended (42 U.S.C. §§7401 et seq.); (g)
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        protection of underground sources of drinking water under the Safe Drinking Water Act of 1974, as amended, (P.L. 93-523); and (h)
        protection of endangered species under the Endangered Species Act of 1973, as amended, (P.L. 93-205).
   12. Will comply with the Wild and Scenic Rivers Act of 1968 (16 U.S.C. §§1271 et seq.) related to protecting components or potential
        components of the national wild and scenic rivers system.
   13. Will assist the awarding agency in assuring compliance with Section 106 of the National Historic Preservation Act of 1966, as
        amended (16 U.S.C. §470), EO 11593 (identification and protection of historic properties), and the Archaeological and Historic
        Preservation Act of 1974 (16 U.S.C. §§469a-1 et seq.).
   14. Will comply with P.L. 93-348 regarding the protection of human subjects involved in research, development, and related activities
        supported by this award of assistance.
   15. Will comply with the Laboratory Animal Welfare Act of 1966 (P.L. 89-544, as amended, 7 U.S.C. §§2131 et seq.) pertaining to the
        care, handling, and treatment of warm blooded animals held for research, teaching, or other activities supported by this award of
        assistance.
   16. Will comply with the Lead-Based Paint Poisoning Prevention Act (42 U.S.C. §§4801 et seq.) which prohibits the use of lead based
        paint in construction or rehabilitation of residence structures.
   17. Will cause to be performed the required financial and compliance audits in accordance with the Single Audit Act of 1984.
   18. Will comply with all applicable requirements of all other Federal laws, executive orders, regulations and policies governing this
        program.
   19. Will comply with the requirements of Section 106(g) of the Trafficking Victims Protection Act (TVPA) of 2000, as amended (22 U.S.C.
        7104) which prohibits grant award recipients or a sub-recipient from (1) Engaging in severe forms of trafficking in persons during
        the period of time that the award is in effect (2) Procuring a commercial sex act during the period of time that the award is in effect
        or (3) Using forced labor in the performance of the award or subawards under the award.




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                                                          LIST of CERTIFICATIONS
   1. Certification Regarding Debarment and Suspension


   The undersigned (authorized official signing for the applicant organization) certifies to the best of his or her knowledge and belief, that
   the applicant, defined as the primary participant in accordance with 2 CFR part 180, and its principals:
    a. Agrees to comply with 2 CFR Part 180, Subpart C by administering each lower tier subaward or contract that exceeds $25,000 as a
        "covered transaction" and verify each lower tier participant of a "covered transaction" under the award is not presently debarred
        or otherwise disqualified from participation in this federally assisted project by:
         a. Checking the Exclusion Extract located on the System for Award Management (SAM) at http://sam.gov
         b. Collecting a certification statement similar to paragraph (a)
         c. Inserting a clause or condition in the covered transaction with the lower tier contract


   2. Certification Regarding Drug-Free Workplace Requirements


   The undersigned (authorized official signing for the applicant organization) certifies that the applicant will, or will continue to, provide a
   drug-free work-place in accordance with 2 CFR Part 182by:
    a. Publishing a statement notifying employees that the unlawful manufacture, distribution, dispensing, possession or use of a
        controlled substance is prohibited in the grantee's work-place and specifying the actions that will be taken against employees for
        violation of such prohibition;
    b. Establishing an ongoing drug-free awareness program to inform employees about--
         1. The dangers of drug abuse in the workplace;
         2. The grantee's policy of maintaining a drug-free workplace;
         3. Any available drug counseling, rehabilitation, and employee assistance programs; and
         4. The penalties that may be imposed upon employees for drug abuse violations occurring in the workplace;
     c. Making it a requirement that each employee to be engaged in the performance of the grant be given a copy of the statement
        required by paragraph (a) above;
    d. Notifying the employee in the statement required by paragraph (a), above, that, as a condition of employment under the grant, the
        employee will--
         1. Abide by the terms of the statement; and
         2. Notify the employer in writing of his or her conviction for a violation of a criminal drug statute occurring in the workplace no
             later than five calendar days after such conviction;
    e. Notifying the agency in writing within ten calendar days after receiving notice under paragraph (d)(2) from an employee or
        otherwise receiving actual notice of such conviction. Employers of convicted employees must provide notice, including position title,
        to every grant officer or other designee on whose grant activity the convicted employee was working, unless the Federal agency
        has designated a central point for the receipt of such notices. Notice shall include the identification number(s) of each affected
        grant;
     f. Taking one of the following actions, within 30 calendar days of receiving notice under paragraph (d) (2), with respect to any
        employee who is so convicted?
         1. Taking appropriate personnel action against such an employee, up to and including termination, consistent with the
             requirements of the Rehabilitation Act of 1973, as amended; or
         2. Requiring such employee to participate satisfactorily in a drug abuse assistance or rehabilitation program approved for such
             purposes by a Federal, State, or local health, law enforcement, or other appropriate agency;
    g. Making a good faith effort to continue to maintain a drug-free workplace through implementation of paragraphs (a), (b), (c), (d),
        (e), and (f).


   3. Certifications Regarding Lobbying


   Per 45 CFR §75.215, Recipients are subject to the restrictions on lobbying as set forth in 45 CFR part 93. Title 31, United States Code,
   Section 1352, entitled "Limitation on use of appropriated funds to influence certain Federal contracting and financial transactions,"
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   generally prohibits recipients of Federal grants and cooperative agreements from using Federal (appropriated) funds for lobbying the
                                                               #: 3126
   Executive or Legislative Branches of the Federal Government in connection with a SPECIFIC grant or cooperative agreement. Section
   1352 also requires that each person who requests or receives a Federal grant or cooperative agreement must disclose lobbying
   undertaken with non-Federal (non- appropriated) funds. These requirements apply to grants and cooperative agreements EXCEEDING
   $100,000 in total costs.


   The undersigned (authorized official signing for the applicant organization) certifies, to the best of his or her knowledge and belief, that
    1. No Federal appropriated funds have been paid or will be paid, by or on behalf of the undersigned to any person for influencing
        or attempting to influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or
        an employee of a Member of Congress in connection with the awarding of any Federal contract, the making of any Federal grant,
        the making of any Federal loan, the entering into of any cooperative agreement, and the extension, continuation, renewal,
        amendment, or modification of any Federal contract, grant, loan, or cooperative agreement.
    2. If any funds other than Federally appropriated funds have been paid or will be paid to any person for influencing or attempting to
        influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or an employee of a
        Member of Congress in connection with this Federal contract, grant, loan, or cooperative agreement, the undersigned shall
        complete and submit Standard Form-LLL, "Disclosure of Lobbying Activities," in accordance with its instructions. (If needed,
        Standard Form-LLL, "Disclosure of Lobbying Activities," its instructions, and continuation sheet are included at the end of this
        application form.)
    3. The undersigned shall require that the language of this certification be included in the award documents for all subawards at all
        tiers (including subcontracts, subgrants, and contracts under grants, loans and cooperative agreements) and that all subrecipients
        shall certify and disclose accordingly.


   This certification is a material representation of fact upon which reliance was placed when this transaction was made or entered into.
   Submission of this certification is a prerequisite for making or entering into this transaction imposed by Section 1352, U.S. Code. Any
   person who fails to file the required certification shall be subject to a civil penalty of not less than $10,000 and not more than $100,000
   for each such failure.


   4. Certification Regarding Program Fraud Civil Remedies Act (PFCRA) (31 U.S.C § 3801- 3812)


   The undersigned (authorized official signing for the applicant organization) certifies that the statements herein are true, complete, and
   accurate to the best of his or her knowledge, and that he or she is aware that any false, fictitious, or fraudulent statements or claims
   may subject him or her to criminal, civil, or administrative penalties. The undersigned agrees that the applicant organization will comply
   with the Public Health Service terms and conditions of award if a grant is awarded as a result of this application.


   5. Certification Regarding Environmental Tobacco Smoke


   Public Law 103-227, also known as the Pro-Children Act of 1994 (Act), requires that smoking not be permitted in any portion of any
   indoor facility owned or leased or contracted for by an entity and used routinely or regularly for the provision of health, daycare, early
   childhood development services, education or library services to children under the age of 18, if the services are funded by Federal
   programs either directly or through State or local governments, by Federal grant, contract, loan, or loan guarantee. The law also
   applies to children's services that are provided in indoor facilities that are constructed, operated, or maintained with such Federal
   funds. The law does not apply to children's services provided in private residence, portions of facilities used for inpatient drug or
   alcohol treatment, service providers whose sole source of applicable Federal funds is Medicare or Medicaid, or facilities where WIC
   coupons are redeemed.


   Failure to comply with the provisions of the law may result in the imposition of a civil monetary penalty of up to $1,000 for each
   violation and/or the imposition of an administrative compliance order on the responsible entity.


   By signing the certification, the undersigned certifies that the applicant organization will comply with the requirements of the Act and
   will not allow smoking within any portion of any indoor facility used for the provision of services for children as defined by the Act.


   The applicant organization agrees that it will require that the language of this certification be included in any subawards which contain
   provisions for children's services and that all subrecipients shall certify accordingly.

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   The Public Health Services strongly encourages all grant recipients to provide a smoke-free workplace and promote the non-use of
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   tobacco products. This is consistent with the PHS mission to protect and advance the physical and mental health of the American
   people.


   HHS Assurances of Compliance (HHS 690)


   ASSURANCE OF COMPLIANCE WITH TITLE VI OF THE CIVIL RIGHTS ACT OF 1964, SECTION 504 OF THE REHABILITATION ACT OF 1973,
   TITLE IX OF THE EDUCATION AMENDMENTS OF 1972, THE AGE DISCRIMINATION ACT OF 1975, AND SECTION 1557 OF THE
   AFFORDABLE CARE ACT


   The Applicant provides this assurance in consideration of and for the purpose of obtaining Federal grants, loans, contracts, property,
   discounts or other Federal financial assistance from the U.S. Department of Health and Human Services.


   THE APPLICANT HEREBY AGREES THAT IT WILL COMPLY WITH:


    1. Title VI of the Civil Rights Act of 1964 (Pub. L. 88-352), as amended, and all requirements imposed by or pursuant to the Regulation
        of the Department of Health and Human Services (45 C.F.R. Part 80), to the end that, in accordance with Title VI of that Act and the
        Regulation, no person in the United States shall, on the ground of race, color, or national origin, be excluded from participation in,
        be denied the benefits of, or be otherwise subjected to discrimination under any program or activity for which the Applicant
        receives Federal financial assistance from the Department.
    2. Section 504 of the Rehabilitation Act of 1973 (Pub. L. 93-112), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 C.F.R. Part 84), to the end that, in accordance with Section 504 of
        that Act and the Regulation, no otherwise qualified individual with a disability in the United States shall, solely by reason of her or
        his disability, be excluded from participation in, be denied the benefits of, or be subjected to discrimination under any program or
        activity for which the Applicant receives Federal financial assistance from the Department.
    3. Title IX of the Education Amendments of 1972 (Pub. L. 92-318), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 C.F.R. Part 86), to the end that, in accordance with Title IX and the
        Regulation, no person in the United States shall, on the basis of sex, be excluded from participation in, be denied the benefits of,
        or be otherwise subjected to discrimination under any education program or activity for which the Applicant receives Federal
        financial assistance from the Department.
    4. The Age Discrimination Act of 1975 (Pub. L. 94-135), as amended, and all requirements imposed by or pursuant to the Regulation
        of the Department of Health and Human Services (45 C.F.R. Part 91), to the end that, in accordance with the Act and the Regulation,
        no person in the United States shall, on the basis of age, be denied the benefits of, be excluded from participation in, or be
        subjected to discrimination under any program or activity for which the Applicant receives Federal financial assistance from the
        Department.
    5. Section 1557 of the Affordable Care Act (Pub. L. 111-148), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 CFR Part 92), to the end that, in accordance with Section 1557 and
        the Regulation, no person in the United States shall, on the ground of race, color, national origin, sex, age, or disability be
        excluded from participation in, be denied the benefits of, or be subjected to discrimination under any health program or activity
        for which the Applicant receives Federal financial assistance from the Department.


   The Applicant agrees that compliance with this assurance constitutes a condition of continued receipt of Federal financial assistance,
   and that it is binding upon the Applicant, its successors, transferees and assignees for the period during which such assistance is
   provided. If any real property or structure thereon is provided or improved with the aid of Federal financial assistance extended to the
   Applicant by the Department, this assurance shall obligate the Applicant, or in the case of any transfer of such property, any transferee,
   for the period during which the real property or structure is used for a purpose for which the Federal financial assistance is extended
   or for another purpose involving the provision of similar services or benefits. If any personal property is so provided, this assurance
   shall obligate the Applicant for the period during which it retains ownership or possession of the property. The Applicant further
   recognizes and agrees that the United States shall have the right to seek judicial enforcement of this assurance.


   The grantee, as the awardee organization, is legally and financially responsible for all aspects of this award including funds provided to
   sub-recipients in accordance with 45 CFR §§ 75.351-75.352, Subrecipient monitoring and management.


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                                                                                 #:Subpart
   I hereby certify that the state or territory will comply with Title XIX, Part B, 3128II and Subpart III of the Public Health Service (PHS) Act, as amended, and
   summarized above, except for those sections in the PHS Act that do not apply or for which a waiver has been granted or may be granted by the Secretary
   for the period covered by this agreement.


   I also certify that the state or territory will comply with the Assurances Non-Construction Programs and Certifications summarized above.


   Name of Chief Executive Officer (CEO) or Designee:


                                  1
   Signature of CEO or Designee :


   Title:                                                                          Date Signed:

                                                                                                                        mm/dd/yyyy


   1
    If the agreement is signed by an authorized designee, a copy of the designation must be attached.

   OMB No. 0930-0168 Approved: 04/19/2019 Expires: 04/30/2022

       Footnotes:




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   State Information                                                  #: 3129


   Chief Executive Officer's Funding Agreement - Certifications and Assurances / Letter Designating Signatory Authority [MH]



   Fiscal Year 2021
                                                           U.S. Department of Health and Human Services
                                                    Substance Abuse and Mental Health Services Administrations
                                                                      Funding Agreements
                                                                             as required by
                                                       Community Mental Health Services Block Grant Program
                                                                            as authorized by
                                              Title XIX, Part B, Subpart II and Subpart III of the Public Health Service Act
                                                                                   and
                                                   Tile 42, Chapter 6A, Subchapter XVII of the United States Code



                                                     Title XIX, Part B, Subpart II of the Public Health Service Act



         Section                                                                Title                                                      Chapter


    Section 1911      Formula Grants to States                                                                                        42 USC § 300x


    Section 1912      State Plan for Comprehensive Community Mental Health Services for Certain Individuals                           42 USC § 300x-1


    Section 1913      Certain Agreements                                                                                              42 USC § 300x-2


    Section 1914      State Mental Health Planning Council                                                                            42 USC § 300x-3


    Section 1915      Additional Provisions                                                                                           42 USC § 300x-4


    Section 1916      Restrictions on Use of Payments                                                                                 42 USC § 300x-5


    Section 1917      Application for Grant                                                                                           42 USC § 300x-6


                                                     Title XIX, Part B, Subpart III of the Public Health Service Act


    Section 1941      Opportunity for Public Comment on State Plans                                                                   42 USC § 300x-51


    Section 1942      Requirement of Reports and Audits by States                                                                     42 USC § 300x-52


    Section 1943      Additional Requirements                                                                                         42 USC § 300x-53


    Section 1946      Prohibition Regarding Receipt of Funds                                                                          42 USC § 300x-56


    Section 1947      Nondiscrimination                                                                                               42 USC § 300x-57


    Section 1953      Continuation of Certain Programs                                                                                42 USC § 300x-63


    Section 1955      Services Provided by Nongovernmental Organizations                                                              42 USC § 300x-65


    Section 1956      Services for Individuals with Co-Occurring Disorders                                                            42 USC § 300x-66



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                                            ASSURANCES - NON-CONSTRUCTION PROGRAMS

   Certain of these assurances may not be applicable to your project or program. If you have questions, please contact the
   awarding agency. Further, certain Federal awarding agencies may require applicants to certify to additional assurances. If such is
   the case, you will be notified.


   As the duly authorized representative of the applicant I certify that the applicant:


     1. Has the legal authority to apply for Federal assistance, and the institutional, managerial and financial capability (including funds
        sufficient to pay the non-Federal share of project costs) to ensure proper planning, management and completion of the project
        described in this application.
     2. Will give the awarding agency, the Comptroller General of the United States, and if appropriate, the State, through any authorized
        representative, access to and the right to examine all records, books, papers, or documents related to the award; and will establish
        a proper accounting system in accordance with generally accepted accounting standard or agency directives.
     3. Will establish safeguards to prohibit employees from using their positions for a purpose that constitutes or presents the
        appearance of personal or organizational conflict of interest, or personal gain.
     4. Will initiate and complete the work within the applicable time frame after receipt of approval of the awarding agency.
     5. Will comply with the Intergovernmental Personnel Act of 1970 (42 U.S.C. §§4728-4763) relating to prescribed standards for merit
        systems for programs funded under one of the nineteen statutes or regulations specified in Appendix A of OPM's Standard for a
        Merit System of Personnel Administration (5 C.F.R. 900, Subpart F).
     6. Will comply with all Federal statutes relating to nondiscrimination. These include but are not limited to: (a) Title VI of the Civil Rights
        Act of 1964 (P.L. 88-352) which prohibits discrimination on the basis of race, color or national origin; (b) Title IX of the Education
        Amendments of 1972, as amended (20 U.S.C. §§1681-1683, and 1685-1686), which prohibits discrimination on the basis of sex; (c)
        Section 504 of the Rehabilitation Act of 1973, as amended (29 U.S.C. §§794), which prohibits discrimination on the basis of
        handicaps; (d) the Age Discrimination Act of 1975, as amended (42 U.S.C. §§6101-6107), which prohibits discrimination on the basis
        of age; (e) the Drug Abuse Office and Treatment Act of 1972 (P.L. 92-255), as amended, relating to nondiscrimination on the basis
        of drug abuse; (f) the Comprehensive Alcohol Abuse and Alcoholism Prevention, Treatment and Rehabilitation Act of 1970 (P.L. 91-
        616), as amended, relating to nondiscrimination on the basis of alcohol abuse or alcoholism; (g) §§523 and 527 of the Public Health
        Service Act of 1912 (42 U.S.C. §§290 dd-3 and 290 ee-3), as amended, relating to confidentiality of alcohol and drug abuse patient
        records; (h) Title VIII of the Civil Rights Act of 1968 (42 U.S.C. §§3601 et seq.), as amended, relating to non-discrimination in the sale,
        rental or financing of housing; (i) any other nondiscrimination provisions in the specific statute(s) under which application for
        Federal assistance is being made; and (j) the requirements of any other nondiscrimination statute(s) which may apply to the
        application.
     7. Will comply, or has already complied, with the requirements of Title II and III of the Uniform Relocation Assistance and Real
        Property Acquisition Policies Act of 1970 (P.L. 91-646) which provide for fair and equitable treatment of persons displaced or
        whose property is acquired as a result of Federal or federally assisted programs. These requirements apply to all interests in real
        property acquired for project purposes regardless of Federal participation in purchases.
     8. Will comply with the provisions of the Hatch Act (5 U.S.C. §§1501-1508 and 7324-7328) which limit the political activities of
        employees whose principal employment activities are funded in whole or in part with Federal funds.
     9. Will comply, as applicable, with the provisions of the Davis-Bacon Act (40 U.S.C. §§276a to 276a-7), the Copeland Act (40 U.S.C.
        §276c and 18 U.S.C. §874), and the Contract Work Hours and Safety Standards Act (40 U.S.C. §§327-333), regarding labor standards
        for federally assisted construction subagreements.
   10. Will comply, if applicable, with flood insurance purchase requirements of Section 102(a) of the Flood Disaster Protection Act of
        1973 (P.L. 93-234) which requires recipients in a special flood hazard area to participate in the program and to purchase flood
        insurance if the total cost of insurable construction and acquisition is $10,000 or more.
   11. Will comply with environmental standards which may be prescribed pursuant to the following: (a) institution of environmental
        quality control measures under the National Environmental Policy Act of 1969 (P.L. 91-190) and Executive Order (EO) 11514; (b)
        notification of violating facilities pursuant to EO 11738; (c) protection of wetland pursuant to EO 11990; (d) evaluation of flood
        hazards in floodplains in accordance with EO 11988; (e) assurance of project consistency with the approved State management
        program developed under the Costal Zone Management Act of 1972 (16 U.S.C. §§1451 et seq.); (f) conformity of Federal actions to
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        State (Clear Air) Implementation Plans under Section 176(c) of the Clear Air Act of 1955, as amended (42 U.S.C. §§7401 et seq.); (g)
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        protection of underground sources of drinking water under the Safe Drinking Water Act of 1974, as amended, (P.L. 93-523); and (h)
        protection of endangered species under the Endangered Species Act of 1973, as amended, (P.L. 93-205).
   12. Will comply with the Wild and Scenic Rivers Act of 1968 (16 U.S.C. §§1271 et seq.) related to protecting components or potential
        components of the national wild and scenic rivers system.
   13. Will assist the awarding agency in assuring compliance with Section 106 of the National Historic Preservation Act of 1966, as
        amended (16 U.S.C. §470), EO 11593 (identification and protection of historic properties), and the Archaeological and Historic
        Preservation Act of 1974 (16 U.S.C. §§469a-1 et seq.).
   14. Will comply with P.L. 93-348 regarding the protection of human subjects involved in research, development, and related activities
        supported by this award of assistance.
   15. Will comply with the Laboratory Animal Welfare Act of 1966 (P.L. 89-544, as amended, 7 U.S.C. §§2131 et seq.) pertaining to the
        care, handling, and treatment of warm blooded animals held for research, teaching, or other activities supported by this award of
        assistance.
   16. Will comply with the Lead-Based Paint Poisoning Prevention Act (42 U.S.C. §§4801 et seq.) which prohibits the use of lead based
        paint in construction or rehabilitation of residence structures.
   17. Will cause to be performed the required financial and compliance audits in accordance with the Single Audit Act of 1984.
   18. Will comply with all applicable requirements of all other Federal laws, executive orders, regulations and policies governing this
        program.
   19. Will comply with the requirements of Section 106(g) of the Trafficking Victims Protection Act (TVPA) of 2000, as amended (22 U.S.C.
        7104) which prohibits grant award recipients or a sub-recipient from (1) Engaging in severe forms of trafficking in persons during
        the period of time that the award is in effect (2) Procuring a commercial sex act during the period of time that the award is in effect
        or (3) Using forced labor in the performance of the award or subawards under the award.




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                                                               #: 3132
                                                          LIST of CERTIFICATIONS
   1. Certification Regarding Debarment and Suspension


   The undersigned (authorized official signing for the applicant organization) certifies to the best of his or her knowledge and belief, that
   the applicant, defined as the primary participant in accordance with 2 CFR part 180, and its principals:
     a. Agrees to comply with 2 CFR Part 180, Subpart C by administering each lower tier subaward or contract that exceeds $25,000 as a
        "covered transaction" and verify each lower tier participant of a "covered transaction" under the award is not presently debarred
        or otherwise disqualified from participation in this federally assisted project by:
         a. Checking the Exclusion Extract located on the System for Award Management (SAM) at http://sam.gov
         b. Collecting a certification statement similar to paragraph (a)
         c. Inserting a clause or condition in the covered transaction with the lower tier contract


   2. Certification Regarding Drug-Free Workplace Requirements


   The undersigned (authorized official signing for the applicant organization) certifies that the applicant will, or will continue to, provide a
   drug-free work-place in accordance with 2 CFR Part 182by:
     a. Publishing a statement notifying employees that the unlawful manufacture, distribution, dispensing, possession or use of a
        controlled substance is prohibited in the grantee's work-place and specifying the actions that will be taken against employees for
        violation of such prohibition;
    b. Establishing an ongoing drug-free awareness program to inform employees about--
         1. The dangers of drug abuse in the workplace;
         2. The grantee's policy of maintaining a drug-free workplace;
         3. Any available drug counseling, rehabilitation, and employee assistance programs; and
         4. The penalties that may be imposed upon employees for drug abuse violations occurring in the workplace;
     c. Making it a requirement that each employee to be engaged in the performance of the grant be given a copy of the statement
        required by paragraph (a) above;
    d. Notifying the employee in the statement required by paragraph (a), above, that, as a condition of employment under the grant, the
        employee will--
         1. Abide by the terms of the statement; and
         2. Notify the employer in writing of his or her conviction for a violation of a criminal drug statute occurring in the workplace no
             later than five calendar days after such conviction;
     e. Notifying the agency in writing within ten calendar days after receiving notice under paragraph (d)(2) from an employee or
        otherwise receiving actual notice of such conviction. Employers of convicted employees must provide notice, including position title,
        to every grant officer or other designee on whose grant activity the convicted employee was working, unless the Federal agency
        has designated a central point for the receipt of such notices. Notice shall include the identification number(s) of each affected
        grant;
     f. Taking one of the following actions, within 30 calendar days of receiving notice under paragraph (d) (2), with respect to any
        employee who is so convicted?
         1. Taking appropriate personnel action against such an employee, up to and including termination, consistent with the
             requirements of the Rehabilitation Act of 1973, as amended; or
         2. Requiring such employee to participate satisfactorily in a drug abuse assistance or rehabilitation program approved for such
             purposes by a Federal, State, or local health, law enforcement, or other appropriate agency;
    g. Making a good faith effort to continue to maintain a drug-free workplace through implementation of paragraphs (a), (b), (c), (d),
        (e), and (f).


   3. Certifications Regarding Lobbying


   Per 45 CFR §75.215, Recipients are subject to the restrictions on lobbying as set forth in 45 CFR part 93. Title 31, United States Code,
   Section 1352, entitled "Limitation on use of appropriated funds to influence certain Federal contracting and financial transactions,"
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   generally prohibits recipients of Federal grants and cooperative agreements from using Federal (appropriated) funds for lobbying the
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   Executive or Legislative Branches of the Federal Government in connection with a SPECIFIC grant or cooperative agreement. Section
   1352 also requires that each person who requests or receives a Federal grant or cooperative agreement must disclose lobbying
   undertaken with non-Federal (non- appropriated) funds. These requirements apply to grants and cooperative agreements EXCEEDING
   $100,000 in total costs.


   The undersigned (authorized official signing for the applicant organization) certifies, to the best of his or her knowledge and belief, that
     1. No Federal appropriated funds have been paid or will be paid, by or on behalf of the undersigned to any person for influencing
        or attempting to influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or
        an employee of a Member of Congress in connection with the awarding of any Federal contract, the making of any Federal grant,
        the making of any Federal loan, the entering into of any cooperative agreement, and the extension, continuation, renewal,
        amendment, or modification of any Federal contract, grant, loan, or cooperative agreement.
     2. If any funds other than Federally appropriated funds have been paid or will be paid to any person for influencing or attempting to
        influence an officer or employee of any agency, a Member of Congress, an officer or employee of Congress, or an employee of a
        Member of Congress in connection with this Federal contract, grant, loan, or cooperative agreement, the undersigned shall
        complete and submit Standard Form-LLL, "Disclosure of Lobbying Activities," in accordance with its instructions. (If needed,
        Standard Form-LLL, "Disclosure of Lobbying Activities," its instructions, and continuation sheet are included at the end of this
        application form.)
     3. The undersigned shall require that the language of this certification be included in the award documents for all subawards at all
        tiers (including subcontracts, subgrants, and contracts under grants, loans and cooperative agreements) and that all subrecipients
        shall certify and disclose accordingly.


   This certification is a material representation of fact upon which reliance was placed when this transaction was made or entered into.
   Submission of this certification is a prerequisite for making or entering into this transaction imposed by Section 1352, U.S. Code. Any
   person who fails to file the required certification shall be subject to a civil penalty of not less than $10,000 and not more than $100,000
   for each such failure.


   4. Certification Regarding Program Fraud Civil Remedies Act (PFCRA) (31 U.S.C § 3801- 3812)


   The undersigned (authorized official signing for the applicant organization) certifies that the statements herein are true, complete, and
   accurate to the best of his or her knowledge, and that he or she is aware that any false, fictitious, or fraudulent statements or claims
   may subject him or her to criminal, civil, or administrative penalties. The undersigned agrees that the applicant organization will comply
   with the Public Health Service terms and conditions of award if a grant is awarded as a result of this application.


   5. Certification Regarding Environmental Tobacco Smoke


   Public Law 103-227, also known as the Pro-Children Act of 1994 (Act), requires that smoking not be permitted in any portion of any
   indoor facility owned or leased or contracted for by an entity and used routinely or regularly for the provision of health, daycare, early
   childhood development services, education or library services to children under the age of 18, if the services are funded by Federal
   programs either directly or through State or local governments, by Federal grant, contract, loan, or loan guarantee. The law also
   applies to children's services that are provided in indoor facilities that are constructed, operated, or maintained with such Federal
   funds. The law does not apply to children's services provided in private residence, portions of facilities used for inpatient drug or
   alcohol treatment, service providers whose sole source of applicable Federal funds is Medicare or Medicaid, or facilities where WIC
   coupons are redeemed.


   Failure to comply with the provisions of the law may result in the imposition of a civil monetary penalty of up to $1,000 for each
   violation and/or the imposition of an administrative compliance order on the responsible entity.


   By signing the certification, the undersigned certifies that the applicant organization will comply with the requirements of the Act and
   will not allow smoking within any portion of any indoor facility used for the provision of services for children as defined by the Act.


   The applicant organization agrees that it will require that the language of this certification be included in any subawards which contain
   provisions for children's services and that all subrecipients shall certify accordingly.

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   The Public Health Services strongly encourages all grant recipients to provide a smoke-free workplace and promote the non-use of
                                                               #: 3134
   tobacco products. This is consistent with the PHS mission to protect and advance the physical and mental health of the American
   people.


   HHS Assurances of Compliance (HHS 690)


   ASSURANCE OF COMPLIANCE WITH TITLE VI OF THE CIVIL RIGHTS ACT OF 1964, SECTION 504 OF THE REHABILITATION ACT OF 1973,
   TITLE IX OF THE EDUCATION AMENDMENTS OF 1972, THE AGE DISCRIMINATION ACT OF 1975, AND SECTION 1557 OF THE
   AFFORDABLE CARE ACT


   The Applicant provides this assurance in consideration of and for the purpose of obtaining Federal grants, loans, contracts, property,
   discounts or other Federal financial assistance from the U.S. Department of Health and Human Services.


   THE APPLICANT HEREBY AGREES THAT IT WILL COMPLY WITH:


     1. Title VI of the Civil Rights Act of 1964 (Pub. L. 88-352), as amended, and all requirements imposed by or pursuant to the Regulation
        of the Department of Health and Human Services (45 C.F.R. Part 80), to the end that, in accordance with Title VI of that Act and the
        Regulation, no person in the United States shall, on the ground of race, color, or national origin, be excluded from participation in,
        be denied the benefits of, or be otherwise subjected to discrimination under any program or activity for which the Applicant
        receives Federal financial assistance from the Department.
     2. Section 504 of the Rehabilitation Act of 1973 (Pub. L. 93-112), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 C.F.R. Part 84), to the end that, in accordance with Section 504 of
        that Act and the Regulation, no otherwise qualified individual with a disability in the United States shall, solely by reason of her or
        his disability, be excluded from participation in, be denied the benefits of, or be subjected to discrimination under any program or
        activity for which the Applicant receives Federal financial assistance from the Department.
     3. Title IX of the Education Amendments of 1972 (Pub. L. 92-318), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 C.F.R. Part 86), to the end that, in accordance with Title IX and the
        Regulation, no person in the United States shall, on the basis of sex, be excluded from participation in, be denied the benefits of,
        or be otherwise subjected to discrimination under any education program or activity for which the Applicant receives Federal
        financial assistance from the Department.
     4. The Age Discrimination Act of 1975 (Pub. L. 94-135), as amended, and all requirements imposed by or pursuant to the Regulation
        of the Department of Health and Human Services (45 C.F.R. Part 91), to the end that, in accordance with the Act and the Regulation,
        no person in the United States shall, on the basis of age, be denied the benefits of, be excluded from participation in, or be
        subjected to discrimination under any program or activity for which the Applicant receives Federal financial assistance from the
        Department.
     5. Section 1557 of the Affordable Care Act (Pub. L. 111-148), as amended, and all requirements imposed by or pursuant to the
        Regulation of the Department of Health and Human Services (45 CFR Part 92), to the end that, in accordance with Section 1557 and
        the Regulation, no person in the United States shall, on the ground of race, color, national origin, sex, age, or disability be
        excluded from participation in, be denied the benefits of, or be subjected to discrimination under any health program or activity
        for which the Applicant receives Federal financial assistance from the Department.


   The Applicant agrees that compliance with this assurance constitutes a condition of continued receipt of Federal financial assistance,
   and that it is binding upon the Applicant, its successors, transferees and assignees for the period during which such assistance is
   provided. If any real property or structure thereon is provided or improved with the aid of Federal financial assistance extended to the
   Applicant by the Department, this assurance shall obligate the Applicant, or in the case of any transfer of such property, any transferee,
   for the period during which the real property or structure is used for a purpose for which the Federal financial assistance is extended
   or for another purpose involving the provision of similar services or benefits. If any personal property is so provided, this assurance
   shall obligate the Applicant for the period during which it retains ownership or possession of the property. The Applicant further
   recognizes and agrees that the United States shall have the right to seek judicial enforcement of this assurance.


   The grantee, as the awardee organization, is legally and financially responsible for all aspects of this award including funds provided to
   sub-recipients in accordance with 45 CFR §§ 75.351-75.352, Subrecipient monitoring and management.


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                                                                                 #:Subpart
   I hereby certify that the state or territory will comply with Title XIX, Part B, 3135II and Subpart III of the Public Health Service (PHS) Act, as amended, and
   summarized above, except for those sections in the PHS Act that do not apply or for which a waiver has been granted or may be granted by the Secretary
   for the period covered by this agreement.


   I also certify that the state or territory will comply with the Assurances Non-Construction Programs and Certifications summarized above.


   Name of Chief Executive Officer (CEO) or Designee:


                                  1
   Signature of CEO or Designee :


   Title:    'LUHFWRU'LYLVLRQRI%HKDYLRUDO+HDOWK 5HFRYHU\                    Date Signed:      

                                                                                                                        mm/dd/yyyy


   1
    If the agreement is signed by an authorized designee, a copy of the designation must be attached.

   OMB No. 0930-0168 Approved: 04/19/2019 Expires: 04/30/2022

       Footnotes:




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                                                    Washington


                                    COVID-19 Supplemental Funding Plan for FY21



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID Supplemental Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021 to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential COVID-19 relief
             supplemental funding to address principles focused on recovery needs, support for the behavioral health
             workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment services.
             The budget summary, on the following pages, provides the detailed amounts allocated across the
             continuum of behavioral health services through a wide variety of projects, treatment funds provided
             through our Behavioral Health Administrative Service Organizations (BH-ASO’s) and Tribes. WA Health
             Care Authority, with input from partners, including the Behavioral Health Advisory Council, respectfully
             submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others). Input on the proposals was received at the end of the event, which
             helped to inform the direction, as well as solidify the allocations to each section and confirm what
             flexibilities to seek within the application for these COVID-19 relief supplemental funds. In addition to
             waiver flexibilities, the Health Care Authority may also require some flexibility to move allocations from
             one proposal, to another, within those in this application, in the event a particular proposal is particularly
             successful and requires funding allocation from another proposal which may not require the entire
             allocation presented in this application.




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             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of First Episode Psychosis, Treatment, Recovery Support
             Services and Crisis Services. In the pages that follow, a longer project narrative will include the project
             title, budgeted amount, a description, or scope of work summary, as well as a narrative of how the
             project addresses state needs and gaps, especially gaps in equity.

             WA is grateful to SAMHSA for the opportunity to apply for the COVID-19 relief supplemental funds, as this
             has been an unprecedented year of extreme stressors to the most vulnerable among us, and the funding
             will undoubtedly support those persons at greatest risk, as well as those who seek support in treatment
             and ongoing recovery.



             Project List and Budget Table


               FEP Set-Aside

               Project #      Project Title               Project Description                            Proposed Budget

                                                          New Journeys treatment team to travel
                                                          to the home, school or elsewhere in the
                                                          community to provide assessment,
               Project
                              Early Identification and    screening and behavioral health services
               #: BGCE-       Intervention for            for individuals and families affected by
               CYF4           Psychosis                   First Episode Psychosis (FEP).                 $    2,306,685
                                                                                Total FEP Set-Aside      $   2,306,685


               Treatment
               Children, Youth and Family Treatment Funding

               Project #      Project Title               Project Description                            Proposed Budget
                                                          Developing Wraparound and Intensive
                              Developing                  Service (WISe) workforce to support
                              Wraparound and              youth with Intellectual
               Project
                              Intensive Services          Disabilities/Developmental Disabilities
               #: BGCE-       (WISe) Workforce            (including Autism Spectrum Disorder
               CYF2           Support                     (ASD).                                         $      200,000
                                                           Trauma Focused Cognitive Behavioral
                                                          Therapy (CBT) Training for clinicians
               Project
                          Trauma Focused                  serving children and youth returning to
               #: BGCE-   Cognitive Behavioral            school as part of the triage process post
               CYF5       Therapy Training                screening.                                     $      376,671
               Adult Treatment Funding




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                                                        Expansion of current contract to deliver
                                                        Cognitive Behavioral Therapy for
               Project
                                                        Psychosis to a cohort of clinicians who are
               #: BGCE-       Cognitive Behavioral      serving people on 90/180 involuntary civil
               MHA1           Therapy for Psychosis     commitment orders.                            $      130,000
                                                 Modify curriculum of Trauma Informed
               Project
                                                 Care training specifically for Designated
                              Trauma Informed Care
               #: BGCE-                          Crisis Responders to incorporate the skills
                              for Designated Crisis
               MHA2           Responders         into their practice.                                 $       50,000
                                                 Develop a curriculum for a 100-hour
                                                 course for Mental Health (MH)
                                                 professionals to secure credentials to
                                                 become an Older Adult Mental Health
                                                 Specialist, Intellectual Disabilities
               Project
                                                 /Developmental Disabilities (ID/DD)
               #: BGCE- Mental Health Specialist Mental Health Specialist, and Ethnic
               MHA3      Training                Minority Mental Health Specialist.                   $      396,671
               BH-ASO Treatment Funding



                                                        The community mental health services
                                                        provided include but are not limited to
                                                        outpatient services, including specialized
                                                        outpatient services for children, the
                                                        elderly, individuals with a serious mental
                                                        illness, residents of the service areas who
                                                        have been discharged from inpatient
                                                        treatment at a mental health facility, day
                                                        treatment or other partial hospitalization
                                                        services, psychosocial rehabilitation
                                                        services, outreach to and services for
                              Behavioral Health         individuals who are homeless, at risk of
               Project
                              Administrative Service    homelessness, or ready for discharge
               #: BGCE-       Organization (BH-ASO)     from inpatient psychiatric care, and
               ASO2           Treatment Funding         individuals residing in rural areas.          $    6,727,829
                                                                                Total Treatment       $   7,881,171


               Recovery Support Services

               Project #      Project Title             Project Description                           Proposed Budget




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                                                          Mental Health Block Grant (MHBG) funds
                                                          could be used to support case managers,
                                                          outreach workers, Assertive Community
                              Participant Support         Treatment Services for people
               Project
                              Funds- Housing and          experiencing homelessness, medications,
               #: BGCE-       Recovery through Peer       coordination with primary care, case
               RSS1           Services (HARPS) teams      management etc.                              $      50,000
                                                          Mental Health Block Grant (MHBG) funds
                                                          could be used to support case managers,
                              Participant Support         outreach workers, Assertive Community
                              Funds- Projects for         Treatment Services for people
               Project
                              Assistance in Transition    experiencing homelessness, medications,
               #: BGCE-       from Homelessness           coordination with primary care, case
               RSS2           (PATH) teams                management etc.                              $     140,000
                                                          Mental Health Block Grant (MHBG) funds
                                                          could be used to support case managers,
                                                          outreach workers, Assertive Community
                                                          Treatment Services for people
               Project
                                                          experiencing homelessness, medications,
               #: BGCE-       Participant support         coordination with primary care, case
               RSS3           Funds - Peer Bridger        management etc.                              $     100,000
                              Certified Peer
               Project
                              Counselor (CPC) Online
               #: BGCE-       Continuing Education        Create online Certified Peer Counselor
               RSS7           Bank                        (CPC) continuing education trainings.        $      50,000
                              Foundational
                              Community Support
                              Supported
                              Housing/Supported           Creating a Supported Housing (SH) fidelity
               Project
                              Employment (SH/SE)          certification development/Individual
               #: BGCE-       'fidelity reviewer          Placement and Support (IPS) certification
               RSS8           certification'              through Westat.                              $      50,000
                              Community Work              Scholarships for Foundational Community
                              Incentive Coordinator       Support service providers to become
                              (CWIC) training and         Community Work Incentive Coordinator
               Project
                              staffing costs for a        (CWIC) trained - https://vcu-
               #: BGCE-       provider to attend the      ntdc.org/training/introductory/introindex
               RSS9           training                    .cfm                                         $      50,000
               Project
               #: BGCE-       Intentional Peer            Train Certified Peer Counselors in
               RSS10          Support Training            Intentional Peer Support.                    $     150,000
                              Adding a Peer to            Targeted peer outreach on Project for
                              Projects for Assistance     Assistance in Transition from
               Project
                              in Transition from          Homelessness (PATH) teams focusing on
               #: BGCE-       Homelessness (PATH0         a by-name list of individuals who have
               RSS12          Outreach Teams              had multiple contacts with crisis system.    $   1,120,000




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               Project
                              Creating a Behavioral
               #: BGCE-       Health (BH) Housing        Inventory of all the housing needs of the
               RSS13          Action plan                Behavioral Health (BH) population.           $       15,000
               Project
                              Creating a housing         Provide timely information for individuals
               #: BGCE-       inventory/estimator/cal    with behavioral health conditions to
               RSS14          culator                    access housing services and resources.       $      150,000
               Project
               #: BGCE-                                  Extract data out of the peer credential
               RSS15          Peer Dashboard             data system to have a dashboard.             $      100,000
                              White
                              paper/Toolkits/Medicai
               Project
                              d Academy for Peer         Creating a white paper on Community
               #: BGCE-       Run-Peer Operated          Behavioral Health Associate (CBHA) Lite
               RSS17          Agencies                   licensing.                                   $       15,000
                              Foundational
                              Community Support -
               Project
                              Converting Current         Convert Foundational Community
               #: BGCE-       Training to Online         Support training to online training
               RSS18          Training Modules           modules.                                     $       50,000
                              Cover Foundational         Utilize block grant funds that would cover
                              Community Support          Foundational Community Support
                              Services in Institution    services for people transitioning out of
               Project
                              for Mental Disease         Institution for Mental Disease (IMD)
               #: BGCE-       (IMD) when Medicaid is     settings if Medicaid does not get
               RSS19          Suspended                  retroactively reconnected.                   $      260,000


               Project
               #: BGCE-       Peer Wellness Coach        Peer Wellness Coach continuing
               RSS20          Training                   education curriculum developed.              $       15,000
               Project
                                                         De-escalation, mediation, basic grief
               #: BGCE-       Training for Oxford        counseling training for 10 Oxford
               RSS22          Outreach Staff             outreach staff.                              $       20,000
                                                         Mental Health Block Grant (MHBG) &
                                                         Substance Abuse Block Grant (SABG)
                                                         funds could be used to support case
                                                         managers, outreach workers, Assertive
                                                         Community Treatment Services for
               Project
                              Participant Engagement     people experiencing homelessness,
               #: BGCE-       Kits for Youth -           medications, coordination with primary
               RSS23          Mockingbird                care, case management etc.                   $       35,000




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                                                           Create an operationalizing Peer Bridger
               Project
                                                           program for hospitals, Substance Use
               #: BGCE-       Operationalizing Peer        Disorder (SUD), and Treatment (TX)
               RSS32          Bridger                      agencies.                                      $       25,000
               Project
                              Create a Dashboard on        Public facing dashboard/Marketing on
               #: BGCE-       Healthcare for Workers       the number of people using the Medicaid
               RSS33          with Disabilities (HWD)      buy-in program.                                $      100,000
               Project
               #: BGCE-       Implicit Biased Training     Braid funding with Commerce to create a
               RSS35          for Landlords                training for landlords.                        $       10,000
                                                           Helping individuals with the creation of a
                                                           Supplemental Security Income/Social
               Project
                              Funding for SSI/SSDI         Security Disability Insurance (SSI/SSDI)
               #: BGCE-       Outreach, Access, and        outreach access and recovery community
               RSS36          Recovery (SOAR) Leads        coordinators.                                  $      500,000
               Project
               #: BGCE-
               RSS38          Rent Assistance              Housing subsidy funds, first/last deposits.    $    2,761,712

                                                                 Total Recovery Support Services          $   5,766,712


               Tribal

               Project #      Project Title                Project Description                            Proposed Budget
                                                           Provide grants to 29 federally recognized
                                                           Tribes and two Urban Indian Health
                                                           Organizations to deliver Substance Use
                                                           Disorder (SUD) prevention, treatment,
               Project
                              Grants to Tribes and         Opioid Use Disorder (OUD) intervention
               #: BGCE-       Urban Indian Health          and recovery support services within
               TRB3           Organizations                their Tribal communities.                      $      861,119
                                                           Indian Health Care Provider (IHCP) to
                                                           offer traditional healing/traditional Indian
                                                           medicine (TIM) services and analyze the
               Project
                                                           health outcomes and potential cost
               #: BGCE-       Traditional Healing Pilot    savings from offering Traditional Indian
               TRB4           Project                      Medicine (TIM) services.                       $      100,000

                                                                                         Total Tribal     $    961,119


               Crisis Set-Aside

               Project #      Project Title                Project Description                            Proposed Budget




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                              Behavioral Health
                              Administrative Service    Services include 24-hour-a-day
               Project
                              Organization (BH-ASO)     emergency care services, mobile crisis,
               #: BGCE-       Treatment Funding -       crisis line, and Designated Crisis
               ASO2           Crisis Services           Responders (DCR) services.                   $    1,345,566

                                                                          Total Crisis Set-Aside     $   1,345,566




               TOTAL SABG Covid Supplement Budget
                                                                                  FEP Set-Aside      $    2,306,685
                                                                                      Treatment      $    7,881,171
                                                                      Recovery Supports Services     $    5,766,712
                                                                                            Tribal   $      961,119
                                                                                 Crisis Set-Aside    $    1,345,566
                                                                                 Administrative      $      961,119

                                                                                    Total Budget     $ 19,222,372




             First Episode Psychosis Project Detail


             Project #: BGCE-CYF4

             Project Title: Early Identification and Intervention for Psychosis     Proposed Budget: $2,306,685

             Scope:
             New Journeys Coordinated Specialty Care (CSC) provides outreach and intervention for transition-aged
             youth, young adults and their families when first experiencing symptoms psychosis. Members of the
             New Journeys treatment team will travel to the home, school, or elsewhere in the community to provide
             assessment, screening, and behavioral health services for individuals and families affected by first
             episode psychosis.

             In 2019, the Washington State Legislature passed Second Substitute Senate Bill (2SSB) 5903, which
             requires the Health Care Authority (HCA) to submit a statewide plan, outlining the strategic
             implementation of Coordinated Specialty Care (CSC) programs first episode psychosis (FEP). The
             statewide plan vision is to have an adequate number of CSC teams, based on incidence and population,




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             across Washington by December 31, 2023. As of March 2021, there are 11 New Journeys Coordinated
             Specialty Care (CSC) teams in 9 regions across Washington State.

             This additional project amount would support the continued state-wide roll-out and infrastructure
             development while work to get a case rate in place is completed.

             In State Fiscal Year 2018 (SFY18) Research and Data Analysis (RDA) identified 1,698 Medicaid enrollees
             between the ages of 15 and 40 in Washington who received their first psychotic diagnosis. The number
             is likely to be a conservative estimate of the incidence of first episode psychosis because on average,
             people endure new psychotic symptoms for many months, and sometimes even years before receiving
             any psychiatric treatment for their disorder (Häfner et al., 2003; Perkins et al., 2005).

             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.

             Only 1% in the general population have schizophrenia, but over 30% of all spending for mental health
             treatment in the U.S. was accounted for by schizophrenia—about $34 billion in 2001 (Mark et al., 2005).
             The high cost of treating schizophrenia is only one dimension of the impact of the illness, which has
             major effects on individuals, families, and society. The toll of schizophrenia arising from premature
             death, family caregiving, unemployment, criminal justice costs, and physical and emotional distress is
             striking (Samnaliev & Clark, 2008). According to the World Health Organization (Murray & Lopez, 1996),
             the combined economic and social costs of schizophrenia place it among the world’s top ten causes of
             disability worldwide. Considering the magnitude of the impact of schizophrenia, interventions designed
             to treat the disorder effectively at the earliest possible point (e.g., during the first episode of psychosis)
             have the potential to improve its long-term trajectory, and to reduce the global burden of the illness.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and
             SAMSHA have all prioritized early identification and intervention for psychosis. This is so screening and
             early identification of psychosis among adolescents and young adults will become a universal health
             care practice, and evidence-based recovery interventions will be available to those who need them.

             New Journeys Coordinated Specialty Care (CSC) Team embraces services that are usually not provided
             with regular outpatient services. Members of the New Journeys treatment team will travel to the
             home, school, or elsewhere in the community to provide assessment, screening, and behavioral health
             services for individuals and families affected by first episode psychosis.

             New Journeys is strength-based, meaning that treatment does not focus on the severity or persistence
             of psychiatric symptoms, but rather on how to help a person to get back on track with their life. This
             may look like help to return to school, start college, or seek employment. It may also mean helping a
             person achieve independent living or whatever goal they identify to help them experience a rewarding
             and meaningful life.




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             Treatment Projects Detail

             Children, Youth and Family

             Project #: BGCE-CYF2


             Project Title: Developing WISe Workforce Support                          Proposed Budget: $200,000

             Scope:
             Developing Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder
             Three lead Wraparound and Intensive Services (WISe) behavioral health agencies will plan and
             implement the project informed by local needs with logistical oversight provided the Wraparound and
             Intensive Services (WISe) Workforce Collaborative/En Route. A training component will be provided by
             Seattle Children’s Autism Center and offered to a total of five (5) Behavioral Health agencies. The
             proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the Health Care Authority and Developmental Disabilities
             Administration (DDA) convened Wraparound and Intensive Services (WISe) and Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD) workgroup or
             Project Echo sessions. This allows the project to build more directly on the knowledge and efforts
             already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             During COVID the increased need of trained staff to provide stabilization support for youth in
             Wraparound and Intensive Services (WISe) with Intellectual Disabilities/Developmental Disabilities
             (ID/DD) including Autism Spectrum Disorder (ASD) has become apparent. The concern identifying the




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             need for additional training has been expressed by caregivers, behavioral health agency staff and allied
             system partners. Our behavioral health workforce is often times generalists by education and don't have
             the training to best support youth with Autism Spectrum Disorder (ASD) and their families. This funding
             would provide the training support and consultation to five behavioral health agencies as well as
             enhance community coordination in three regions for youth enrolled in Wraparound and Intensive
             Services (WISe) with Intellectual Disabilities/Developmental Disabilities including Autism Spectrum
             Disorder.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.



             Project #: BGCE-CYF5


             Project Title: Trauma Focused Cognitive Behavioral Therapy Training       Proposed Budget: $376,671

             Scope:
             Provide training in Trauma Focused-Cognitive Behavioral Therapy (RF-CBT) to clinicians serving children
             and youth returning to school as part of the triage process post screening as a part of the recommended
             Department of Health fast response plan to help meet the needs of children and youth returning to
             school following the Governor's proclamation that in person options are required as of April 1, 2021.
             This will serve youth who indicate trauma exposure in the screening process (SED). This is following the
             Sonoma model, and will further enhance the clinical interventions available to children and youth across
             WA in the long run.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth over the past year regarding mental health impact
             are expected to surface as children youth and families begin the transition to in person education. This
             proposal meets an identified need in the plans to date that matches the requirements of this funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength-based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




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             Adult Treatment

             Project #: BGCE-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis                    Proposed Budget: $130,000

             Scope:
             This project will expand upon our current contract with the University of Washington's Supporting
             Psychosis Innovation through Research, Implementation and Training (SPIRIT) Lab to deliver Cognitive
             Behavioral Therapy for Psychosis to a cohort of clinicians from selected contracted community-based
             sites who are serving people on 90/180 involuntary civil commitment orders. This Evidence Based
             Program (EBP) helps people living with psychosis achieve a level of self-management that has shown
             great success, supporting individuals and their families as they discharge back to the community. Many
             of the people on these long-term involuntary commitments experience psychosis so this Evidence Based
             Program is a good fit for the needs of this population. The plan it to first train the clinicians to a level of
             competency such that they then can be trained to supervise others with the model. It would then
             broaden to be delivered in group treatment and then be the model of treatment across the milieu. We
             believe that this implementation plan should have good sustainability for these sites.

             Training contracted long term civil commitment sites in an appropriate Evidence Based Program should
             assist this population in better managing their symptoms and reduce their need for further involuntary
             or inpatient treatment. This recovery-based model supports both the individual and their family which
             should help individuals to successfully remain in the community.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training our Behavioral Health workforce in Cognitive Behavioral Therapy (CBT) for Psychosis will help
             empower individuals living with psychosis to better manage symptoms that interfere with their ability to
             live their lives in the community. The Behavioral Health workforce needs enhanced tools to treat
             psychosis beyond simply medication alone. This evidence-based practice is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about Cognitive
             Based Therapy (CBT) for Psychosis and its success rate. Additionally, the facilities that have begun to
             take individuals on long term orders have reported a need for more enhanced programming for this
             population.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.




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             Project #: BGCE-MHA2


             Project Title: Trauma Informed Care for Designated Crisis Responders     Proposed Budget: $50,000

             Scope:
             Modify curriculum of Trauma Informed Care Training specifically for Designate Crisis Responders so that
             Designated Crisis Responders (DCR) can incorporate the skills into their practice. Conducting involuntary
             treatment investigations can be innately traumatizing. Incorporating trauma informed techniques into
             the Designative Crisis Responder (DCR) skill set can help make the investigations less traumatizing, and
             hopefully minimize long term trauma from the involuntary treatment process.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently no trauma informed care training specific to the work Designative Crisis Responders
             do. Involuntary Treatment Act (ITA) evaluations can be traumatizing for the people performing the
             evaluation. To minimize the impact to the Designated Crisis Responders, the individuals being evaluated
             and the system as a whole, this training is immediately necessary.

             Individuals in BIPOC communities and those with serious behavioral health issues are more likely to have
             encounters with law and healthcare systems that result in furthering trauma. The trauma that effects
             the individual being evaluated also impacts the person doing the evaluation. Proper training can help
             improve the interactions between Designated Crisis Responders, law enforcement and individuals
             receiving treatment. This will assist in more sustainable recovery for every individual, and a system
             prepared to support those in need.


             Project #: BGCE-MHA3


             Project Title: Mental Health Specialist Training                         Proposed Budget: $396,671

             Scope:
             Develop curricula for a 100-hour course for Mental Health Professionals to secure credential to become
             an Older Adult Mental Health Specialist, Intellectual Disabilities/Developmental Disabilities (ID/DD)
             Mental Health Specialist, and Ethnic Minority Mental Health Specialist as defined in Washington's Rehab
             State Plan for Mental Health Outpatient (OP) treatment. Training curricula will focus on recognizing
             unique needs of these populations, clinical best practices, understanding of the community resources
             and partners when working with these populations, the role of Mental Health Specialist and how to
             provide clinical consultation, cultural humility, and other relevant information specific to each
             demographic.

             The Division of Behavioral Health and Recovery (DBHR) has not sponsored Mental Health Specialists
             academies for almost ten years and as such, there are significant workforce shortages in specialists
             trained and credentialed to work with the older adult population, individuals with intellectual and
             developmental disabilities, and ethnic minorities. Each of these populations has unique needs or
             considerations that impact care and the behavioral health workforce needs additional training and
             supports in order to meet their needs.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for mental health professionals trained and sufficiently
             skilled to work with older adult population is more critical than ever. The current workforce requires
             specialized skills and knowledge to better support BIPOC populations and people with Intellectual
             Disabilities/Developmental Disabilities. This is a work force shortage that must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: BGCE-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding
                                      Proposed Budget: $6,727,830

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services provided include but are not limited to outpatient services,
             including specialized outpatient services for American Indian/Alaskan Native (AI/AN), children, the
             elderly, individuals with a serious mental illness, residents of the service areas who have been
             discharged from inpatient treatment at a mental health facility, day treatment or other partial
             hospitalization services, psychosocial rehabilitation services, outreach to and services for individuals
             who are homeless, at risk of homelessness, or ready for discharge from inpatient psychiatric care, and
             individuals residing in rural areas. Services also include 24-hour-a-day emergency care services, mobile
             crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.




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             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays and individuals diagnosed with Serious Mental Illness (SMI) or
             Serious Emotional Disturbance (SED) will be less likely to have opportunities to function better in their
             communities and experience an improved quality of life. Further, an opportunity to enhance and
             improve ongoing behavioral health system workforce recruitment and staff retention worsened by the
             pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




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             Recovery Support Services Projects Detail

             Project #: BGCE-RSS1


             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams
                              Proposed Budget: $50,000
                                                                                    *Additional $50,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The Housing and Recovery through Peer Support (HARPS) priority population is unable to earn wages
             while involved with inpatient treatment and is unlikely to have savings to secure housing upon
             discharge. Additionally, many participate intensive outpatient treatment which limits the amount of
             time to earn wages to afford housing, as well as other necessities to stay engaged in treatment and
             recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




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             Project #: BGCE-RSS2


             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams                     Proposed Budget: $140,000

             Scope:
             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                x COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional Disturbance
                    (SMI/SED), including testing and
                    administering COVID vaccines, COVID awareness education, and purchase of
                    Personal Protective Equipment (PPE).

             Scope:
             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer




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             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS7


             Project Title: Certified Peer Counselor (CPC) Online Continuing Education Bank
                     Proposed Budget: $50,000
                                                                                      *Additional $50,000 SABG

             Scope:
             This funding would be used to create online Certified Peer Counselor (CPC) continuing education
             trainings. The trainings could include Wellness Recovery Action Plans (WRAP), Crisis Plans, Suicide
             Prevention, cultural awareness, and others. The goal is to great online learning bank for Certified Peer
             Counselors where they can access continuing education trainings on demand.

             These trainings would be accessible for all certified peer counselors in Washington and the knowledge
             gained will improved peer services provided in Washington. Traditionally Certified Peer Counselors
             (CPCs) continuing education trainings have been funded by DBHR, during the past year we have had to
             reallocate funding to meet the needs of the Certified Peer Counselor workforce by increasing our core
             Certified Peer Counselor (CPC) trainings. These online trainings will be able to be accessed by peers
             across the state no matter where they reside or work and removing barriers to access. If unfunded, this
             training will not be available in the state or will be out of reach financially for most Certified Peer
             Counselors (CPCs).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD).
             Research shows peer support services improves engagement in increases hope by modeling recovery.




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             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. Continuing education for certified peer counselors is always requested
             and providing these trainings in a virtual format will make the trainings more accessible to peers in all
             areas of the state.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS8


             Project Title: Foundational Community Support (FCS) Supported Housing/Supported Employment
             (SH/SE) Fidelity Reviewer Certification
             Proposed Budget: $50,000
                                                                                   *Additional $50,000 SABG
             Scope:
             Intensive Trainings for Foundational Community Supports (FCS) providers to increase their
             skills/trainings on SAMSHA Permanent Supportive Housing (PSH) Fidelity Reviews and Individual
             Placement and Support (IPS) Support Employment Fidelity Reviews.

             Washington State Foundational Community Support programs uses two evidence-based models-
             SAMSHSA Permanent Supportive Housing and WESTAT/Rockville Institutes Individual Placement and
             Support Supported Employment Model. To ensure high quality standards and fidelity to these models,
             Foundational Community Support (FCS) providers participate in fidelity reviews. This funding will allow
             Foundational Community Support provider to participate in intensive training to able to provide high
             quality fidelity reviews and ensure compliance with the evidenced based practices.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a




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             way out of poverty and prevent entry into the disability system. The Individual Placement and Support
             (IPS) model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement and Support (IPS) services
             resulted in significant rates of employment, as much as 3 times as many people successfully achieving
             competitive employment as compared to individuals not receiving Individual Placement and Support
             (IPS) services. Employment has many positive impacts on the mental health and wellbeing of individuals
             with psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement and Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS9


                                                                                        Proposed Budget: $50,000

             Project Title: Community Work Incentive Coordinator (CWIC) Training and Staffing Costs

             Scope:
             Washington state Foundational Community Supports (FCS) supported employment providers serve
             individuals using the Evidence Based Practice of Individual Placement and Support, the program
             developed and managed by Westat Rockville Institute. Washington state legislature mandated the use
             of evidence based or promising practices when Foundational Community Support (FCS) was approved.
             The intent is for the service to be statewide and in order to positively impact sustainability, services
             should be provided to fidelity in order to achieve the greatest outcomes. An important element of the
             principles of Individual Placement and Support is the education of job seekers of how income may
             impact federal and state benefits and entitlements. There is currently not the bandwidth in
             Washington’s State to provide work incentive education and planning to enroll individuals in the
             Foundational Community Support system. The proposal is to send Foundational Community Support
             (FCS) agency staff from agencies to enroll in webinars to learn the foundational knowledge of Social
             Security work incentives, and to secure certification training for select agency staff at behavioral health
             organizations in Western and Eastern Washington State. This initiative will greatly increase the number
             of benefit practitioners to education and support job seekers in the transition to competitive
             employment, attain self-sufficiency while decreasing reliance on public entitlement programs. The
             Institute on Employment and Disability in Cornell University's Industrial and Labor Relations School




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             training also has a credentialling option that provides a pathway to be recognized as an accredited work
             incentive planner. Work incentives pave the way to work and financial independence for recipients of
             public benefits. This training will provide essential insight into how the complex mix of work incentives,
             critically needed benefits, and earnings can be explained to an individual with a disability to encourage
             both work and financial independence.

             There is a critical need for the training of benefit education planners in Washington State. The
             Foundational Community Support (FCS) program has 162 providers with 458 service location, with an
             enrollment of over 3,000 individuals. the availability of agency staff with foundational knowledge and
             access to certified benefit planners is crucial to provide support to enrolled participants and learn how
             earned income can impact entitlement benefits. These training opportunities will provide staff essential
             tools to assist job seekers to reach their individual goal of self-sufficiency. The implementation and
             practices of the Individual Placement Support (IPS) supported employment model are expanding in
             Washington State, and the critical need to adequately prepare agency staff of benefit planning
             curriculum is essential for overall long-term success. The certification training through the Institute on
             Employment and Disability in Cornell University's Industrial and Labor Relations School will prepare
             agency staff to support enrolled participants to develop a clear, comprehensive, and actionable report
             of an individual’s financial situation and how to maximize self-sufficiency trends. There is not currently a
             more viable way to increase skills of agency staff and to increase the numbers of certified benefit
             planners.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             The Foundational Community Support Program is built upon evidenced based practices of SAMHSA and
             the Westat Rockville Institute to implement supported employment practices that are effective. The
             principles of these evidence-based practices (EBP) encompass the idea of a holistic, person centered
             approach, which is all inclusive and embraces zero exclusion, access to an individual's choice of services.
             The struggles of poverty and self-sufficiency negatively impact communities of people of color
             disproportionately. The implementation of based practices accelerates the positive impact on social




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             determinants of health in urban and rural communities. Services are provided are inclusive of all who
             need them and targeted to individuals with a wide range of disabilities.


             Project #: BGCE-RSS10


             Project Title: Intentional Peer Support Training                         Proposed Budget: $150,000
                                                                                      *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             These funds will be used to train Certified Peer Counselors in Intentional Peer Support. These trainings
             will be provided either in person or in a virtual format depending on physical distancing requirements.
             Priority for these training will be Certified Peer Counselors (CPCs) who work on the following teams Peer
             Bridgers, Housing and Recovery through Peer Services (HARPS), Forensic Housing and Recovery through
             Peer Services (HARPS), Projects for Assistance in Transition from Homelessness (PATH), Forensic Projects
             for Assistance in Transition from Homelessness (PATH), Peer Pathfinders, and Foundational Community
             Support (FCS) teams. The training will be opened up to additional Certified Peer Counselors (CPCs) when
             space is available. This funding will also be used to provide travel supports for participants.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder. Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (EDI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




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             Project #: BGCE-RSS12
                                                                                       Proposed Budget: $1,120,000


             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disorder (SMI/SED).

             Scope:
             Proposed funds will add one peer counselor to each of the current Projects for Assistance in Transition
             from Homelessness (PATH). Project for Assistance in Transition from Homelessness (PATH) programs
             assist individuals in accessing housing, mental health services, substance abuse treatment, disability
             benefits, and other services to stabilize them and facilitate recovery. Each agency will be required to hire
             and onboard a new peer counselor to expand outreach and engagement services for individuals with a
             serious mental illness (SMI) and homeless or at risk of homelessness. Projects will work closely with
             BHASO's, Managed Care Organization's (MCO’s) and Crisis stabilization centers to create a referral flow
             and coordination of services.

             The proposed expansion of adding one additional Projects for Assistance in Transition from
             Homelessness (PATH) peer counselor to each of the Projects for Assistance in Transition from
             Homelessness (PATH) teams will allow agencies to expand needed outreach and engagement efforts.
             The proposed funds will enhance the quality of program delivery and engagement and expand critical
             crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




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             Project #: BGCE-RSS13


             Project Title: Creating a Behavioral Health Housing Action Plan           Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Scope:
             In 2007, the Mental Health State Transformation Initiative generated a Housing Action Plan. The
             Housing Action Plan conducted an inventory of affordable housing for people with serious mental
             illness, set a philosophical approach for Housing First principles and identified action steps to improve
             affordable housing. This proposal seeks to update the Housing Action Plan to include people with
             substance use disorders.

             Washington is experiencing a significant housing crisis. Individuals with behavioral health conditions
             experience homelessness at a significant rate. The development of a housing action plan will create a
             north star for the behavioral health system to pursue partnerships to create and develop affordable
             housing.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will identify and analyze the needs and gaps for affordable housing for the behavioral health
             population. It will develop an action plan to meet the affordable housing needs of individuals with both
             mental health and substance use disorders.

             The Behavioral Health Affordable Housing Action plan will analyze the impacts of homelessness on the
             BIPOC population. According to Research and Data Analysis, individuals experiencing homelessness are
             more likely to be African American or Alaska Native/American Indians (Ford-Shah, M., 2012)



             Project #: BGCE-RSS14


             Project Title: Creating a Housing Inventory/Estimator/Calculator          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                    reduce risks of COVID-19 transmission.

             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This project will create an online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing. Based on a




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             current algorithm currently housed in the Pathways to Employment Site, Research and Data Analysis will
             create a housing version for the Pathways to Housing site.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.



             Project #: BGCE-RSS15


             Project Title: Peer Dashboard                                             Proposed Budget: $100,000
                                                                                       *Additional $100,000 SABG

             Scope:
             This funding would be used to create a Dashboard for the Peer Support Program. This would enable the
             team to see data pulled from the Peer Support database on an easily accessible format. There is
             increased focus on the peer support program to meet the growing workforce needs. This dashboard
             would allow the Health Care Authority to have immediate access to data for updates to lawmakers and
             stakeholders. Without the dashboard the Peer Support Team and leadership would not have easily
             accessible data about the Peer Support Program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is a Behavioral Health workforce shortage in Washington and peer services are a growing
             workforce that can help to meet the Behavioral Health needs of our communities. The dashboard will
             allow the Division of Behavioral Health and Recovery easy access to data that could direct the Peer
             Support Program where to focus trainings where gaps are identified to increase the Certified Peer
             Counselor (CPC)workforce and the diversity of the Certified Peer Counselor workforce.

             Programs will ensure services and activities will be designed and delivered in a manner sensitive to the
             needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all




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             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS17
                                                                                        Proposed Budget: $15,000
                                                                                        *Additional $15,000 SABG

             Project Title: White Paper/Toolkits/Medicaid Academy for Peer-Run Peer-Operated Agencies

             Scope:
             This funding would be used to create a white paper to explore strategies for peer run/peer operated
             agencies to become licensed community behavioral health agencies so that they will be able to bill
             Medicaid for peer services.

             This would provide technical assistance for clubhouse and consumer run organizations to become
             licensed providers and bill Medicaid for peer services. This will increase recovery support services to a
             larger portion of the state. Washington State supports several clubhouse programs using general fund
             dollars and SB 5328 is proposing that the state go farther in helping clubhouses gain access to Medicaid
             funds. This project aligns with the bill to assist those organizations to bill Medicaid.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. This
             would allow additional agencies to become licensed to provide peer services increasing the availability
             of Mental Health and Substance Use Disorder (SUD) peer services to a larger population. If unfunded,
             this technical assistance will not be available in the state and could delay agencies in getting licensed to
             provided peer services.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




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             Project #: BGCE-RSS18
                                                                                           Proposed Budget: $50,000
                                                                                           *Additional $50,000 SABG

             Project Title: Foundational Community Support (FCS) – Converting Current Training to Online Training
             Modules

             Scope:
             Foundational Community Supports (FCS) provides supported employment and supportive housing
             services across the state of Washington with over 160 agencies contracted to provide Foundational
             Community Support (FCS) services. The Division of Behavioral Health and Recovery (DBHR) has four full
             time trainers who provide technical assistance to Foundational Community Support (FCS) providers. The
             growth of Foundational Community Support (FCS) has increased the need for technical
             assistance/training and the Division of Behavioral Health and Recovery (DBHR) would like to convert
             some of the "stock" training that it provides to all new Foundational Community Support (FCS) providers
             to a virtual format. Creating online training modules of stock trainings currently provided in person will
             free up time for Foundational Community Support (FCS) trainers to provide more individualized,
             targeted, and intense technical assistance.

             This project is critical to maintaining and improving the quality of services provided by Foundational
             Community Support (FCS) providers. Focused, targeted, and high-level training ensures consistency and
             adherence to the evidence-based modules that Foundational Community Support uses. Currently, the
             Division of Behavioral Health and Recovery Foundational Community Support trainers are spending
             much of their time delivering stock training to providers as they onboard new staff. This type of training
             could easily be provided in a virtual recorded format that would free up the Foundational Community
             Support (FCS) trainers time to provide more advanced targeted technical assistance to providers.
             Freeing up the Foundational Community Support (FCS) trainers time to focus on more targeted and
             nuanced technical assistance allows us to grow the quality of the Foundational Community Support
             program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive




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             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS19

                                                                                       Proposed Budget: $260,000
                                                                                       *Additional $500,000 SABG

             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing
             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to




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             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.


             Project #: BGCE-RSS20


             Project Title: Peer Wellness Coach Training                                 Proposed Budget: $15,000
                                                                                         *Additional $15,000 SABG

             Scope:
             These funds would be used to bring either                    Wellness coaching or                Person
             Medicine Coach certification training to Certified Peer Counselors.              program can also bring
             a train the trainer to Washington so that we can training Certified Peer Counselors in Personal Medicine
             Coach training.

             This project will provide continuing education to certified peer counselors in Washington State around.
             The intended outcome is to increase the knowledge of certified peer counselors to even more
             effectively support the peers they serve. Both programs focus on increased health outcomes. If
             unfunded, this training will not be available in the state or will be out of reach financially for most
             Certified Peer Counselors.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors are
             effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD). Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. This continued education will provide information to better support
             people in whole health as we are moving to a more integrated approach to who person care.




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             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices, and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS22


             Project Title: Training for Oxford Outreach Staff                          Proposed Budget: $20,000
                                                                                        *Additional $20,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             We would like to add funding for training Oxford House Outreach Workers. There have been too many
             deaths in the Oxford Houses since COVID-19 started due to isolation and the feelings of hopelessness
             which brings an increase in drug and fentanyl use and ultimately relapses and deaths. Therefore, there
             is a need for the 10 Oxford House Outreach Representatives to get trainings on de-escalation, grief and
             loss, relapse prevention, meditation, Dialectical Behavioral Therapy (DBT), and any other training that
             would benefit the Oxford House Representatives in helping the residents deal with their grief, losses and
             fears of relapse.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Oxford House Sober Recovery Homes fills a gap in the substance use disorder services continuum by
             establishing and maintaining self-run, self-supported peer-operated sober recovery homes. In
             adherence with United States Code, Title 42, Section §300X–25 Group Homes for Recovering Substance
             Abusers, the State Agency will utilize the Oxford House concept to increase sober recovery housing
             assistance opportunities for recovering individuals living together in a residential disciplined
             environment to maintain recovery without recurrence of use. This level of care includes the provision of
             a safe and affordable home, in a drug-free living situation to recovering individuals with the support of
             other peers in recovery, Contractor staff, and other supports and services in the community including
             mental health guidance from outreach representatives who are trained.

             Adult men and women completing residential treatment or are currently in outpatient treatment for
             substance use disorder, as well as those enrolled in recovery support, and opioid treatment services,
             who need a place to live and can meet the requirements for being a resident of a Recovery House.
             People leaving prisons and jails, Oxford House has a strong re-entry program with Department of
             Corrections (DOC) and does not discriminate on anyone's culture, race, or mores. Recovery housing will
             also include populations with a reported history of opioid use disorder (OUD) and opioid use.




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             Project #: BGCE-RSS23


             Project Title: Participant Engagement Kits for Youth – Mockingbird          Proposed Budget: $35,000
                                                                                         *Additional $35,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness. The Youth Advocates
             Ending Homelessness in Washington state report an alarming number of youth experience mental
             health, substance use disorders and health crisis. This includes advocates that report individuals who are
             experiencing medical issues that may or may not receive medical treatment. The inability to care for
             wounds will likely cause more server health issues or worse. Proposing funding for Mockingbird
             Outreach for Homeless Hygiene and wound care kits such as hand sanitizer, antiseptic, rubbing alcohol,
             hydrogen peroxide, ointment, band aids, gauze, and pain relievers could make the difference.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Mockingbird Society of Washington report Homeless youth lack access to medical care and often go
             without essential hygiene and wound care items which are not covered by Medicaid.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness.




             Project #: BGCE-RSS32


             Project Title: Operationalizing Peer Bridger                                Proposed Budget: $25,000
                                                                                         *Additional $25,000 SABG

             Scope:
             This funding will be used to create an Operationalizing Peer Support training for the peer Bridger
             program for jails, hospitals and Substance Use Disorder (SUD) treatment agencies. Operationalizing Peer
             Support trainings provide Technical Assistance (TA) to existing and new agencies who need support with
             their peer program or who want to implement peer services. This training would also be to provide
             technical assistance to the jails, hospitals and inpatient setting who will be collaborating with the peer
             Bridger program.

             As we transition the peer Bridger from providing services at the state hospitals into community-based
             hospitals and inpatient settings, technical assistance will be beneficial in the transition for the agencies,
             hospitals, and the peer Bridger program. If not approved, there will be confusion about the peer Bridger
             program and how to effectively utilize the services resulting in people not receiving these recovery
             support services. This could increase recidivism into an inpatient setting.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. We are
             currently witnessing gaps in service since the 90/180-day beds went live last year. This needed TA would
             be able to provide the necessary support and education to effectively utilize the peer Bridger program
             increasing recovery supports in inpatient settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS33


                                                                                       Proposed Budget: $100,000

             Project Title: Create a Dashboard on Healthcare for Workers with Disabilities

             Scope:
             The Apple Health for Workers with Disabilities (HWD) program recognizes the employment potential of
             people with disabilities and represents Washington State’s response to the landmark “Ticket to Work”
             legislation passed by Congress in 1999. Healthcare for Workers with Disabilities (HWD) is an
             underutilized program within the state of Washington. This is a critical program to provide low-cost
             healthcare for people with disabilities, enabling people with disabilities to no longer have to choose
             between taking a job and having health care, and therefore work to their full potential. Marketing needs
             to include the message that self-sufficiency is attainable. There is a need to communicate
             measurements of number of individuals using the service as a part of marketing the program. This
             proposal is to develop a public facing dashboard as a part of marketing. There will be collaboration
             between the Health Care Authority departments that have Healthcare for Workers with Disabilities
             (HWD) as part of the service provided, with the communications department, and with Research and
             Data Analysis in order to come up with an attractive and fully functioning site that provides current and
             accurate data.

             The benefit to the government is shifting individuals off of benefits and having them add to tax revenue.
             Under Healthcare for Workers with Disabilities, people with disabilities can earn more money and
             purchase health care coverage for an amount based on a sliding income scale.

             Healthcare for Workers with Disabilities benefits include:

             •          Medicaid benefit package
             •          Access to long term services and supports, if functional requirements are met




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             •          Greater personal and financial independence
             •          Members can earn and save more without the risk of losing their healthcare coverage

             If not approved, people with disabilities have less encouragement to work and continue to live below
             the poverty level while remaining on public benefits. It disproportionally negatively impacts ethnic
             minorities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery, but many avoid seeking work due to fear of losing benefits.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Results from regressions on earnings suggest that Healthcare for Workers with
             Disabilities (HWD) participants with prior Medicaid coverage earn substantially more than non-
             participants in the year following enrollment. On average, they earn roughly $2,000 more than their
             contemporary peers in the following year and $2,500 more than a historical comparison group.
             Healthcare for Workers with Disabilities (HWD) Participants historically rely less on Basic Food benefits.

             Healthcare for Workers with Disabilities (HWD) will create and sustain a culture of respect, caring and
             inclusion through employment. Programs that focus on employment enhance the value and respect
             garnered by the individual and help them to sustain their culture in the community. It empowers them
             to become positive role models. Services provided are inclusive of all who need them and targeted to
             individuals with a range of disabilities that have become successfully employed. Outreach will address
             the foregoing population.


             Project #: BGCE-RSS35


             Project Title: Implicit Biased Training for Landlords                     Proposed Budget: $10,000
                                                                                       *Additional $10,000 SABG

             Scope:
             This project would create a training series for landlords on Implicit Bias. Implicit bias describes our
             attitudes towards people or associates stereotypes with them without our conscious knowledge. Implicit
             Bias trainings are designed to exposed to people to their biases and provide tools to adjust automatic
             patterns of thinking and ultimate eliminate discriminatory behaviors.
             The Division of Behavioral Health and Recovery would work in partnership with the Department of
             Commerce's Landlord Mitigation Project to provide training to landlords who often rent to individuals
             with behavioral health conditions. Training would focus on addressing and identifying implicit biases and
             how this could be unintendedly affecting their decision on who to rent to.




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             This project is important because Washington State has a serious deficit of safe and affordable housing.
             This means that rentals are extremely scarce, and landlords could unintendedly discriminate against
             people of color and people with behavioral health conditions. The anticipated outcome of this project is
             to help landlords identify and then address their implicit biases.


             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal court
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             A disproportionate number of individuals of color experience housing instability. Many of these
             individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. This training will educate landlords on how their implicit bias might limit who they choose
             to rent to.


             Project #: BGCE-RSS36


                                                                                       Proposed Budget: $500,000


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance.

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS38


             Project Title: Rent Assistance                                             Proposed Budget: $2,761,712
                                                                                        *Additional $2,556,968 SABG

             Scope:
             Washington is experiencing a housing crisis. Individuals with behavioral health conditions are
             experiencing homelessness at significant rates. According to the 2020 Homeless Point in time Count,
             there are 10,814 unsheltered individuals on a single night in 2020. Dept. of Commerce manages the
             Point In time Count under federal requirements. According to the data, 4,743 individuals who identified
             with mental health conditions and 3,873 individuals who identified with substance use disorders were
             unsheltered.

             Washington is experiencing a significant housing crisis. Individuals with behavioral health conditions
             experience homelessness at a significant rate. Rental Assistance will be crucial for meeting the housing
             needs of individuals with behavioral health conditions. The goal of this project is to reduce unsheltered
             homelessness of individuals with behavioral health conditions.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will identify and analyze the needs and gaps for affordable housing for the behavioral health
             population. It will develop an action plan to meet the affordable housing needs of individuals with both
             mental health and substance use disorders.

             The Behavioral Health rental assistance program will ensure individuals from BIPOC populations receive
             rental assistance. According to Research and Data Analysis, individuals experiencing homelessness are
             more likely to be African American or Alaska Native/American Indians (Ford-Shah, M., 2012). According
             to the 2020 Point in time count, of the 10,814 individuals who were unsheltered on the day of the
             count, 36 percent were from BIPOC communities.




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             Targeted Housing Costs:

             Total Proposed Funds for Targeted Housing: $5,318,680
             ($2,556,968 SABG Covid Supplement and $2,761,712 MHBG Covid Supplement)

             Method for Determining Rental and Security Deposits: Fair Market Rents (FMRs) are used to determine
             payment standard amounts for the Housing Choice Voucher program, to determine initial renewal rents
             for some expiring project-based Section 8 contracts, to determine initial rents for housing assistance
             payment (HAP) contracts in the Moderate Rehabilitation Single Room Occupancy program (Mod Rehab),
             rent ceilings for rental units in both the HOME Investment Partnerships program and the Emergency
             Solution Grants program, calculation of maximum award amounts for Continuum of Care recipients and
             the maximum amount of rent a recipient may pay for property leased with Continuum of Care funds,
             and calculation of flat rents in Public Housing units.

             Eligibility Criteria for Payment of Rent or Security Deposit: Individuals who are currently unsheltered
             and experiencing a behavioral health condition.

             Proposed Procedures for Individuals to Request Rental Assistance: Behavioral Health Administrative
             Service Organizations (BH-ASO’s) utilize their homeless outreach programs to identify individuals with
             behavioral health conditions currently unsheltered who need rental assistance.




             Tribal Projects Detail

             Project #: BGCE-TRB3


             Project Title: Grants to Tribes and Urban Indian Health Organizations    Proposed Budget: $861,119
                                                                                      *Additional $1,270,794 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                  x    Operation of an “access line,” “crisis phone line,” or “warm lines” to address any
                       mental health issues for individuals.
                  x    Training of staff and equipment that supports enhanced mental health crisis
                       response and services.
                  x    Mental Health Awareness training for first responders and others.
                  x    Hire of outreach and peer support workers for regular check-ins for people with
                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                       reduce risks of COVID-19 transmission.
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional
                       Disturbance (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE)




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             Scope:
             The Health Care Authority will provide grants to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed substance use disorder prevention, treatment, Opioid Use
             Disorder (SUD) intervention and recovery supports services within their Tribal communities. Tribes
             would submit a plan to implement recommended services as outlined in the NOA and allowed within
             the Substance Abuse Block Grant/Mental Health Block Grant (SABG/MHBG) regulations. Additional
             Funds to Tribes $40,993 SABG per Tribe and $27,778 MHBG per Tribe, totaling $68,771 for each Tribe.

             This project is important because American Indian/Alaskan Native (AI/AN) and Tribal communities have
             been greatly affected by the COVID pandemic and the various Tribal and State Stay at Home Orders.
             Tribes are navigating how to operate Behavioral Health program in a virtual and semi/virtual
             environment. Due to the pandemic, Tribes are stating that the individuals in their communities are
             struggling with social isolation and a lack of treatment services due to the pandemic. There has also
             been limited cultural activities available for Tribal communities due to the pandemic. The historic annual
             Canoe Journey was canceled two years in a row with very limited ability to implement cultural programs
             across all Tribal communities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months pandemic and is the highest of other communities by race/ethnicity. The statewide increase
             overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal communities
             to address Substance Use Disorder and MHBG for American Indian/Alaskan Native (AI/AN) in WA.
             Providing direct grants to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:
             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.


             Project #: BGCE-TRB4


             Project Title: Traditional Healing Pilot Project                         Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG
             Scope:
             The Health Care Authority will contract with the Seattle Indian Health Board (SIHB) to (1) document best
             practices (including practice and administrative tools) for an Indian Health Care Provider (IHCP) to offer
             traditional healing/traditional Indian medicine (TIM) services, and (2) analyze the health outcomes and




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             potential cost savings from offering Traditional Indian Medicine (TIM) services. The Seattle Indian Health
             Board (SIHB) deliver the following to the Health Care Authority:
                     1. Recommendations for billing, coding and reimbursement models for Traditional Indian
                     Medicine (TIM) services.
                     2. Analysis, recommendations, and examples of charting for Traditional Indian Medicine
                     (TIM)services and incorporation of charting into an Electronic Health Record (EHR).
                     3. Recommendations and analysis on best practices for incorporating Traditional Indian
                     Medicine (TIM) practitioners into integrated care teams.
                     4. Recommendation and analysis for privileging and credentialing standards of Traditional Indian
                     Medicine (TIM) practitioners and apprentices.
                     5. Evaluation and analysis of the health outcomes for individuals and populations receiving the
                     Traditional Indian Medicine (TIM) services. Measures could include:
                         x Number of services completed;
                         x Impacts on health outcomes;
                         x Policy analysis;
                         x Estimated costs of encounters;
                         x Cost benefit analysis;
                         x Comparison of the population that receives Traditional Indian Medicine (TIM) and the
                              population that does not;
                         x Comparison of patient’s perception of their health pre-Traditional Indian Medicine (TIM)
                              services and post-Traditional Indian Medicine (TIM) services, etc.

             These items will be submitted as separate reports and guidance documents that will be available for the
             Heath Care Authority, federal partners and other Indian Health Care Providers and Tribes in providing
             technical assistance on integrating Traditional Indian Medicine (TIM) into health programs with a focus
             on the prevention, treatment, and recovery of Substance Use Disorder and Serious Mental
             Illness/Serious Emotional Disturbance (SMI/SED).

             The Washington Indian Health Care Improvement Act, passed by the state legislature in 2019, had three
             main goals:
                    1. Provide resources to ensure the highest possible health status of American Indians/Alaska
                    Natives (AI/AN) in Washington;
                    2. Raise the health status of American Indian/Alaskan Native (AI/AN); and
                    3. Ensure tribal self-determination in the areas of health care services.

             One recommendation coming out of the Act was the expansion of traditional Indian medicine (TIM). This
             project helps the Health Care Authority to honor this key recommendation. Traditional Indian Medicine
             (TIM) services provide unparalleled support for American Indian/Alaskan Natives individuals struggling
             with substance use disorder and/or severe mental illness or severe emotional disturbances and Western
             medicine has proven to not be appropriate for prevention, treatment and recovery supports for these
             American Indian/Alaskan Native (AI/AN) individuals. The anticipated outcome is documentation of
             positive health outcomes for individuals receiving Traditional Indian Medicine (TIM) and guidance to
             other Indian Health Care Providers (IHCP) on how to incorporate Traditional Indian Medicine (TIM). If
             not approved, we will continue to have a lack of literature available to demonstrate positive health
             outcomes or cost saving of these services for American Indian/Alaskan Native (AI/AN) and therefore,
             continue to struggle in finding sustainable funding.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             The WA State Department of Health has found that American Indian/Alaska Native (AI/AN) overdose
             fatality rates have gone up 154% during the COVID pandemic. There is a known gap in the provision of
             culturally appropriate services for American Indian/Alaskan Natives (AI/AN) in the state of Washington
             and at a national level. Tribes and Indian Health Care Providers (IHCPs) are the experts in providing
             culturally appropriate services; however, Traditional Indian Medicine (TIM) does not have a sustainable
             funding mechanism. There are many evidence-based practices (EBP) available for Substance Use
             Disorder and Mental Health services; however, there are limited studies with American Indian/Alaskan
             Natives (AI/AN). Tribes and Indian Health Care Providers (IHPCs) find that implementing Evidence-Based
             Programs do not always work for American Indian/Alaskan Native (AI/AN) individuals and Tribal
             communities. This project will seek to develop evidence related to the efficacy of Traditional Indian
             Medicine (TIM) services for American Indian/Alaskan Natives (AI/AN) suffering from severe emotional
             disturbance, severe mental illness, or substance use disorder (SUD).

             This project directly addresses Diversity, Equity and Inclusion (DEI) principles by providing support for
             Traditional Indian Medicine (TIM) and integration with clinically based health care. For decades, the
             response to Traditional Indian Medicine (TIM) is there is a lack of clinical data associating Traditional
             Indian Medicine (TIM) with better health outcomes. This pilot project will provide guidance around
             integration of Traditional Indian Medicine (TIM) and clinically based primary care and preliminary data
             to build the case for Traditional Indian Medicine (TIM). The intent is to provide foundational research
             and evidence that will support a request for sustainable Medicaid reimbursement for Traditional Indian
             Medicine (TIM).




             Crisis Set-Aside Projects Detail

             Project #: BGCE-ASO2


                                                                                        Proposed Budget: $1,345,566

             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services provided 24
             hours a day, seven days a week including crisis call line, evaluation and treatment services for
             Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient services,
             crisis stabilization services, Employment and Training (E&T) services, and services for the priority




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             populations defined per Contract. Services also include 24-hour-a-day emergency care services, mobile
             crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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                                                    Washington


                                    COVID-19 Supplemental Funding Plan for FY21



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID Supplemental Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021 to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential COVID-19 relief
             supplemental funding to address principles focused on recovery needs, support for the behavioral health
             workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment services.
             The budget summary, on the following pages, provides the detailed amounts allocated across the
             continuum of behavioral health services through a wide variety of projects, treatment funds provided
             through our Behavioral Health Administrative Service Organizations (BH-ASO’s) and Tribes. WA Health
             Care Authority, with input from partners, including the Behavioral Health Advisory Council, respectfully
             submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others). Input on the proposals was received at the end of the event, which
             helped to inform the direction, as well as solidify the allocations to each section and confirm what
             flexibilities to seek within the application for these COVID-19 relief supplemental funds. In addition to
             waiver flexibilities, the Health Care Authority may also require some flexibility to move allocations from
             one proposal, to another, within those in this application, in the event a particular proposal is particularly
             successful and requires funding allocation from another proposal which may not require the entire
             allocation presented in this application.




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             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of First Episode Psychosis, Treatment, Recovery Support
             Services and Crisis Services. In the pages that follow, a longer project narrative will include the project
             title, budgeted amount, a description, or scope of work summary, as well as a narrative of how the
             project addresses state needs and gaps, especially gaps in equity.

             WA is grateful to SAMHSA for the opportunity to apply for the COVID-19 relief supplemental funds, as this
             has been an unprecedented year of extreme stressors to the most vulnerable among us, and the funding
             will undoubtedly support those persons at greatest risk, as well as those who seek support in treatment
             and ongoing recovery.



             Project List and Budget Table


               FEP Set-Aside

               Project #      Project Title            Project Description                             Proposed Budget



                                                       Develop and adapt evidence based
               Project
                                                       coordinated specialty care programs for
               #: BGCE-       Rural and AI/AN Pilot    FEP to meet the needs of rural, frontier
               CYF7           Project for FEP          and AI/AN communities.                          $      2,307,000
                                                                             Total FEP Set-Aside       $    2,307,000


               Treatment
               Children, Youth and Family Treatment Funding

               Project #      Project Title            Project Description                             Proposed Budget
                                                       Developing Wraparound and Intensive
                              Developing               Service (WISe) workforce to support
                              Wraparound and           youth with Intellectual
               Project
                              Intensive Services       Disabilities/Developmental Disabilities
               #: BGCE-       (WISe) Workforce         (including Autism Spectrum Disorder
               CYF2           Support                  (ASD).                                          $        200,000
                                                        Trauma Focused Cognitive Behavioral
                                                       Therapy (CBT) Training for clinicians
               Project
                          Trauma Focused               serving children and youth returning to
               #: BGCE-   Cognitive Behavioral         school as part of the triage process post
               CYF5       Therapy Training             screening.                                      $        376,671
               Adult Treatment Funding




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                                                       Expansion of current contract to deliver
                                                       Cognitive Behavioral Therapy for
               Project
                                                       Psychosis to a cohort of clinicians who are
               #: BGCE-       Cognitive Behavioral     serving people on 90/180 involuntary civil
               MHA1           Therapy for Psychosis    commitment orders.                            $      130,000
                                                 Modify curriculum of Trauma Informed
               Project
                                                 Care training specifically for Designated
                              Trauma Informed Care
               #: BGCE-                          Crisis Responders to incorporate the skills
                              for Designated Crisis
               MHA2           Responders         into their practice.                                $       50,000
                                                 Develop a curriculum for a 100-hour
                                                 course for Mental Health (MH)
                                                 professionals to secure credentials to
                                                 become an Older Adult Mental Health
                                                 Specialist, Intellectual Disabilities
               Project
                                                 /Developmental Disabilities (ID/DD)
               #: BGCE- Mental Health Specialist Mental Health Specialist, and Ethnic
               MHA3      Training                Minority Mental Health Specialist.                  $      396,329
               BH-ASO Treatment Funding



                                                       The community mental health services
                                                       provided include but are not limited to
                                                       outpatient services, including specialized
                                                       outpatient services for children, the
                                                       elderly, individuals with a serious mental
                                                       illness, residents of the service areas who
                                                       have been discharged from inpatient
                                                       treatment at a mental health facility, day
                                                       treatment or other partial hospitalization
                                                       services, psychosocial rehabilitation
                                                       services, outreach to and services for
                              Behavioral Health        individuals who are homeless, at risk of
               Project
                              Administrative Service   homelessness, or ready for discharge
               #: BGCE-       Organization (BH-ASO)    from inpatient psychiatric care, and
               ASO2           Treatment Funding        individuals residing in rural areas.          $    6,150,372
                                                                               Total Treatment       $   7,303,372


               Recovery Support Services

               Project #      Project Title            Project Description                           Proposed Budget




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                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                              Participant Support        Treatment Services for people
               Project
                              Funds- Housing and         experiencing homelessness, medications,
               #: BGCE-       Recovery through Peer      coordination with primary care, case
               RSS1           Services (HARPS) teams     management etc.                              $       50,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                              Participant Support        outreach workers, Assertive Community
                              Funds- Projects for        Treatment Services for people
               Project
                              Assistance in Transition   experiencing homelessness, medications,
               #: BGCE-       from Homelessness          coordination with primary care, case
               RSS2           (PATH) teams               management etc.                              $      140,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                                                         Treatment Services for people
               Project
                                                         experiencing homelessness, medications,
               #: BGCE-       Participant support        coordination with primary care, case
               RSS3           Funds - Peer Bridger       management etc.                              $      100,000
                              Certified Peer
               Project
                              Counselor (CPC) Online
               #: BGCE-       Continuing Education       Create online Certified Peer Counselor
               RSS7           Bank                       (CPC) continuing education trainings.        $       50,000
                              Foundational
                              Community Support
                              Supported
                              Housing/Supported          Creating a Supported Housing (SH) fidelity
               Project
                              Employment (SH/SE)         certification development/Individual
               #: BGCE-       'fidelity reviewer         Placement and Support (IPS) certification
               RSS8           certification'             through Westat.                              $       50,000
                              Community Work             Training for Foundational Community
                              Incentive Coordinator      Support service providers to become
                              (CWIC) training and        Community Work Incentive Coordinator
               Project
                              staffing costs for a       (CWIC) trained - https://vcu-
               #: BGCE-       provider to attend the     ntdc.org/training/introductory/introindex
               RSS9           training                   .cfm                                         $       50,000
               Project
               #: BGCE-       Intentional Peer           Train Certified Peer Counselors in
               RSS10          Support Training           Intentional Peer Support.                    $      150,000
                              Adding a Peer to           Targeted peer outreach on Project for
                              Projects for Assistance    Assistance in Transition from
               Project
                              in Transition from         Homelessness (PATH) teams focusing on
               #: BGCE-       Homelessness (PATH0        a by-name list of individuals who have
               RSS12          Outreach Teams             had multiple contacts with crisis system.    $    1,120,000




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               Project
                              Creating a Behavioral
               #: BGCE-       Health (BH) Housing       Inventory of all the housing needs of the
               RSS13          Action plan               Behavioral Health (BH) population.           $       15,000
               Project
                              Creating a housing        Provide timely information for individuals
               #: BGCE-       inventory/estimator/cal   with behavioral health conditions to
               RSS14          culator                   access housing services and resources.       $      150,000
               Project
               #: BGCE-                                 Extract data out of the peer credential
               RSS15          Peer Dashboard            data system to have a dashboard.             $      100,000
                              White
                              paper/Toolkits/Medicai
               Project
                              d Academy for Peer        Creating a white paper on Community
               #: BGCE-       Run-Peer Operated         Behavioral Health Associate (CBHA) Lite
               RSS17          Agencies                  licensing.                                   $       15,000
                              Foundational
                              Community Support -
               Project
                              Converting Current        Convert Foundational Community
               #: BGCE-       Training to Online        Support training to online training
               RSS18          Training Modules          modules.                                     $       50,000
                              Cover Foundational        Utilize block grant funds that would cover
                              Community Support         Foundational Community Support
                              Services in Institution   services for people transitioning out of
               Project
                              for Mental Disease        Institution for Mental Disease (IMD)
               #: BGCE-       (IMD) when Medicaid is    settings if Medicaid does not get
               RSS19          Suspended                 retroactively reconnected.                   $      500,000


               Project
               #: BGCE-       Peer Wellness Coach       Peer Wellness Coach continuing
               RSS20          Training                  education curriculum developed.              $       15,000
               Project
                                                        De-escalation, mediation, basic grief
               #: BGCE-       Training for Oxford       counseling training for 10 Oxford
               RSS22          Outreach Staff            outreach staff.                              $       20,000
                                                        Mental Health Block Grant (MHBG) &
                                                        Substance Abuse Block Grant (SABG)
                                                        funds could be used to support case
                                                        managers, outreach workers, Assertive
                                                        Community Treatment Services for
               Project
                              Participant Engagement    people experiencing homelessness,
               #: BGCE-       Kits for Youth -          medications, coordination with primary
               RSS23          Mockingbird               care, case management etc.                   $       35,000




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                                                         Enhance jail transition programs with
                                                         SUD peers services to individuals who
                                                         upon release will be homeless. SUD Peer
                              Peer Pathfinders           Services begin prior to release to
               BGCE-          Transition from            establish relationship and upon release to
               RSS24          Incarceration Pilot        support the transition to needed services.   $          790,000
                              Add Co-Occurring Peer
                              to Forensic-Housing        Add 1 peer to each of the four Forensic-
                              Housing and Recovery       Housing Housing and Recovery through
               BGCE-          through Peer (F-HARPS)     Peer Services (F-HARPS) in Phase I
               RSS25          Services                   regions.                                     $          400,000
                                                         Create an operationalizing Peer Bridger
               Project
                                                         program for hospitals, Substance Use
               #: BGCE-       Operationalizing Peer      Disorder (SUD), and Treatment (TX)
               RSS32          Bridger                    agencies.                                    $           25,000
               Project
                              Create a Dashboard on      Public facing dashboard/Marketing on
               #: BGCE-       Healthcare for Workers     the number of people using the Medicaid
               RSS33          with Disabilities (HWD)    buy-in program.                              $          100,000
               Project
               #: BGCE-       Implicit Biased Training   Braid funding with Commerce to create a
               RSS35          for Landlords              training for landlords.                      $           10,000
                                                         Helping individuals with the creation of a
                                                         Supplemental Security Income/Social
               Project
                              Funding for SSI/SSDI       Security Disability Insurance (SSI/SSDI)
               #: BGCE-       Outreach, Access, and      outreach access and recovery community
               RSS36          Recovery (SOAR) Leads      coordinators.                                $          500,000
               BGCE-          Enhance Mobile Crisis      Pilot enhancements to mobile crisis
               RSS41          Teams with CPCs            teams by adding CPCs to existing teams.          $      1,909,000
                                                               Total Recovery Support Services        $       6,344,000


               Tribal

               Project #      Project Title              Project Description                          Proposed Budget




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                                                          Provide grants to 29 federally recognized
                                                          Tribes and two Urban Indian Health
                                                          Organizations to deliver Substance Use
                                                          Disorder (SUD) prevention, treatment,
               Project
                              Grants to Tribes and        Opioid Use Disorder (OUD) intervention
               #: BGCE-       Urban Indian Health         and recovery support services within
               TRB3           Organizations               their Tribal communities.                      $      861,000
                                                          Indian Health Care Provider (IHCP) to
                                                          offer traditional healing/traditional Indian
                                                          medicine (TIM) services and analyze the
               Project
                                                          health outcomes and potential cost
               #: BGCE-       Traditional Healing Pilot   savings from offering Traditional Indian
               TRB4           Project                     Medicine (TIM) services.                       $      100,000
                                                                                        Total Tribal     $    961,119


               Crisis Set-Aside

               Project #      Project Title               Project Description                            Proposed Budget
                              Behavioral Health
                              Administrative Service      Services include 24-hour-a-day
               Project
                              Organization (BH-ASO)       emergency care services, mobile crisis,
               #: BGCE-       Treatment Funding -         crisis line, and Designated Crisis
               ASO2           Crisis Services             Responders (DCR) services.                     $    1,346,000
                                                                             Total Crisis Set-Aside      $   1,346,000




               TOTAL SABG Covid Supplement Budget
                                                                                    FEP Set-Aside        $    2,307,000
                                                                                        Treatment        $    7,303,372
                                                                        Recovery Supports Services       $    6,344,000
                                                                                              Tribal     $      961,000
                                                                                   Crisis Set-Aside      $    1,346,000
                                                                                   Administrative        $      961,000

                                                                                       Total Budget      $ 19,222,372




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             First Episode Psychosis Project Detail


             Project #: BGCE-CYF7

             Project Title: Rural and AI/AN Pilot Project for FEP                  Proposed Budget: $2,307,000

             Scope:
             Develop and adapt evidence based coordinated specialty care (CSC) programs for first episode psychosis
             (FEP) to meet the needs of rural, frontier and AI/AN communities. The project would be to help to
             develop a rural and /or Tribal New Journeys/CSC model, to evaluate it, and broadly disseminate the
             results to inform future program development. Other states are also interested in figuring out how to
             develop CSC services in rural areas and Tribal communities. There could be great value in collaborating
             with partners in other states on this (they would fund their own program development) and could help
             to define rural and AI/AN CSC in other parts of the U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation is essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early
             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.



             Treatment Projects Detail

             Children, Youth and Family

             Project #: BGCE-CYF2




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             Project Title: Developing WISe Workforce Support                          Proposed Budget: $200,000

             Scope:
             Developing Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder
             Three lead Wraparound and Intensive Services (WISe) behavioral health agencies will plan and
             implement the project informed by local needs with logistical oversight provided the Wraparound and
             Intensive Services (WISe) Workforce Collaborative/En Route. A training component will be provided by
             Seattle Children’s Autism Center and offered to a total of five (5) Behavioral Health agencies. The
             proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the Health Care Authority and Developmental Disabilities
             Administration (DDA) convened Wraparound and Intensive Services (WISe) and Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD) workgroup or
             Project Echo sessions. This allows the project to build more directly on the knowledge and efforts
             already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             During COVID the increased need of trained staff to provide stabilization support for youth in
             Wraparound and Intensive Services (WISe) with Intellectual Disabilities/Developmental Disabilities
             (ID/DD) including Autism Spectrum Disorder (ASD) has become apparent. The concern identifying the
             need for additional training has been expressed by caregivers, behavioral health agency staff and allied
             system partners. Our behavioral health workforce is often times generalists by education and don't have
             the training to best support youth with Autism Spectrum Disorder (ASD) and their families. This funding
             would provide the training support and consultation to five behavioral health agencies as well as
             enhance community coordination in three regions for youth enrolled in Wraparound and Intensive
             Services (WISe) with Intellectual Disabilities/Developmental Disabilities including Autism Spectrum
             Disorder.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.




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             Project #: BGCE-CYF5


             Project Title: Trauma Focused Cognitive Behavioral Therapy Training       Proposed Budget: $376,671

             Scope:
             Provide training in Trauma Focused-Cognitive Behavioral Therapy (RF-CBT) to clinicians serving children
             and youth returning to school as part of the triage process post screening as a part of the recommended
             Department of Health fast response plan to help meet the needs of children and youth returning to
             school following the Governor's proclamation that in person options are required as of April 1, 2021.
             This will serve youth who indicate trauma exposure in the screening process (SED). This is following the
             Sonoma model, and will further enhance the clinical interventions available to children and youth across
             WA in the long run.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth over the past year regarding mental health impact
             are expected to surface as children youth and families begin the transition to in person education. This
             proposal meets an identified need in the plans to date that matches the requirements of this funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength-based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




             Adult Treatment

             Project #: BGCE-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis                 Proposed Budget: $130,000

             Scope:




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             This project will expand upon our current contract with the University of Washington's Supporting
             Psychosis Innovation through Research, Implementation and Training (SPIRIT) Lab to deliver Cognitive
             Behavioral Therapy for Psychosis to a cohort of outpatient and inpatient clinicians from selected
             contracted community-based sites who are serving people receiving 90/180 involuntary civil
             commitment orders. This Evidence Based Practice (EBP) helps people living with psychosis achieve a
             level of self-management that has shown great success, supporting individuals and their families in the
             community.

             Many of the people on these long-term involuntary commitments experience psychosis so this Evidence
             Based Practice is a good fit for the needs of this population. We will train two cohorts of clinicians- each
             cohort containing staff from an inpatient setting serving people on 90/180 involuntary civil commitment
             orders and a corresponding outpatient behavioral health agency that treats these individuals upon
             discharge- or may have treated the individual prior to admission. This will allow the skills learned in
             either setting to be supported and reinforced in the other setting. The plan it to first train the clinicians
             to a level of competency such that they then can be trained to supervise others with the model. It
             would then broaden to be delivered in group treatment and then be the model of treatment across the
             milieu for those in inpatient settings. We believe that this implementation plan should have good
             sustainability for these sites.

             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate Evidence Based Practice should assist this population in better
             managing their symptoms and reduce their need for further involuntary or inpatient treatment. This
             recovery-based model supports both the individual and their family which should help individuals to
             successfully remain in the community.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training our Behavioral Health workforce in Cognitive Behavioral Therapy (CBT) for Psychosis will help
             empower individuals living with psychosis to better manage symptoms that interfere with their ability to
             live their lives in the community. The Behavioral Health workforce needs enhanced tools to treat
             psychosis beyond simply medication alone. This evidence-based practice is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about Cognitive
             Based Therapy (CBT) for Psychosis and its success rate. Additionally, the facilities that have begun to
             take individuals on long term orders have reported a need for more enhanced programming for this
             population and it is important to provide continuity of care, including support for skills development,
             across care settings.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.




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             Project #: BGCE-MHA2


             Project Title: Trauma Informed Care for Designated Crisis Responders      Proposed Budget: $50,000

             Scope:
             Modify curriculum of Trauma Informed Care Training specifically for Designate Crisis Responders so that
             Designated Crisis Responders (DCR) can incorporate the skills into their practice. Conducting involuntary
             treatment investigations can be innately traumatizing. Incorporating trauma informed techniques into
             the Designative Crisis Responder (DCR) skill set can help make the investigations less traumatizing, and
             hopefully minimize long term trauma from the involuntary treatment process.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently no trauma informed care training specific to the work Designative Crisis Responders
             do. Involuntary Treatment Act (ITA) evaluations can be traumatizing for the people performing the
             evaluation. To minimize the impact to the Designated Crisis Responders, the individuals being evaluated
             and the system as a whole, this training is immediately necessary.

             Individuals in BIPOC communities and those with serious behavioral health issues are more likely to have
             encounters with law and healthcare systems that result in furthering trauma. The trauma that effects
             the individual being evaluated also impacts the person doing the evaluation. Proper training can help
             improve the interactions between Designated Crisis Responders, law enforcement and individuals
             receiving treatment. This will assist in more sustainable recovery for every individual, and a system
             prepared to support those in need.


             Project #: BGCE-MHA3


             Project Title: Mental Health Specialist Training                          Proposed Budget: $396,329

             Scope:
             Develop curricula for a 100-hour course for Mental Health Professionals who provide treatment services
             to individuals with SMI or SED to secure credential to become an Older Adult Mental Health Specialist,
             Intellectual Disabilities/Developmental Disabilities (ID/DD) Mental Health Specialist, and Ethnic Minority
             Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health Outpatient (OP)
             treatment. Training curricula will focus on recognizing unique needs of these populations, clinical best
             practices, understanding of the community resources and partners when working with these
             populations, the role of Mental Health Specialist and how to provide clinical consultation, cultural
             humility, and other relevant information specific to each demographic.

             The Division of Behavioral Health and Recovery (DBHR) has not sponsored Mental Health Specialists
             academies for almost ten years and as such, there are significant workforce shortages in specialists
             trained and credentialed to work with the older adult population, individuals with intellectual and
             developmental disabilities, and ethnic minorities. Each of these populations has unique needs or
             considerations that impact care and the behavioral health workforce needs additional training and
             supports in order to meet their needs. The overall intent is to provide better care for clinicians who
             provide services to SMI and SED populations.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for mental health professionals trained and sufficiently
             skilled to work with older adult population is more critical than ever. The current workforce requires
             specialized skills and knowledge to better support BIPOC populations and people with Intellectual
             Disabilities/Developmental Disabilities. This is a work force shortage that must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: BGCE-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding
             Proposed Budget: $6,150,372

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.




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             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI) or
             Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to
             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




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             Recovery Support Services Projects Detail

             Project #: BGCE-RSS1


             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams
                              Proposed Budget: $50,000
                                                                                    *Additional $50,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the HARPS program
             to assist individuals who are transitioning from inpatient settings to the community. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.

             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The Housing and Recovery through Peer Support (HARPS) priority population is unable to earn wages
             while involved with inpatient treatment and is unlikely to have savings to secure housing upon
             discharge. Additionally, many participate intensive outpatient treatment which limits the amount of
             time to earn wages to afford housing, as well as other necessities to stay engaged in treatment and
             recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity




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             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS2


             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams                     Proposed Budget: $140,000

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the homeless
             outreach teams to assist individuals who are seriously mentally ill and not engaged in treatment.
             Expenses could include but not limited to transportation costs, PPE and items needed to support their
             recovery.

             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




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             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                x COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional Disturbance
                    (SMI/SED), including testing and
                    administering COVID vaccines, COVID awareness education, and purchase of
                    Personal Protective Equipment (PPE).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants with serious mental
             illness who are transitioning from inpatient settings to the community. Expenses could include but not
             limited to transportation costs, PPE and items needed to support their recovery.

             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS7




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             Project Title: Certified Peer Counselor (CPC) Online Continuing Education Bank
                     Proposed Budget: $50,000
                                                                                      *Additional $50,000 SABG

             Scope:
             This funding would be used to create online Certified Peer Counselor (CPC) continuing education
             trainings. The trainings could include Wellness Recovery Action Plans (WRAP), Crisis Plans, Suicide
             Prevention, cultural awareness, and others. The goal is to great online learning bank for Certified Peer
             Counselors where they can access continuing education trainings on demand.

             These trainings would be accessible for all certified peer counselors in Washington and the knowledge
             gained will improved peer services provided in Washington. Traditionally Certified Peer Counselors
             (CPCs) continuing education trainings have been funded by DBHR, during the past year we have had to
             reallocate funding to meet the needs of the Certified Peer Counselor workforce by increasing our core
             Certified Peer Counselor (CPC) trainings. These online trainings will be able to be accessed by peers
             across the state no matter where they reside or work and removing barriers to access. If unfunded, this
             training will not be available in the state or will be out of reach financially for most Certified Peer
             Counselors (CPCs).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD).
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. Continuing education for certified peer counselors is always requested
             and providing these trainings in a virtual format will make the trainings more accessible to peers in all
             areas of the state.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS8


             Project Title: Foundational Community Support (FCS) Supported Housing/Supported Employment
             (SH/SE) Fidelity Reviewer Certification
             Proposed Budget: $50,000
                                                                                  *Additional $50,000 SABG
             Scope:




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             Intensive Trainings for Foundational Community Supports (FCS) providers to increase their
             skills/trainings on SAMSHA Permanent Supportive Housing (PSH) Fidelity Reviews and Individual
             Placement and Support (IPS) Support Employment Fidelity Reviews.

             Washington State Foundational Community Support programs uses two evidence-based models-
             SAMSHSA Permanent Supportive Housing and WESTAT/Rockville Institutes Individual Placement and
             Support Supported Employment Model. To ensure high quality standards and fidelity to these models,
             Foundational Community Support (FCS) providers participate in fidelity reviews. This funding will allow
             Foundational Community Support provider to participate in intensive training to able to provide high
             quality fidelity reviews and ensure compliance with the evidenced based practices.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement and Support
             (IPS) model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement and Support (IPS) services
             resulted in significant rates of employment, as much as 3 times as many people successfully achieving
             competitive employment as compared to individuals not receiving Individual Placement and Support
             (IPS) services. Employment has many positive impacts on the mental health and wellbeing of individuals
             with psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement and Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.




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             Project #: BGCE-RSS9


                                                                                       Proposed Budget: $50,000

             Project Title: Community Work Incentive Coordinator (CWIC) Training and Staffing Costs

             Scope:
             This project proposes to use MHBG funds to cover Staff training costs for community behavioral health
             agencies to become Community Work Incentive Coordinators. Nothing provides 'hope' more than
             believing that people can work but addressing an individual’s concerns about how working affects their
             governmental benefits is key to implementing the evidence-based practice model called Individual
             Placement and Support. Benefits counseling is one of the core principles of providing this EBP model.

             Washington State’s Foundational Community Supports (FCS) supported employment providers serve
             individuals using the Evidence Based Practice of Individual Placement and Support, the program
             developed and managed by Westat Rockville Institute. Washington state legislature mandated the use
             of evidence based or promising practices when Foundational Community Support (FCS) was approved.
             The intent is for the service to be statewide and in order to positively impact sustainability, services
             should be provided to fidelity in order to achieve the greatest outcomes. An important element of the
             principles of Individual Placement and Support is the education of job seekers of how income may
             impact federal and state benefits and entitlements. There is currently not the bandwidth in
             Washington’s State to provide work incentive education and planning to enroll individuals in the
             Foundational Community Support system. The proposal is to send Foundational Community Support
             (FCS) agency staff from agencies to enroll in webinars to learn the foundational knowledge of Social
             Security work incentives, and to secure certification training for select agency staff at behavioral health
             organizations in Western and Eastern Washington State. This initiative will greatly increase the number
             of benefit practitioners to education and support job seekers in the transition to competitive
             employment, attain self-sufficiency while decreasing reliance on public entitlement programs. The
             Institute on Employment and Disability in Cornell University's Industrial and Labor Relations School
             training also has a credentialling option that provides a pathway to be recognized as an accredited work
             incentive planner. Work incentives pave the way to work and financial independence for recipients of
             public benefits. This training will provide essential insight into how the complex mix of work incentives,
             critically needed benefits, and earnings can be explained to an individual with a disability to encourage
             both work and financial independence.

             There is a critical need for the training of benefit education planners in Washington State. The
             Foundational Community Support (FCS) program has 162 providers with 458 service location, with an
             enrollment of over 3,000 individuals. the availability of agency staff with foundational knowledge and
             access to certified benefit planners is crucial to provide support to enrolled participants and learn how
             earned income can impact entitlement benefits. These training opportunities will provide staff essential
             tools to assist job seekers to reach their individual goal of self-sufficiency. The implementation and
             practices of the Individual Placement Support (IPS) supported employment model are expanding in
             Washington State, and the critical need to adequately prepare agency staff of benefit planning
             curriculum is essential for overall long-term success. The certification training through the Institute on
             Employment and Disability in Cornell University's Industrial and Labor Relations School will prepare




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             agency staff to support enrolled participants to develop a clear, comprehensive, and actionable report
             of an individual’s financial situation and how to maximize self-sufficiency trends. There is not currently a
             more viable way to increase skills of agency staff and to increase the numbers of certified benefit
             planners.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             The Foundational Community Support Program is built upon evidenced based practices of SAMHSA and
             the Westat Rockville Institute to implement supported employment practices that are effective. The
             principles of these evidence-based practices (EBP) encompass the idea of a holistic, person centered
             approach, which is all inclusive and embraces zero exclusion, access to an individual's choice of services.
             The struggles of poverty and self-sufficiency negatively impact communities of people of color
             disproportionately. The implementation of based practices accelerates the positive impact on social
             determinants of health in urban and rural communities. Services are provided are inclusive of all who
             need them and targeted to individuals with a wide range of disabilities.


             Project #: BGCE-RSS10


             Project Title: Intentional Peer Support Training                           Proposed Budget: $150,000
                                                                                        *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             These funds will be used to train Certified Peer Counselors in Intentional Peer Support. These trainings
             will be provided either in person or in a virtual format depending on physical distancing requirements.
             Priority for these training will be Certified Peer Counselors (CPCs) who work on the following teams Peer




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             Bridgers, Housing and Recovery through Peer Services (HARPS), Forensic Housing and Recovery through
             Peer Services (HARPS), Projects for Assistance in Transition from Homelessness (PATH), Forensic Projects
             for Assistance in Transition from Homelessness (PATH), Peer Pathfinders, and Foundational Community
             Support (FCS) teams. The training will be opened up to additional Certified Peer Counselors (CPCs) when
             space is available. This funding will also be used to provide travel supports for participants.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder. Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (EDI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS12
                                                                                       Proposed Budget: $1,120,000


             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disorder (SMI/SED).

             Scope:
             Proposed funds will add one peer counselor to each of the current Projects for Assistance in Transition
             from Homelessness (PATH). Project for Assistance in Transition from Homelessness (PATH) programs
             assist individuals in accessing housing, mental health services, substance abuse treatment, disability
             benefits, and other services to stabilize them and facilitate recovery. Each agency will be required to hire
             and onboard a new peer counselor to expand outreach and engagement services for individuals with a
             serious mental illness (SMI) and homeless or at risk of homelessness. Projects will work closely with




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             BHASO's, Managed Care Organization's (MCO’s) and Crisis stabilization centers to create a referral flow
             and coordination of services.

             The proposed expansion of adding one additional Projects for Assistance in Transition from
             Homelessness (PATH) peer counselor to each of the Projects for Assistance in Transition from
             Homelessness (PATH) teams will allow agencies to expand needed outreach and engagement efforts.
             The proposed funds will enhance the quality of program delivery and engagement and expand critical
             crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




             Project #: BGCE-RSS13


             Project Title: Creating a Behavioral Health Housing Action Plan           Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Scope:
             In 2007, the Mental Health State Transformation Initiative generated a Housing Action Plan. The
             Housing Action Plan conducted an inventory of affordable housing for people with serious mental
             illness, set a philosophical approach for Housing First principles and identified action steps to improve
             affordable housing. This proposal seeks to update the Housing Action Plan to include people with
             substance use disorders.

             Washington is experiencing a significant housing crisis. Individuals with behavioral health conditions
             experience homelessness at a significant rate. The development of a housing action plan will create a
             north star for the behavioral health system to pursue partnerships to create and develop affordable
             housing.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             This project will identify and analyze the needs and gaps for affordable housing for the behavioral health
             population. It will develop an action plan to meet the affordable housing needs of individuals with both
             mental health and substance use disorders.

             The Behavioral Health Affordable Housing Action plan will analyze the impacts of homelessness on the
             BIPOC population. According to Research and Data Analysis, individuals experiencing homelessness are
             more likely to be African American or Alaska Native/American Indians (Ford-Shah, M., 2012)



             Project #: BGCE-RSS14


             Project Title: Creating a Housing Inventory/Estimator/Calculator          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                    reduce risks of COVID-19 transmission.

             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This project will create an online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing. Based on a
             current algorithm currently housed in the Pathways to Employment Site, Research and Data Analysis will
             create a housing version for the Pathways to Housing site.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.




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             Project #: BGCE-RSS15


             Project Title: Peer Dashboard                                             Proposed Budget: $100,000
                                                                                       *Additional $100,000 SABG

             Scope:
             This funding would be used to create a Dashboard for the Peer Support Program. This would enable the
             team to see data pulled from the Peer Support database on an easily accessible format. There is
             increased focus on the peer support program to meet the growing workforce needs. This dashboard
             would allow the Health Care Authority to have immediate access to data for updates to lawmakers and
             stakeholders. Without the dashboard the Peer Support Team and leadership would not have easily
             accessible data about the Peer Support Program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is a Behavioral Health workforce shortage in Washington and peer services are a growing
             workforce that can help to meet the Behavioral Health needs of our communities. The dashboard will
             allow the Division of Behavioral Health and Recovery easy access to data that could direct the Peer
             Support Program where to focus trainings where gaps are identified to increase the Certified Peer
             Counselor (CPC)workforce and the diversity of the Certified Peer Counselor workforce.

             Programs will ensure services and activities will be designed and delivered in a manner sensitive to the
             needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS17
                                                                                       Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Project Title: White Paper/Toolkits/Medicaid Academy for Peer-Run Peer-Operated Agencies

             Scope:
             This funding would be used to create a white paper to explore strategies for peer run/peer operated
             agencies to become licensed community behavioral health agencies so that they will be able to bill
             Medicaid for peer services.

             This would provide technical assistance for clubhouse and consumer run organizations to become
             licensed providers and bill Medicaid for peer services. This will increase recovery support services to a
             larger portion of the state. Washington State supports several clubhouse programs using general fund




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             dollars and SB 5328 is proposing that the state go farther in helping clubhouses gain access to Medicaid
             funds. This project aligns with the bill to assist those organizations to bill Medicaid.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. This
             would allow additional agencies to become licensed to provide peer services increasing the availability
             of Mental Health and Substance Use Disorder (SUD) peer services to a larger population. If unfunded,
             this technical assistance will not be available in the state and could delay agencies in getting licensed to
             provided peer services.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS18
                                                                                             Proposed Budget: $50,000
                                                                                             *Additional $50,000 SABG

             Project Title: Foundational Community Support (FCS) – Converting Current Training to Online Training
             Modules

             Scope:
             Foundational Community Supports (FCS) provides supported employment and supportive housing
             services across the state of Washington with over 160 agencies contracted to provide Foundational
             Community Support (FCS) services. The Division of Behavioral Health and Recovery (DBHR) has four full
             time trainers who provide technical assistance to Foundational Community Support (FCS) providers. The
             growth of Foundational Community Support (FCS) has increased the need for technical
             assistance/training and the Division of Behavioral Health and Recovery (DBHR) would like to convert
             some of the "stock" training that it provides to all new Foundational Community Support (FCS) providers
             to a virtual format. Creating online training modules of stock trainings currently provided in person will
             free up time for Foundational Community Support (FCS) trainers to provide more individualized,
             targeted, and intense technical assistance.

             This project is critical to maintaining and improving the quality of services provided by Foundational
             Community Support (FCS) providers. Focused, targeted, and high-level training ensures consistency and




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             adherence to the evidence-based modules that Foundational Community Support uses. Currently, the
             Division of Behavioral Health and Recovery Foundational Community Support trainers are spending
             much of their time delivering stock training to providers as they onboard new staff. This type of training
             could easily be provided in a virtual recorded format that would free up the Foundational Community
             Support (FCS) trainers time to provide more advanced targeted technical assistance to providers.
             Freeing up the Foundational Community Support (FCS) trainers time to focus on more targeted and
             nuanced technical assistance allows us to grow the quality of the Foundational Community Support
             program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS19

                                                                                       Proposed Budget: $500,000




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                                                                                      *Additional $500,000 SABG

             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing
             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.




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             Project #: BGCE-RSS20


             Project Title: Peer Wellness Coach Training                                 Proposed Budget: $15,000
                                                                                         *Additional $15,000 SABG

             Scope:
             These funds would be used to bring either                    Wellness coaching or                Person
             Medicine Coach certification training to Certified Peer Counselors.              program can also bring
             a train the trainer to Washington so that we can training Certified Peer Counselors in Personal Medicine
             Coach training.

             This project will provide continuing education to certified peer counselors in Washington State around.
             The intended outcome is to increase the knowledge of certified peer counselors to even more
             effectively support the peers they serve. Both programs focus on increased health outcomes. If
             unfunded, this training will not be available in the state or will be out of reach financially for most
             Certified Peer Counselors.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors are
             effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD). Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. This continued education will provide information to better support
             people in whole health as we are moving to a more integrated approach to who person care.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices, and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS22


             Project Title: Training for Oxford Outreach Staff                           Proposed Budget: $20,000
                                                                                         *Additional $20,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:




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             DBHR currently funds 10 outreach staff that provide support to the 300+ Oxford houses in Washington
             State. Individuals with co-occurring SMI and SUD diagnosis are recipients of the mutual support
             received within an Oxford house. This proposal is to fund training for the 10 outreach staff to better
             support the individuals with co-occurring serious mental illness and substance use disorders. Training
             topics include but not limited to de-escalation, mediation, grief counseling etc.

             We would like to add funding for training Oxford House Outreach Workers. There have been too many
             deaths in the Oxford Houses since COVID-19 started due to isolation and the feelings of hopelessness
             which brings an increase in drug and fentanyl use and ultimately relapses and deaths. Therefore, there
             is a need for the 10 Oxford House Outreach Representatives to get trainings on de-escalation, grief and
             loss, relapse prevention, meditation, Dialectical Behavioral Therapy (DBT), and any other training that
             would benefit the Oxford House Representatives in helping the residents deal with their grief, losses and
             fears of relapse.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Oxford House Sober Recovery Homes fills a gap in the substance use disorder services continuum by
             establishing and maintaining self-run, self-supported peer-operated sober recovery homes. In
             adherence with United States Code, Title 42, Section §300X–25 Group Homes for Recovering Substance
             Abusers, the State Agency will utilize the Oxford House concept to increase sober recovery housing
             assistance opportunities for recovering individuals living together in a residential disciplined
             environment to maintain recovery without recurrence of use. This level of care includes the provision of
             a safe and affordable home, in a drug-free living situation to recovering individuals with the support of
             other peers in recovery, Contractor staff, and other supports and services in the community including
             mental health guidance from outreach representatives who are trained.

             Adult men and women completing residential treatment or are currently in outpatient treatment for
             substance use disorder, as well as those enrolled in recovery support, and opioid treatment services,
             who need a place to live and can meet the requirements for being a resident of a Recovery House.
             People leaving prisons and jails, Oxford House has a strong re-entry program with Department of
             Corrections (DOC) and does not discriminate on anyone's culture, race, or mores. Recovery housing will
             also include populations with a reported history of opioid use disorder (OUD) and opioid use.


             Project #: BGCE-RSS23


             Project Title: Participant Engagement Kits for Youth – Mockingbird       Proposed Budget: $35,000
                                                                                      *Additional $35,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice




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             example. This project would provide funds directly related to benefit participants in homeless outreach
             teams to assist individuals who are seriously mentally ill and not engaged in treatment. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness. The Youth Advocates
             Ending Homelessness in Washington state report an alarming number of youth experience mental
             health, substance use disorders and health crisis. This includes advocates that report individuals who are
             experiencing medical issues that may or may not receive medical treatment. The inability to care for
             wounds will likely cause more server health issues or worse. Proposing funding for Mockingbird
             Outreach for Homeless Hygiene and wound care kits such as hand sanitizer, antiseptic, rubbing alcohol,
             hydrogen peroxide, ointment, band aids, gauze, and pain relievers could make the difference.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Mockingbird Society of Washington report Homeless youth lack access to medical care and often go
             without essential hygiene and wound care items which are not covered by Medicaid.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness.

             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000
                                                                                         *Additional $790,000 SABG

             Scope:
             This funding will add a Certified Peer Counselor to up to five existing BH-ASO contracts for jail transition
             services. Adding a Certified Peer Counselor to existing jail transition services teams will increase the level
             of services being provided, by having a CPC connect with the individuals while they are still in jail and
             helping them with transition to the community. The certified peer counselor will work with individuals
             diagnosed with a serious mental illness, linking them to behavioral health services, including co-
             occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail




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             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals
             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                               Proposed Budget: $400,000
                                                                                           *Additional $400,000 SABG
             Scope:
             These additional funds would allow the teams to hire another certified peer counselor for each Forensic
             HARPS team in the phase 1 regions. With this additional staff person, the teams would be able to
             increase caseload capacity. This position would also allow the Forensic HARPs teams to serve individuals
             diagnosed with serious mental illness or co-occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain




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             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.


             Project #: BGCE-RSS32


             Project Title: Operationalizing Peer Bridger                               Proposed Budget: $25,000
                                                                                        *Additional $25,000 SABG

             Scope:
             This funding will be used to create an Operationalizing Peer Support training for the peer Bridger
             program for jails, hospitals and Substance Use Disorder (SUD) treatment agencies. Operationalizing Peer
             Support trainings provide Technical Assistance (TA) to existing and new agencies who need support with
             their peer program or who want to implement peer services. This training would also be to provide
             technical assistance to the jails, hospitals and inpatient setting who will be collaborating with the peer
             Bridger program.

             As we transition the peer Bridger from providing services at the state hospitals into community-based
             hospitals and inpatient settings, technical assistance will be beneficial in the transition for the agencies,
             hospitals, and the peer Bridger program. If not approved, there will be confusion about the peer Bridger
             program and how to effectively utilize the services resulting in people not receiving these recovery
             support services. This could increase recidivism into an inpatient setting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. We are
             currently witnessing gaps in service since the 90/180-day beds went live last year. This needed TA would
             be able to provide the necessary support and education to effectively utilize the peer Bridger program
             increasing recovery supports in inpatient settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS33


                                                                                        Proposed Budget: $100,000




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             Project Title: Create a Dashboard on Healthcare for Workers with Disabilities

             Scope:
             Washington's Healthcare for Workers with Disabilities is the Medicaid Buy-in Program. Nothing provides
             'hope' more than believing that people can work but addressing an individual’s concerns about how
             working affects their governmental benefits is key to implementing the evidence-based practice model
             called Individual Placement and Support. Benefits counseling is one of the core principles of providing
             this EBP model. Part of benefits counseling is to help individuals access work incentives such as the
             Medicaid Buy-in Program to ensure working doesn't have adverse effects to their receipt of services or
             medications. This project would promote this untapped work incentive program/Medicaid Buy-in
             program through the creation of a marketing campaign and public dashboard on the utilization of the
             benefit. According to Research and Data Analysis in the 2nd quarter of 2020, only 12 percent of disabled
             individuals with a serious mental health issue were employed in Washington State. (10,631/88,381).
             There are currently 1606 individuals in WA on HWD.

             The Apple Health for Workers with Disabilities (HWD) program recognizes the employment potential of
             people with disabilities and represents Washington State’s response to the landmark “Ticket to Work”
             legislation passed by Congress in 1999. Healthcare for Workers with Disabilities (HWD) is an
             underutilized program within the state of Washington. This is a critical program to provide low-cost
             healthcare for people with disabilities, enabling people with disabilities to no longer have to choose
             between taking a job and having health care, and therefore work to their full potential. Marketing needs
             to include the message that self-sufficiency is attainable. There is a need to communicate
             measurements of number of individuals using the service as a part of marketing the program. This
             proposal is to develop a public facing dashboard as a part of marketing. There will be collaboration
             between the Health Care Authority departments that have Healthcare for Workers with Disabilities
             (HWD) as part of the service provided, with the communications department, and with Research and
             Data Analysis in order to come up with an attractive and fully functioning site that provides current and
             accurate data.

             The benefit to the government is shifting individuals off of benefits and having them add to tax revenue.
             Under Healthcare for Workers with Disabilities, people with disabilities can earn more money and
             purchase health care coverage for an amount based on a sliding income scale.

             Healthcare for Workers with Disabilities benefits include:

             •          Medicaid benefit package
             •          Access to long term services and supports, if functional requirements are met
             •          Greater personal and financial independence
             •          Members can earn and save more without the risk of losing their healthcare coverage

             If not approved, people with disabilities have less encouragement to work and continue to live below
             the poverty level while remaining on public benefits. It disproportionally negatively impacts ethnic
             minorities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see




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             work as an essential part of recovery, but many avoid seeking work due to fear of losing benefits.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Results from regressions on earnings suggest that Healthcare for Workers with
             Disabilities (HWD) participants with prior Medicaid coverage earn substantially more than non-
             participants in the year following enrollment. On average, they earn roughly $2,000 more than their
             contemporary peers in the following year and $2,500 more than a historical comparison group.
             Healthcare for Workers with Disabilities (HWD) Participants historically rely less on Basic Food benefits.

             Healthcare for Workers with Disabilities (HWD) will create and sustain a culture of respect, caring and
             inclusion through employment. Programs that focus on employment enhance the value and respect
             garnered by the individual and help them to sustain their culture in the community. It empowers them
             to become positive role models. Services provided are inclusive of all who need them and targeted to
             individuals with a range of disabilities that have become successfully employed. Outreach will address
             the foregoing population.


             Project #: BGCE-RSS35


             Project Title: Implicit Biased Training for Landlords                     Proposed Budget: $10,000
                                                                                       *Additional $10,000 SABG

             Scope:
             This project would create a training series for landlords on Implicit Bias. Implicit bias describes our
             attitudes towards people or associates stereotypes with them without our conscious knowledge. Implicit
             Bias trainings are designed to exposed to people to their biases and provide tools to adjust automatic
             patterns of thinking and ultimate eliminate discriminatory behaviors.
             The Division of Behavioral Health and Recovery would work in partnership with the Department of
             Commerce's Landlord Mitigation Project to provide training to landlords who often rent to individuals
             with behavioral health conditions. Training would focus on addressing and identifying implicit biases and
             how this could be unintendedly affecting their decision on who to rent to.

             This project is important because Washington State has a serious deficit of safe and affordable housing.
             This means that rentals are extremely scarce, and landlords could unintendedly discriminate against
             people of color and people with behavioral health conditions. The anticipated outcome of this project is
             to help landlords identify and then address their implicit biases.


             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal court
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.




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             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             A disproportionate number of individuals of color experience housing instability. Many of these
             individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. This training will educate landlords on how their implicit bias might limit who they choose
             to rent to.


             Project #: BGCE-RSS36


                                                                                        Proposed Budget: $500,000


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance.

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all




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             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                      Proposed Budget: $1,909,000


             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by adding certified peer counselors in
             Washington State. The intended outcome is to increase the engagement and outreach of MCR teams to
             include certified peer counselors to even more effectively support the peers they serve in crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




             Tribal Projects Detail

             Project #: BGCE-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $861,000
                                                                                    *Additional $1,270,794 SABG




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             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                  x    Operation of an “access line,” “crisis phone line,” or “warm lines” to address any
                       mental health issues for individuals.
                  x    Training of staff and equipment that supports enhanced mental health crisis
                       response and services.
                  x    Mental Health Awareness training for first responders and others.
                  x    Hire of outreach and peer support workers for regular check-ins for people with
                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                       reduce risks of COVID-19 transmission.
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional
                       Disturbance (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE)

             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed mental health services to adults and youth with SMI/SED to
             prevent, prepare for and respond to behavioral health gaps due to COVID within their Tribal
             communities. Tribes would submit a plan to implement recommended services as outlined in the NOA
             and allowed within the Mental Health Block Grant (MHBG) regulations. Additional Funds to Tribes
             $40,993 SABG per Tribe and $27,778 MHBG per Tribe, totaling $68,771 for each Tribe.

             This project is important because American Indian/Alaskan Native (AI/AN) and Tribal communities have
             been greatly affected by the COVID pandemic and the various Tribal and State Stay at Home Orders.
             Tribes are navigating how to operate Behavioral Health program in a virtual and semi/virtual
             environment. Due to the pandemic, Tribes are stating that the individuals in their communities are
             struggling with social isolation and a lack of treatment services due to the pandemic. There has also
             been limited cultural activities available for Tribal communities due to the pandemic. The historic annual
             Canoe Journey was canceled two years in a row with very limited ability to implement cultural programs
             across all Tribal communities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:




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             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.


             Project #: BGCE-TRB4


             Project Title: Traditional Healing Pilot Project                         Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG
             Scope:
             The Health Care Authority will contract with the Seattle Indian Health Board (SIHB) to (1) document best
             practices (including practice and administrative tools) for an Indian Health Care Provider (IHCP) to offer
             traditional healing/traditional Indian medicine (TIM) services, and (2) analyze the health outcomes and
             potential cost savings from offering Traditional Indian Medicine (TIM) services. TIM can serve individuals
             with SMI/SED and substances use disorder, alongside Western based strategies for the prevention,
             treatment, and recovery of SMI/SED/SUD. TIM can also help with SMI/SED/SUD prevention. The services
             may include storytelling, talking circles, drumming, sweat lodge, prayers, blessings (such as cleansing
             and smudging), etc. TIM services are provided by a community-verified practitioner of TIM. Please note
             that this grant will not pay for actual TIM services. The Seattle Indian Health Board (SIHB) deliver the
             following to the Health Care Authority:
                      1. Recommendations for billing, coding and reimbursement models for Traditional Indian
                      Medicine (TIM) services.
                      2. Analysis, recommendations, and examples of charting for Traditional Indian Medicine
                      (TIM)services and incorporation of charting into an Electronic Health Record (EHR).
                      3. Recommendations and analysis on best practices for incorporating Traditional Indian
                      Medicine (TIM) practitioners into integrated care teams.
                      4. Recommendation and analysis for privileging and credentialing standards of Traditional Indian
                      Medicine (TIM) practitioners and apprentices.
                      5. Evaluation and analysis of the health outcomes for individuals and populations receiving the
                      Traditional Indian Medicine (TIM) services. Measures could include:
                          x Number of services completed;
                          x Impacts on health outcomes;
                          x Policy analysis;
                          x Estimated costs of encounters;
                          x Cost benefit analysis;
                          x Comparison of the population that receives Traditional Indian Medicine (TIM) and the
                              population that does not;
                          x Comparison of patient’s perception of their health pre-Traditional Indian Medicine (TIM)
                              services and post-Traditional Indian Medicine (TIM) services, etc.

             These items will be submitted as separate reports and guidance documents that will be available for the
             Heath Care Authority, federal partners and other Indian Health Care Providers and Tribes in providing
             technical assistance on integrating Traditional Indian Medicine (TIM) into health programs with a focus
             on the treatment and recovery of Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).




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             The Washington Indian Health Care Improvement Act, passed by the state legislature in 2019, had three
             main goals:
                    1. Provide resources to ensure the highest possible health status of American Indians/Alaska
                    Natives (AI/AN) in Washington;
                    2. Raise the health status of American Indian/Alaskan Native (AI/AN); and
                    3. Ensure tribal self-determination in the areas of health care services.

             One recommendation coming out of the Act was the expansion of traditional Indian medicine (TIM). This
             project helps the Health Care Authority to honor this key recommendation. Traditional Indian Medicine
             (TIM) services provide unparalleled support for American Indian/Alaskan Natives individuals struggling
             with severe mental illness or severe emotional disturbances and Western medicine has proven to not be
             appropriate for treatment and recovery supports for these American Indian/Alaskan Native (AI/AN)
             individuals. The anticipated outcome is documentation of positive health outcomes for individuals
             receiving Traditional Indian Medicine (TIM) and guidance to other Indian Health Care Providers (IHCP)
             on how to incorporate Traditional Indian Medicine (TIM). If not approved, we will continue to have a
             lack of literature available to demonstrate positive health outcomes or cost saving of these services for
             American Indian/Alaskan Native (AI/AN) and therefore, continue to struggle in finding sustainable
             funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The WA State Department of Health has found that American Indian/Alaska Native (AI/AN) overdose
             fatality rates have gone up 154% during the COVID pandemic. There is a known gap in the provision of
             culturally appropriate services for American Indian/Alaskan Natives (AI/AN) in the state of Washington
             and at a national level. Tribes and Indian Health Care Providers (IHCPs) are the experts in providing
             culturally appropriate services; however, Traditional Indian Medicine (TIM) does not have a sustainable
             funding mechanism. There are many evidence-based practices (EBP) available for Mental Health
             services; however, there are limited studies with American Indian/Alaskan Natives (AI/AN). Tribes and
             Indian Health Care Providers (IHPCs) find that implementing Evidence-Based Programs do not always
             work for American Indian/Alaskan Native (AI/AN) individuals and Tribal communities. This project will
             seek to develop evidence related to the efficacy of Traditional Indian Medicine (TIM) services for
             American Indian/Alaskan Natives (AI/AN) suffering from severe emotional disturbance orsevere mental
             illness.

             This project directly addresses Diversity, Equity and Inclusion (DEI) principles by providing support for
             Traditional Indian Medicine (TIM) and integration with clinically based health care. For decades, the
             response to Traditional Indian Medicine (TIM) is there is a lack of clinical data associating Traditional
             Indian Medicine (TIM) with better health outcomes. This pilot project will provide guidance around
             integration of Traditional Indian Medicine (TIM) and clinically based primary care and preliminary data
             to build the case for Traditional Indian Medicine (TIM). The intent is to provide foundational research
             and evidence that will support a request for sustainable Medicaid reimbursement for Traditional Indian
             Medicine (TIM).




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             Crisis Set-Aside Projects Detail

             Project #: BGCE-ASO2


                                                                                        Proposed Budget: $1,346,000

             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services provided 24
             hours a day, seven days a week including crisis call line, evaluation and treatment services for
             Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient services,
             crisis stabilization services, Employment and Training (E&T) services, and services for the priority
             populations defined per Contract. Services also include 24-hour-a-day emergency care services, mobile
             crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that




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             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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                                                    Washington


                                    COVID-19 Supplemental Funding Plan for FY21



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID Supplemental Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021 to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential COVID-19 relief
             supplemental funding to address principles focused on recovery needs, support for the behavioral health
             workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment services.
             The budget summary, on the following pages, provides the detailed amounts allocated across the
             continuum of behavioral health services through a wide variety of projects, treatment funds provided
             through our Behavioral Health Administrative Service Organizations (BH-ASO’s) and Tribes. WA Health
             Care Authority, with input from partners, including the Behavioral Health Advisory Council, respectfully
             submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others). Input on the proposals was received at the end of the event, which
             helped to inform the direction, as well as solidify the allocations to each section and confirm what
             flexibilities to seek within the application for these COVID-19 relief supplemental funds. In addition to
             waiver flexibilities, the Health Care Authority may also require some flexibility to move allocations from
             one proposal, to another, within those in this application, in the event a particular proposal is particularly
             successful and requires funding allocation from another proposal which may not require the entire
             allocation presented in this application.




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             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of First Episode Psychosis, Treatment, Recovery Support
             Services and Crisis Services. In the pages that follow, a longer project narrative will include the project
             title, budgeted amount, a description, or scope of work summary, as well as a narrative of how the
             project addresses state needs and gaps, especially gaps in equity.

             WA is grateful to SAMHSA for the opportunity to apply for the COVID-19 relief supplemental funds, as this
             has been an unprecedented year of extreme stressors to the most vulnerable among us, and the funding
             will undoubtedly support those persons at greatest risk, as well as those who seek support in treatment
             and ongoing recovery.



             Project List and Budget Table


               FEP Set-Aside

               Project #      Project Title            Project Description                             Proposed Budget



                                                       Develop and adapt evidence based
               Project
                                                       coordinated specialty care programs for
               #: BGCE-       Rural and AI/AN Pilot    FEP to meet the needs of rural, frontier
               CYF7           Project for FEP          and AI/AN communities.                          $      2,307,000
                                                                             Total FEP Set-Aside       $    2,307,000


               Treatment
               Children, Youth and Family Treatment Funding

               Project #      Project Title            Project Description                             Proposed Budget
                                                       Developing Wraparound and Intensive
                              Developing               Service (WISe) workforce to support
                              Wraparound and           youth with Intellectual
               Project
                              Intensive Services       Disabilities/Developmental Disabilities
               #: BGCE-       (WISe) Workforce         (including Autism Spectrum Disorder
               CYF2           Support                  (ASD).                                          $        200,000
                                                        Trauma Focused Cognitive Behavioral
                                                       Therapy (CBT) Training for clinicians
               Project
                          Trauma Focused               serving children and youth returning to
               #: BGCE-   Cognitive Behavioral         school as part of the triage process post
               CYF5       Therapy Training             screening.                                      $        376,671
               Adult Treatment Funding




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                                                       Expansion of current contract to deliver
                                                       Cognitive Behavioral Therapy for
               Project
                                                       Psychosis to a cohort of clinicians who are
               #: BGCE-       Cognitive Behavioral     serving people on 90/180 involuntary civil
               MHA1           Therapy for Psychosis    commitment orders.                            $      130,000
                                                 Modify curriculum of Trauma Informed
               Project
                                                 Care training specifically for Designated
                              Trauma Informed Care
               #: BGCE-                          Crisis Responders to incorporate the skills
                              for Designated Crisis
               MHA2           Responders         into their practice.                                $       50,000
                                                 Develop a curriculum for a 100-hour
                                                 course for Mental Health (MH)
                                                 professionals to secure credentials to
                                                 become an Older Adult Mental Health
                                                 Specialist, Intellectual Disabilities
               Project
                                                 /Developmental Disabilities (ID/DD)
               #: BGCE- Mental Health Specialist Mental Health Specialist, and Ethnic
               MHA3      Training                Minority Mental Health Specialist.                  $      396,329
               BH-ASO Treatment Funding



                                                       The community mental health services
                                                       provided include but are not limited to
                                                       outpatient services, including specialized
                                                       outpatient services for children, the
                                                       elderly, individuals with a serious mental
                                                       illness, residents of the service areas who
                                                       have been discharged from inpatient
                                                       treatment at a mental health facility, day
                                                       treatment or other partial hospitalization
                                                       services, psychosocial rehabilitation
                                                       services, outreach to and services for
                              Behavioral Health        individuals who are homeless, at risk of
               Project
                              Administrative Service   homelessness, or ready for discharge
               #: BGCE-       Organization (BH-ASO)    from inpatient psychiatric care, and
               ASO2           Treatment Funding        individuals residing in rural areas.          $    6,150,372
                                                                               Total Treatment       $   7,303,372


               Recovery Support Services

               Project #      Project Title            Project Description                           Proposed Budget




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                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                              Participant Support        Treatment Services for people
               Project
                              Funds- Housing and         experiencing homelessness, medications,
               #: BGCE-       Recovery through Peer      coordination with primary care, case
               RSS1           Services (HARPS) teams     management etc.                              $       50,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                              Participant Support        outreach workers, Assertive Community
                              Funds- Projects for        Treatment Services for people
               Project
                              Assistance in Transition   experiencing homelessness, medications,
               #: BGCE-       from Homelessness          coordination with primary care, case
               RSS2           (PATH) teams               management etc.                              $      140,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                                                         Treatment Services for people
               Project
                                                         experiencing homelessness, medications,
               #: BGCE-       Participant support        coordination with primary care, case
               RSS3           Funds - Peer Bridger       management etc.                              $      100,000
                              Certified Peer
               Project
                              Counselor (CPC) Online
               #: BGCE-       Continuing Education       Create online Certified Peer Counselor
               RSS7           Bank                       (CPC) continuing education trainings.        $       50,000
                              Foundational
                              Community Support
                              Supported
                              Housing/Supported          Creating a Supported Housing (SH) fidelity
               Project
                              Employment (SH/SE)         certification development/Individual
               #: BGCE-       'fidelity reviewer         Placement and Support (IPS) certification
               RSS8           certification'             through Westat.                              $       50,000
                              Community Work             Training for Foundational Community
                              Incentive Coordinator      Support service providers to become
                              (CWIC) training and        Community Work Incentive Coordinator
               Project
                              staffing costs for a       (CWIC) trained - https://vcu-
               #: BGCE-       provider to attend the     ntdc.org/training/introductory/introindex
               RSS9           training                   .cfm                                         $       50,000
               Project
               #: BGCE-       Intentional Peer           Train Certified Peer Counselors in
               RSS10          Support Training           Intentional Peer Support.                    $      150,000
                              Adding a Peer to           Targeted peer outreach on Project for
                              Projects for Assistance    Assistance in Transition from
               Project
                              in Transition from         Homelessness (PATH) teams focusing on
               #: BGCE-       Homelessness (PATH0        a by-name list of individuals who have
               RSS12          Outreach Teams             had multiple contacts with crisis system.    $    1,120,000




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               Project
                              Creating a Behavioral
               #: BGCE-       Health (BH) Housing       Inventory of all the housing needs of the
               RSS13          Action plan               Behavioral Health (BH) population.           $       15,000
               Project
                              Creating a housing        Provide timely information for individuals
               #: BGCE-       inventory/estimator/cal   with behavioral health conditions to
               RSS14          culator                   access housing services and resources.       $      150,000
               Project
               #: BGCE-                                 Extract data out of the peer credential
               RSS15          Peer Dashboard            data system to have a dashboard.             $      100,000
                              White
                              paper/Toolkits/Medicai
               Project
                              d Academy for Peer        Creating a white paper on Community
               #: BGCE-       Run-Peer Operated         Behavioral Health Associate (CBHA) Lite
               RSS17          Agencies                  licensing.                                   $       15,000
                              Foundational
                              Community Support -
               Project
                              Converting Current        Convert Foundational Community
               #: BGCE-       Training to Online        Support training to online training
               RSS18          Training Modules          modules.                                     $       50,000
                              Cover Foundational        Utilize block grant funds that would cover
                              Community Support         Foundational Community Support
                              Services in Institution   services for people transitioning out of
               Project
                              for Mental Disease        Institution for Mental Disease (IMD)
               #: BGCE-       (IMD) when Medicaid is    settings if Medicaid does not get
               RSS19          Suspended                 retroactively reconnected.                   $      500,000


               Project
               #: BGCE-       Peer Wellness Coach       Peer Wellness Coach continuing
               RSS20          Training                  education curriculum developed.              $       15,000
               Project
                                                        De-escalation, mediation, basic grief
               #: BGCE-       Training for Oxford       counseling training for 10 Oxford
               RSS22          Outreach Staff            outreach staff.                              $       20,000
                                                        Mental Health Block Grant (MHBG) &
                                                        Substance Abuse Block Grant (SABG)
                                                        funds could be used to support case
                                                        managers, outreach workers, Assertive
                                                        Community Treatment Services for
               Project
                              Participant Engagement    people experiencing homelessness,
               #: BGCE-       Kits for Youth -          medications, coordination with primary
               RSS23          Mockingbird               care, case management etc.                   $       35,000




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                                                         Enhance jail transition programs with
                                                         SUD peers services to individuals who
                                                         upon release will be homeless. SUD Peer
                              Peer Pathfinders           Services begin prior to release to
               BGCE-          Transition from            establish relationship and upon release to
               RSS24          Incarceration Pilot        support the transition to needed services.   $          790,000
                              Add Co-Occurring Peer
                              to Forensic-Housing        Add 1 peer to each of the four Forensic-
                              Housing and Recovery       Housing Housing and Recovery through
               BGCE-          through Peer (F-HARPS)     Peer Services (F-HARPS) in Phase I
               RSS25          Services                   regions.                                     $          400,000
                                                         Create an operationalizing Peer Bridger
               Project
                                                         program for hospitals, Substance Use
               #: BGCE-       Operationalizing Peer      Disorder (SUD), and Treatment (TX)
               RSS32          Bridger                    agencies.                                    $           25,000
               Project
                              Create a Dashboard on      Public facing dashboard/Marketing on
               #: BGCE-       Healthcare for Workers     the number of people using the Medicaid
               RSS33          with Disabilities (HWD)    buy-in program.                              $          100,000
               Project
               #: BGCE-       Implicit Biased Training   Braid funding with Commerce to create a
               RSS35          for Landlords              training for landlords.                      $           10,000
                                                         Helping individuals with the creation of a
                                                         Supplemental Security Income/Social
               Project
                              Funding for SSI/SSDI       Security Disability Insurance (SSI/SSDI)
               #: BGCE-       Outreach, Access, and      outreach access and recovery community
               RSS36          Recovery (SOAR) Leads      coordinators.                                $          500,000
               BGCE-          Enhance Mobile Crisis      Pilot enhancements to mobile crisis
               RSS41          Teams with CPCs            teams by adding CPCs to existing teams.          $      1,909,000
                                                               Total Recovery Support Services        $       6,344,000


               Tribal

               Project #      Project Title              Project Description                          Proposed Budget




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                                                          Provide grants to 29 federally recognized
                                                          Tribes and two Urban Indian Health
                                                          Organizations to deliver Substance Use
                                                          Disorder (SUD) prevention, treatment,
               Project
                              Grants to Tribes and        Opioid Use Disorder (OUD) intervention
               #: BGCE-       Urban Indian Health         and recovery support services within
               TRB3           Organizations               their Tribal communities.                      $      861,000
                                                          Indian Health Care Provider (IHCP) to
                                                          offer traditional healing/traditional Indian
                                                          medicine (TIM) services and analyze the
               Project
                                                          health outcomes and potential cost
               #: BGCE-       Traditional Healing Pilot   savings from offering Traditional Indian
               TRB4           Project                     Medicine (TIM) services.                       $      100,000
                                                                                        Total Tribal     $    961,119


               Crisis Set-Aside

               Project #      Project Title               Project Description                            Proposed Budget
                              Behavioral Health
                              Administrative Service      Services include 24-hour-a-day
               Project
                              Organization (BH-ASO)       emergency care services, mobile crisis,
               #: BGCE-       Treatment Funding -         crisis line, and Designated Crisis
               ASO2           Crisis Services             Responders (DCR) services.                     $    1,346,000
                                                                             Total Crisis Set-Aside      $   1,346,000




               TOTAL SABG Covid Supplement Budget
                                                                                    FEP Set-Aside        $    2,307,000
                                                                                        Treatment        $    7,303,372
                                                                        Recovery Supports Services       $    6,344,000
                                                                                              Tribal     $      961,000
                                                                                   Crisis Set-Aside      $    1,346,000
                                                                                   Administrative        $      961,000

                                                                                       Total Budget      $ 19,222,372




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             First Episode Psychosis Project Detail


             Project #: BGCE-CYF7

             Project Title: Rural and AI/AN Pilot Project for FEP                  Proposed Budget: $2,307,000

             Scope:
             Develop and adapt evidence based coordinated specialty care (CSC) programs for first episode psychosis
             (FEP) to meet the needs of rural, frontier and AI/AN communities. The project would be to help to
             develop a rural and /or Tribal New Journeys/CSC model, to evaluate it, and broadly disseminate the
             results to inform future program development. Other states are also interested in figuring out how to
             develop CSC services in rural areas and Tribal communities. There could be great value in collaborating
             with partners in other states on this (they would fund their own program development) and could help
             to define rural and AI/AN CSC in other parts of the U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation is essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early
             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.



             Treatment Projects Detail

             Children, Youth and Family

             Project #: BGCE-CYF2




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             Project Title: Developing WISe Workforce Support                          Proposed Budget: $200,000

             Scope:
             Developing Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder
             Three lead Wraparound and Intensive Services (WISe) behavioral health agencies will plan and
             implement the project informed by local needs with logistical oversight provided the Wraparound and
             Intensive Services (WISe) Workforce Collaborative/En Route. A training component will be provided by
             Seattle Children’s Autism Center and offered to a total of five (5) Behavioral Health agencies. The
             proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the Health Care Authority and Developmental Disabilities
             Administration (DDA) convened Wraparound and Intensive Services (WISe) and Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD) workgroup or
             Project Echo sessions. This allows the project to build more directly on the knowledge and efforts
             already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             During COVID the increased need of trained staff to provide stabilization support for youth in
             Wraparound and Intensive Services (WISe) with Intellectual Disabilities/Developmental Disabilities
             (ID/DD) including Autism Spectrum Disorder (ASD) has become apparent. The concern identifying the
             need for additional training has been expressed by caregivers, behavioral health agency staff and allied
             system partners. Our behavioral health workforce is often times generalists by education and don't have
             the training to best support youth with Autism Spectrum Disorder (ASD) and their families. This funding
             would provide the training support and consultation to five behavioral health agencies as well as
             enhance community coordination in three regions for youth enrolled in Wraparound and Intensive
             Services (WISe) with Intellectual Disabilities/Developmental Disabilities including Autism Spectrum
             Disorder.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.




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             Project #: BGCE-CYF5


             Project Title: Trauma Focused Cognitive Behavioral Therapy Training       Proposed Budget: $376,671

             Scope:
             Provide training in Trauma Focused-Cognitive Behavioral Therapy (RF-CBT) to clinicians serving children
             and youth returning to school as part of the triage process post screening as a part of the recommended
             Department of Health fast response plan to help meet the needs of children and youth returning to
             school following the Governor's proclamation that in person options are required as of April 1, 2021.
             This will serve youth who indicate trauma exposure in the screening process (SED). This is following the
             Sonoma model, and will further enhance the clinical interventions available to children and youth across
             WA in the long run.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth over the past year regarding mental health impact
             are expected to surface as children youth and families begin the transition to in person education. This
             proposal meets an identified need in the plans to date that matches the requirements of this funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength-based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




             Adult Treatment

             Project #: BGCE-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis                 Proposed Budget: $130,000

             Scope:




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             This project will expand upon our current contract with the University of Washington's Supporting
             Psychosis Innovation through Research, Implementation and Training (SPIRIT) Lab to deliver Cognitive
             Behavioral Therapy for Psychosis to a cohort of outpatient and inpatient clinicians from selected
             contracted community-based sites who are serving people receiving 90/180 involuntary civil
             commitment orders. This Evidence Based Practice (EBP) helps people living with psychosis achieve a
             level of self-management that has shown great success, supporting individuals and their families in the
             community.

             Many of the people on these long-term involuntary commitments experience psychosis so this Evidence
             Based Practice is a good fit for the needs of this population. We will train two cohorts of clinicians- each
             cohort containing staff from an inpatient setting serving people on 90/180 involuntary civil commitment
             orders and a corresponding outpatient behavioral health agency that treats these individuals upon
             discharge- or may have treated the individual prior to admission. This will allow the skills learned in
             either setting to be supported and reinforced in the other setting. The plan it to first train the clinicians
             to a level of competency such that they then can be trained to supervise others with the model. It
             would then broaden to be delivered in group treatment and then be the model of treatment across the
             milieu for those in inpatient settings. We believe that this implementation plan should have good
             sustainability for these sites.

             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate Evidence Based Practice should assist this population in better
             managing their symptoms and reduce their need for further involuntary or inpatient treatment. This
             recovery-based model supports both the individual and their family which should help individuals to
             successfully remain in the community.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training our Behavioral Health workforce in Cognitive Behavioral Therapy (CBT) for Psychosis will help
             empower individuals living with psychosis to better manage symptoms that interfere with their ability to
             live their lives in the community. The Behavioral Health workforce needs enhanced tools to treat
             psychosis beyond simply medication alone. This evidence-based practice is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about Cognitive
             Based Therapy (CBT) for Psychosis and its success rate. Additionally, the facilities that have begun to
             take individuals on long term orders have reported a need for more enhanced programming for this
             population and it is important to provide continuity of care, including support for skills development,
             across care settings.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.




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             Project #: BGCE-MHA2


             Project Title: Trauma Informed Care for Designated Crisis Responders      Proposed Budget: $50,000

             Scope:
             Modify curriculum of Trauma Informed Care Training specifically for Designate Crisis Responders so that
             Designated Crisis Responders (DCR) can incorporate the skills into their practice. Conducting involuntary
             treatment investigations can be innately traumatizing. Incorporating trauma informed techniques into
             the Designative Crisis Responder (DCR) skill set can help make the investigations less traumatizing, and
             hopefully minimize long term trauma from the involuntary treatment process.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently no trauma informed care training specific to the work Designative Crisis Responders
             do. Involuntary Treatment Act (ITA) evaluations can be traumatizing for the people performing the
             evaluation. To minimize the impact to the Designated Crisis Responders, the individuals being evaluated
             and the system as a whole, this training is immediately necessary.

             Individuals in BIPOC communities and those with serious behavioral health issues are more likely to have
             encounters with law and healthcare systems that result in furthering trauma. The trauma that effects
             the individual being evaluated also impacts the person doing the evaluation. Proper training can help
             improve the interactions between Designated Crisis Responders, law enforcement and individuals
             receiving treatment. This will assist in more sustainable recovery for every individual, and a system
             prepared to support those in need.


             Project #: BGCE-MHA3


             Project Title: Mental Health Specialist Training                          Proposed Budget: $396,329

             Scope:
             Develop curricula for a 100-hour course for Mental Health Professionals who provide treatment services
             to individuals with SMI or SED to secure credential to become an Older Adult Mental Health Specialist,
             Intellectual Disabilities/Developmental Disabilities (ID/DD) Mental Health Specialist, and Ethnic Minority
             Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health Outpatient (OP)
             treatment. Training curricula will focus on recognizing unique needs of these populations, clinical best
             practices, understanding of the community resources and partners when working with these
             populations, the role of Mental Health Specialist and how to provide clinical consultation, cultural
             humility, and other relevant information specific to each demographic.

             The Division of Behavioral Health and Recovery (DBHR) has not sponsored Mental Health Specialists
             academies for almost ten years and as such, there are significant workforce shortages in specialists
             trained and credentialed to work with the older adult population, individuals with intellectual and
             developmental disabilities, and ethnic minorities. Each of these populations has unique needs or
             considerations that impact care and the behavioral health workforce needs additional training and
             supports in order to meet their needs. The overall intent is to provide better care for clinicians who
             provide services to SMI and SED populations.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for mental health professionals trained and sufficiently
             skilled to work with older adult population is more critical than ever. The current workforce requires
             specialized skills and knowledge to better support BIPOC populations and people with Intellectual
             Disabilities/Developmental Disabilities. This is a work force shortage that must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: BGCE-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding
             Proposed Budget: $6,150,372

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.




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             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI) or
             Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to
             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




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             Recovery Support Services Projects Detail

             Project #: BGCE-RSS1


             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams
                              Proposed Budget: $50,000
                                                                                    *Additional $50,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the HARPS program
             to assist individuals who are transitioning from inpatient settings to the community. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.

             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The Housing and Recovery through Peer Support (HARPS) priority population is unable to earn wages
             while involved with inpatient treatment and is unlikely to have savings to secure housing upon
             discharge. Additionally, many participate intensive outpatient treatment which limits the amount of
             time to earn wages to afford housing, as well as other necessities to stay engaged in treatment and
             recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity




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             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS2


             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams                     Proposed Budget: $140,000

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the homeless
             outreach teams to assist individuals who are seriously mentally ill and not engaged in treatment.
             Expenses could include but not limited to transportation costs, PPE and items needed to support their
             recovery.

             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




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             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                x COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional Disturbance
                    (SMI/SED), including testing and
                    administering COVID vaccines, COVID awareness education, and purchase of
                    Personal Protective Equipment (PPE).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants with serious mental
             illness who are transitioning from inpatient settings to the community. Expenses could include but not
             limited to transportation costs, PPE and items needed to support their recovery.

             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS7




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             Project Title: Certified Peer Counselor (CPC) Online Continuing Education Bank
                     Proposed Budget: $50,000
                                                                                      *Additional $50,000 SABG

             Scope:
             This funding would be used to create online Certified Peer Counselor (CPC) continuing education
             trainings. The trainings could include Wellness Recovery Action Plans (WRAP), Crisis Plans, Suicide
             Prevention, cultural awareness, and others. The goal is to great online learning bank for Certified Peer
             Counselors where they can access continuing education trainings on demand.

             These trainings would be accessible for all certified peer counselors in Washington and the knowledge
             gained will improved peer services provided in Washington. Traditionally Certified Peer Counselors
             (CPCs) continuing education trainings have been funded by DBHR, during the past year we have had to
             reallocate funding to meet the needs of the Certified Peer Counselor workforce by increasing our core
             Certified Peer Counselor (CPC) trainings. These online trainings will be able to be accessed by peers
             across the state no matter where they reside or work and removing barriers to access. If unfunded, this
             training will not be available in the state or will be out of reach financially for most Certified Peer
             Counselors (CPCs).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD).
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. Continuing education for certified peer counselors is always requested
             and providing these trainings in a virtual format will make the trainings more accessible to peers in all
             areas of the state.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS8


             Project Title: Foundational Community Support (FCS) Supported Housing/Supported Employment
             (SH/SE) Fidelity Reviewer Certification
             Proposed Budget: $50,000
                                                                                  *Additional $50,000 SABG
             Scope:




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             Intensive Trainings for Foundational Community Supports (FCS) providers to increase their
             skills/trainings on SAMSHA Permanent Supportive Housing (PSH) Fidelity Reviews and Individual
             Placement and Support (IPS) Support Employment Fidelity Reviews.

             Washington State Foundational Community Support programs uses two evidence-based models-
             SAMSHSA Permanent Supportive Housing and WESTAT/Rockville Institutes Individual Placement and
             Support Supported Employment Model. To ensure high quality standards and fidelity to these models,
             Foundational Community Support (FCS) providers participate in fidelity reviews. This funding will allow
             Foundational Community Support provider to participate in intensive training to able to provide high
             quality fidelity reviews and ensure compliance with the evidenced based practices.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement and Support
             (IPS) model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement and Support (IPS) services
             resulted in significant rates of employment, as much as 3 times as many people successfully achieving
             competitive employment as compared to individuals not receiving Individual Placement and Support
             (IPS) services. Employment has many positive impacts on the mental health and wellbeing of individuals
             with psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement and Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.




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             Project #: BGCE-RSS9


                                                                                       Proposed Budget: $50,000

             Project Title: Community Work Incentive Coordinator (CWIC) Training and Staffing Costs

             Scope:
             This project proposes to use MHBG funds to cover Staff training costs for community behavioral health
             agencies to become Community Work Incentive Coordinators. Nothing provides 'hope' more than
             believing that people can work but addressing an individual’s concerns about how working affects their
             governmental benefits is key to implementing the evidence-based practice model called Individual
             Placement and Support. Benefits counseling is one of the core principles of providing this EBP model.

             Washington State’s Foundational Community Supports (FCS) supported employment providers serve
             individuals using the Evidence Based Practice of Individual Placement and Support, the program
             developed and managed by Westat Rockville Institute. Washington state legislature mandated the use
             of evidence based or promising practices when Foundational Community Support (FCS) was approved.
             The intent is for the service to be statewide and in order to positively impact sustainability, services
             should be provided to fidelity in order to achieve the greatest outcomes. An important element of the
             principles of Individual Placement and Support is the education of job seekers of how income may
             impact federal and state benefits and entitlements. There is currently not the bandwidth in
             Washington’s State to provide work incentive education and planning to enroll individuals in the
             Foundational Community Support system. The proposal is to send Foundational Community Support
             (FCS) agency staff from agencies to enroll in webinars to learn the foundational knowledge of Social
             Security work incentives, and to secure certification training for select agency staff at behavioral health
             organizations in Western and Eastern Washington State. This initiative will greatly increase the number
             of benefit practitioners to education and support job seekers in the transition to competitive
             employment, attain self-sufficiency while decreasing reliance on public entitlement programs. The
             Institute on Employment and Disability in Cornell University's Industrial and Labor Relations School
             training also has a credentialling option that provides a pathway to be recognized as an accredited work
             incentive planner. Work incentives pave the way to work and financial independence for recipients of
             public benefits. This training will provide essential insight into how the complex mix of work incentives,
             critically needed benefits, and earnings can be explained to an individual with a disability to encourage
             both work and financial independence.

             There is a critical need for the training of benefit education planners in Washington State. The
             Foundational Community Support (FCS) program has 162 providers with 458 service location, with an
             enrollment of over 3,000 individuals. the availability of agency staff with foundational knowledge and
             access to certified benefit planners is crucial to provide support to enrolled participants and learn how
             earned income can impact entitlement benefits. These training opportunities will provide staff essential
             tools to assist job seekers to reach their individual goal of self-sufficiency. The implementation and
             practices of the Individual Placement Support (IPS) supported employment model are expanding in
             Washington State, and the critical need to adequately prepare agency staff of benefit planning
             curriculum is essential for overall long-term success. The certification training through the Institute on
             Employment and Disability in Cornell University's Industrial and Labor Relations School will prepare




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             agency staff to support enrolled participants to develop a clear, comprehensive, and actionable report
             of an individual’s financial situation and how to maximize self-sufficiency trends. There is not currently a
             more viable way to increase skills of agency staff and to increase the numbers of certified benefit
             planners.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             The Foundational Community Support Program is built upon evidenced based practices of SAMHSA and
             the Westat Rockville Institute to implement supported employment practices that are effective. The
             principles of these evidence-based practices (EBP) encompass the idea of a holistic, person centered
             approach, which is all inclusive and embraces zero exclusion, access to an individual's choice of services.
             The struggles of poverty and self-sufficiency negatively impact communities of people of color
             disproportionately. The implementation of based practices accelerates the positive impact on social
             determinants of health in urban and rural communities. Services are provided are inclusive of all who
             need them and targeted to individuals with a wide range of disabilities.


             Project #: BGCE-RSS10


             Project Title: Intentional Peer Support Training                           Proposed Budget: $150,000
                                                                                        *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             These funds will be used to train Certified Peer Counselors in Intentional Peer Support. These trainings
             will be provided either in person or in a virtual format depending on physical distancing requirements.
             Priority for these training will be Certified Peer Counselors (CPCs) who work on the following teams Peer




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             Bridgers, Housing and Recovery through Peer Services (HARPS), Forensic Housing and Recovery through
             Peer Services (HARPS), Projects for Assistance in Transition from Homelessness (PATH), Forensic Projects
             for Assistance in Transition from Homelessness (PATH), Peer Pathfinders, and Foundational Community
             Support (FCS) teams. The training will be opened up to additional Certified Peer Counselors (CPCs) when
             space is available. This funding will also be used to provide travel supports for participants.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder. Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (EDI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS12
                                                                                       Proposed Budget: $1,120,000


             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disorder (SMI/SED).

             Scope:
             Proposed funds will add one peer counselor to each of the current Projects for Assistance in Transition
             from Homelessness (PATH). Project for Assistance in Transition from Homelessness (PATH) programs
             assist individuals in accessing housing, mental health services, substance abuse treatment, disability
             benefits, and other services to stabilize them and facilitate recovery. Each agency will be required to hire
             and onboard a new peer counselor to expand outreach and engagement services for individuals with a
             serious mental illness (SMI) and homeless or at risk of homelessness. Projects will work closely with




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             BHASO's, Managed Care Organization's (MCO’s) and Crisis stabilization centers to create a referral flow
             and coordination of services.

             The proposed expansion of adding one additional Projects for Assistance in Transition from
             Homelessness (PATH) peer counselor to each of the Projects for Assistance in Transition from
             Homelessness (PATH) teams will allow agencies to expand needed outreach and engagement efforts.
             The proposed funds will enhance the quality of program delivery and engagement and expand critical
             crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




             Project #: BGCE-RSS13


             Project Title: Creating a Behavioral Health Housing Action Plan           Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Scope:
             In 2007, the Mental Health State Transformation Initiative generated a Housing Action Plan. The
             Housing Action Plan conducted an inventory of affordable housing for people with serious mental
             illness, set a philosophical approach for Housing First principles and identified action steps to improve
             affordable housing. This proposal seeks to update the Housing Action Plan to include people with
             substance use disorders.

             Washington is experiencing a significant housing crisis. Individuals with behavioral health conditions
             experience homelessness at a significant rate. The development of a housing action plan will create a
             north star for the behavioral health system to pursue partnerships to create and develop affordable
             housing.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             This project will identify and analyze the needs and gaps for affordable housing for the behavioral health
             population. It will develop an action plan to meet the affordable housing needs of individuals with both
             mental health and substance use disorders.

             The Behavioral Health Affordable Housing Action plan will analyze the impacts of homelessness on the
             BIPOC population. According to Research and Data Analysis, individuals experiencing homelessness are
             more likely to be African American or Alaska Native/American Indians (Ford-Shah, M., 2012)



             Project #: BGCE-RSS14


             Project Title: Creating a Housing Inventory/Estimator/Calculator          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                    reduce risks of COVID-19 transmission.

             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This project will create an online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing. Based on a
             current algorithm currently housed in the Pathways to Employment Site, Research and Data Analysis will
             create a housing version for the Pathways to Housing site.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.




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             Project #: BGCE-RSS15


             Project Title: Peer Dashboard                                             Proposed Budget: $100,000
                                                                                       *Additional $100,000 SABG

             Scope:
             This funding would be used to create a Dashboard for the Peer Support Program. This would enable the
             team to see data pulled from the Peer Support database on an easily accessible format. There is
             increased focus on the peer support program to meet the growing workforce needs. This dashboard
             would allow the Health Care Authority to have immediate access to data for updates to lawmakers and
             stakeholders. Without the dashboard the Peer Support Team and leadership would not have easily
             accessible data about the Peer Support Program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is a Behavioral Health workforce shortage in Washington and peer services are a growing
             workforce that can help to meet the Behavioral Health needs of our communities. The dashboard will
             allow the Division of Behavioral Health and Recovery easy access to data that could direct the Peer
             Support Program where to focus trainings where gaps are identified to increase the Certified Peer
             Counselor (CPC)workforce and the diversity of the Certified Peer Counselor workforce.

             Programs will ensure services and activities will be designed and delivered in a manner sensitive to the
             needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS17
                                                                                       Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Project Title: White Paper/Toolkits/Medicaid Academy for Peer-Run Peer-Operated Agencies

             Scope:
             This funding would be used to create a white paper to explore strategies for peer run/peer operated
             agencies to become licensed community behavioral health agencies so that they will be able to bill
             Medicaid for peer services.

             This would provide technical assistance for clubhouse and consumer run organizations to become
             licensed providers and bill Medicaid for peer services. This will increase recovery support services to a
             larger portion of the state. Washington State supports several clubhouse programs using general fund




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             dollars and SB 5328 is proposing that the state go farther in helping clubhouses gain access to Medicaid
             funds. This project aligns with the bill to assist those organizations to bill Medicaid.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. This
             would allow additional agencies to become licensed to provide peer services increasing the availability
             of Mental Health and Substance Use Disorder (SUD) peer services to a larger population. If unfunded,
             this technical assistance will not be available in the state and could delay agencies in getting licensed to
             provided peer services.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS18
                                                                                             Proposed Budget: $50,000
                                                                                             *Additional $50,000 SABG

             Project Title: Foundational Community Support (FCS) – Converting Current Training to Online Training
             Modules

             Scope:
             Foundational Community Supports (FCS) provides supported employment and supportive housing
             services across the state of Washington with over 160 agencies contracted to provide Foundational
             Community Support (FCS) services. The Division of Behavioral Health and Recovery (DBHR) has four full
             time trainers who provide technical assistance to Foundational Community Support (FCS) providers. The
             growth of Foundational Community Support (FCS) has increased the need for technical
             assistance/training and the Division of Behavioral Health and Recovery (DBHR) would like to convert
             some of the "stock" training that it provides to all new Foundational Community Support (FCS) providers
             to a virtual format. Creating online training modules of stock trainings currently provided in person will
             free up time for Foundational Community Support (FCS) trainers to provide more individualized,
             targeted, and intense technical assistance.

             This project is critical to maintaining and improving the quality of services provided by Foundational
             Community Support (FCS) providers. Focused, targeted, and high-level training ensures consistency and




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             adherence to the evidence-based modules that Foundational Community Support uses. Currently, the
             Division of Behavioral Health and Recovery Foundational Community Support trainers are spending
             much of their time delivering stock training to providers as they onboard new staff. This type of training
             could easily be provided in a virtual recorded format that would free up the Foundational Community
             Support (FCS) trainers time to provide more advanced targeted technical assistance to providers.
             Freeing up the Foundational Community Support (FCS) trainers time to focus on more targeted and
             nuanced technical assistance allows us to grow the quality of the Foundational Community Support
             program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS19

                                                                                       Proposed Budget: $500,000




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                                                                                      *Additional $500,000 SABG

             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing
             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.




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             Project #: BGCE-RSS20


             Project Title: Peer Wellness Coach Training                                 Proposed Budget: $15,000
                                                                                         *Additional $15,000 SABG

             Scope:
             These funds would be used to bring either Peggy Swarbricks Wellness coaching or Pat Deegan's Person
             Medicine Coach certification training to Certified Peer Counselors. Pat Deegan's program can also bring
             a train the trainer to Washington so that we can training Certified Peer Counselors in Personal Medicine
             Coach training.

             This project will provide continuing education to certified peer counselors in Washington State around.
             The intended outcome is to increase the knowledge of certified peer counselors to even more
             effectively support the peers they serve. Both programs focus on increased health outcomes. If
             unfunded, this training will not be available in the state or will be out of reach financially for most
             Certified Peer Counselors.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors are
             effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD). Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. This continued education will provide information to better support
             people in whole health as we are moving to a more integrated approach to who person care.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices, and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS22


             Project Title: Training for Oxford Outreach Staff                           Proposed Budget: $20,000
                                                                                         *Additional $20,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:




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             DBHR currently funds 10 outreach staff that provide support to the 300+ Oxford houses in Washington
             State. Individuals with co-occurring SMI and SUD diagnosis are recipients of the mutual support
             received within an Oxford house. This proposal is to fund training for the 10 outreach staff to better
             support the individuals with co-occurring serious mental illness and substance use disorders. Training
             topics include but not limited to de-escalation, mediation, grief counseling etc.

             We would like to add funding for training Oxford House Outreach Workers. There have been too many
             deaths in the Oxford Houses since COVID-19 started due to isolation and the feelings of hopelessness
             which brings an increase in drug and fentanyl use and ultimately relapses and deaths. Therefore, there
             is a need for the 10 Oxford House Outreach Representatives to get trainings on de-escalation, grief and
             loss, relapse prevention, meditation, Dialectical Behavioral Therapy (DBT), and any other training that
             would benefit the Oxford House Representatives in helping the residents deal with their grief, losses and
             fears of relapse.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Oxford House Sober Recovery Homes fills a gap in the substance use disorder services continuum by
             establishing and maintaining self-run, self-supported peer-operated sober recovery homes. In
             adherence with United States Code, Title 42, Section §300X–25 Group Homes for Recovering Substance
             Abusers, the State Agency will utilize the Oxford House concept to increase sober recovery housing
             assistance opportunities for recovering individuals living together in a residential disciplined
             environment to maintain recovery without recurrence of use. This level of care includes the provision of
             a safe and affordable home, in a drug-free living situation to recovering individuals with the support of
             other peers in recovery, Contractor staff, and other supports and services in the community including
             mental health guidance from outreach representatives who are trained.

             Adult men and women completing residential treatment or are currently in outpatient treatment for
             substance use disorder, as well as those enrolled in recovery support, and opioid treatment services,
             who need a place to live and can meet the requirements for being a resident of a Recovery House.
             People leaving prisons and jails, Oxford House has a strong re-entry program with Department of
             Corrections (DOC) and does not discriminate on anyone's culture, race, or mores. Recovery housing will
             also include populations with a reported history of opioid use disorder (OUD) and opioid use.


             Project #: BGCE-RSS23


             Project Title: Participant Engagement Kits for Youth – Mockingbird       Proposed Budget: $35,000
                                                                                      *Additional $35,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice




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             example. This project would provide funds directly related to benefit participants in homeless outreach
             teams to assist individuals who are seriously mentally ill and not engaged in treatment. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness. The Youth Advocates
             Ending Homelessness in Washington state report an alarming number of youth experience mental
             health, substance use disorders and health crisis. This includes advocates that report individuals who are
             experiencing medical issues that may or may not receive medical treatment. The inability to care for
             wounds will likely cause more server health issues or worse. Proposing funding for Mockingbird
             Outreach for Homeless Hygiene and wound care kits such as hand sanitizer, antiseptic, rubbing alcohol,
             hydrogen peroxide, ointment, band aids, gauze, and pain relievers could make the difference.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Mockingbird Society of Washington report Homeless youth lack access to medical care and often go
             without essential hygiene and wound care items which are not covered by Medicaid.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness.

             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000
                                                                                         *Additional $790,000 SABG

             Scope:
             This funding will add a Certified Peer Counselor to up to five existing BH-ASO contracts for jail transition
             services. Adding a Certified Peer Counselor to existing jail transition services teams will increase the level
             of services being provided, by having a CPC connect with the individuals while they are still in jail and
             helping them with transition to the community. The certified peer counselor will work with individuals
             diagnosed with a serious mental illness, linking them to behavioral health services, including co-
             occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail




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             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals
             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                               Proposed Budget: $400,000
                                                                                           *Additional $400,000 SABG
             Scope:
             These additional funds would allow the teams to hire another certified peer counselor for each Forensic
             HARPS team in the phase 1 regions. With this additional staff person, the teams would be able to
             increase caseload capacity. This position would also allow the Forensic HARPs teams to serve individuals
             diagnosed with serious mental illness or co-occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain




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             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.


             Project #: BGCE-RSS32


             Project Title: Operationalizing Peer Bridger                               Proposed Budget: $25,000
                                                                                        *Additional $25,000 SABG

             Scope:
             This funding will be used to create an Operationalizing Peer Support training for the peer Bridger
             program for jails, hospitals and Substance Use Disorder (SUD) treatment agencies. Operationalizing Peer
             Support trainings provide Technical Assistance (TA) to existing and new agencies who need support with
             their peer program or who want to implement peer services. This training would also be to provide
             technical assistance to the jails, hospitals and inpatient setting who will be collaborating with the peer
             Bridger program.

             As we transition the peer Bridger from providing services at the state hospitals into community-based
             hospitals and inpatient settings, technical assistance will be beneficial in the transition for the agencies,
             hospitals, and the peer Bridger program. If not approved, there will be confusion about the peer Bridger
             program and how to effectively utilize the services resulting in people not receiving these recovery
             support services. This could increase recidivism into an inpatient setting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. We are
             currently witnessing gaps in service since the 90/180-day beds went live last year. This needed TA would
             be able to provide the necessary support and education to effectively utilize the peer Bridger program
             increasing recovery supports in inpatient settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS33


                                                                                        Proposed Budget: $100,000




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             Project Title: Create a Dashboard on Healthcare for Workers with Disabilities

             Scope:
             Washington's Healthcare for Workers with Disabilities is the Medicaid Buy-in Program. Nothing provides
             'hope' more than believing that people can work but addressing an individual’s concerns about how
             working affects their governmental benefits is key to implementing the evidence-based practice model
             called Individual Placement and Support. Benefits counseling is one of the core principles of providing
             this EBP model. Part of benefits counseling is to help individuals access work incentives such as the
             Medicaid Buy-in Program to ensure working doesn't have adverse effects to their receipt of services or
             medications. This project would promote this untapped work incentive program/Medicaid Buy-in
             program through the creation of a marketing campaign and public dashboard on the utilization of the
             benefit. According to Research and Data Analysis in the 2nd quarter of 2020, only 12 percent of disabled
             individuals with a serious mental health issue were employed in Washington State. (10,631/88,381).
             There are currently 1606 individuals in WA on HWD.

             The Apple Health for Workers with Disabilities (HWD) program recognizes the employment potential of
             people with disabilities and represents Washington State’s response to the landmark “Ticket to Work”
             legislation passed by Congress in 1999. Healthcare for Workers with Disabilities (HWD) is an
             underutilized program within the state of Washington. This is a critical program to provide low-cost
             healthcare for people with disabilities, enabling people with disabilities to no longer have to choose
             between taking a job and having health care, and therefore work to their full potential. Marketing needs
             to include the message that self-sufficiency is attainable. There is a need to communicate
             measurements of number of individuals using the service as a part of marketing the program. This
             proposal is to develop a public facing dashboard as a part of marketing. There will be collaboration
             between the Health Care Authority departments that have Healthcare for Workers with Disabilities
             (HWD) as part of the service provided, with the communications department, and with Research and
             Data Analysis in order to come up with an attractive and fully functioning site that provides current and
             accurate data.

             The benefit to the government is shifting individuals off of benefits and having them add to tax revenue.
             Under Healthcare for Workers with Disabilities, people with disabilities can earn more money and
             purchase health care coverage for an amount based on a sliding income scale.

             Healthcare for Workers with Disabilities benefits include:

             •          Medicaid benefit package
             •          Access to long term services and supports, if functional requirements are met
             •          Greater personal and financial independence
             •          Members can earn and save more without the risk of losing their healthcare coverage

             If not approved, people with disabilities have less encouragement to work and continue to live below
             the poverty level while remaining on public benefits. It disproportionally negatively impacts ethnic
             minorities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see




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             work as an essential part of recovery, but many avoid seeking work due to fear of losing benefits.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Results from regressions on earnings suggest that Healthcare for Workers with
             Disabilities (HWD) participants with prior Medicaid coverage earn substantially more than non-
             participants in the year following enrollment. On average, they earn roughly $2,000 more than their
             contemporary peers in the following year and $2,500 more than a historical comparison group.
             Healthcare for Workers with Disabilities (HWD) Participants historically rely less on Basic Food benefits.

             Healthcare for Workers with Disabilities (HWD) will create and sustain a culture of respect, caring and
             inclusion through employment. Programs that focus on employment enhance the value and respect
             garnered by the individual and help them to sustain their culture in the community. It empowers them
             to become positive role models. Services provided are inclusive of all who need them and targeted to
             individuals with a range of disabilities that have become successfully employed. Outreach will address
             the foregoing population.


             Project #: BGCE-RSS35


             Project Title: Implicit Biased Training for Landlords                     Proposed Budget: $10,000
                                                                                       *Additional $10,000 SABG

             Scope:
             This project would create a training series for landlords on Implicit Bias. Implicit bias describes our
             attitudes towards people or associates stereotypes with them without our conscious knowledge. Implicit
             Bias trainings are designed to exposed to people to their biases and provide tools to adjust automatic
             patterns of thinking and ultimate eliminate discriminatory behaviors.
             The Division of Behavioral Health and Recovery would work in partnership with the Department of
             Commerce's Landlord Mitigation Project to provide training to landlords who often rent to individuals
             with behavioral health conditions. Training would focus on addressing and identifying implicit biases and
             how this could be unintendedly affecting their decision on who to rent to.

             This project is important because Washington State has a serious deficit of safe and affordable housing.
             This means that rentals are extremely scarce, and landlords could unintendedly discriminate against
             people of color and people with behavioral health conditions. The anticipated outcome of this project is
             to help landlords identify and then address their implicit biases.


             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal court
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.




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             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             A disproportionate number of individuals of color experience housing instability. Many of these
             individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. This training will educate landlords on how their implicit bias might limit who they choose
             to rent to.


             Project #: BGCE-RSS36


                                                                                        Proposed Budget: $500,000


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance.

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all




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             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                      Proposed Budget: $1,909,000


             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by adding certified peer counselors in
             Washington State. The intended outcome is to increase the engagement and outreach of MCR teams to
             include certified peer counselors to even more effectively support the peers they serve in crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




             Tribal Projects Detail

             Project #: BGCE-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $861,000
                                                                                    *Additional $1,270,794 SABG




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             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                  x    Operation of an “access line,” “crisis phone line,” or “warm lines” to address any
                       mental health issues for individuals.
                  x    Training of staff and equipment that supports enhanced mental health crisis
                       response and services.
                  x    Mental Health Awareness training for first responders and others.
                  x    Hire of outreach and peer support workers for regular check-ins for people with
                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                       reduce risks of COVID-19 transmission.
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional
                       Disturbance (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE)

             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed mental health services to adults and youth with SMI/SED to
             prevent, prepare for and respond to behavioral health gaps due to COVID within their Tribal
             communities. Tribes would submit a plan to implement recommended services as outlined in the NOA
             and allowed within the Mental Health Block Grant (MHBG) regulations. Additional Funds to Tribes
             $40,993 SABG per Tribe and $27,778 MHBG per Tribe, totaling $68,771 for each Tribe.

             This project is important because American Indian/Alaskan Native (AI/AN) and Tribal communities have
             been greatly affected by the COVID pandemic and the various Tribal and State Stay at Home Orders.
             Tribes are navigating how to operate Behavioral Health program in a virtual and semi/virtual
             environment. Due to the pandemic, Tribes are stating that the individuals in their communities are
             struggling with social isolation and a lack of treatment services due to the pandemic. There has also
             been limited cultural activities available for Tribal communities due to the pandemic. The historic annual
             Canoe Journey was canceled two years in a row with very limited ability to implement cultural programs
             across all Tribal communities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:




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             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.


             Project #: BGCE-TRB4


             Project Title: Traditional Healing Pilot Project                         Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG
             Scope:
             The Health Care Authority will contract with the Seattle Indian Health Board (SIHB) to (1) document best
             practices (including practice and administrative tools) for an Indian Health Care Provider (IHCP) to offer
             traditional healing/traditional Indian medicine (TIM) services, and (2) analyze the health outcomes and
             potential cost savings from offering Traditional Indian Medicine (TIM) services. TIM can serve individuals
             with SMI/SED and substances use disorder, alongside Western based strategies for the prevention,
             treatment, and recovery of SMI/SED/SUD. TIM can also help with SMI/SED/SUD prevention. The services
             may include storytelling, talking circles, drumming, sweat lodge, prayers, blessings (such as cleansing
             and smudging), etc. TIM services are provided by a community-verified practitioner of TIM. Please note
             that this grant will not pay for actual TIM services. The Seattle Indian Health Board (SIHB) deliver the
             following to the Health Care Authority:
                      1. Recommendations for billing, coding and reimbursement models for Traditional Indian
                      Medicine (TIM) services.
                      2. Analysis, recommendations, and examples of charting for Traditional Indian Medicine
                      (TIM)services and incorporation of charting into an Electronic Health Record (EHR).
                      3. Recommendations and analysis on best practices for incorporating Traditional Indian
                      Medicine (TIM) practitioners into integrated care teams.
                      4. Recommendation and analysis for privileging and credentialing standards of Traditional Indian
                      Medicine (TIM) practitioners and apprentices.
                      5. Evaluation and analysis of the health outcomes for individuals and populations receiving the
                      Traditional Indian Medicine (TIM) services. Measures could include:
                          x Number of services completed;
                          x Impacts on health outcomes;
                          x Policy analysis;
                          x Estimated costs of encounters;
                          x Cost benefit analysis;
                          x Comparison of the population that receives Traditional Indian Medicine (TIM) and the
                              population that does not;
                          x Comparison of patient’s perception of their health pre-Traditional Indian Medicine (TIM)
                              services and post-Traditional Indian Medicine (TIM) services, etc.

             These items will be submitted as separate reports and guidance documents that will be available for the
             Heath Care Authority, federal partners and other Indian Health Care Providers and Tribes in providing
             technical assistance on integrating Traditional Indian Medicine (TIM) into health programs with a focus
             on the treatment and recovery of Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).




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             The Washington Indian Health Care Improvement Act, passed by the state legislature in 2019, had three
             main goals:
                    1. Provide resources to ensure the highest possible health status of American Indians/Alaska
                    Natives (AI/AN) in Washington;
                    2. Raise the health status of American Indian/Alaskan Native (AI/AN); and
                    3. Ensure tribal self-determination in the areas of health care services.

             One recommendation coming out of the Act was the expansion of traditional Indian medicine (TIM). This
             project helps the Health Care Authority to honor this key recommendation. Traditional Indian Medicine
             (TIM) services provide unparalleled support for American Indian/Alaskan Natives individuals struggling
             with severe mental illness or severe emotional disturbances and Western medicine has proven to not be
             appropriate for treatment and recovery supports for these American Indian/Alaskan Native (AI/AN)
             individuals. The anticipated outcome is documentation of positive health outcomes for individuals
             receiving Traditional Indian Medicine (TIM) and guidance to other Indian Health Care Providers (IHCP)
             on how to incorporate Traditional Indian Medicine (TIM). If not approved, we will continue to have a
             lack of literature available to demonstrate positive health outcomes or cost saving of these services for
             American Indian/Alaskan Native (AI/AN) and therefore, continue to struggle in finding sustainable
             funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The WA State Department of Health has found that American Indian/Alaska Native (AI/AN) overdose
             fatality rates have gone up 154% during the COVID pandemic. There is a known gap in the provision of
             culturally appropriate services for American Indian/Alaskan Natives (AI/AN) in the state of Washington
             and at a national level. Tribes and Indian Health Care Providers (IHCPs) are the experts in providing
             culturally appropriate services; however, Traditional Indian Medicine (TIM) does not have a sustainable
             funding mechanism. There are many evidence-based practices (EBP) available for Mental Health
             services; however, there are limited studies with American Indian/Alaskan Natives (AI/AN). Tribes and
             Indian Health Care Providers (IHPCs) find that implementing Evidence-Based Programs do not always
             work for American Indian/Alaskan Native (AI/AN) individuals and Tribal communities. This project will
             seek to develop evidence related to the efficacy of Traditional Indian Medicine (TIM) services for
             American Indian/Alaskan Natives (AI/AN) suffering from severe emotional disturbance orsevere mental
             illness.

             This project directly addresses Diversity, Equity and Inclusion (DEI) principles by providing support for
             Traditional Indian Medicine (TIM) and integration with clinically based health care. For decades, the
             response to Traditional Indian Medicine (TIM) is there is a lack of clinical data associating Traditional
             Indian Medicine (TIM) with better health outcomes. This pilot project will provide guidance around
             integration of Traditional Indian Medicine (TIM) and clinically based primary care and preliminary data
             to build the case for Traditional Indian Medicine (TIM). The intent is to provide foundational research
             and evidence that will support a request for sustainable Medicaid reimbursement for Traditional Indian
             Medicine (TIM).




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             Crisis Set-Aside Projects Detail

             Project #: BGCE-ASO2


                                                                                        Proposed Budget: $1,346,000

             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services provided 24
             hours a day, seven days a week including crisis call line, evaluation and treatment services for
             Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient services,
             crisis stabilization services, Employment and Training (E&T) services, and services for the priority
             populations defined per Contract. Services also include 24-hour-a-day emergency care services, mobile
             crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that




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             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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                                                    Washington


                                    COVID-19 Supplemental Funding Plan for FY21



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID Supplemental Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021 to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential COVID-19 relief
             supplemental funding to address principles focused on recovery needs, support for the behavioral health
             workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment services.
             The budget summary, on the following pages, provides the detailed amounts allocated across the
             continuum of behavioral health services through a wide variety of projects, treatment funds provided
             through our Behavioral Health Administrative Service Organizations (BH-ASO’s) and Tribes. WA Health
             Care Authority, with input from partners, including the Behavioral Health Advisory Council, respectfully
             submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others). Input on the proposals was received at the end of the event, which
             helped to inform the direction, as well as solidify the allocations to each section and confirm what
             flexibilities to seek within the application for these COVID-19 relief supplemental funds. In addition to
             waiver flexibilities, the Health Care Authority may also require some flexibility to move allocations from
             one proposal, to another, within those in this application, in the event a particular proposal is particularly
             successful and requires funding allocation from another proposal which may not require the entire
             allocation presented in this application.




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             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of First Episode Psychosis, Treatment, Recovery Support
             Services and Crisis Services. In the pages that follow, a longer project narrative will include the project
             title, budgeted amount, a description, or scope of work summary, as well as a narrative of how the
             project addresses state needs and gaps, especially gaps in equity.

             WA is grateful to SAMHSA for the opportunity to apply for the COVID-19 relief supplemental funds, as this
             has been an unprecedented year of extreme stressors to the most vulnerable among us, and the funding
             will undoubtedly support those persons at greatest risk, as well as those who seek support in treatment
             and ongoing recovery.



             Project List and Budget Table


               FEP Set-Aside

               Project #      Project Title            Project Description                             Proposed Budget



                                                       Develop and adapt evidence based
               Project
                                                       coordinated specialty care programs for
               #: BGCE-       Rural and AI/AN Pilot    FEP to meet the needs of rural, frontier
               CYF7           Project for FEP          and AI/AN communities.                          $      2,307,000
                                                                             Total FEP Set-Aside       $    2,307,000


               Treatment
               Children, Youth and Family Treatment Funding

               Project #      Project Title            Project Description                             Proposed Budget
                                                       Developing Wraparound and Intensive
                              Developing               Service (WISe) workforce to support
                              Wraparound and           youth with Intellectual
               Project
                              Intensive Services       Disabilities/Developmental Disabilities
               #: BGCE-       (WISe) Workforce         (including Autism Spectrum Disorder
               CYF2           Support                  (ASD).                                          $        200,000
                                                        Trauma Focused Cognitive Behavioral
                                                       Therapy (CBT) Training for clinicians
               Project
                          Trauma Focused               serving children and youth returning to
               #: BGCE-   Cognitive Behavioral         school as part of the triage process post
               CYF5       Therapy Training             screening.                                      $        376,671
               Adult Treatment Funding




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                                                       Expansion of current contract to deliver
                                                       Cognitive Behavioral Therapy for
               Project
                                                       Psychosis to a cohort of clinicians who are
               #: BGCE-       Cognitive Behavioral     serving people on 90/180 involuntary civil
               MHA1           Therapy for Psychosis    commitment orders.                            $      130,000
                                                 Modify curriculum of Trauma Informed
               Project
                                                 Care training specifically for Designated
                              Trauma Informed Care
               #: BGCE-                          Crisis Responders to incorporate the skills
                              for Designated Crisis
               MHA2           Responders         into their practice.                                $       50,000
                                                 Develop a curriculum for a 100-hour
                                                 course for Mental Health (MH)
                                                 professionals to secure credentials to
                                                 become an Older Adult Mental Health
                                                 Specialist, Intellectual Disabilities
               Project
                                                 /Developmental Disabilities (ID/DD)
               #: BGCE- Mental Health Specialist Mental Health Specialist, and Ethnic
               MHA3      Training                Minority Mental Health Specialist.                  $      396,329
               BH-ASO Treatment Funding



                                                       The community mental health services
                                                       provided include but are not limited to
                                                       outpatient services, including specialized
                                                       outpatient services for children, the
                                                       elderly, individuals with a serious mental
                                                       illness, residents of the service areas who
                                                       have been discharged from inpatient
                                                       treatment at a mental health facility, day
                                                       treatment or other partial hospitalization
                                                       services, psychosocial rehabilitation
                                                       services, outreach to and services for
                              Behavioral Health        individuals who are homeless, at risk of
               Project
                              Administrative Service   homelessness, or ready for discharge
               #: BGCE-       Organization (BH-ASO)    from inpatient psychiatric care, and
               ASO2           Treatment Funding        individuals residing in rural areas.          $    6,150,372
                                                                               Total Treatment       $   7,303,372


               Recovery Support Services

               Project #      Project Title            Project Description                           Proposed Budget




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                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                              Participant Support        Treatment Services for people
               Project
                              Funds- Housing and         experiencing homelessness, medications,
               #: BGCE-       Recovery through Peer      coordination with primary care, case
               RSS1           Services (HARPS) teams     management etc.                              $       50,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                              Participant Support        outreach workers, Assertive Community
                              Funds- Projects for        Treatment Services for people
               Project
                              Assistance in Transition   experiencing homelessness, medications,
               #: BGCE-       from Homelessness          coordination with primary care, case
               RSS2           (PATH) teams               management etc.                              $      140,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                                                         Treatment Services for people
               Project
                                                         experiencing homelessness, medications,
               #: BGCE-       Participant support        coordination with primary care, case
               RSS3           Funds - Peer Bridger       management etc.                              $      100,000
                              Certified Peer
               Project
                              Counselor (CPC) Online
               #: BGCE-       Continuing Education       Create online Certified Peer Counselor
               RSS7           Bank                       (CPC) continuing education trainings.        $       50,000
                              Foundational
                              Community Support
                              Supported
                              Housing/Supported          Creating a Supported Housing (SH) fidelity
               Project
                              Employment (SH/SE)         certification development/Individual
               #: BGCE-       'fidelity reviewer         Placement and Support (IPS) certification
               RSS8           certification'             through Westat.                              $       50,000
                              Community Work             Training for Foundational Community
                              Incentive Coordinator      Support service providers to become
                              (CWIC) training and        Community Work Incentive Coordinator
               Project
                              staffing costs for a       (CWIC) trained - https://vcu-
               #: BGCE-       provider to attend the     ntdc.org/training/introductory/introindex
               RSS9           training                   .cfm                                         $       50,000
               Project
               #: BGCE-       Intentional Peer           Train Certified Peer Counselors in
               RSS10          Support Training           Intentional Peer Support.                    $      150,000
                              Adding a Peer to           Targeted peer outreach on Project for
                              Projects for Assistance    Assistance in Transition from
               Project
                              in Transition from         Homelessness (PATH) teams focusing on
               #: BGCE-       Homelessness (PATH0        a by-name list of individuals who have
               RSS12          Outreach Teams             had multiple contacts with crisis system.    $    1,120,000




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               Project
                              Creating a Behavioral
               #: BGCE-       Health (BH) Housing       Inventory of all the housing needs of the
               RSS13          Action plan               Behavioral Health (BH) population.           $       15,000
               Project
                              Creating a housing        Provide timely information for individuals
               #: BGCE-       inventory/estimator/cal   with behavioral health conditions to
               RSS14          culator                   access housing services and resources.       $      150,000
               Project
               #: BGCE-                                 Extract data out of the peer credential
               RSS15          Peer Dashboard            data system to have a dashboard.             $      100,000
                              White
                              paper/Toolkits/Medicai
               Project
                              d Academy for Peer        Creating a white paper on Community
               #: BGCE-       Run-Peer Operated         Behavioral Health Associate (CBHA) Lite
               RSS17          Agencies                  licensing.                                   $       15,000
                              Foundational
                              Community Support -
               Project
                              Converting Current        Convert Foundational Community
               #: BGCE-       Training to Online        Support training to online training
               RSS18          Training Modules          modules.                                     $       50,000
                              Cover Foundational        Utilize block grant funds that would cover
                              Community Support         Foundational Community Support
                              Services in Institution   services for people transitioning out of
               Project
                              for Mental Disease        Institution for Mental Disease (IMD)
               #: BGCE-       (IMD) when Medicaid is    settings if Medicaid does not get
               RSS19          Suspended                 retroactively reconnected.                   $      500,000


               Project
               #: BGCE-       Peer Wellness Coach       Peer Wellness Coach continuing
               RSS20          Training                  education curriculum developed.              $       15,000
               Project
                                                        De-escalation, mediation, basic grief
               #: BGCE-       Training for Oxford       counseling training for 10 Oxford
               RSS22          Outreach Staff            outreach staff.                              $       20,000
                                                        Mental Health Block Grant (MHBG) &
                                                        Substance Abuse Block Grant (SABG)
                                                        funds could be used to support case
                                                        managers, outreach workers, Assertive
                                                        Community Treatment Services for
               Project
                              Participant Engagement    people experiencing homelessness,
               #: BGCE-       Kits for Youth -          medications, coordination with primary
               RSS23          Mockingbird               care, case management etc.                   $       35,000




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                                                         Enhance jail transition programs with
                                                         SUD peers services to individuals who
                                                         upon release will be homeless. SUD Peer
                              Peer Pathfinders           Services begin prior to release to
               BGCE-          Transition from            establish relationship and upon release to
               RSS24          Incarceration Pilot        support the transition to needed services.   $          790,000
                              Add Co-Occurring Peer
                              to Forensic-Housing        Add 1 peer to each of the four Forensic-
                              Housing and Recovery       Housing Housing and Recovery through
               BGCE-          through Peer (F-HARPS)     Peer Services (F-HARPS) in Phase I
               RSS25          Services                   regions.                                     $          400,000
                                                         Create an operationalizing Peer Bridger
               Project
                                                         program for hospitals, Substance Use
               #: BGCE-       Operationalizing Peer      Disorder (SUD), and Treatment (TX)
               RSS32          Bridger                    agencies.                                    $           25,000
               Project
                              Create a Dashboard on      Public facing dashboard/Marketing on
               #: BGCE-       Healthcare for Workers     the number of people using the Medicaid
               RSS33          with Disabilities (HWD)    buy-in program.                              $          100,000
               Project
               #: BGCE-       Implicit Biased Training   Braid funding with Commerce to create a
               RSS35          for Landlords              training for landlords.                      $           10,000
                                                         Helping individuals with the creation of a
                                                         Supplemental Security Income/Social
               Project
                              Funding for SSI/SSDI       Security Disability Insurance (SSI/SSDI)
               #: BGCE-       Outreach, Access, and      outreach access and recovery community
               RSS36          Recovery (SOAR) Leads      coordinators.                                $          500,000
               BGCE-          Enhance Mobile Crisis      Pilot enhancements to mobile crisis
               RSS41          Teams with CPCs            teams by adding CPCs to existing teams.          $      1,909,000
                                                               Total Recovery Support Services        $       6,344,000


               Tribal

               Project #      Project Title              Project Description                          Proposed Budget




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                                                          Provide grants to 29 federally recognized
                                                          Tribes and two Urban Indian Health
                                                          Organizations to deliver Substance Use
                                                          Disorder (SUD) prevention, treatment,
               Project
                              Grants to Tribes and        Opioid Use Disorder (OUD) intervention
               #: BGCE-       Urban Indian Health         and recovery support services within
               TRB3           Organizations               their Tribal communities.                      $      861,000
                                                          Indian Health Care Provider (IHCP) to
                                                          offer traditional healing/traditional Indian
                                                          medicine (TIM) services and analyze the
               Project
                                                          health outcomes and potential cost
               #: BGCE-       Traditional Healing Pilot   savings from offering Traditional Indian
               TRB4           Project                     Medicine (TIM) services.                       $      100,000
                                                                                        Total Tribal     $    961,119


               Crisis Set-Aside

               Project #      Project Title               Project Description                            Proposed Budget
                              Behavioral Health
                              Administrative Service      Services include 24-hour-a-day
               Project
                              Organization (BH-ASO)       emergency care services, mobile crisis,
               #: BGCE-       Treatment Funding -         crisis line, and Designated Crisis
               ASO2           Crisis Services             Responders (DCR) services.                     $    1,346,000
                                                                             Total Crisis Set-Aside      $   1,346,000




               TOTAL SABG Covid Supplement Budget
                                                                                    FEP Set-Aside        $    2,307,000
                                                                                        Treatment        $    7,303,372
                                                                        Recovery Supports Services       $    6,344,000
                                                                                              Tribal     $      961,000
                                                                                   Crisis Set-Aside      $    1,346,000
                                                                                   Administrative        $      961,000

                                                                                       Total Budget      $ 19,222,372




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             First Episode Psychosis Project Detail


             Project #: BGCE-CYF7

             Project Title: Rural and AI/AN Pilot Project for FEP                  Proposed Budget: $2,307,000

             Scope:
             Develop and adapt evidence based coordinated specialty care (CSC) programs for first episode psychosis
             (FEP) to meet the needs of rural, frontier and AI/AN communities. The project would be to help to
             develop a rural and /or Tribal New Journeys/CSC model, to evaluate it, and broadly disseminate the
             results to inform future program development. Other states are also interested in figuring out how to
             develop CSC services in rural areas and Tribal communities. There could be great value in collaborating
             with partners in other states on this (they would fund their own program development) and could help
             to define rural and AI/AN CSC in other parts of the U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation is essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early
             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.



             Treatment Projects Detail

             Children, Youth and Family

             Project #: BGCE-CYF2




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             Project Title: Developing WISe Workforce Support                          Proposed Budget: $200,000

             Scope:
             Developing Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder
             Three lead Wraparound and Intensive Services (WISe) behavioral health agencies will plan and
             implement the project informed by local needs with logistical oversight provided the Wraparound and
             Intensive Services (WISe) Workforce Collaborative/En Route. A training component will be provided by
             Seattle Children’s Autism Center and offered to a total of five (5) Behavioral Health agencies. The
             proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the Health Care Authority and Developmental Disabilities
             Administration (DDA) convened Wraparound and Intensive Services (WISe) and Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD) workgroup or
             Project Echo sessions. This allows the project to build more directly on the knowledge and efforts
             already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD).

             Wraparound with Intensive Services (WISe) provides intensive home and community based mental
             health services to Medicaid eligible children and youth, in compliance with Title XIX of the federal Social
             Security Act. WISe is available for children and youth 20 years of age or younger who have a serious
             mental illness.

             To receive WISe a child or youth is 1) Medicaid eligible, 2) has a mental health diagnosis and 3) meets
             the WISe screening algorithm. The WISe screen is to help determine if the youth needs this intensive
             level of outpatient care.

             By design, WISe is a service delivery model for children and youth with the most complex mental health
             challenges in Washington state. WISe provides individualized, culturally competent services that strive
             to keep youth with intense mental health needs safe in their own homes and communities, while
             reducing unnecessary hospitalizations. WISe offers a higher level of care through these core
             components:

                   x   The Time and Location of services: WISe is community-based. Services are provided in locations
                       and at times that work best for the youth and family, such as in the family home and on
                       evenings and weekends.




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                  x    Team-based Approach: Each WISe team includes youth, family members, a WISe care
                       coordinator, a therapist, a Certified Peer Counselor, includes natural supports and members
                       from other child-serving systems when they are involved in a youth’s life.
                  x    Help during a crisis: Youth and families have access to crisis services any time of the day, 365
                       days a year. Youth receive services by individuals who know the youth and family’s needs and
                       circumstances, as well as their current crisis plan.


             Intensive services provided in WISe include but are not limited to:

                  x    Individual treatment services
                  x    Family therapy services
                  x    Psychiatric medication services
                  x    Crisis mental health services—Outreach services
                  x    Recovery support—Wraparound facilitation services
                  x    Peer support services


             References:

                  x    The program, policy and Procedure manual can be found here WISe Manual and the WISe
                       screening algorithm is available on page 75
                  x    WISe meets the criteria established in the Children’s Mental Health Lawsuit under obligations
                       set forth in the T.R. Settlement Agreement
                  x    HCA WISe webpage


             Addressing State Needs and Gaps, Including Gaps in Equity:
             During COVID the increased need of trained staff to provide stabilization support for youth in
             Wraparound and Intensive Services (WISe) with Intellectual Disabilities/Developmental Disabilities
             (ID/DD) including Autism Spectrum Disorder (ASD) has become apparent. The concern identifying the
             need for additional training has been expressed by caregivers, behavioral health agency staff and allied
             system partners. Our behavioral health workforce is often times generalists by education and don't have
             the training to best support youth with Autism Spectrum Disorder (ASD) and their families. This funding
             would provide the training support and consultation to five behavioral health agencies as well as
             enhance community coordination in three regions for youth enrolled in Wraparound and Intensive
             Services (WISe) with Intellectual Disabilities/Developmental Disabilities including Autism Spectrum
             Disorder.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.




             Project #: BGCE-CYF5




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             Project Title: Trauma Focused Cognitive Behavioral Therapy Training       Proposed Budget: $376,671

             Scope:
             Provide training in Trauma Focused-Cognitive Behavioral Therapy (RF-CBT) to clinicians serving children
             and youth returning to school as part of the triage process post screening as a part of the recommended
             Department of Health fast response plan to help meet the needs of children and youth returning to
             school following the Governor's proclamation that in person options are required as of April 1, 2021.
             This will serve youth who indicate trauma exposure in the screening process (SED). This is following the
             Sonoma model, and will further enhance the clinical interventions available to children and youth across
             WA in the long run.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth over the past year regarding mental health impact
             are expected to surface as children youth and families begin the transition to in person education. This
             proposal meets an identified need in the plans to date that matches the requirements of this funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength-based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




             Adult Treatment

             Project #: BGCE-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis                 Proposed Budget: $130,000

             Scope:
             This project will expand upon our current contract with the University of Washington's Supporting
             Psychosis Innovation through Research, Implementation and Training (SPIRIT) Lab to deliver Cognitive
             Behavioral Therapy for Psychosis to a cohort of outpatient and inpatient clinicians from selected




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             contracted community-based sites who are serving people receiving 90/180 involuntary civil
             commitment orders. This Evidence Based Practice (EBP) helps people living with psychosis achieve a
             level of self-management that has shown great success, supporting individuals and their families in the
             community.

             Many of the people on these long-term involuntary commitments experience psychosis so this Evidence
             Based Practice is a good fit for the needs of this population. We will train two cohorts of clinicians- each
             cohort containing staff from an inpatient setting serving people on 90/180 involuntary civil commitment
             orders and a corresponding outpatient behavioral health agency that treats these individuals upon
             discharge- or may have treated the individual prior to admission. This will allow the skills learned in
             either setting to be supported and reinforced in the other setting. The plan it to first train the clinicians
             to a level of competency such that they then can be trained to supervise others with the model. It
             would then broaden to be delivered in group treatment and then be the model of treatment across the
             milieu for those in inpatient settings. We believe that this implementation plan should have good
             sustainability for these sites.

             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate Evidence Based Practice should assist this population in better
             managing their symptoms and reduce their need for further involuntary or inpatient treatment. This
             recovery-based model supports both the individual and their family which should help individuals to
             successfully remain in the community.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training our Behavioral Health workforce in Cognitive Behavioral Therapy (CBT) for Psychosis will help
             empower individuals living with psychosis to better manage symptoms that interfere with their ability to
             live their lives in the community. The Behavioral Health workforce needs enhanced tools to treat
             psychosis beyond simply medication alone. This evidence-based practice is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about Cognitive
             Based Therapy (CBT) for Psychosis and its success rate. Additionally, the facilities that have begun to
             take individuals on long term orders have reported a need for more enhanced programming for this
             population and it is important to provide continuity of care, including support for skills development,
             across care settings.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.




             Project #: BGCE-MHA2


             Project Title: Trauma Informed Care for Designated Crisis Responders       Proposed Budget: $50,000




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             Scope:
             Modify curriculum of Trauma Informed Care Training specifically for Designate Crisis Responders so that
             Designated Crisis Responders (DCR) can incorporate the skills into their practice. Conducting involuntary
             treatment investigations can be innately traumatizing. Incorporating trauma informed techniques into
             the Designative Crisis Responder (DCR) skill set can help make the investigations less traumatizing, and
             hopefully minimize long term trauma from the involuntary treatment process.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently no trauma informed care training specific to the work Designative Crisis Responders
             do. Involuntary Treatment Act (ITA) evaluations can be traumatizing for the people performing the
             evaluation. To minimize the impact to the Designated Crisis Responders, the individuals being evaluated
             and the system as a whole, this training is immediately necessary.

             Individuals in BIPOC communities and those with serious behavioral health issues are more likely to have
             encounters with law and healthcare systems that result in furthering trauma. The trauma that effects
             the individual being evaluated also impacts the person doing the evaluation. Proper training can help
             improve the interactions between Designated Crisis Responders, law enforcement and individuals
             receiving treatment. This will assist in more sustainable recovery for every individual, and a system
             prepared to support those in need.


             Project #: BGCE-MHA3


             Project Title: Mental Health Specialist Training                          Proposed Budget: $396,329

             Scope:
             Develop curricula for a 100-hour course for Mental Health Professionals who provide treatment services
             to individuals with SMI or SED to secure credential to become an Older Adult Mental Health Specialist,
             Intellectual Disabilities/Developmental Disabilities (ID/DD) Mental Health Specialist, and Ethnic Minority
             Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health Outpatient (OP)
             treatment. Training curricula will focus on recognizing unique needs of these populations, clinical best
             practices, understanding of the community resources and partners when working with these
             populations, the role of Mental Health Specialist and how to provide clinical consultation, cultural
             humility, and other relevant information specific to each demographic.

             The Division of Behavioral Health and Recovery (DBHR) has not sponsored Mental Health Specialists
             academies for almost ten years and as such, there are significant workforce shortages in specialists
             trained and credentialed to work with the older adult population, individuals with intellectual and
             developmental disabilities, and ethnic minorities. Each of these populations has unique needs or
             considerations that impact care and the behavioral health workforce needs additional training and
             supports in order to meet their needs. The overall intent is to provide better care for clinicians who
             provide services to SMI and SED populations.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for mental health professionals trained and sufficiently
             skilled to work with older adult population is more critical than ever. The current workforce requires




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             specialized skills and knowledge to better support BIPOC populations and people with Intellectual
             Disabilities/Developmental Disabilities. This is a work force shortage that must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: BGCE-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding
             Proposed Budget: $6,150,372

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI) or
             Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to




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             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




             Recovery Support Services Projects Detail

             Project #: BGCE-RSS1




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             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams
                              Proposed Budget: $50,000
                                                                                    *Additional $50,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the HARPS program
             to assist individuals who are transitioning from inpatient settings to the community. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.

             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The Housing and Recovery through Peer Support (HARPS) priority population is unable to earn wages
             while involved with inpatient treatment and is unlikely to have savings to secure housing upon
             discharge. Additionally, many participate intensive outpatient treatment which limits the amount of
             time to earn wages to afford housing, as well as other necessities to stay engaged in treatment and
             recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




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             Project #: BGCE-RSS2


             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams                     Proposed Budget: $140,000

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the homeless
             outreach teams to assist individuals who are seriously mentally ill and not engaged in treatment.
             Expenses could include but not limited to transportation costs, PPE and items needed to support their
             recovery.

             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with




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                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional Disturbance
                       (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants with serious mental
             illness who are transitioning from inpatient settings to the community. Expenses could include but not
             limited to transportation costs, PPE and items needed to support their recovery.

             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS7


             Project Title: Certified Peer Counselor (CPC) Online Continuing Education Bank
                     Proposed Budget: $50,000
                                                                                      *Additional $50,000 SABG

             Scope:




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             This funding would be used to create online Certified Peer Counselor (CPC) continuing education
             trainings. The trainings could include Wellness Recovery Action Plans (WRAP), Crisis Plans, Suicide
             Prevention, cultural awareness, and others. The goal is to great online learning bank for Certified Peer
             Counselors where they can access continuing education trainings on demand.

             These trainings would be accessible for all certified peer counselors in Washington and the knowledge
             gained will improved peer services provided in Washington. Traditionally Certified Peer Counselors
             (CPCs) continuing education trainings have been funded by DBHR, during the past year we have had to
             reallocate funding to meet the needs of the Certified Peer Counselor workforce by increasing our core
             Certified Peer Counselor (CPC) trainings. These online trainings will be able to be accessed by peers
             across the state no matter where they reside or work and removing barriers to access. If unfunded, this
             training will not be available in the state or will be out of reach financially for most Certified Peer
             Counselors (CPCs).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD).
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. Continuing education for certified peer counselors is always requested
             and providing these trainings in a virtual format will make the trainings more accessible to peers in all
             areas of the state.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS8


             Project Title: Foundational Community Support (FCS) Supported Housing/Supported Employment
             (SH/SE) Fidelity Reviewer Certification
             Proposed Budget: $50,000
                                                                                   *Additional $50,000 SABG
             Scope:
             Intensive Trainings for Foundational Community Supports (FCS) providers to increase their
             skills/trainings on SAMSHA Permanent Supportive Housing (PSH) Fidelity Reviews and Individual
             Placement and Support (IPS) Support Employment Fidelity Reviews.




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             Washington State Foundational Community Support programs uses two evidence-based models-
             SAMSHSA Permanent Supportive Housing and WESTAT/Rockville Institutes Individual Placement and
             Support Supported Employment Model. To ensure high quality standards and fidelity to these models,
             Foundational Community Support (FCS) providers participate in fidelity reviews. This funding will allow
             Foundational Community Support provider to participate in intensive training to able to provide high
             quality fidelity reviews and ensure compliance with the evidenced based practices.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement and Support
             (IPS) model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement and Support (IPS) services
             resulted in significant rates of employment, as much as 3 times as many people successfully achieving
             competitive employment as compared to individuals not receiving Individual Placement and Support
             (IPS) services. Employment has many positive impacts on the mental health and wellbeing of individuals
             with psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement and Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS9


                                                                                      Proposed Budget: $50,000




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             Project Title: Community Work Incentive Coordinator (CWIC) Training and Staffing Costs

             Scope:
             This project proposes to use MHBG funds to cover Staff training costs for community behavioral health
             agencies to become Community Work Incentive Coordinators. Nothing provides 'hope' more than
             believing that people can work but addressing an individual’s concerns about how working affects their
             governmental benefits is key to implementing the evidence-based practice model called Individual
             Placement and Support. Benefits counseling is one of the core principles of providing this EBP model.

             Washington State’s Foundational Community Supports (FCS) supported employment providers serve
             individuals using the Evidence Based Practice of Individual Placement and Support, the program
             developed and managed by Westat Rockville Institute. Washington state legislature mandated the use
             of evidence based or promising practices when Foundational Community Support (FCS) was approved.
             The intent is for the service to be statewide and in order to positively impact sustainability, services
             should be provided to fidelity in order to achieve the greatest outcomes. An important element of the
             principles of Individual Placement and Support is the education of job seekers of how income may
             impact federal and state benefits and entitlements. There is currently not the bandwidth in
             Washington’s State to provide work incentive education and planning to enroll individuals in the
             Foundational Community Support system. The proposal is to send Foundational Community Support
             (FCS) agency staff from agencies to enroll in webinars to learn the foundational knowledge of Social
             Security work incentives, and to secure certification training for select agency staff at behavioral health
             organizations in Western and Eastern Washington State. This initiative will greatly increase the number
             of benefit practitioners to education and support job seekers in the transition to competitive
             employment, attain self-sufficiency while decreasing reliance on public entitlement programs. The
             Institute on Employment and Disability in Cornell University's Industrial and Labor Relations School
             training also has a credentialling option that provides a pathway to be recognized as an accredited work
             incentive planner. Work incentives pave the way to work and financial independence for recipients of
             public benefits. This training will provide essential insight into how the complex mix of work incentives,
             critically needed benefits, and earnings can be explained to an individual with a disability to encourage
             both work and financial independence.

             There is a critical need for the training of benefit education planners in Washington State. The
             Foundational Community Support (FCS) program has 162 providers with 458 service location, with an
             enrollment of over 3,000 individuals. the availability of agency staff with foundational knowledge and
             access to certified benefit planners is crucial to provide support to enrolled participants and learn how
             earned income can impact entitlement benefits. These training opportunities will provide staff essential
             tools to assist job seekers to reach their individual goal of self-sufficiency. The implementation and
             practices of the Individual Placement Support (IPS) supported employment model are expanding in
             Washington State, and the critical need to adequately prepare agency staff of benefit planning
             curriculum is essential for overall long-term success. The certification training through the Institute on
             Employment and Disability in Cornell University's Industrial and Labor Relations School will prepare
             agency staff to support enrolled participants to develop a clear, comprehensive, and actionable report
             of an individual’s financial situation and how to maximize self-sufficiency trends. There is not currently a
             more viable way to increase skills of agency staff and to increase the numbers of certified benefit
             planners.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             The Foundational Community Support Program is built upon evidenced based practices of SAMHSA and
             the Westat Rockville Institute to implement supported employment practices that are effective. The
             principles of these evidence-based practices (EBP) encompass the idea of a holistic, person centered
             approach, which is all inclusive and embraces zero exclusion, access to an individual's choice of services.
             The struggles of poverty and self-sufficiency negatively impact communities of people of color
             disproportionately. The implementation of based practices accelerates the positive impact on social
             determinants of health in urban and rural communities. Services are provided are inclusive of all who
             need them and targeted to individuals with a wide range of disabilities.


             Project #: BGCE-RSS10


             Project Title: Intentional Peer Support Training                          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             These funds will be used to train Certified Peer Counselors in Intentional Peer Support. These trainings
             will be provided either in person or in a virtual format depending on physical distancing requirements.
             Priority for these training will be Certified Peer Counselors (CPCs) who work on the following teams Peer
             Bridgers, Housing and Recovery through Peer Services (HARPS), Forensic Housing and Recovery through
             Peer Services (HARPS), Projects for Assistance in Transition from Homelessness (PATH), Forensic Projects
             for Assistance in Transition from Homelessness (PATH), Peer Pathfinders, and Foundational Community




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             Support (FCS) teams. The training will be opened up to additional Certified Peer Counselors (CPCs) when
             space is available. This funding will also be used to provide travel supports for participants.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder. Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (EDI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS12
                                                                                       Proposed Budget: $1,120,000


             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disorder (SMI/SED).

             Scope:
             Proposed funds will add one peer counselor to each of the current Projects for Assistance in Transition
             from Homelessness (PATH). Project for Assistance in Transition from Homelessness (PATH) programs
             assist individuals in accessing housing, mental health services, substance abuse treatment, disability
             benefits, and other services to stabilize them and facilitate recovery. Each agency will be required to hire
             and onboard a new peer counselor to expand outreach and engagement services for individuals with a
             serious mental illness (SMI) and homeless or at risk of homelessness. Projects will work closely with
             BHASO's, Managed Care Organization's (MCO’s) and Crisis stabilization centers to create a referral flow
             and coordination of services.




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             The proposed expansion of adding one additional Projects for Assistance in Transition from
             Homelessness (PATH) peer counselor to each of the Projects for Assistance in Transition from
             Homelessness (PATH) teams will allow agencies to expand needed outreach and engagement efforts.
             The proposed funds will enhance the quality of program delivery and engagement and expand critical
             crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




             Project #: BGCE-RSS13


             Project Title: Creating a Behavioral Health Housing Action Plan           Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Scope:
             In 2007, the Mental Health State Transformation Initiative generated a Housing Action Plan. The
             Housing Action Plan conducted an inventory of affordable housing for people with serious mental
             illness, set a philosophical approach for Housing First principles and identified action steps to improve
             affordable housing. This proposal seeks to update the Housing Action Plan to include people with
             substance use disorders.

             Washington is experiencing a significant housing crisis. Individuals with behavioral health conditions
             experience homelessness at a significant rate. The development of a housing action plan will create a
             north star for the behavioral health system to pursue partnerships to create and develop affordable
             housing.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will identify and analyze the needs and gaps for affordable housing for the behavioral health
             population. It will develop an action plan to meet the affordable housing needs of individuals with both
             mental health and substance use disorders.




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             The Behavioral Health Affordable Housing Action plan will analyze the impacts of homelessness on the
             BIPOC population. According to Research and Data Analysis, individuals experiencing homelessness are
             more likely to be African American or Alaska Native/American Indians (Ford-Shah, M., 2012)



             Project #: BGCE-RSS14


             Project Title: Creating a Housing Inventory/Estimator/Calculator          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                    reduce risks of COVID-19 transmission.

             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This project will create an online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing. Based on a
             current algorithm currently housed in the Pathways to Employment Site, Research and Data Analysis will
             create a housing version for the Pathways to Housing site.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.




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             Project #: BGCE-RSS15


             Project Title: Peer Dashboard                                            Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG

             Scope:
             This funding would be used to create a Dashboard for the Peer Support Program. This would enable the
             team to see data pulled from the Peer Support database on an easily accessible format. There is
             increased focus on the peer support program to meet the growing workforce needs. This dashboard
             would allow the Health Care Authority to have immediate access to data for updates to lawmakers and
             stakeholders. Without the dashboard the Peer Support Team and leadership would not have easily
             accessible data about the Peer Support Program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is a Behavioral Health workforce shortage in Washington and peer services are a growing
             workforce that can help to meet the Behavioral Health needs of our communities. The dashboard will
             allow the Division of Behavioral Health and Recovery easy access to data that could direct the Peer
             Support Program where to focus trainings where gaps are identified to increase the Certified Peer
             Counselor (CPC)workforce and the diversity of the Certified Peer Counselor workforce.

             Programs will ensure services and activities will be designed and delivered in a manner sensitive to the
             needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS17
                                                                                      Proposed Budget: $15,000
                                                                                      *Additional $15,000 SABG

             Project Title: White Paper/Toolkits/Medicaid Academy for Peer-Run Peer-Operated Agencies

             Scope:
             This funding would be used to create a white paper to explore strategies for peer run/peer operated
             agencies to become licensed community behavioral health agencies so that they will be able to bill
             Medicaid for peer services.

             This would provide technical assistance for clubhouse and consumer run organizations to become
             licensed providers and bill Medicaid for peer services. This will increase recovery support services to a
             larger portion of the state. Washington State supports several clubhouse programs using general fund
             dollars and SB 5328 is proposing that the state go farther in helping clubhouses gain access to Medicaid
             funds. This project aligns with the bill to assist those organizations to bill Medicaid.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. This
             would allow additional agencies to become licensed to provide peer services increasing the availability
             of Mental Health and Substance Use Disorder (SUD) peer services to a larger population. If unfunded,
             this technical assistance will not be available in the state and could delay agencies in getting licensed to
             provided peer services.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS18
                                                                                             Proposed Budget: $50,000
                                                                                             *Additional $50,000 SABG

             Project Title: Foundational Community Support (FCS) – Converting Current Training to Online Training
             Modules

             Scope:
             Foundational Community Supports (FCS) provides supported employment and supportive housing
             services across the state of Washington with over 160 agencies contracted to provide Foundational
             Community Support (FCS) services. The Division of Behavioral Health and Recovery (DBHR) has four full
             time trainers who provide technical assistance to Foundational Community Support (FCS) providers. The
             growth of Foundational Community Support (FCS) has increased the need for technical
             assistance/training and the Division of Behavioral Health and Recovery (DBHR) would like to convert
             some of the "stock" training that it provides to all new Foundational Community Support (FCS) providers
             to a virtual format. Creating online training modules of stock trainings currently provided in person will
             free up time for Foundational Community Support (FCS) trainers to provide more individualized,
             targeted, and intense technical assistance.

             This project is critical to maintaining and improving the quality of services provided by Foundational
             Community Support (FCS) providers. Focused, targeted, and high-level training ensures consistency and
             adherence to the evidence-based modules that Foundational Community Support uses. Currently, the
             Division of Behavioral Health and Recovery Foundational Community Support trainers are spending




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             much of their time delivering stock training to providers as they onboard new staff. This type of training
             could easily be provided in a virtual recorded format that would free up the Foundational Community
             Support (FCS) trainers time to provide more advanced targeted technical assistance to providers.
             Freeing up the Foundational Community Support (FCS) trainers time to focus on more targeted and
             nuanced technical assistance allows us to grow the quality of the Foundational Community Support
             program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS19

                                                                                       Proposed Budget: $500,000
                                                                                       *Additional $500,000 SABG




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             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing
             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.


             Project #: BGCE-RSS20




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             Project Title: Peer Wellness Coach Training                                 Proposed Budget: $15,000
                                                                                         *Additional $15,000 SABG

             Scope:
             These funds would be used to bring either Peggy Swarbricks Wellness coaching or Pat Deegan's Person
             Medicine Coach certification training to Certified Peer Counselors. Pat Deegan's program can also bring
             a train the trainer to Washington so that we can training Certified Peer Counselors in Personal Medicine
             Coach training.

             This project will provide continuing education to certified peer counselors in Washington State around.
             The intended outcome is to increase the knowledge of certified peer counselors to even more
             effectively support the peers they serve. Both programs focus on increased health outcomes. If
             unfunded, this training will not be available in the state or will be out of reach financially for most
             Certified Peer Counselors.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors are
             effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD). Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. This continued education will provide information to better support
             people in whole health as we are moving to a more integrated approach to who person care.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices, and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS22


             Project Title: Training for Oxford Outreach Staff                           Proposed Budget: $20,000
                                                                                         *Additional $20,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             DBHR currently funds 10 outreach staff that provide support to the 300+ Oxford houses in Washington
             State. Individuals with co-occurring SMI and SUD diagnosis are recipients of the mutual support
             received within an Oxford house. This proposal is to fund training for the 10 outreach staff to better




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             support the individuals with co-occurring serious mental illness and substance use disorders. Training
             topics include but not limited to de-escalation, mediation, grief counseling etc.

             We would like to add funding for training Oxford House Outreach Workers. There have been too many
             deaths in the Oxford Houses since COVID-19 started due to isolation and the feelings of hopelessness
             which brings an increase in drug and fentanyl use and ultimately relapses and deaths. Therefore, there
             is a need for the 10 Oxford House Outreach Representatives to get trainings on de-escalation, grief and
             loss, relapse prevention, meditation, Dialectical Behavioral Therapy (DBT), and any other training that
             would benefit the Oxford House Representatives in helping the residents deal with their grief, losses and
             fears of relapse.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Oxford House Sober Recovery Homes fills a gap in the substance use disorder services continuum by
             establishing and maintaining self-run, self-supported peer-operated sober recovery homes. In
             adherence with United States Code, Title 42, Section §300X–25 Group Homes for Recovering Substance
             Abusers, the State Agency will utilize the Oxford House concept to increase sober recovery housing
             assistance opportunities for recovering individuals living together in a residential disciplined
             environment to maintain recovery without recurrence of use. This level of care includes the provision of
             a safe and affordable home, in a drug-free living situation to recovering individuals with the support of
             other peers in recovery, Contractor staff, and other supports and services in the community including
             mental health guidance from outreach representatives who are trained.

             Adult men and women completing residential treatment or are currently in outpatient treatment for
             substance use disorder, as well as those enrolled in recovery support, and opioid treatment services,
             who need a place to live and can meet the requirements for being a resident of a Recovery House.
             People leaving prisons and jails, Oxford House has a strong re-entry program with Department of
             Corrections (DOC) and does not discriminate on anyone's culture, race, or mores. Recovery housing will
             also include populations with a reported history of opioid use disorder (OUD) and opioid use.


             Project #: BGCE-RSS23


             Project Title: Participant Engagement Kits for Youth – Mockingbird       Proposed Budget: $35,000
                                                                                      *Additional $35,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in homeless outreach
             teams to assist individuals who are seriously mentally ill and not engaged in treatment. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.




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             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness. The Youth Advocates
             Ending Homelessness in Washington state report an alarming number of youth experience mental
             health, substance use disorders and health crisis. This includes advocates that report individuals who are
             experiencing medical issues that may or may not receive medical treatment. The inability to care for
             wounds will likely cause more server health issues or worse. Proposing funding for Mockingbird
             Outreach for Homeless Hygiene and wound care kits such as hand sanitizer, antiseptic, rubbing alcohol,
             hydrogen peroxide, ointment, band aids, gauze, and pain relievers could make the difference.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Mockingbird Society of Washington report Homeless youth lack access to medical care and often go
             without essential hygiene and wound care items which are not covered by Medicaid.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness.

             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000
                                                                                         *Additional $790,000 SABG

             Scope:
             This funding will add a Certified Peer Counselor to up to five existing BH-ASO contracts for jail transition
             services. Adding a Certified Peer Counselor to existing jail transition services teams will increase the level
             of services being provided, by having a CPC connect with the individuals while they are still in jail and
             helping them with transition to the community. The certified peer counselor will work with individuals
             diagnosed with a serious mental illness, linking them to behavioral health services, including co-
             occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail
             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals




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             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                               Proposed Budget: $400,000
                                                                                           *Additional $400,000 SABG
             Scope:
             These additional funds would allow the teams to hire another certified peer counselor for each Forensic
             HARPS team in the phase 1 regions. With this additional staff person, the teams would be able to
             increase caseload capacity. This position would also allow the Forensic HARPs teams to serve individuals
             diagnosed with serious mental illness or co-occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal




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             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.


             Project #: BGCE-RSS32


             Project Title: Operationalizing Peer Bridger                                Proposed Budget: $25,000
                                                                                         *Additional $25,000 SABG

             Scope:
             This funding will be used to create an Operationalizing Peer Support training for the peer Bridger
             program for jails, hospitals and Substance Use Disorder (SUD) treatment agencies. Operationalizing Peer
             Support trainings provide Technical Assistance (TA) to existing and new agencies who need support with
             their peer program or who want to implement peer services. This training would also be to provide
             technical assistance to the jails, hospitals and inpatient setting who will be collaborating with the peer
             Bridger program.

             As we transition the peer Bridger from providing services at the state hospitals into community-based
             hospitals and inpatient settings, technical assistance will be beneficial in the transition for the agencies,
             hospitals, and the peer Bridger program. If not approved, there will be confusion about the peer Bridger
             program and how to effectively utilize the services resulting in people not receiving these recovery
             support services. This could increase recidivism into an inpatient setting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. We are
             currently witnessing gaps in service since the 90/180-day beds went live last year. This needed TA would
             be able to provide the necessary support and education to effectively utilize the peer Bridger program
             increasing recovery supports in inpatient settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS33


                                                                                         Proposed Budget: $100,000

             Project Title: Create a Dashboard on Healthcare for Workers with Disabilities




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             Scope:
             Washington's Healthcare for Workers with Disabilities is the Medicaid Buy-in Program. Nothing provides
             'hope' more than believing that people can work but addressing an individual’s concerns about how
             working affects their governmental benefits is key to implementing the evidence-based practice model
             called Individual Placement and Support. Benefits counseling is one of the core principles of providing
             this EBP model. Part of benefits counseling is to help individuals access work incentives such as the
             Medicaid Buy-in Program to ensure working doesn't have adverse effects to their receipt of services or
             medications. This project would promote this untapped work incentive program/Medicaid Buy-in
             program through the creation of a marketing campaign and public dashboard on the utilization of the
             benefit. According to Research and Data Analysis in the 2nd quarter of 2020, only 12 percent of disabled
             individuals with a serious mental health issue were employed in Washington State. (10,631/88,381).
             There are currently 1606 individuals in WA on HWD.

             The Apple Health for Workers with Disabilities (HWD) program recognizes the employment potential of
             people with disabilities and represents Washington State’s response to the landmark “Ticket to Work”
             legislation passed by Congress in 1999. Healthcare for Workers with Disabilities (HWD) is an
             underutilized program within the state of Washington. This is a critical program to provide low-cost
             healthcare for people with disabilities, enabling people with disabilities to no longer have to choose
             between taking a job and having health care, and therefore work to their full potential. Marketing needs
             to include the message that self-sufficiency is attainable. There is a need to communicate
             measurements of number of individuals using the service as a part of marketing the program. This
             proposal is to develop a public facing dashboard as a part of marketing. There will be collaboration
             between the Health Care Authority departments that have Healthcare for Workers with Disabilities
             (HWD) as part of the service provided, with the communications department, and with Research and
             Data Analysis in order to come up with an attractive and fully functioning site that provides current and
             accurate data.

             The benefit to the government is shifting individuals off of benefits and having them add to tax revenue.
             Under Healthcare for Workers with Disabilities, people with disabilities can earn more money and
             purchase health care coverage for an amount based on a sliding income scale.

             Healthcare for Workers with Disabilities benefits include:

             •          Medicaid benefit package
             •          Access to long term services and supports, if functional requirements are met
             •          Greater personal and financial independence
             •          Members can earn and save more without the risk of losing their healthcare coverage

             If not approved, people with disabilities have less encouragement to work and continue to live below
             the poverty level while remaining on public benefits. It disproportionally negatively impacts ethnic
             minorities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery, but many avoid seeking work due to fear of losing benefits.
             Employment has many positive impacts on the mental health and wellbeing of individuals with




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             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Results from regressions on earnings suggest that Healthcare for Workers with
             Disabilities (HWD) participants with prior Medicaid coverage earn substantially more than non-
             participants in the year following enrollment. On average, they earn roughly $2,000 more than their
             contemporary peers in the following year and $2,500 more than a historical comparison group.
             Healthcare for Workers with Disabilities (HWD) Participants historically rely less on Basic Food benefits.

             Healthcare for Workers with Disabilities (HWD) will create and sustain a culture of respect, caring and
             inclusion through employment. Programs that focus on employment enhance the value and respect
             garnered by the individual and help them to sustain their culture in the community. It empowers them
             to become positive role models. Services provided are inclusive of all who need them and targeted to
             individuals with a range of disabilities that have become successfully employed. Outreach will address
             the foregoing population.


             Project #: BGCE-RSS35


             Project Title: Implicit Biased Training for Landlords                     Proposed Budget: $10,000
                                                                                       *Additional $10,000 SABG

             Scope:
             This project would create a training series for landlords on Implicit Bias. Implicit bias describes our
             attitudes towards people or associates stereotypes with them without our conscious knowledge. Implicit
             Bias trainings are designed to exposed to people to their biases and provide tools to adjust automatic
             patterns of thinking and ultimate eliminate discriminatory behaviors.
             The Division of Behavioral Health and Recovery would work in partnership with the Department of
             Commerce's Landlord Mitigation Project to provide training to landlords who often rent to individuals
             with behavioral health conditions. Training would focus on addressing and identifying implicit biases and
             how this could be unintendedly affecting their decision on who to rent to.

             This project is important because Washington State has a serious deficit of safe and affordable housing.
             This means that rentals are extremely scarce, and landlords could unintendedly discriminate against
             people of color and people with behavioral health conditions. The anticipated outcome of this project is
             to help landlords identify and then address their implicit biases.


             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal court
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.




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             A disproportionate number of individuals of color experience housing instability. Many of these
             individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. This training will educate landlords on how their implicit bias might limit who they choose
             to rent to.


             Project #: BGCE-RSS36


                                                                                        Proposed Budget: $500,000


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance.

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity




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             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                      Proposed Budget: $1,909,000


             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by adding certified peer counselors in
             Washington State. The intended outcome is to increase the engagement and outreach of MCR teams to
             include certified peer counselors to even more effectively support the peers they serve in crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




             Tribal Projects Detail

             Project #: BGCE-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $861,000
                                                                                    *Additional $1,270,794 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                  x    Operation of an “access line,” “crisis phone line,” or “warm lines” to address any




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                       mental health issues for individuals.
                  x    Training of staff and equipment that supports enhanced mental health crisis
                       response and services.
                  x    Mental Health Awareness training for first responders and others.
                  x    Hire of outreach and peer support workers for regular check-ins for people with
                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                       reduce risks of COVID-19 transmission.
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional
                       Disturbance (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE)

             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed mental health services to adults and youth with SMI/SED to
             prevent, prepare for and respond to behavioral health gaps due to COVID within their Tribal
             communities. Tribes would submit a plan to implement recommended services as outlined in the NOA
             and allowed within the Mental Health Block Grant (MHBG) regulations. Additional Funds to Tribes
             $40,993 SABG per Tribe and $27,778 MHBG per Tribe, totaling $68,771 for each Tribe.

             This project is important because American Indian/Alaskan Native (AI/AN) and Tribal communities have
             been greatly affected by the COVID pandemic and the various Tribal and State Stay at Home Orders.
             Tribes are navigating how to operate Behavioral Health program in a virtual and semi/virtual
             environment. Due to the pandemic, Tribes are stating that the individuals in their communities are
             struggling with social isolation and a lack of treatment services due to the pandemic. There has also
             been limited cultural activities available for Tribal communities due to the pandemic. The historic annual
             Canoe Journey was canceled two years in a row with very limited ability to implement cultural programs
             across all Tribal communities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:




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             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.


             Project #: BGCE-TRB4


             Project Title: Traditional Healing Pilot Project                         Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG
             Scope:
             The Health Care Authority will contract with the Seattle Indian Health Board (SIHB) to (1) document best
             practices (including practice and administrative tools) for an Indian Health Care Provider (IHCP) to offer
             traditional healing/traditional Indian medicine (TIM) services, and (2) analyze the health outcomes and
             potential cost savings from offering Traditional Indian Medicine (TIM) services. TIM can serve individuals
             with SMI/SED and substances use disorder, alongside Western based strategies for the prevention,
             treatment, and recovery of SMI/SED/SUD. TIM can also help with SMI/SED/SUD prevention. The services
             may include storytelling, talking circles, drumming, sweat lodge, prayers, blessings (such as cleansing
             and smudging), etc. TIM services are provided by a community-verified practitioner of TIM. Please note
             that this grant will not pay for actual TIM services. The Seattle Indian Health Board (SIHB) deliver the
             following to the Health Care Authority:
                      1. Recommendations for billing, coding and reimbursement models for Traditional Indian
                      Medicine (TIM) services.
                      2. Analysis, recommendations, and examples of charting for Traditional Indian Medicine
                      (TIM)services and incorporation of charting into an Electronic Health Record (EHR).
                      3. Recommendations and analysis on best practices for incorporating Traditional Indian
                      Medicine (TIM) practitioners into integrated care teams.
                      4. Recommendation and analysis for privileging and credentialing standards of Traditional Indian
                      Medicine (TIM) practitioners and apprentices.
                      5. Evaluation and analysis of the health outcomes for individuals and populations receiving the
                      Traditional Indian Medicine (TIM) services. Measures could include:
                          x Number of services completed;
                          x Impacts on health outcomes;
                          x Policy analysis;
                          x Estimated costs of encounters;
                          x Cost benefit analysis;
                          x Comparison of the population that receives Traditional Indian Medicine (TIM) and the
                              population that does not;
                          x Comparison of patient’s perception of their health pre-Traditional Indian Medicine (TIM)
                              services and post-Traditional Indian Medicine (TIM) services, etc.

             These items will be submitted as separate reports and guidance documents that will be available for the
             Heath Care Authority, federal partners and other Indian Health Care Providers and Tribes in providing
             technical assistance on integrating Traditional Indian Medicine (TIM) into health programs with a focus
             on the treatment and recovery of Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).




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             The Washington Indian Health Care Improvement Act, passed by the state legislature in 2019, had three
             main goals:
                    1. Provide resources to ensure the highest possible health status of American Indians/Alaska
                    Natives (AI/AN) in Washington;
                    2. Raise the health status of American Indian/Alaskan Native (AI/AN); and
                    3. Ensure tribal self-determination in the areas of health care services.

             One recommendation coming out of the Act was the expansion of traditional Indian medicine (TIM). This
             project helps the Health Care Authority to honor this key recommendation. Traditional Indian Medicine
             (TIM) services provide unparalleled support for American Indian/Alaskan Natives individuals struggling
             with severe mental illness or severe emotional disturbances and Western medicine has proven to not be
             appropriate for treatment and recovery supports for these American Indian/Alaskan Native (AI/AN)
             individuals. The anticipated outcome is documentation of positive health outcomes for individuals
             receiving Traditional Indian Medicine (TIM) and guidance to other Indian Health Care Providers (IHCP)
             on how to incorporate Traditional Indian Medicine (TIM). If not approved, we will continue to have a
             lack of literature available to demonstrate positive health outcomes or cost saving of these services for
             American Indian/Alaskan Native (AI/AN) and therefore, continue to struggle in finding sustainable
             funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The WA State Department of Health has found that American Indian/Alaska Native (AI/AN) overdose
             fatality rates have gone up 154% during the COVID pandemic. There is a known gap in the provision of
             culturally appropriate services for American Indian/Alaskan Natives (AI/AN) in the state of Washington
             and at a national level. Tribes and Indian Health Care Providers (IHCPs) are the experts in providing
             culturally appropriate services; however, Traditional Indian Medicine (TIM) does not have a sustainable
             funding mechanism. There are many evidence-based practices (EBP) available for Mental Health
             services; however, there are limited studies with American Indian/Alaskan Natives (AI/AN). Tribes and
             Indian Health Care Providers (IHPCs) find that implementing Evidence-Based Programs do not always
             work for American Indian/Alaskan Native (AI/AN) individuals and Tribal communities. This project will
             seek to develop evidence related to the efficacy of Traditional Indian Medicine (TIM) services for
             American Indian/Alaskan Natives (AI/AN) suffering from severe emotional disturbance orsevere mental
             illness.

             This project directly addresses Diversity, Equity and Inclusion (DEI) principles by providing support for
             Traditional Indian Medicine (TIM) and integration with clinically based health care. For decades, the
             response to Traditional Indian Medicine (TIM) is there is a lack of clinical data associating Traditional
             Indian Medicine (TIM) with better health outcomes. This pilot project will provide guidance around
             integration of Traditional Indian Medicine (TIM) and clinically based primary care and preliminary data
             to build the case for Traditional Indian Medicine (TIM). The intent is to provide foundational research
             and evidence that will support a request for sustainable Medicaid reimbursement for Traditional Indian
             Medicine (TIM).




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             Crisis Set-Aside Projects Detail

             Project #: BGCE-ASO2


                                                                                        Proposed Budget: $1,346,000

             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services provided 24
             hours a day, seven days a week including crisis call line, evaluation and treatment services for
             Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient services,
             crisis stabilization services, Employment and Training (E&T) services, and services for the priority
             populations defined per Contract. Services also include 24-hour-a-day emergency care services, mobile
             crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that




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             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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                                                    Washington


                                    COVID-19 Supplemental Funding Plan for FY21



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID Supplemental Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021 to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential COVID-19 relief
             supplemental funding to address principles focused on recovery needs, support for the behavioral health
             workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment services.
             The budget summary, on the following pages, provides the detailed amounts allocated across the
             continuum of behavioral health services through a wide variety of projects, treatment funds provided
             through our Behavioral Health Administrative Service Organizations (BH-ASO’s) and Tribes. WA Health
             Care Authority, with input from partners, including the Behavioral Health Advisory Council, respectfully
             submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others). Input on the proposals was received at the end of the event, which
             helped to inform the direction, as well as solidify the allocations to each section and confirm what
             flexibilities to seek within the application for these COVID-19 relief supplemental funds. In addition to
             waiver flexibilities, the Health Care Authority may also require some flexibility to move allocations from
             one proposal, to another, within those in this application, in the event a particular proposal is particularly
             successful and requires funding allocation from another proposal which may not require the entire
             allocation presented in this application.




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             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of First Episode Psychosis, Treatment, Recovery Support
             Services and Crisis Services. In the pages that follow, a longer project narrative will include the project
             title, budgeted amount, a description, or scope of work summary, as well as a narrative of how the
             project addresses state needs and gaps, especially gaps in equity.

             WA is grateful to SAMHSA for the opportunity to apply for the COVID-19 relief supplemental funds, as this
             has been an unprecedented year of extreme stressors to the most vulnerable among us, and the funding
             will undoubtedly support those persons at greatest risk, as well as those who seek support in treatment
             and ongoing recovery.



             Project List and Budget Table


               FEP Set-Aside

               Project #      Project Title            Project Description                             Proposed Budget



                                                       Develop and adapt evidence based
               Project
                                                       coordinated specialty care programs for
               #: BGCE-       Rural and AI/AN Pilot    FEP to meet the needs of rural, frontier
               CYF7           Project for FEP          and AI/AN communities.                          $      2,307,000
                                                                             Total FEP Set-Aside       $    2,307,000


               Treatment
               Children, Youth and Family Treatment Funding

               Project #      Project Title            Project Description                             Proposed Budget
                                                       Developing Wraparound and Intensive
                              Developing               Service (WISe) workforce to support
                              Wraparound and           youth with Intellectual
               Project
                              Intensive Services       Disabilities/Developmental Disabilities
               #: BGCE-       (WISe) Workforce         (including Autism Spectrum Disorder
               CYF2           Support                  (ASD).                                          $        200,000
                                                        Trauma Focused Cognitive Behavioral
                                                       Therapy (CBT) Training for clinicians
               Project
                          Trauma Focused               serving children and youth returning to
               #: BGCE-   Cognitive Behavioral         school as part of the triage process post
               CYF5       Therapy Training             screening.                                      $        376,671
               Adult Treatment Funding




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                                                       Expansion of current contract to deliver
                                                       Cognitive Behavioral Therapy for
               Project
                                                       Psychosis to a cohort of clinicians who are
               #: BGCE-       Cognitive Behavioral     serving people on 90/180 involuntary civil
               MHA1           Therapy for Psychosis    commitment orders.                            $      130,000
                                                 Modify curriculum of Trauma Informed
               Project
                                                 Care training specifically for Designated
                              Trauma Informed Care
               #: BGCE-                          Crisis Responders to incorporate the skills
                              for Designated Crisis
               MHA2           Responders         into their practice.                                $       50,000
                                                 Develop a curriculum for a 100-hour
                                                 course for Mental Health (MH)
                                                 professionals to secure credentials to
                                                 become an Older Adult Mental Health
                                                 Specialist, Intellectual Disabilities
               Project
                                                 /Developmental Disabilities (ID/DD)
               #: BGCE- Mental Health Specialist Mental Health Specialist, and Ethnic
               MHA3      Training                Minority Mental Health Specialist.                  $      396,329
               BH-ASO Treatment Funding



                                                       The community mental health services
                                                       provided include but are not limited to
                                                       outpatient services, including specialized
                                                       outpatient services for children, the
                                                       elderly, individuals with a serious mental
                                                       illness, residents of the service areas who
                                                       have been discharged from inpatient
                                                       treatment at a mental health facility, day
                                                       treatment or other partial hospitalization
                                                       services, psychosocial rehabilitation
                                                       services, outreach to and services for
                              Behavioral Health        individuals who are homeless, at risk of
               Project
                              Administrative Service   homelessness, or ready for discharge
               #: BGCE-       Organization (BH-ASO)    from inpatient psychiatric care, and
               ASO2           Treatment Funding        individuals residing in rural areas.          $    6,150,372
                                                                               Total Treatment       $   7,303,372


               Recovery Support Services

               Project #      Project Title            Project Description                           Proposed Budget




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                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                              Participant Support        Treatment Services for people
               Project
                              Funds- Housing and         experiencing homelessness, medications,
               #: BGCE-       Recovery through Peer      coordination with primary care, case
               RSS1           Services (HARPS) teams     management etc.                              $       50,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                              Participant Support        outreach workers, Assertive Community
                              Funds- Projects for        Treatment Services for people
               Project
                              Assistance in Transition   experiencing homelessness, medications,
               #: BGCE-       from Homelessness          coordination with primary care, case
               RSS2           (PATH) teams               management etc.                              $      140,000
                                                         Mental Health Block Grant (MHBG) funds
                                                         could be used to support case managers,
                                                         outreach workers, Assertive Community
                                                         Treatment Services for people
               Project
                                                         experiencing homelessness, medications,
               #: BGCE-       Participant support        coordination with primary care, case
               RSS3           Funds - Peer Bridger       management etc.                              $      100,000
                              Certified Peer
               Project
                              Counselor (CPC) Online
               #: BGCE-       Continuing Education       Create online Certified Peer Counselor
               RSS7           Bank                       (CPC) continuing education trainings.        $       50,000
                              Foundational
                              Community Support
                              Supported
                              Housing/Supported          Creating a Supported Housing (SH) fidelity
               Project
                              Employment (SH/SE)         certification development/Individual
               #: BGCE-       'fidelity reviewer         Placement and Support (IPS) certification
               RSS8           certification'             through Westat.                              $       50,000
                              Community Work             Training for Foundational Community
                              Incentive Coordinator      Support service providers to become
                              (CWIC) training and        Community Work Incentive Coordinator
               Project
                              staffing costs for a       (CWIC) trained - https://vcu-
               #: BGCE-       provider to attend the     ntdc.org/training/introductory/introindex
               RSS9           training                   .cfm                                         $       50,000
               Project
               #: BGCE-       Intentional Peer           Train Certified Peer Counselors in
               RSS10          Support Training           Intentional Peer Support.                    $      150,000
                              Adding a Peer to           Targeted peer outreach on Project for
                              Projects for Assistance    Assistance in Transition from
               Project
                              in Transition from         Homelessness (PATH) teams focusing on
               #: BGCE-       Homelessness (PATH0        a by-name list of individuals who have
               RSS12          Outreach Teams             had multiple contacts with crisis system.    $    1,120,000




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               Project
                              Creating a Behavioral
               #: BGCE-       Health (BH) Housing       Inventory of all the housing needs of the
               RSS13          Action plan               Behavioral Health (BH) population.           $       15,000
               Project
                              Creating a housing        Provide timely information for individuals
               #: BGCE-       inventory/estimator/cal   with behavioral health conditions to
               RSS14          culator                   access housing services and resources.       $      150,000
               Project
               #: BGCE-                                 Extract data out of the peer credential
               RSS15          Peer Dashboard            data system to have a dashboard.             $      100,000
                              White
                              paper/Toolkits/Medicai
               Project
                              d Academy for Peer        Creating a white paper on Community
               #: BGCE-       Run-Peer Operated         Behavioral Health Associate (CBHA) Lite
               RSS17          Agencies                  licensing.                                   $       15,000
                              Foundational
                              Community Support -
               Project
                              Converting Current        Convert Foundational Community
               #: BGCE-       Training to Online        Support training to online training
               RSS18          Training Modules          modules.                                     $       50,000
                              Cover Foundational        Utilize block grant funds that would cover
                              Community Support         Foundational Community Support
                              Services in Institution   services for people transitioning out of
               Project
                              for Mental Disease        Institution for Mental Disease (IMD)
               #: BGCE-       (IMD) when Medicaid is    settings if Medicaid does not get
               RSS19          Suspended                 retroactively reconnected.                   $      500,000


               Project
               #: BGCE-       Peer Wellness Coach       Peer Wellness Coach continuing
               RSS20          Training                  education curriculum developed.              $       15,000
               Project
                                                        De-escalation, mediation, basic grief
               #: BGCE-       Training for Oxford       counseling training for 10 Oxford
               RSS22          Outreach Staff            outreach staff.                              $       20,000
                                                        Mental Health Block Grant (MHBG) &
                                                        Substance Abuse Block Grant (SABG)
                                                        funds could be used to support case
                                                        managers, outreach workers, Assertive
                                                        Community Treatment Services for
               Project
                              Participant Engagement    people experiencing homelessness,
               #: BGCE-       Kits for Youth -          medications, coordination with primary
               RSS23          Mockingbird               care, case management etc.                   $       35,000




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                                                         Enhance jail transition programs with
                                                         SUD peers services to individuals who
                                                         upon release will be homeless. SUD Peer
                              Peer Pathfinders           Services begin prior to release to
               BGCE-          Transition from            establish relationship and upon release to
               RSS24          Incarceration Pilot        support the transition to needed services.   $          790,000
                              Add Co-Occurring Peer
                              to Forensic-Housing        Add 1 peer to each of the four Forensic-
                              Housing and Recovery       Housing Housing and Recovery through
               BGCE-          through Peer (F-HARPS)     Peer Services (F-HARPS) in Phase I
               RSS25          Services                   regions.                                     $          400,000
                                                         Create an operationalizing Peer Bridger
               Project
                                                         program for hospitals, Substance Use
               #: BGCE-       Operationalizing Peer      Disorder (SUD), and Treatment (TX)
               RSS32          Bridger                    agencies.                                    $           25,000
               Project
                              Create a Dashboard on      Public facing dashboard/Marketing on
               #: BGCE-       Healthcare for Workers     the number of people using the Medicaid
               RSS33          with Disabilities (HWD)    buy-in program.                              $          100,000
               Project
               #: BGCE-       Implicit Biased Training   Braid funding with Commerce to create a
               RSS35          for Landlords              training for landlords.                      $           10,000
                                                         Helping individuals with the creation of a
                                                         Supplemental Security Income/Social
               Project
                              Funding for SSI/SSDI       Security Disability Insurance (SSI/SSDI)
               #: BGCE-       Outreach, Access, and      outreach access and recovery community
               RSS36          Recovery (SOAR) Leads      coordinators.                                $          500,000
               BGCE-          Enhance Mobile Crisis      Pilot enhancements to mobile crisis
               RSS41          Teams with CPCs            teams by adding CPCs to existing teams.          $      1,909,000
                                                               Total Recovery Support Services        $       6,344,000


               Tribal

               Project #      Project Title              Project Description                          Proposed Budget




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                                                          Provide grants to 29 federally recognized
                                                          Tribes and two Urban Indian Health
                                                          Organizations to deliver Substance Use
                                                          Disorder (SUD) prevention, treatment,
               Project
                              Grants to Tribes and        Opioid Use Disorder (OUD) intervention
               #: BGCE-       Urban Indian Health         and recovery support services within
               TRB3           Organizations               their Tribal communities.                      $      861,000
                                                          Indian Health Care Provider (IHCP) to
                                                          offer traditional healing/traditional Indian
                                                          medicine (TIM) services and analyze the
               Project
                                                          health outcomes and potential cost
               #: BGCE-       Traditional Healing Pilot   savings from offering Traditional Indian
               TRB4           Project                     Medicine (TIM) services.                       $      100,000
                                                                                        Total Tribal     $    961,119


               Crisis Set-Aside

               Project #      Project Title               Project Description                            Proposed Budget
                              Behavioral Health
                              Administrative Service      Services include 24-hour-a-day
               Project
                              Organization (BH-ASO)       emergency care services, mobile crisis,
               #: BGCE-       Treatment Funding -         crisis line, and Designated Crisis
               ASO2           Crisis Services             Responders (DCR) services.                     $    1,346,000
                                                                             Total Crisis Set-Aside      $   1,346,000




               TOTAL SABG Covid Supplement Budget
                                                                                    FEP Set-Aside        $    2,307,000
                                                                                        Treatment        $    7,303,372
                                                                        Recovery Supports Services       $    6,344,000
                                                                                              Tribal     $      961,000
                                                                                   Crisis Set-Aside      $    1,346,000
                                                                                   Administrative        $      961,000

                                                                                       Total Budget      $ 19,222,372




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             First Episode Psychosis Project Detail


             Project #: BGCE-CYF7

             Project Title: Rural and AI/AN Pilot Project for FEP                  Proposed Budget: $2,307,000

             Scope:
             Develop and adapt evidence based coordinated specialty care (CSC) programs for first episode psychosis
             (FEP) to meet the needs of rural, frontier and AI/AN communities. The project would be to help to
             develop a rural and /or Tribal New Journeys/CSC model, to evaluate it, and broadly disseminate the
             results to inform future program development. Other states are also interested in figuring out how to
             develop CSC services in rural areas and Tribal communities. There could be great value in collaborating
             with partners in other states on this (they would fund their own program development) and could help
             to define rural and AI/AN CSC in other parts of the U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation is essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early
             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.



             Treatment Projects Detail

             Children, Youth and Family

             Project #: BGCE-CYF2




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             Project Title: Developing WISe Workforce Support                          Proposed Budget: $200,000

             Scope:
             Developing Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder
             Three lead Wraparound and Intensive Services (WISe) behavioral health agencies will plan and
             implement the project informed by local needs with logistical oversight provided the Wraparound and
             Intensive Services (WISe) Workforce Collaborative/En Route. A training component will be provided by
             Seattle Children’s Autism Center and offered to a total of five (5) Behavioral Health agencies. The
             proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the Health Care Authority and Developmental Disabilities
             Administration (DDA) convened Wraparound and Intensive Services (WISe) and Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD) workgroup or
             Project Echo sessions. This allows the project to build more directly on the knowledge and efforts
             already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with Intellectual
             Disabilities/Developmental Disabilities (ID/DD) and Autism Spectrum Disorder (ASD).

             Wraparound with Intensive Services (WISe) provides intensive home and community based mental
             health services to Medicaid eligible children and youth, in compliance with Title XIX of the federal Social
             Security Act. WISe is available for children and youth 20 years of age or younger who have a serious
             mental illness.

             To receive WISe a child or youth is 1) Medicaid eligible, 2) has a mental health diagnosis and 3) meets
             the WISe screening algorithm. The WISe screen is to help determine if the youth needs this intensive
             level of outpatient care.

             By design, WISe is a service delivery model for children and youth with the most complex mental health
             challenges in Washington state. WISe provides individualized, culturally competent services that strive
             to keep youth with intense mental health needs safe in their own homes and communities, while
             reducing unnecessary hospitalizations. WISe offers a higher level of care through these core
             components:

                   x   The Time and Location of services: WISe is community-based. Services are provided in locations
                       and at times that work best for the youth and family, such as in the family home and on
                       evenings and weekends.




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                  x    Team-based Approach: Each WISe team includes youth, family members, a WISe care
                       coordinator, a therapist, a Certified Peer Counselor, includes natural supports and members
                       from other child-serving systems when they are involved in a youth’s life.
                  x    Help during a crisis: Youth and families have access to crisis services any time of the day, 365
                       days a year. Youth receive services by individuals who know the youth and family’s needs and
                       circumstances, as well as their current crisis plan.


             Intensive services provided in WISe include but are not limited to:

                  x    Individual treatment services
                  x    Family therapy services
                  x    Psychiatric medication services
                  x    Crisis mental health services—Outreach services
                  x    Recovery support—Wraparound facilitation services
                  x    Peer support services


             References:

                  x    The program, policy and Procedure manual can be found here WISe Manual and the WISe
                       screening algorithm is available on page 75
                  x    WISe meets the criteria established in the Children’s Mental Health Lawsuit under obligations
                       set forth in the T.R. Settlement Agreement
                  x    HCA WISe webpage


             Addressing State Needs and Gaps, Including Gaps in Equity:
             During COVID the increased need of trained staff to provide stabilization support for youth in
             Wraparound and Intensive Services (WISe) with Intellectual Disabilities/Developmental Disabilities
             (ID/DD) including Autism Spectrum Disorder (ASD) has become apparent. The concern identifying the
             need for additional training has been expressed by caregivers, behavioral health agency staff and allied
             system partners. Our behavioral health workforce is often times generalists by education and don't have
             the training to best support youth with Autism Spectrum Disorder (ASD) and their families. This funding
             would provide the training support and consultation to five behavioral health agencies as well as
             enhance community coordination in three regions for youth enrolled in Wraparound and Intensive
             Services (WISe) with Intellectual Disabilities/Developmental Disabilities including Autism Spectrum
             Disorder.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.




             Project #: BGCE-CYF5




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             Project Title: Trauma Focused Cognitive Behavioral Therapy Training       Proposed Budget: $376,671

             Scope:
             Provide training in Trauma Focused-Cognitive Behavioral Therapy (RF-CBT) to clinicians serving children
             and youth returning to school as part of the triage process post screening as a part of the recommended
             Department of Health fast response plan to help meet the needs of children and youth returning to
             school following the Governor's proclamation that in person options are required as of April 1, 2021.
             This will serve youth who indicate trauma exposure in the screening process (SED). This is following the
             Sonoma model, and will further enhance the clinical interventions available to children and youth across
             WA in the long run.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth over the past year regarding mental health impact
             are expected to surface as children youth and families begin the transition to in person education. This
             proposal meets an identified need in the plans to date that matches the requirements of this funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength-based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




             Adult Treatment

             Project #: BGCE-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis                 Proposed Budget: $130,000

             Scope:
             This project will expand upon our current contract with the University of Washington's Supporting
             Psychosis Innovation through Research, Implementation and Training (SPIRIT) Lab to deliver Cognitive
             Behavioral Therapy for Psychosis to a cohort of outpatient and inpatient clinicians from selected




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             contracted community-based sites who are serving people receiving 90/180 involuntary civil
             commitment orders. This Evidence Based Practice (EBP) helps people living with psychosis achieve a
             level of self-management that has shown great success, supporting individuals and their families in the
             community.

             Many of the people on these long-term involuntary commitments experience psychosis so this Evidence
             Based Practice is a good fit for the needs of this population. We will train two cohorts of clinicians- each
             cohort containing staff from an inpatient setting serving people on 90/180 involuntary civil commitment
             orders and a corresponding outpatient behavioral health agency that treats these individuals upon
             discharge- or may have treated the individual prior to admission. This will allow the skills learned in
             either setting to be supported and reinforced in the other setting. The plan it to first train the clinicians
             to a level of competency such that they then can be trained to supervise others with the model. It
             would then broaden to be delivered in group treatment and then be the model of treatment across the
             milieu for those in inpatient settings. We believe that this implementation plan should have good
             sustainability for these sites.

             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate Evidence Based Practice should assist this population in better
             managing their symptoms and reduce their need for further involuntary or inpatient treatment. This
             recovery-based model supports both the individual and their family which should help individuals to
             successfully remain in the community.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training our Behavioral Health workforce in Cognitive Behavioral Therapy (CBT) for Psychosis will help
             empower individuals living with psychosis to better manage symptoms that interfere with their ability to
             live their lives in the community. The Behavioral Health workforce needs enhanced tools to treat
             psychosis beyond simply medication alone. This evidence-based practice is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about Cognitive
             Based Therapy (CBT) for Psychosis and its success rate. Additionally, the facilities that have begun to
             take individuals on long term orders have reported a need for more enhanced programming for this
             population and it is important to provide continuity of care, including support for skills development,
             across care settings.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.




             Project #: BGCE-MHA2


             Project Title: Trauma Informed Care for Designated Crisis Responders       Proposed Budget: $50,000




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             Scope:
             Modify curriculum of Trauma Informed Care Training specifically for Designate Crisis Responders so that
             Designated Crisis Responders (DCR) can incorporate the skills into their practice. Conducting involuntary
             treatment investigations can be innately traumatizing. Incorporating trauma informed techniques into
             the Designative Crisis Responder (DCR) skill set can help make the investigations less traumatizing, and
             hopefully minimize long term trauma from the involuntary treatment process.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently no trauma informed care training specific to the work Designative Crisis Responders
             do. Involuntary Treatment Act (ITA) evaluations can be traumatizing for the people performing the
             evaluation. To minimize the impact to the Designated Crisis Responders, the individuals being evaluated
             and the system as a whole, this training is immediately necessary.

             Individuals in BIPOC communities and those with serious behavioral health issues are more likely to have
             encounters with law and healthcare systems that result in furthering trauma. The trauma that effects
             the individual being evaluated also impacts the person doing the evaluation. Proper training can help
             improve the interactions between Designated Crisis Responders, law enforcement and individuals
             receiving treatment. This will assist in more sustainable recovery for every individual, and a system
             prepared to support those in need.


             Project #: BGCE-MHA3


             Project Title: Mental Health Specialist Training                          Proposed Budget: $396,329

             Scope:
             Develop curricula for a 100-hour course for Mental Health Professionals who provide treatment services
             to individuals with SMI or SED to secure credential to become an Older Adult Mental Health Specialist,
             Intellectual Disabilities/Developmental Disabilities (ID/DD) Mental Health Specialist, and Ethnic Minority
             Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health Outpatient (OP)
             treatment. Training curricula will focus on recognizing unique needs of these populations, clinical best
             practices, understanding of the community resources and partners when working with these
             populations, the role of Mental Health Specialist and how to provide clinical consultation, cultural
             humility, and other relevant information specific to each demographic.

             The Division of Behavioral Health and Recovery (DBHR) has not sponsored Mental Health Specialists
             academies for almost ten years and as such, there are significant workforce shortages in specialists
             trained and credentialed to work with the older adult population, individuals with intellectual and
             developmental disabilities, and ethnic minorities. Each of these populations has unique needs or
             considerations that impact care and the behavioral health workforce needs additional training and
             supports in order to meet their needs. The overall intent is to provide better care for clinicians who
             provide services to SMI and SED populations.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for mental health professionals trained and sufficiently
             skilled to work with older adult population is more critical than ever. The current workforce requires




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             specialized skills and knowledge to better support BIPOC populations and people with Intellectual
             Disabilities/Developmental Disabilities. This is a work force shortage that must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: BGCE-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding
             Proposed Budget: $6,150,372

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI) or
             Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to




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             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




             Recovery Support Services Projects Detail

             Project #: BGCE-RSS1




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             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams
                              Proposed Budget: $50,000
                                                                                    *Additional $50,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the HARPS program
             to assist individuals who are transitioning from inpatient settings to the community. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.

             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The Housing and Recovery through Peer Support (HARPS) priority population is unable to earn wages
             while involved with inpatient treatment and is unlikely to have savings to secure housing upon
             discharge. Additionally, many participate intensive outpatient treatment which limits the amount of
             time to earn wages to afford housing, as well as other necessities to stay engaged in treatment and
             recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




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             Project #: BGCE-RSS2


             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams                     Proposed Budget: $140,000

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in the homeless
             outreach teams to assist individuals who are seriously mentally ill and not engaged in treatment.
             Expenses could include but not limited to transportation costs, PPE and items needed to support their
             recovery.

             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with




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                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional Disturbance
                       (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants with serious mental
             illness who are transitioning from inpatient settings to the community. Expenses could include but not
             limited to transportation costs, PPE and items needed to support their recovery.

             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS7


             Project Title: Certified Peer Counselor (CPC) Online Continuing Education Bank
                     Proposed Budget: $50,000
                                                                                      *Additional $50,000 SABG

             Scope:




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             This funding would be used to create online Certified Peer Counselor (CPC) continuing education
             trainings. The trainings could include Wellness Recovery Action Plans (WRAP), Crisis Plans, Suicide
             Prevention, cultural awareness, and others. The goal is to great online learning bank for Certified Peer
             Counselors where they can access continuing education trainings on demand.

             These trainings would be accessible for all certified peer counselors in Washington and the knowledge
             gained will improved peer services provided in Washington. Traditionally Certified Peer Counselors
             (CPCs) continuing education trainings have been funded by DBHR, during the past year we have had to
             reallocate funding to meet the needs of the Certified Peer Counselor workforce by increasing our core
             Certified Peer Counselor (CPC) trainings. These online trainings will be able to be accessed by peers
             across the state no matter where they reside or work and removing barriers to access. If unfunded, this
             training will not be available in the state or will be out of reach financially for most Certified Peer
             Counselors (CPCs).

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD).
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. Continuing education for certified peer counselors is always requested
             and providing these trainings in a virtual format will make the trainings more accessible to peers in all
             areas of the state.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS8


             Project Title: Foundational Community Support (FCS) Supported Housing/Supported Employment
             (SH/SE) Fidelity Reviewer Certification
             Proposed Budget: $50,000
                                                                                   *Additional $50,000 SABG
             Scope:
             Intensive Trainings for Foundational Community Supports (FCS) providers to increase their
             skills/trainings on SAMSHA Permanent Supportive Housing (PSH) Fidelity Reviews and Individual
             Placement and Support (IPS) Support Employment Fidelity Reviews.




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             Washington State Foundational Community Support programs uses two evidence-based models-
             SAMSHSA Permanent Supportive Housing and WESTAT/Rockville Institutes Individual Placement and
             Support Supported Employment Model. To ensure high quality standards and fidelity to these models,
             Foundational Community Support (FCS) providers participate in fidelity reviews. This funding will allow
             Foundational Community Support provider to participate in intensive training to able to provide high
             quality fidelity reviews and ensure compliance with the evidenced based practices.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement and Support
             (IPS) model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement and Support (IPS) services
             resulted in significant rates of employment, as much as 3 times as many people successfully achieving
             competitive employment as compared to individuals not receiving Individual Placement and Support
             (IPS) services. Employment has many positive impacts on the mental health and wellbeing of individuals
             with psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement and Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS9


                                                                                      Proposed Budget: $50,000




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             Project Title: Community Work Incentive Coordinator (CWIC) Training and Staffing Costs

             Scope:
             This project proposes to use MHBG funds to cover Staff training costs for community behavioral health
             agencies to become Community Work Incentive Coordinators. Nothing provides 'hope' more than
             believing that people can work but addressing an individual’s concerns about how working affects their
             governmental benefits is key to implementing the evidence-based practice model called Individual
             Placement and Support. Benefits counseling is one of the core principles of providing this EBP model.

             Washington State’s Foundational Community Supports (FCS) supported employment providers serve
             individuals using the Evidence Based Practice of Individual Placement and Support, the program
             developed and managed by Westat Rockville Institute. Washington state legislature mandated the use
             of evidence based or promising practices when Foundational Community Support (FCS) was approved.
             The intent is for the service to be statewide and in order to positively impact sustainability, services
             should be provided to fidelity in order to achieve the greatest outcomes. An important element of the
             principles of Individual Placement and Support is the education of job seekers of how income may
             impact federal and state benefits and entitlements. There is currently not the bandwidth in
             Washington’s State to provide work incentive education and planning to enroll individuals in the
             Foundational Community Support system. The proposal is to send Foundational Community Support
             (FCS) agency staff from agencies to enroll in webinars to learn the foundational knowledge of Social
             Security work incentives, and to secure certification training for select agency staff at behavioral health
             organizations in Western and Eastern Washington State. This initiative will greatly increase the number
             of benefit practitioners to education and support job seekers in the transition to competitive
             employment, attain self-sufficiency while decreasing reliance on public entitlement programs. The
             Institute on Employment and Disability in Cornell University's Industrial and Labor Relations School
             training also has a credentialling option that provides a pathway to be recognized as an accredited work
             incentive planner. Work incentives pave the way to work and financial independence for recipients of
             public benefits. This training will provide essential insight into how the complex mix of work incentives,
             critically needed benefits, and earnings can be explained to an individual with a disability to encourage
             both work and financial independence.

             There is a critical need for the training of benefit education planners in Washington State. The
             Foundational Community Support (FCS) program has 162 providers with 458 service location, with an
             enrollment of over 3,000 individuals. the availability of agency staff with foundational knowledge and
             access to certified benefit planners is crucial to provide support to enrolled participants and learn how
             earned income can impact entitlement benefits. These training opportunities will provide staff essential
             tools to assist job seekers to reach their individual goal of self-sufficiency. The implementation and
             practices of the Individual Placement Support (IPS) supported employment model are expanding in
             Washington State, and the critical need to adequately prepare agency staff of benefit planning
             curriculum is essential for overall long-term success. The certification training through the Institute on
             Employment and Disability in Cornell University's Industrial and Labor Relations School will prepare
             agency staff to support enrolled participants to develop a clear, comprehensive, and actionable report
             of an individual’s financial situation and how to maximize self-sufficiency trends. There is not currently a
             more viable way to increase skills of agency staff and to increase the numbers of certified benefit
             planners.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             The Foundational Community Support Program is built upon evidenced based practices of SAMHSA and
             the Westat Rockville Institute to implement supported employment practices that are effective. The
             principles of these evidence-based practices (EBP) encompass the idea of a holistic, person centered
             approach, which is all inclusive and embraces zero exclusion, access to an individual's choice of services.
             The struggles of poverty and self-sufficiency negatively impact communities of people of color
             disproportionately. The implementation of based practices accelerates the positive impact on social
             determinants of health in urban and rural communities. Services are provided are inclusive of all who
             need them and targeted to individuals with a wide range of disabilities.


             Project #: BGCE-RSS10


             Project Title: Intentional Peer Support Training                          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             These funds will be used to train Certified Peer Counselors in Intentional Peer Support. These trainings
             will be provided either in person or in a virtual format depending on physical distancing requirements.
             Priority for these training will be Certified Peer Counselors (CPCs) who work on the following teams Peer
             Bridgers, Housing and Recovery through Peer Services (HARPS), Forensic Housing and Recovery through
             Peer Services (HARPS), Projects for Assistance in Transition from Homelessness (PATH), Forensic Projects
             for Assistance in Transition from Homelessness (PATH), Peer Pathfinders, and Foundational Community




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             Support (FCS) teams. The training will be opened up to additional Certified Peer Counselors (CPCs) when
             space is available. This funding will also be used to provide travel supports for participants.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors (CPCs)
             are effective in increasing recovery outcomes in mental health and Substance Use Disorder. Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (EDI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS12
                                                                                       Proposed Budget: $1,120,000


             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disorder (SMI/SED).

             Scope:
             Proposed funds will add one peer counselor to each of the current Projects for Assistance in Transition
             from Homelessness (PATH). Project for Assistance in Transition from Homelessness (PATH) programs
             assist individuals in accessing housing, mental health services, substance abuse treatment, disability
             benefits, and other services to stabilize them and facilitate recovery. Each agency will be required to hire
             and onboard a new peer counselor to expand outreach and engagement services for individuals with a
             serious mental illness (SMI) and homeless or at risk of homelessness. Projects will work closely with
             BHASO's, Managed Care Organization's (MCO’s) and Crisis stabilization centers to create a referral flow
             and coordination of services.




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             The proposed expansion of adding one additional Projects for Assistance in Transition from
             Homelessness (PATH) peer counselor to each of the Projects for Assistance in Transition from
             Homelessness (PATH) teams will allow agencies to expand needed outreach and engagement efforts.
             The proposed funds will enhance the quality of program delivery and engagement and expand critical
             crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




             Project #: BGCE-RSS13


             Project Title: Creating a Behavioral Health Housing Action Plan           Proposed Budget: $15,000
                                                                                       *Additional $15,000 SABG

             Scope:
             In 2007, the Mental Health State Transformation Initiative generated a Housing Action Plan. The
             Housing Action Plan conducted an inventory of affordable housing for people with serious mental
             illness, set a philosophical approach for Housing First principles and identified action steps to improve
             affordable housing. This proposal seeks to update the Housing Action Plan to include people with
             substance use disorders.

             Washington is experiencing a significant housing crisis. Individuals with behavioral health conditions
             experience homelessness at a significant rate. The development of a housing action plan will create a
             north star for the behavioral health system to pursue partnerships to create and develop affordable
             housing.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will identify and analyze the needs and gaps for affordable housing for the behavioral health
             population. It will develop an action plan to meet the affordable housing needs of individuals with both
             mental health and substance use disorders.




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             The Behavioral Health Affordable Housing Action plan will analyze the impacts of homelessness on the
             BIPOC population. According to Research and Data Analysis, individuals experiencing homelessness are
             more likely to be African American or Alaska Native/American Indians (Ford-Shah, M., 2012)



             Project #: BGCE-RSS14


             Project Title: Creating a Housing Inventory/Estimator/Calculator          Proposed Budget: $150,000
                                                                                       *Additional $150,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                    reduce risks of COVID-19 transmission.

             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This project will create an online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing. Based on a
             current algorithm currently housed in the Pathways to Employment Site, Research and Data Analysis will
             create a housing version for the Pathways to Housing site.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.




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             Project #: BGCE-RSS15


             Project Title: Peer Dashboard                                            Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG

             Scope:
             This funding would be used to create a Dashboard for the Peer Support Program. This would enable the
             team to see data pulled from the Peer Support database on an easily accessible format. There is
             increased focus on the peer support program to meet the growing workforce needs. This dashboard
             would allow the Health Care Authority to have immediate access to data for updates to lawmakers and
             stakeholders. Without the dashboard the Peer Support Team and leadership would not have easily
             accessible data about the Peer Support Program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is a Behavioral Health workforce shortage in Washington and peer services are a growing
             workforce that can help to meet the Behavioral Health needs of our communities. The dashboard will
             allow the Division of Behavioral Health and Recovery easy access to data that could direct the Peer
             Support Program where to focus trainings where gaps are identified to increase the Certified Peer
             Counselor (CPC)workforce and the diversity of the Certified Peer Counselor workforce.

             Programs will ensure services and activities will be designed and delivered in a manner sensitive to the
             needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: BGCE-RSS17
                                                                                      Proposed Budget: $15,000
                                                                                      *Additional $15,000 SABG

             Project Title: White Paper/Toolkits/Medicaid Academy for Peer-Run Peer-Operated Agencies

             Scope:
             This funding would be used to create a white paper to explore strategies for peer run/peer operated
             agencies to become licensed community behavioral health agencies so that they will be able to bill
             Medicaid for peer services.

             This would provide technical assistance for clubhouse and consumer run organizations to become
             licensed providers and bill Medicaid for peer services. This will increase recovery support services to a
             larger portion of the state. Washington State supports several clubhouse programs using general fund
             dollars and SB 5328 is proposing that the state go farther in helping clubhouses gain access to Medicaid
             funds. This project aligns with the bill to assist those organizations to bill Medicaid.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. This
             would allow additional agencies to become licensed to provide peer services increasing the availability
             of Mental Health and Substance Use Disorder (SUD) peer services to a larger population. If unfunded,
             this technical assistance will not be available in the state and could delay agencies in getting licensed to
             provided peer services.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: BGCE-RSS18
                                                                                             Proposed Budget: $50,000
                                                                                             *Additional $50,000 SABG

             Project Title: Foundational Community Support (FCS) – Converting Current Training to Online Training
             Modules

             Scope:
             Foundational Community Supports (FCS) provides supported employment and supportive housing
             services across the state of Washington with over 160 agencies contracted to provide Foundational
             Community Support (FCS) services. The Division of Behavioral Health and Recovery (DBHR) has four full
             time trainers who provide technical assistance to Foundational Community Support (FCS) providers. The
             growth of Foundational Community Support (FCS) has increased the need for technical
             assistance/training and the Division of Behavioral Health and Recovery (DBHR) would like to convert
             some of the "stock" training that it provides to all new Foundational Community Support (FCS) providers
             to a virtual format. Creating online training modules of stock trainings currently provided in person will
             free up time for Foundational Community Support (FCS) trainers to provide more individualized,
             targeted, and intense technical assistance.

             This project is critical to maintaining and improving the quality of services provided by Foundational
             Community Support (FCS) providers. Focused, targeted, and high-level training ensures consistency and
             adherence to the evidence-based modules that Foundational Community Support uses. Currently, the
             Division of Behavioral Health and Recovery Foundational Community Support trainers are spending




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             much of their time delivering stock training to providers as they onboard new staff. This type of training
             could easily be provided in a virtual recorded format that would free up the Foundational Community
             Support (FCS) trainers time to provide more advanced targeted technical assistance to providers.
             Freeing up the Foundational Community Support (FCS) trainers time to focus on more targeted and
             nuanced technical assistance allows us to grow the quality of the Foundational Community Support
             program.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery. Being productive is a basic human need. Working can both be a
             way out of poverty and prevent entry into the disability system. The Individual Placement Support (IPS)
             model of supported employment is an evidence-based strategy that has utilized 28 randomized
             controlled trails that demonstrated implementing Individual Placement Support (IPS) services resulted in
             significant rates of employment, as much as 3 times as many people successfully achieving competitive
             employment as compared to individuals not receiving Individual Placement Support (IPS) services.
             Employment has many positive impacts on the mental health and wellbeing of individuals with
             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Expanding the philosophy of Individual Placement Support (IPS) supported
             employment, and improving the quality of training to direct staff, will maintain the trend of improved
             employment outcomes across all communities.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.



             Project #: BGCE-RSS19

                                                                                       Proposed Budget: $500,000
                                                                                       *Additional $500,000 SABG




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             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing
             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.


             Project #: BGCE-RSS20




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             Project Title: Peer Wellness Coach Training                                 Proposed Budget: $15,000
                                                                                         *Additional $15,000 SABG

             Scope:
             These funds would be used to bring either Peggy Swarbricks Wellness coaching or Pat Deegan's Person
             Medicine Coach certification training to Certified Peer Counselors. Pat Deegan's program can also bring
             a train the trainer to Washington so that we can training Certified Peer Counselors in Personal Medicine
             Coach training.

             This project will provide continuing education to certified peer counselors in Washington State around.
             The intended outcome is to increase the knowledge of certified peer counselors to even more
             effectively support the peers they serve. Both programs focus on increased health outcomes. If
             unfunded, this training will not be available in the state or will be out of reach financially for most
             Certified Peer Counselors.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is a workforce shortage of behavioral health workers. Certified Peer Counselors are
             effective in increasing recovery outcomes in mental health and Substance Use Disorder (SUD). Research
             shows peer support services improves engagement in increases hope by modeling recovery. Peer
             supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. If unfunded, this training will not be available in the state or will be out of reach financially for
             most Certified Peer Counselors. This continued education will provide information to better support
             people in whole health as we are moving to a more integrated approach to who person care.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices, and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS22


             Project Title: Training for Oxford Outreach Staff                           Proposed Budget: $20,000
                                                                                         *Additional $20,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             DBHR currently funds 10 outreach staff that provide support to the 300+ Oxford houses in Washington
             State. Individuals with co-occurring SMI and SUD diagnosis are recipients of the mutual support
             received within an Oxford house. This proposal is to fund training for the 10 outreach staff to better




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             support the individuals with co-occurring serious mental illness and substance use disorders. Training
             topics include but not limited to de-escalation, mediation, grief counseling etc.

             We would like to add funding for training Oxford House Outreach Workers. There have been too many
             deaths in the Oxford Houses since COVID-19 started due to isolation and the feelings of hopelessness
             which brings an increase in drug and fentanyl use and ultimately relapses and deaths. Therefore, there
             is a need for the 10 Oxford House Outreach Representatives to get trainings on de-escalation, grief and
             loss, relapse prevention, meditation, Dialectical Behavioral Therapy (DBT), and any other training that
             would benefit the Oxford House Representatives in helping the residents deal with their grief, losses and
             fears of relapse.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Oxford House Sober Recovery Homes fills a gap in the substance use disorder services continuum by
             establishing and maintaining self-run, self-supported peer-operated sober recovery homes. In
             adherence with United States Code, Title 42, Section §300X–25 Group Homes for Recovering Substance
             Abusers, the State Agency will utilize the Oxford House concept to increase sober recovery housing
             assistance opportunities for recovering individuals living together in a residential disciplined
             environment to maintain recovery without recurrence of use. This level of care includes the provision of
             a safe and affordable home, in a drug-free living situation to recovering individuals with the support of
             other peers in recovery, Contractor staff, and other supports and services in the community including
             mental health guidance from outreach representatives who are trained.

             Adult men and women completing residential treatment or are currently in outpatient treatment for
             substance use disorder, as well as those enrolled in recovery support, and opioid treatment services,
             who need a place to live and can meet the requirements for being a resident of a Recovery House.
             People leaving prisons and jails, Oxford House has a strong re-entry program with Department of
             Corrections (DOC) and does not discriminate on anyone's culture, race, or mores. Recovery housing will
             also include populations with a reported history of opioid use disorder (OUD) and opioid use.


             Project #: BGCE-RSS23


             Project Title: Participant Engagement Kits for Youth – Mockingbird       Proposed Budget: $35,000
                                                                                      *Additional $35,000 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).

             Scope:
             Per the SAMHSA letter dated March 11, 2021, States are encouraged to use the recently developed
             SAMHSA Crisis Services: Meeting Needs, Saving Lives report. According to that report, flexible funds to
             support staff who link people with serious mental illness or co-occurring SMI and SUD who are willing
             but not otherwise engaged with housing, treatment, and supports are considered a best practice
             example. This project would provide funds directly related to benefit participants in homeless outreach
             teams to assist individuals who are seriously mentally ill and not engaged in treatment. Expenses could
             include but not limited to transportation costs, PPE and items needed to support their recovery.




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             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness. The Youth Advocates
             Ending Homelessness in Washington state report an alarming number of youth experience mental
             health, substance use disorders and health crisis. This includes advocates that report individuals who are
             experiencing medical issues that may or may not receive medical treatment. The inability to care for
             wounds will likely cause more server health issues or worse. Proposing funding for Mockingbird
             Outreach for Homeless Hygiene and wound care kits such as hand sanitizer, antiseptic, rubbing alcohol,
             hydrogen peroxide, ointment, band aids, gauze, and pain relievers could make the difference.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Mockingbird Society of Washington report Homeless youth lack access to medical care and often go
             without essential hygiene and wound care items which are not covered by Medicaid.

             The Mockingbird Society creates, supports, and advocates for racially equitable, healthy environments
             that develop young people at risk of or experiencing foster care or homelessness.

             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000
                                                                                         *Additional $790,000 SABG

             Scope:
             This funding will add a Certified Peer Counselor to up to five existing BH-ASO contracts for jail transition
             services. Adding a Certified Peer Counselor to existing jail transition services teams will increase the level
             of services being provided, by having a CPC connect with the individuals while they are still in jail and
             helping them with transition to the community. The certified peer counselor will work with individuals
             diagnosed with a serious mental illness, linking them to behavioral health services, including co-
             occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail
             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals




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             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                               Proposed Budget: $400,000
                                                                                           *Additional $400,000 SABG
             Scope:
             These additional funds would allow the teams to hire another certified peer counselor for each Forensic
             HARPS team in the phase 1 regions. With this additional staff person, the teams would be able to
             increase caseload capacity. This position would also allow the Forensic HARPs teams to serve individuals
             diagnosed with serious mental illness or co-occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal




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             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.


             Project #: BGCE-RSS32


             Project Title: Operationalizing Peer Bridger                                Proposed Budget: $25,000
                                                                                         *Additional $25,000 SABG

             Scope:
             This funding will be used to create an Operationalizing Peer Support training for the peer Bridger
             program for jails, hospitals and Substance Use Disorder (SUD) treatment agencies. Operationalizing Peer
             Support trainings provide Technical Assistance (TA) to existing and new agencies who need support with
             their peer program or who want to implement peer services. This training would also be to provide
             technical assistance to the jails, hospitals and inpatient setting who will be collaborating with the peer
             Bridger program.

             As we transition the peer Bridger from providing services at the state hospitals into community-based
             hospitals and inpatient settings, technical assistance will be beneficial in the transition for the agencies,
             hospitals, and the peer Bridger program. If not approved, there will be confusion about the peer Bridger
             program and how to effectively utilize the services resulting in people not receiving these recovery
             support services. This could increase recidivism into an inpatient setting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             There is currently a shortage of behavioral health workers across Washington State. Research shows
             peer support services improves engagement in increases hope by modeling recovery. Peer supports
             have also been shown to increase community tenure and reduce substance use disorder relapse. We are
             currently witnessing gaps in service since the 90/180-day beds went live last year. This needed TA would
             be able to provide the necessary support and education to effectively utilize the peer Bridger program
             increasing recovery supports in inpatient settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.

             Project #: BGCE-RSS33


                                                                                         Proposed Budget: $100,000

             Project Title: Create a Dashboard on Healthcare for Workers with Disabilities




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             Scope:
             Washington's Healthcare for Workers with Disabilities is the Medicaid Buy-in Program. Nothing provides
             'hope' more than believing that people can work but addressing an individual’s concerns about how
             working affects their governmental benefits is key to implementing the evidence-based practice model
             called Individual Placement and Support. Benefits counseling is one of the core principles of providing
             this EBP model. Part of benefits counseling is to help individuals access work incentives such as the
             Medicaid Buy-in Program to ensure working doesn't have adverse effects to their receipt of services or
             medications. This project would promote this untapped work incentive program/Medicaid Buy-in
             program through the creation of a marketing campaign and public dashboard on the utilization of the
             benefit. According to Research and Data Analysis in the 2nd quarter of 2020, only 12 percent of disabled
             individuals with a serious mental health issue were employed in Washington State. (10,631/88,381).
             There are currently 1606 individuals in WA on HWD.

             The Apple Health for Workers with Disabilities (HWD) program recognizes the employment potential of
             people with disabilities and represents Washington State’s response to the landmark “Ticket to Work”
             legislation passed by Congress in 1999. Healthcare for Workers with Disabilities (HWD) is an
             underutilized program within the state of Washington. This is a critical program to provide low-cost
             healthcare for people with disabilities, enabling people with disabilities to no longer have to choose
             between taking a job and having health care, and therefore work to their full potential. Marketing needs
             to include the message that self-sufficiency is attainable. There is a need to communicate
             measurements of number of individuals using the service as a part of marketing the program. This
             proposal is to develop a public facing dashboard as a part of marketing. There will be collaboration
             between the Health Care Authority departments that have Healthcare for Workers with Disabilities
             (HWD) as part of the service provided, with the communications department, and with Research and
             Data Analysis in order to come up with an attractive and fully functioning site that provides current and
             accurate data.

             The benefit to the government is shifting individuals off of benefits and having them add to tax revenue.
             Under Healthcare for Workers with Disabilities, people with disabilities can earn more money and
             purchase health care coverage for an amount based on a sliding income scale.

             Healthcare for Workers with Disabilities benefits include:

             •          Medicaid benefit package
             •          Access to long term services and supports, if functional requirements are met
             •          Greater personal and financial independence
             •          Members can earn and save more without the risk of losing their healthcare coverage

             If not approved, people with disabilities have less encouragement to work and continue to live below
             the poverty level while remaining on public benefits. It disproportionally negatively impacts ethnic
             minorities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Washington state is challenged by low competitive employment outcomes of individual with serious
             mental illness and disabilities. Historically, over 60% of people with serious mental illness want to work
             but only 15% are employed. Only 2% of people have access to effective employment services. They see
             work as an essential part of recovery, but many avoid seeking work due to fear of losing benefits.
             Employment has many positive impacts on the mental health and wellbeing of individuals with




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             psychiatric disorders; increased self-esteem, reduced negative symptomology, reduced psychiatric
             hospitalization, reduced recidivism and involvement in the justice system, and increase life satisfaction.
             Unemployment and poverty are very traumatic for every resident of Washington State. People who
             remain in poverty are at a higher risk for physical and behavioral health conditions, as well as substance
             use related disorders. Results from regressions on earnings suggest that Healthcare for Workers with
             Disabilities (HWD) participants with prior Medicaid coverage earn substantially more than non-
             participants in the year following enrollment. On average, they earn roughly $2,000 more than their
             contemporary peers in the following year and $2,500 more than a historical comparison group.
             Healthcare for Workers with Disabilities (HWD) Participants historically rely less on Basic Food benefits.

             Healthcare for Workers with Disabilities (HWD) will create and sustain a culture of respect, caring and
             inclusion through employment. Programs that focus on employment enhance the value and respect
             garnered by the individual and help them to sustain their culture in the community. It empowers them
             to become positive role models. Services provided are inclusive of all who need them and targeted to
             individuals with a range of disabilities that have become successfully employed. Outreach will address
             the foregoing population.


             Project #: BGCE-RSS35


             Project Title: Implicit Biased Training for Landlords                     Proposed Budget: $10,000
                                                                                       *Additional $10,000 SABG

             Scope:
             This project would create a training series for landlords on Implicit Bias. Implicit bias describes our
             attitudes towards people or associates stereotypes with them without our conscious knowledge. Implicit
             Bias trainings are designed to exposed to people to their biases and provide tools to adjust automatic
             patterns of thinking and ultimate eliminate discriminatory behaviors.
             The Division of Behavioral Health and Recovery would work in partnership with the Department of
             Commerce's Landlord Mitigation Project to provide training to landlords who often rent to individuals
             with behavioral health conditions. Training would focus on addressing and identifying implicit biases and
             how this could be unintendedly affecting their decision on who to rent to.

             This project is important because Washington State has a serious deficit of safe and affordable housing.
             This means that rentals are extremely scarce, and landlords could unintendedly discriminate against
             people of color and people with behavioral health conditions. The anticipated outcome of this project is
             to help landlords identify and then address their implicit biases.


             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal court
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.




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             A disproportionate number of individuals of color experience housing instability. Many of these
             individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. This training will educate landlords on how their implicit bias might limit who they choose
             to rent to.


             Project #: BGCE-RSS36


                                                                                        Proposed Budget: $500,000


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                x Hire of outreach and peer support workers for regular check-ins for people with
                    Serious Mental Illness/Serious Emotional Disturbance.

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity




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             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                      Proposed Budget: $1,909,000


             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by adding certified peer counselors in
             Washington State. The intended outcome is to increase the engagement and outreach of MCR teams to
             include certified peer counselors to even more effectively support the peers they serve in crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




             Tribal Projects Detail

             Project #: BGCE-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $861,000
                                                                                    *Additional $1,270,794 SABG

             Waiver Provision(s)/SAMHSA Recommendation(s) Utilized:
                  x    Operation of an “access line,” “crisis phone line,” or “warm lines” to address any




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                       mental health issues for individuals.
                  x    Training of staff and equipment that supports enhanced mental health crisis
                       response and services.
                  x    Mental Health Awareness training for first responders and others.
                  x    Hire of outreach and peer support workers for regular check-ins for people with
                       Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).
                  x    Prison and jail re-entry and enhanced discharge from inpatient settings in order to
                       reduce risks of COVID-19 transmission.
                  x    COVID-19 related expenses for those with Serious Mental Illness/Serious Emotional
                       Disturbance (SMI/SED), including testing and
                       administering COVID vaccines, COVID awareness education, and purchase of
                       Personal Protective Equipment (PPE)

             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed mental health services to adults and youth with SMI/SED to
             prevent, prepare for and respond to behavioral health gaps due to COVID within their Tribal
             communities. Tribes would submit a plan to implement recommended services as outlined in the NOA
             and allowed within the Mental Health Block Grant (MHBG) regulations. Additional Funds to Tribes
             $40,993 SABG per Tribe and $27,778 MHBG per Tribe, totaling $68,771 for each Tribe.

             This project is important because American Indian/Alaskan Native (AI/AN) and Tribal communities have
             been greatly affected by the COVID pandemic and the various Tribal and State Stay at Home Orders.
             Tribes are navigating how to operate Behavioral Health program in a virtual and semi/virtual
             environment. Due to the pandemic, Tribes are stating that the individuals in their communities are
             struggling with social isolation and a lack of treatment services due to the pandemic. There has also
             been limited cultural activities available for Tribal communities due to the pandemic. The historic annual
             Canoe Journey was canceled two years in a row with very limited ability to implement cultural programs
             across all Tribal communities.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:




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             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.


             Project #: BGCE-TRB4


             Project Title: Traditional Healing Pilot Project                         Proposed Budget: $100,000
                                                                                      *Additional $100,000 SABG
             Scope:
             The Health Care Authority will contract with the Seattle Indian Health Board (SIHB) to (1) document best
             practices (including practice and administrative tools) for an Indian Health Care Provider (IHCP) to offer
             traditional healing/traditional Indian medicine (TIM) services, and (2) analyze the health outcomes and
             potential cost savings from offering Traditional Indian Medicine (TIM) services. TIM can serve individuals
             with SMI/SED and substances use disorder, alongside Western based strategies for the prevention,
             treatment, and recovery of SMI/SED/SUD. TIM can also help with SMI/SED/SUD prevention. The services
             may include storytelling, talking circles, drumming, sweat lodge, prayers, blessings (such as cleansing
             and smudging), etc. TIM services are provided by a community-verified practitioner of TIM. Please note
             that this grant will not pay for actual TIM services. The Seattle Indian Health Board (SIHB) deliver the
             following to the Health Care Authority:
                      1. Recommendations for billing, coding and reimbursement models for Traditional Indian
                      Medicine (TIM) services.
                      2. Analysis, recommendations, and examples of charting for Traditional Indian Medicine
                      (TIM)services and incorporation of charting into an Electronic Health Record (EHR).
                      3. Recommendations and analysis on best practices for incorporating Traditional Indian
                      Medicine (TIM) practitioners into integrated care teams.
                      4. Recommendation and analysis for privileging and credentialing standards of Traditional Indian
                      Medicine (TIM) practitioners and apprentices.
                      5. Evaluation and analysis of the health outcomes for individuals and populations receiving the
                      Traditional Indian Medicine (TIM) services. Measures could include:
                          x Number of services completed;
                          x Impacts on health outcomes;
                          x Policy analysis;
                          x Estimated costs of encounters;
                          x Cost benefit analysis;
                          x Comparison of the population that receives Traditional Indian Medicine (TIM) and the
                              population that does not;
                          x Comparison of patient’s perception of their health pre-Traditional Indian Medicine (TIM)
                              services and post-Traditional Indian Medicine (TIM) services, etc.

             These items will be submitted as separate reports and guidance documents that will be available for the
             Heath Care Authority, federal partners and other Indian Health Care Providers and Tribes in providing
             technical assistance on integrating Traditional Indian Medicine (TIM) into health programs with a focus
             on the treatment and recovery of Serious Mental Illness/Serious Emotional Disturbance (SMI/SED).




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             The Washington Indian Health Care Improvement Act, passed by the state legislature in 2019, had three
             main goals:
                    1. Provide resources to ensure the highest possible health status of American Indians/Alaska
                    Natives (AI/AN) in Washington;
                    2. Raise the health status of American Indian/Alaskan Native (AI/AN); and
                    3. Ensure tribal self-determination in the areas of health care services.

             One recommendation coming out of the Act was the expansion of traditional Indian medicine (TIM). This
             project helps the Health Care Authority to honor this key recommendation. Traditional Indian Medicine
             (TIM) services provide unparalleled support for American Indian/Alaskan Natives individuals struggling
             with severe mental illness or severe emotional disturbances and Western medicine has proven to not be
             appropriate for treatment and recovery supports for these American Indian/Alaskan Native (AI/AN)
             individuals. The anticipated outcome is documentation of positive health outcomes for individuals
             receiving Traditional Indian Medicine (TIM) and guidance to other Indian Health Care Providers (IHCP)
             on how to incorporate Traditional Indian Medicine (TIM). If not approved, we will continue to have a
             lack of literature available to demonstrate positive health outcomes or cost saving of these services for
             American Indian/Alaskan Native (AI/AN) and therefore, continue to struggle in finding sustainable
             funding.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The WA State Department of Health has found that American Indian/Alaska Native (AI/AN) overdose
             fatality rates have gone up 154% during the COVID pandemic. There is a known gap in the provision of
             culturally appropriate services for American Indian/Alaskan Natives (AI/AN) in the state of Washington
             and at a national level. Tribes and Indian Health Care Providers (IHCPs) are the experts in providing
             culturally appropriate services; however, Traditional Indian Medicine (TIM) does not have a sustainable
             funding mechanism. There are many evidence-based practices (EBP) available for Mental Health
             services; however, there are limited studies with American Indian/Alaskan Natives (AI/AN). Tribes and
             Indian Health Care Providers (IHPCs) find that implementing Evidence-Based Programs do not always
             work for American Indian/Alaskan Native (AI/AN) individuals and Tribal communities. This project will
             seek to develop evidence related to the efficacy of Traditional Indian Medicine (TIM) services for
             American Indian/Alaskan Natives (AI/AN) suffering from severe emotional disturbance orsevere mental
             illness.

             This project directly addresses Diversity, Equity and Inclusion (DEI) principles by providing support for
             Traditional Indian Medicine (TIM) and integration with clinically based health care. For decades, the
             response to Traditional Indian Medicine (TIM) is there is a lack of clinical data associating Traditional
             Indian Medicine (TIM) with better health outcomes. This pilot project will provide guidance around
             integration of Traditional Indian Medicine (TIM) and clinically based primary care and preliminary data
             to build the case for Traditional Indian Medicine (TIM). The intent is to provide foundational research
             and evidence that will support a request for sustainable Medicaid reimbursement for Traditional Indian
             Medicine (TIM).




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             Crisis Set-Aside Projects Detail

             Project #: BGCE-ASO2


                                                                                        Proposed Budget: $1,346,000

             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services provided 24
             hours a day, seven days a week including crisis call line, evaluation and treatment services for
             Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient services,
             crisis stabilization services, Employment and Training (E&T) services, and services for the priority
             populations defined per Contract. Services also include 24-hour-a-day emergency care services, mobile
             crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that




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             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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                                                    Washington


                           American Rescue Plan Act Funding Work Plan for FY22-25



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant APRA Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021, to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential American Rescue
             Plan Act (ARPA) funding to address principles focused on recovery needs, support for the behavioral
             health workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment
             services. Our intention is to use the ARPA funding to sustain projects originally funded through the Covid
             Supplemental award through September 2025, which will result in some of our contracts not being
             executed until March 2023. In addition to extending support for those projects, we are also adding in
             new funding for suicide prevention and technology infrastructure. The budget summary, on the following
             pages, provides the detailed amounts allocated across the continuum of behavioral health services
             through a wide variety of projects, treatment funds provided through our Behavioral Health
             Administrative Service Organizations (BH-ASOs) and Tribes. The Washington Health Care Authority
             respectfully submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others) on priorities for the Covid-19 Supplemental funding. Input on the
             proposals was received at the end of the event, which helped to inform the direction, as well as solidify
             the allocations to each section. We are utilizing the input received from this to guide us in our
             investments using the ARPA funding as well. The Health Care Authority may also require some flexibility
             to move allocations from one proposal, to another, within those in this application, in the event a




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             particular proposal is particularly successful and requires funding allocation from another proposal which
             may not require the entire allocation presented in this application. Additionally, the Washington
             Legislature will require the review and approval of our workplan in the 2023 Legislative session, which
             may create the need to shift funding based on their decisions at that time.

             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of Prevention, First Episode Psychosis, Treatment, Recovery
             Support Services, Tribal, Crisis Services and Technology Infrastructure. In the pages that follow, a longer
             project narrative will include the project title, budgeted amount, a description, or scope of work
             summary, as well as a narrative of how the project addresses state needs and gaps, especially gaps in
             equity.

             WA is grateful to SAMHSA for the opportunity to apply for the ARPA funds, as this has been an
             unprecedented year of extreme stressors to the most vulnerable among us, and the funding will
             undoubtedly support those persons at greatest risk, as well as those who seek support in treatment and
             ongoing recovery.



             Project List and Budget Table

               Prevention
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget
                                                               Develop and expand programming for
                                                               new and continuing community-based
               MHAR-Px1            Suicide Prevention          organizations with a specific focus on         $1,660,114
                                                               suicide prevention in high-need
                                                               communities.
                                                                         Total Prevention Set-Aside         $1,660,114
               FEP Set-Aside
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget
                                                               Develop and adapt evidence based
                                   Rural and AI/AN Evidence
                                                               coordinated specialty care programs
               MHAR-CYF1           Based Coordinated                                                          $3,984,273
                                                               for FEP to meet the needs of rural,
                                   Specialty Care for FEP
                                                               frontier and AI/AN communities.
                                                                                  Total FEP Set-Aside       $3,984,273

               Treatment
               Children, Youth and Family Treatment Funding
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget




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                                                                Developing Wraparound and Intensive
                                                                Service (WISe) workforce to support
                                   Developing Wraparound
                                                                youth with Intellectual
               MHAR-CYF2           and Intensive Services                                                      $600,000
                                                                Disabilities/Developmental Disabilities
                                   (WISe) Workforce Support
                                                                (including Autism Spectrum Disorder
                                                                (ASD).
                                                                 Trauma Focused Cognitive Behavioral
                                   Trauma Focused Cognitive     Therapy (CBT) Training for clinicians
               MHAR-CYF5           Behavioral Therapy           serving children and youth returning to        $376,671
                                   Training                     school as part of the triage process
                                                                post screening.
               Adult Treatment Funding
                                                                Expansion of current contract to
                                                                deliver Cognitive Behavioral Therapy
                                   Cognitive Behavioral
               MHAR-MHA1                                        for Psychosis to a cohort of clinicians        $130,000
                                   Therapy for Psychosis
                                                                who are serving people on 90/180
                                                                involuntary civil commitment orders.
                                                                Provide training via a 100-hour course
                                                                for Mental Health (MH) professionals
                                                                to secure credentials to become an
                                   Mental Health Specialist     Older Adult Mental Health Specialist,
               MHAR-MHA3                                                                                       $396,671
                                   Training                     Intellectual Disabilities /Developmental
                                                                Disabilities (ID/DD) Mental Health
                                                                Specialist, and Ethnic Minority Mental
                                                                Health Specialist.
               BH-ASO Treatment Funding
                                                                The community mental health services
                                                                provided include but are not limited to
                                                                outpatient services, including
                                                                specialized outpatient services for
                                                                children, the elderly, individuals with a
                                                                serious mental illness, residents of the
                                   Behavioral Health            service areas who have been
                                   Administrative Service       discharged from inpatient treatment at
               MHAR-ASO2                                                                                     $10,066,183
                                   Organization (BH-ASO)        a mental health facility, day treatment
                                   Treatment Funding            or other partial hospitalization services,
                                                                psychosocial rehabilitation services,
                                                                outreach to and services for individuals
                                                                who are homeless, at risk of
                                                                homelessness, or ready for discharge
                                                                from inpatient psychiatric care, and
                                                                individuals residing in rural areas.
                                                                                      Total Treatment $11,569,525

               Recovery Support Services




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                                                                                                           Proposed
               Project #           Project Title                  Project Description
                                                                                                           Budget
                                                                  Mental Health Block Grant (MHBG)
                                                                  funds could be used to support case
                                   Participant Support Funds-
                                                                  managers, outreach workers, Assertive
                                   Housing and Recovery
               MHAR-RSS1                                          Community Treatment Services for             $50,000
                                   through Peer Services
                                                                  people experiencing homelessness,
                                   (HARPS) teams
                                                                  medications, coordination with primary
                                                                  care, case management etc.
                                                                  Mental Health Block Grant (MHBG)
                                   Participant Support Funds-     funds could be used to support case
                                   Projects for Assistance in     managers, outreach workers, Assertive
               MHAR-RSS2           Transition from                Community Treatment Services for            $140,000
                                   Homelessness (PATH)            people experiencing homelessness,
                                   teams                          medications, coordination with primary
                                                                  care, case management etc.
                                                                  Mental Health Block Grant (MHBG)
                                                                  funds could be used to support case
                                                                  managers, outreach workers, Assertive
                                   Participant support Funds -
               MHAR-RSS3                                          Community Treatment Services for            $100,000
                                   Peer Bridger
                                                                  people experiencing homelessness,
                                                                  medications, coordination with primary
                                                                  care, case management etc.
                                                                  Targeted peer outreach on Project for
                                   Adding a Peer to Projects      Assistance in Transition from
                                   for Assistance in Transition   Homelessness (PATH) teams focusing
               MHAR-RSS12                                                                                    $1,759,433
                                   from Homelessness (PATH)       on a by-name list of individuals who
                                   Outreach Teams                 have had multiple contacts with crisis
                                                                  system.
                                   Operating costs for a          Provide timely information for
                                   housing                        individuals with behavioral health
               MHAR-RSS14                                                                                      $10,000
                                   inventory/estimator/calcul     conditions to access housing services
                                   ator                           and resources.
                                                                  Corporation for Supportive Housing
                                                                  (CSH) curriculum to increase the
                                   Supportive Housing             number of affordable housing
               MHAR-RSS16                                                                                     $150,000
                                   Institute                      development for individuals with
                                                                  mental health and substance use
                                                                  disorders.
                                                                  Utilize block grant funds that would
                                   Cover Foundational             cover Foundational Community
                                   Community Support              Support services for people
               MHAR-RSS19          Services in Institution for    transitioning out of Institution for        $500,000
                                   Mental Disease (IMD) when      Mental Disease (IMD) settings if
                                   Medicaid is Suspended          Medicaid does not get retroactively
                                                                  reconnected.




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                                                                 Enhance jail transition programs with
                                                                 SUD peers services to individuals who
                                                                 upon release will be homeless. SUD
                                   Peer Pathfinders Transition
               MHAR-RSS24                                        Peer Services begin prior to release to       $790,000
                                   from Incarceration Pilot
                                                                 establish relationship and upon release
                                                                 to support the transition to needed
                                                                 services.
                                   Add Co-Occurring Peer to      Add 1 peer to each of the four
                                   Forensic-Housing Housing      Forensic-Housing Housing and
               MHAR-RSS25                                                                                      $400,000
                                   and Recovery through Peer     Recovery through Peer Services (F-
                                   (F-HARPS) Services            HARPS) in Phase I regions.
                                                                 Helping individuals with the creation of
                                   Funding for SSI/SSDI          a Supplemental Security Income/Social
               MHAR-RSS36          Outreach, Access, and         Security Disability Insurance (SSI/SSDI)      $500,000
                                   Recovery (SOAR) Leads         outreach access and recovery
                                                                 community coordinators.
                                                                 Pilot enhancements to mobile crisis
                                   Enhance Mobile Crisis
               MHAR-RSS41                                        teams by adding CPCs to existing             $1,909,000
                                   Teams with CPCs
                                                                 teams.
                                                                    Total Recovery Support Services          $6,308,433

               Tribal
                                                                                                            Proposed
               Project #           Project Title                 Project Description
                                                                                                            Budget
                                   TARGET (database)             TARGET replacement program for SUD
               MHAR-TRB1                                                                                       $200,000
                                   Replacement                   and mental health data.
                                                                 Provide funding to 29 federally
                                                                 recognized Tribes and two Urban
                                   Funding to Tribes and         Indian Health Organizations to deliver
               MHAR-TRB3           Urban Indian Health           treatment for individuals diagnosed          $1,460,114
                                   Organizations                 with SMI/SED, prevention, treatment,
                                                                 and recovery support services within
                                                                 their Tribal communities.
                                                                                            Total Tribal     $1,660,114

               Crisis Set-Aside
                                                                                                            Proposed
               Project #           Project Title                 Project Description
                                                                                                            Budget
                                   Behavioral Health
                                                                 Services include 24-hour-a-day
                                   Administrative Service
                                                                 emergency care services, mobile crisis,
               MHAR-ASO2           Organization (BH-ASO)                                                      $3,320,228
                                                                 crisis line, and Designated Crisis
                                   Treatment Funding - Crisis
                                                                 Responders (DCR) services.
                                   Services




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                                                                                 Total Crisis Set-Aside     $3,320,228

               Technology Infrastructure
                                                                                                           Proposed
               Project #           Project Title                Project Description
                                                                                                           Budget
                                                                Support technological enhancements
                                                                to the CDR that will allow retention of
                                                                historical clinical data, including
               MHAR-TEC1           Clinical Data Repository                                                   $325,000
                                                                MH/SUD data, as well as
                                                                implementation of an analytic enclave
                                                                environment.
                                                                Enable meaningful, seamless exchange
                                                                of protected and sensitive BH and PH
                                   Consent Management
               MHAR-TEC2                                        information amongst those who are            $1,300,000
                                   Solution
                                                                authorized to receive it in order to
                                                                deliver services to Washingtonians.
                                                                Develop and implement a statewide
                                                                bed registry to track capacity and real-
                                                                time bed availability for psychiatric
                                                                hospital beds, freestanding evaluation
                                                                and treatment center beds, Secure
               MHAR-TEC3           Statewide Bed Registry                                                    $1,414,478
                                                                Withdrawal Management and
                                                                Stabilization Beds, crisis
                                                                triage/stabilization beds, and
                                                                substance use disorder residential
                                                                treatment beds.
               Total Technology Infrastructure                                                              $3,039,478


               TOTAL MHBG Covid Supplement Budget
                                                                                      Suicide Prevention     $1,660,114
                                                                                          FEP Set-Aside      $3,984,273
                                                                                             Treatment      $11,569,525
                                                                            Recovery Supports Services       $6,308,433
                                                                                                 Tribal      $1,660,114
                                                                                      Crisis Set-Aside       $3,320,228
                                                                             Technology Infrastructure       $3,039,478
                                                                                       Administrative        $1,660,114
                                                                                          Total Budget $33,202,279




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             Prevention Project Detail


             Project #: MHAR-Px1

             Project Title: Suicide Prevention            Proposed Budget: $1,660,114

             Scope:
             Washington State is facing an increased demand for suicide prevention services both before and in the
             face of the COVID-19 pandemic. To address the social and mental health needs of communities, the
             Washington Health Care Authority is requesting $1,660,114 for 2022 through 2025 to implement and
             expand projects/programs in communities where there is a demonstrated need for suicide prevention.
             The requested funds represent costs associated with the performance and administration of suicide
             prevention projects to community-based organizations in the state. HCA suicide prevention projects are
             direct service evidence-based, promising, and evidence-informed strategies with a focus in high-need
             communities. These services ensure that WA State keeps pace with best practices and has current
             training in providing services. Suicide prevention services are crucial for all communities in Washington,
             but current funding levels limit the reach of state sponsored programming. Of the twenty-three
             community-based applicants requesting suicide prevention funding, only twelve organizations were
             awarded based on current state funding levels despite the record number of quality submissions for the
             RFA. This demonstrates a need for suicide prevention in the state that is not currently being met due to
             funding, not capacity, limitations.

             The current proposal/project asks for funds to develop and expand programming for new and
             continuing community-based organizations with a specific focus on suicide prevention in high-need
             communities. The expanded programming will include:
                     • Evidence-based and promising programs identified on one or more evidence-based lists
                        showing effectiveness for mental health and/or suicide prevention outcomes.
                     • Mental health First Aid and/or Youth Mental Health First Aid provided to individuals working
                        in populations with individuals who may be experiencing suicidal ideation to recognize signs
                        and connect individuals to resources.
                     • Youth and parent programs focused on reducing stigma and encouraging individuals to seek
                        help.
                     • Information dissemination campaigns that target individuals at higher risk for death by
                        suicide.
                     • Evaluation of programming to assess desired outcomes being met.
                     • Continued training and professional development opportunities for partners and coordinators
                        of suicide prevention programming to ensure information sharing and implementation of
                        best practices.

             The global COVID-19 pandemic presents new and continued challenges in mental health promotion and
             suicide prevention in the State of Washington. Before the pandemic, the number of suicides in
             Washington State increased by 13 percent from 2016 to 2019, with a raw increase of 1123 deaths in
             2016 to 1263 deaths in 2019 (WA DOH, 2020). According to preliminary data from the Washington
             Department of Health in December 2020, the ongoing pandemic has the potential to create a disaster




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             cascade, causing the risk of suicide, depression, hopelessness, and substance use to increase due to
             isolation, stress, and fear from the economic, physical, social consequences of the crisis. This is
             especially felt among specific high-risk groups who are unable to assess healthcare or other necessary
             resources, like young adults, LGBTQ+, certain occupational groups, and persons who are undocumented.
             Youth data collected in Washington State during the pandemic reflect this. According to the COVID-19
             Student Survey (CSS), 45 percent of middle school students and 58 percent of high school students that
             completed the survey reported feeling sad or depressed most days in the past 12 months, as compared
             to 32 percent of middle school students and 41 percent of high school students self-reported in the
             2018 Health Youth Survey. (Note, while CSS and HYS are not directly comparable due to administration
             methods, it does provide context for comparison.) Though students reported higher rates of depression
             and sadness during the pandemic, around two thirds of respondents reported feeling hopeful about the
             future, demonstrating a social momentum that the State can capitalize on.


             The anticipated outcomes of being able to fund suicide prevention efforts in high-need communities
             throughout the state of WA include decreased risk of suicide ideation and ultimately lower rates of
             death by suicide. By allowing communities to identify local solutions to local problems under a
             framework that has demonstrated outcomes, impacts are optimized, inclusion and cultural competency
             around local populations are respected, sustainability is integrated in the process, and lives are saved.
             Communities funded at current levels have seen a positive change with the implementation of evidence-
             based suicide prevention programming. Snohomish county, in western Washington, has experienced a
             statistically significant reduction in suicide attempts across all grades as a direct result of our previous
             MHPP funded suicide prevention efforts; the self-reported suicide attempt rate dropped from 17.1% of
             10th graders in 2016, to just 6.7% in 2018, and when looking at the same graduating class of student
             from 2018, the self-reported suicide attempt rate dropped from 17.1% of 10th graders in 2016 to just
             10.0% for that same graduating class as 12th graders in 2018 (HYS, 2002-2018). Without MHPP CBO
             funding, and other Districts around Washington State, are left without adequate Mental Health
             Promotion and Suicide Prevention funding.

             C25       Monroe School District 10th Grade NO Adult to Turn Rates (HYS)
             2002      2004 2006 2008 2010 2012 2014 2016 2018
             n/a       n/a   18.1% 19.9% 16.6% 15.3% 15.4% 13.7% 8.2%

             H56       Monroe School District 10th Grade Attempted Suicide Rates (HYS)
             2002      2004 2006 2008 2010 2012 2014 2016 2018
             9.8%      8.6% 5.6% 12.3% 9.8% 8.3% 8.0% 17.1% 6.7%

             With additional funding we will be able to support additional communities like Snohomish County and
             short-term outcomes that include a decrease in youth reporting symptoms of depression, anxiety, and
             suicidal ideation as reported on our WA State Healthy Youth Survey. Longer term impacts include
             decreased suicide ideation, attempts, and deaths across the WA populace. Without these pointed
             efforts that are developed, implemented, and owned by the community, there is an increased likelihood
             that outside efforts will not align with local readiness, cultural nuances, and, in the end, lack
             sustainability. This ultimately leads to a lower quality of life for Washingtonians and preventable death.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             The success in Snohomish County illustrates the impact of community driven solutions on the rate of
             suicide among high-risk groups. But despite these accomplishments, the rate of suicide in Washington
             State is still higher than the national average. The suicide rate in Washington has increased from 13.8
             percent in 2010 to 16.2 percent in 2019, compared to the national suicide rate which increased from
             12.4 to 14.8 over the same time. For Washington State, that equates to 11,160 lives lost due to suicide
             from 2010 to 2019, and countless other family and community members lives affected after suicide (WA
             DOH, 2020). According to the state Suicide Prevention Plan, an average of 65 people in Washington each
             week are hospitalized due to intentional self-inflicted injuries. The Centers for Disease Control estimates
             that suicide and suicide attempts cost society about $70 billion a year nationally in combined medical
             and work loss costs.
             As the state and nation transition to a different phase of the pandemic, high risk individuals like young
             adults, face potentially new obstacles such as continued mental health issues, overcoming the potential
             disruptions in school, work, and finances, and re-engaging in social life with continued
             recommendations from the CDC and local health departments (e.g., mask mandates). There is a critical
             need for suicide prevention outreach and programs. This is a critical time to address potential harms and
             to encourage engagement in both adaptive coping behaviors and unique strategies of social
             engagement within current public health guidelines to reduce high-risk substance use and worsening
             mental health symptoms.
             We know that suicide impacts different populations in WA disproportionately. LGBTQ youth in
             particular. While some of this is attributed to factors such as access to lethal means and distance from
             medical facilities, some is attributable to social determinants of health and other factors that are
             nuanced within community. By utilizing a framework, the focuses on community identified and
             implemented solutions, and ensuring that this framework considers local conditions and factors,
             optimized outcomes become much more likely. This is particularly true when the application of the
             framework is inclusive of data and engagement of the target population in the process.
             Current funding is insufficient to meet demand for suicide prevention and crisis intervention. This is a
             significant public health issue as WA State’s suicide rate continues to increase. WA needs funding for
             adequate services in suicide prevention, intervention, treatment, and post-vention (resource provided in
             the aftermath of suicide) so we can support individuals, families, and communities affected by suicide
             deaths.
             The CDC Household Pulse survey from late February 2021, symptoms of anxiety disorder were reported
             by a greater percentage of participants who identified as non-Hispanic, other races and multiple races
             (42.8%), Hispanic or Latino (36.9%), or non-Hispanic, black, single race (35.5%) than those who identified
             as non-Hispanic white, single race (32.1%). According to the Washington Department of Health, 2020
             compared to 2019 saw an increase in suicides among person who identify as Hispanic (WA DOH, 2020).
             With evidence suggesting disproportionate impact of the COVID-19 pandemic on communities of color,
             and with other evidence suggesting less help-seeking and/or utilization of counseling or services
             requiring interaction with others (both within the 18–29-year-old age group and within select
             racial/ethnic groups), programming that supports suicide prevention for these high-risk groups is
             desperately needed.




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             First Episode Psychosis Project Detail


             Project #: MHAR-CYF1

             Project Title: Rural and AI/AN Evidence Based Coordinated Specialty Care for FEP

             Proposed Budget: $3,984,273

             Scope:
             This additional project amount would be to develop and adapt evidence based coordinated specialty
             care (CSC) programs for first episode psychosis (FEP) to meet the needs of rural, frontier, AI/AN
             communities, and other special populations; with the necessary support to operationalize the projects in
             a timely manner. The project would be to help to develop a rural and /or Tribal New Journeys/CSC
             model, to evaluate it, and broadly disseminate the results to inform future program development. This
             model can expand to other specific populations as the work advances. Other states are also interested in
             figuring out how to develop CSC services in rural areas and Tribal communities and other specific
             populations. There could be great value in collaborating with partners in other states on this (they would
             fund their own program development) and could help to define rural and AI/AN CSC in other parts of the
             U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation are essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early
             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.




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             Treatment Projects Detail


             Children, Youth and Family

             Project #: MHAR-CYF2


             Project Title: Developing Wraparound and Intensive Services (WISe) Workforce Support

             Proposed Budget: $600,000

             Scope:
             Expansion of Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder.



             Based on the initial model, identify additional WISe behavioral health agencies each year to plan and
             implement the project informed by local needs with logistical oversight provided the WISe Workforce
             Collaborative/En Route. Develop glide path for more expansive reach of focused special population
             services. A training component will be provided by Seattle Children’s Autism Center and offered to
             additional BH agencies. The proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the HCA and DDA convened WISe and ID/DD and ASD
             workgroup or Project Echo sessions. This allows the project to build more directly on the knowledge
             and efforts already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with ID/DD and
             ASD.

             During COVID the increased need of trained staff to provide stabilization support for youth in WISe with
             ID/DD including ASD has become apparent. The concern identifying the need for additional training has
             been expressed by caregivers, behavioral health agency staff and allied system partners. Our behavioral
             health workforce is often times generalists by education and don't have the training to best support
             youth with ASD and their families. This funding would provide the training support and consultation to




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             five behavioral health agencies as well as enhance community coordination in three regions for youth
             enrolled in WISe with ID/DD including ASD.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Provides workforce training and development to address the need in providing co-occurring services for
             youth with ID/DD including ASD. Also provides funding for community coordination and input from
             youth, families and system partners.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.



             Project #: MHAR-CYF5


             Project Title: Trauma Focused Cognitive Behavioral Therapy Training        Proposed Budget: $376,671

             Scope:
             Continue to provide training in TF-CBT to clinicians serving children and youth returning to school as part
             of the triage process post screening as a part of the recommended DOH fast response plan to help meet
             the needs of children and youth returning to school following the Governor's proclamation that in
             person options are required as of April 1, 2021. This will allow clinicians to continue to serve youth who
             indicate trauma exposure in the screening process (SED) following the pandemic to support increased
             access to necessary mental health supports. This will advance the Sonoma model and further enhance
             the clinical interventions available to children and youth across WA.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth throughout the pandemic regarding mental health
             impact are expected to surface as children youth and families begin the transition to in person
             education. This proposal meets an identified need, and the timeline will ensure that trauma informed
             clinical interventions will be available to children and youth as transition back to school and acclimate to
             new norms.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




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             Adult Treatment

             Project #: MHAR-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis               Proposed Budget: $130,000

             Scope:
             This project will continue to enhance the workforce serving individuals with psychosis by delivering
             Cognitive Behavioral Therapy for Psychosis training and technical assistance to a cohort of outpatient
             and inpatient clinicians from selected contracted community-based sites who are serving people
             receiving 90/180-day involuntary civil commitment orders. This EBP helps people living with psychosis
             achieve a level of self-management that has shown great success, supporting individuals and their
             families in the community.

             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate EBP should assist this population in better managing their
             symptoms and reduce their need for further involuntary or inpatient treatment.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training on CBT for Psychosis will help empower individuals with psychosis to better manage symptoms
             that interfere with their ability to live their lives in the community. The BH workforce needs enhanced
             tools to treat psychosis beyond simply medication alone and this EBP is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about CBT for
             Psychosis and its success rate.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.



             Project #: MHAR-MHA3


             Project Title: Mental Health Specialist Training                        Proposed Budget: $396,671

             Scope:
             Provide training via a 100-hour course for Mental Health Professionals to secure credential to become
             an Older Adult MH Specialist, Intellectual/Developmental Disabilities Mental Health Specialist, and
             Ethnic Minority Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health
             Outpatient treatment. Training curricula will focus on recognizing unique needs of these populations,
             clinical best practices, understanding of the community resources and partners when working with
             these populations, the role of the Mental Health Specialist, and how to provide clinical consultation,
             cultural humity, and other relevant information specific to each demographic.




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             The Division of Behavioral Health and Recovery has not sponsored MH Specialist academies for almost
             10 years and as such, there are significant workforce shortages in specialists trained and credentialed to
             work with these populations. Each has their own unique needs or considerations that impact care and
             the BH workforce needs additional training and support in order to meet these needs.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for MHPs trained and sufficiently skilled to work with
             older adults is more critical than ever. The current workforce requires specialized skills and knowledge
             to better support BIPOC populations and people with intellectual or developmental disabilities. This
             workforce shortage must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: MHAR-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding

             Proposed Budget: $10,066,183

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental




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             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI),
             or Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to
             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




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             Recovery Support Services Projects Detail

             Project #: MHAR-RSS1


             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams

             Proposed Budget: $50,000

             Scope:
             Adding additional support funds to each Housing and Recovery through Peer Support (HARPS contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The HARPS priority population is unable to earn wages while involved with inpatient treatment and is
             unlikely to have savings to secure housing upon discharge. Additionally, many participate intensive
             outpatient treatment which limits the amount of time to earn wages to afford housing, as well as other
             necessities to stay engaged in treatment and recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: MHAR-RSS2




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             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams

             Proposed Budget: $140,000

             Scope:
             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Scope:
             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.




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             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: MHAR-RSS12

             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Proposed Budget: $1,759,433

             Scope:
             Proposed funds will continue funding for one peer counselor to the current Projects for Assistance in
             Transition from Homelessness (PATH). PATH programs assist individuals in accessing housing, mental
             health services, substance abuse treatment, disability benefits, and other services to stabilize them and
             facilitate recovery. Each agency hired a peer counselor to expand outreach and engagement services for
             individuals with a serious mental illness (SMI) and homeless or at risk of homelessness utilizing the Block
             Grant Covid Supplemental funding, this will continue support for those positions through mid-2025.
             Projects will work closely with BHASO's, MCO's and Crisis stabilization centers to create a referral flow
             and coordination of services.

             This continued support for a PATH peer counselor on the PATH teams will allow agencies to expand
             needed outreach and engagement efforts. The proposed funds will enhance the quality of program
             delivery and engagement and expand critical crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




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             Project #: MHAR-RSS14


             Project Title: Operating Costs for a Housing Inventory/Estimator/Calculator Proposed Budget: $10,000


             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This funding supports the online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.



             Project #: MHAR-RSS16


             Project Title: Supportive Housing Institute                               Proposed Budget: $150,000


             Scope:
             DBHR proposes to use the proprietary curriculum from the Corporation for Supportive Housing to
             increase the number of affordable housing development for individuals with serious mental illness or
             serious emotional disturbance. HCA-DBHR will contract with CSH to assist with the design and
             implementation of two Supportive Housing Institutes (the “Institute”) for the State of Washington
             whose completion will coincide with the capital and operating fund cycles of both 2022 and 2023. Each
             Institute will take place over a five-month period and allow for up to eight project teams per Institute.




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             Each team will be required to include a SUD/MH service provider, developer, and operator (property
             manager) of a specific, proposed project. CSH will lead the teams through hands-on learning to take
             their projects from concept to fully developed project plans. Each Institute will produce projects that are
             well prepared for state and local funding and that align with the national Dimensions of Quality
             Supportive Housing, which include and supersede the fidelity indexes of SAMHSA, Pathways, and
             Watson HRM.

             The HCA oversees the State’s Medicaid benefits called Foundational Community Supports, which include
             supportive housing and supported employment services. Providers State-wide are expanding their
             delivery of these services to beneficiaries who are experiencing chronic homelessness, unnecessary
             institutionalization, and cycles of homelessness and system involvement, but scaling supportive housing
             itself remains constrained by a lack of supportive housing apartments. The HCA aims to build the
             capacity of mental health and substance use treatment providers to develop, operate, and/or form
             strong partnerships with other organizations to deliver new, high-quality supportive housing
             developments.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.




             Project #: BGCE-RSS19

             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Proposed Budget: $500,000


             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing




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             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.


             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000


             Scope:
             This funding will continue support for a Certified Peer Counselor to up to five existing BH-ASO contracts
             for jail transition services. Adding a Certified Peer Counselor to existing jail transition services teams will
             increase the level of services being provided, by having a CPC connect with the individuals while they are
             still in jail and helping them with transition to the community. The certified peer counselor will work




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             with individuals diagnosed with a serious mental illness, linking them to behavioral health services,
             including co-occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail
             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals
             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                             Proposed Budget: $400,000

             Scope:
             These additional funds would continue support for a certified peer counselor for each Forensic HARPS
             team in the phase 1 regions, originally funded through the Block Grant Covid Supplemental award. With
             this additional staff person, the teams would be able to increase caseload capacity. This position would
             also allow the Forensic HARPs teams to serve individuals diagnosed with serious mental illness or co-
             occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.




             Project #: BGCE-RSS36


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Proposed Budget: $500,000

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                       Proposed Budget: $1,909,000


             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by continuing support for certified peer
             counselors in Washington State. The intended outcome is to increase the engagement and outreach of
             MCR teams to include certified peer counselors to even more effectively support the peers they serve in
             crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




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             Tribal Projects Detail

             Project #: MHAR-TRB1


             Project Title: TARGET (database) Replacement                             Proposed Budget: $200,000


             Scope:
             Based on a pilot to work with a Tribe that currently has EPIC to develop a mechanism to automatically
             upload SAMHSA-required data to HCA's behavioral health data store, with minimal double entry of data,
             this project will support the expansion and maintenance of this pilot to other Tribes across the state.
             This project will offer funding to maintain the behavioral health data system that will replace the
             previously used TARGET system.

             This project will ensure that there is maintenance for the data system that will support the collection of
             SAMHSA-required data. As the pilot will help HCA to identify if we can use an existing EHR to build the
             necessary system to meet the needs of the Tribes and the state in SUD and mental health data
             collection for our reporting to our federal partners/funders and the state legislature, this project will
             maintain these efforts and address any system improvements needed along with the evolving landscape
             for behavioral health data collection and reporting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Tribes requested a solution for the TARGET replacement in 2016. Providing funding resources to
             maintain and improve data collection for Tribes will address a long-time gap for Tribal communities in
             SUD and mental health data collection in the new integrated health care environment.

             This project will systemically improve data reporting and surveillance of AI/AN communities to better
             address any health disparities. Data is very important in identifying needs and strengths in BIPOC
             communities.


             Project #: MHAR-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $1,460,114


             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed behavioral health, mental health services for individuals with
             SMI/SED and substance use disorder prevention, treatment, OUD intervention and recovery supports
             services within their Tribal communities. Tribes will submit a plan to implement recommended services
             as outlined in the NOA and allowed within the SABG/MHBG regulations. Additional funds for Tribes will
             be divided evenly between the Tribes and Urban Indian Health Programs (UIHP) (Native Project & SIHB).
             These funds will begin on March 2023 - Sept 2025 and may be an extension of the Tribe's and UIHP's
             COVID Enhancement projects to ensure a full recovery from the impacts of the COVID pandemic.




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             This project is important because AI/AN and Tribal communities have been greatly affected by the
             COVID pandemic and the various Tribal and State Stay at Home Orders. Tribes are identifying ways to
             maintain some of their BH program in a virtual and semi/virtual environment. Due to the pandemic,
             Tribes are stating that the individuals in their communities are struggling with social isolation and a lack
             of treatment services due to the pandemic. There has also been limited cultural activities available for
             Tribal communities due to the pandemic. The historic annual Canoe Journey was canceled two years in a
             row with very limited ability to implement cultural programs across all Tribal communities. These funds
             will support the Tribe's and UIHP's ability to address any gaps and needs in their behavioral health
             services and increase support individuals that may have lingering behavioral health impacts due to the
             COVID 19 pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:
             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.




             Crisis Set-Aside Projects Detail

             Project #: MHAR-ASO2


             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Proposed Budget: $3,320,228

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective crisis provider networks enhancing the provision of comprehensive community mental




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             health services to individuals who are either adults with a serious mental illness (SMI) or children with
             serious emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and
             Statistical Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services
             provided 24 hours a day, seven days a week including crisis call line, evaluation and treatment services
             for Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient
             services, crisis stabilization services, Employment and Training (E&T) services, and services for the
             priority populations defined per Contract. Services also include 24-hour-a-day emergency care services,
             mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic. All funded crisis workers will be required to be trained in trauma informed care,
             de-escalation techniques and the fundamentals of harm reduction.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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             Technology Infrastructure Projects Detail

             Project #: MHAR-TEC1


             Project Title: Clinical Data Repository                                   Proposed Budget: $325,000

             Scope:
             This funding request is to support technological enhancements to the CDR that will allow retention of
             historical clinical data, including MH/SUD data, as well as implementation of an analytic enclave
             environment. This solution will allow authorized users, including researchers, evaluators, state staff,
             clinicians and others to access protected health information in a secure environment in order for them
             to conduct their research and analyses, without the need for these data to leave the CDR secure
             environment. This will support programmatic enhancements, overall program governance, and analytics
             in order to achieve meaningful results and support other key efforts such as Value Based Purchasing,
             Health Care Transformation and Health Care Cost/Quality Transparency.

             The current Medicaid CDR was established several years ago. There is now a need to enhance the
             current CDR and define a strategic vision focused on clinical quality and outcome analytics, total cost of
             care analytics and care coordination functions especially focused on MH/SUD clients. Washington’s CDR
             presents a unique opportunity to develop a true clinical data warehouse that is leveraged in conjunction
             with other State data assets such as the All-Payer Claims Database (APCD), the Health Information
             Exchange (HIE), Public Health disease registries and others, to generate true total cost of care and care
             quality/outcome analytics to inform research, policy and health system transformation.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless data exchange
             between providers. The CDR is a critical data asset which has the capabilities to help bridge this gap. This
             investment will significantly enhance the technological ability of this tool to enable appropriate and
             secure data sharing amongst those who need it in order to better serve the MH/SUD clients in
             Washington.

             Medicaid clients who need MH/SUD services are amongst the most vulnerable populations in our care.
             As stated above, care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless
             data exchange between providers. The CDR is a critical data asset which has the capabilities to help
             bridge this gap and help enhance equitable access to information about clients to their providers. This
             investment will significantly enhance the technological ability of this tool to enable appropriate and
             secure data sharing amongst those who need it in order to better serve the MH/SUD clients in
             Washington.

             Health IT Infrastructure




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             The Clinical Data Repository as implemented in the state of Washington is compliant with health
             information technology standards and implementation specifications as identified in 45 CFR 170,
             Subpart B.


             Project #: MHAR-TEC2


             Project Title: Consent Management Solution                                 Proposed Budget: $1,300,000

             Scope:
             The electronic consent management solution, which has been approved by Washington State HHS
             agencies, will be a key foundational investment in the state’s health information exchange infrastructure
             and will enable meaningful, seamless exchange of protected and sensitive BH and PH information
             amongst those who are authorized to receive it in order to deliver services to Washingtonians.

             Every initiative to support Behavioral Health Integration requires Behavioral Health (BH) and Physical
             Health (PH) data to be seamlessly shared amongst clinicians, and across the care continuum. Care
             coordination, case management, population health and even public health, as evidenced during this past
             year, are highly dependent on this seamless exchange of information. In addition to direct care
             clinicians, others in the care system such as care coordinators, case managers, managed care
             organizations, public health entities and others also need access to such data in order to be able to fulfill
             their respective missions. Lack of a standardized, centralized consent management solution has
             presented a significant barrier to realizing true BH-PH integration.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless data exchange
             between providers. A centralized consent management solution is a critical investment which will
             provide the capabilities to help bridge this gap. This investment will significantly enhance the
             technological ability that enables appropriate and secure data sharing amongst those who need it in
             order to better serve the MH/SUD clients in Washington.

             Medicaid clients who need MH/SUD services are amongst the most vulnerable populations in our care.
             As stated above, care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless
             data exchange between providers. A centralized consent management solution is a critical investment
             which will provide the capabilities to help bridge this gap and help enhance equitable access to
             information about clients to their providers. This investment will significantly enhance the technological
             ability to enable appropriate and secure data sharing amongst those who need it in order to better serve
             the MH/SUD clients in Washington.

             Health IT Infrastructure
             The consent management solution will meet health information technology standards and
             implementation specifications as identified in 45 CFR 170, Subpart B. Specifically, the consent
             management solution will be interoperable with ONC certified Electronic Health Record (EHR) systems
             and will use HL7 FHIR standards for secure data exchange between systems.




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             Project #: SAAR-TEC3


             Project Title: Statewide Bed Registry                                        Proposed Budget: $1,414,478

             Scope:
             This project will develop and implement a statewide bed registry to track capacity and real-time bed
             availability for psychiatric hospital beds, freestanding evaluation and treatment center beds, Secure
             Withdrawal Management and Stabilization Beds, crisis triage/stabilization beds, and substance use
             disorder residential treatment beds. The registry is intended to include both adult and youth/child beds.

             Contracted resources will be utilized to implement this new solution, with management of maintenance
             and operations to be supported by existing staff resources.

             The lack of a statewide bed registry has been a long-standing problem within the state. The need has
             been discussed in multiple work groups. This would include the legislative BHRST group and the ITA
             Work Group required by SB 5720. Both these workgroups have included stakeholder and consumer
             testimony on how difficult it is for a crisis worker, an individual or family member to find an available
             treatment bed. Currently, without a bed registry, multiple facilities have to be called to see if they
             provide the appropriate treatment services and to see if they have any vacant beds. Sometimes this
             process involves calling up to 20 facilities. Implementation of a registry will make it significantly easier to
             locate beds and access care. If this is not approved, crisis workers, individuals and families will continue
             to face obstacles in accessing critical care.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Ready access to mental health and substance use disorder treatment beds will benefit all populations.
             We know that due to social determinants of health and historical trauma, there is a disproportionate
             need for care for BIPOC individuals. That care should be readily available.

             Health IT Infrastructure
             The Statewide Bed Registry in the state of Washington will be compliant with health information
             technology standards and implementation specifications as identified in 45 CFR 170, Subpart B.




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                                                    Washington


                           American Rescue Plan Act Funding Work Plan for FY22-25



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant APRA Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021, to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential American Rescue
             Plan Act (ARPA) funding to address principles focused on recovery needs, support for the behavioral
             health workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment
             services. Our intention is to use the ARPA funding to sustain projects originally funded through the Covid
             Supplemental award through September 2025, which will result in some of our contracts not being
             executed until March 2023. In addition to extending support for those projects, we are also adding in
             new funding for suicide prevention and technology infrastructure. The budget summary, on the following
             pages, provides the detailed amounts allocated across the continuum of behavioral health services
             through a wide variety of projects, treatment funds provided through our Behavioral Health
             Administrative Service Organizations (BH-ASOs) and Tribes. The Washington Health Care Authority
             respectfully submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others) on priorities for the Covid-19 Supplemental funding. Input on the
             proposals was received at the end of the event, which helped to inform the direction, as well as solidify
             the allocations to each section. We are utilizing the input received from this to guide us in our
             investments using the ARPA funding as well. The Health Care Authority may also require some flexibility
             to move allocations from one proposal, to another, within those in this application, in the event a




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             particular proposal is particularly successful and requires funding allocation from another proposal which
             may not require the entire allocation presented in this application. Additionally, the Washington
             Legislature will require the review and approval of our workplan in the 2023 Legislative session, which
             may create the need to shift funding based on their decisions at that time.

             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of Prevention, First Episode Psychosis, Treatment, Recovery
             Support Services, Tribal, Crisis Services and Technology Infrastructure. In the pages that follow, a longer
             project narrative will include the project title, budgeted amount, a description, or scope of work
             summary, as well as a narrative of how the project addresses state needs and gaps, especially gaps in
             equity.

             WA is grateful to SAMHSA for the opportunity to apply for the ARPA funds, as this has been an
             unprecedented year of extreme stressors to the most vulnerable among us, and the funding will
             undoubtedly support those persons at greatest risk, as well as those who seek support in treatment and
             ongoing recovery.



             Project List and Budget Table

               Prevention
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget
                                                               Develop and expand programming for
                                                               new and continuing community-based
               MHAR-Px1            Suicide Prevention          organizations with a specific focus on         $1,660,114
                                                               suicide prevention in high-need
                                                               communities.
                                                                         Total Prevention Set-Aside         $1,660,114
               FEP Set-Aside
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget
                                                               Develop and adapt evidence based
                                   Rural and AI/AN Evidence
                                                               coordinated specialty care programs
               MHAR-CYF1           Based Coordinated                                                          $3,984,273
                                                               for FEP to meet the needs of rural,
                                   Specialty Care for FEP
                                                               frontier and AI/AN communities.
                                                                                  Total FEP Set-Aside       $3,984,273

               Treatment
               Children, Youth and Family Treatment Funding
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget




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                                                                Developing Wraparound and Intensive
                                                                Service (WISe) workforce to support
                                   Developing Wraparound
                                                                youth with Intellectual
               MHAR-CYF2           and Intensive Services                                                      $600,000
                                                                Disabilities/Developmental Disabilities
                                   (WISe) Workforce Support
                                                                (including Autism Spectrum Disorder
                                                                (ASD).
                                                                 Trauma Focused Cognitive Behavioral
                                   Trauma Focused Cognitive     Therapy (CBT) Training for clinicians
               MHAR-CYF5           Behavioral Therapy           serving children and youth returning to        $376,671
                                   Training                     school as part of the triage process
                                                                post screening.
               Adult Treatment Funding
                                                                Expansion of current contract to
                                                                deliver Cognitive Behavioral Therapy
                                   Cognitive Behavioral
               MHAR-MHA1                                        for Psychosis to a cohort of clinicians        $130,000
                                   Therapy for Psychosis
                                                                who are serving people on 90/180
                                                                involuntary civil commitment orders.
                                                                Provide training via a 100-hour course
                                                                for Mental Health (MH) professionals
                                                                to secure credentials to become an
                                   Mental Health Specialist     Older Adult Mental Health Specialist,
               MHAR-MHA3                                                                                       $396,671
                                   Training                     Intellectual Disabilities /Developmental
                                                                Disabilities (ID/DD) Mental Health
                                                                Specialist, and Ethnic Minority Mental
                                                                Health Specialist.
               BH-ASO Treatment Funding
                                                                The community mental health services
                                                                provided include but are not limited to
                                                                outpatient services, including
                                                                specialized outpatient services for
                                                                children, the elderly, individuals with a
                                                                serious mental illness, residents of the
                                   Behavioral Health            service areas who have been
                                   Administrative Service       discharged from inpatient treatment at
               MHAR-ASO2                                                                                     $10,066,183
                                   Organization (BH-ASO)        a mental health facility, day treatment
                                   Treatment Funding            or other partial hospitalization services,
                                                                psychosocial rehabilitation services,
                                                                outreach to and services for individuals
                                                                who are homeless, at risk of
                                                                homelessness, or ready for discharge
                                                                from inpatient psychiatric care, and
                                                                individuals residing in rural areas.
                                                                                      Total Treatment $11,569,525

               Recovery Support Services




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                                                                                                           Proposed
               Project #           Project Title                  Project Description
                                                                                                           Budget
                                                                  Mental Health Block Grant (MHBG)
                                                                  funds could be used to support case
                                   Participant Support Funds-
                                                                  managers, outreach workers, Assertive
                                   Housing and Recovery
               MHAR-RSS1                                          Community Treatment Services for             $50,000
                                   through Peer Services
                                                                  people experiencing homelessness,
                                   (HARPS) teams
                                                                  medications, coordination with primary
                                                                  care, case management etc.
                                                                  Mental Health Block Grant (MHBG)
                                   Participant Support Funds-     funds could be used to support case
                                   Projects for Assistance in     managers, outreach workers, Assertive
               MHAR-RSS2           Transition from                Community Treatment Services for            $140,000
                                   Homelessness (PATH)            people experiencing homelessness,
                                   teams                          medications, coordination with primary
                                                                  care, case management etc.
                                                                  Mental Health Block Grant (MHBG)
                                                                  funds could be used to support case
                                                                  managers, outreach workers, Assertive
                                   Participant support Funds -
               MHAR-RSS3                                          Community Treatment Services for            $100,000
                                   Peer Bridger
                                                                  people experiencing homelessness,
                                                                  medications, coordination with primary
                                                                  care, case management etc.
                                                                  Targeted peer outreach on Project for
                                   Adding a Peer to Projects      Assistance in Transition from
                                   for Assistance in Transition   Homelessness (PATH) teams focusing
               MHAR-RSS12                                                                                    $1,759,433
                                   from Homelessness (PATH)       on a by-name list of individuals who
                                   Outreach Teams                 have had multiple contacts with crisis
                                                                  system.
                                   Operating costs for a          Provide timely information for
                                   housing                        individuals with behavioral health
               MHAR-RSS14                                                                                      $10,000
                                   inventory/estimator/calcul     conditions to access housing services
                                   ator                           and resources.
                                                                  Corporation for Supportive Housing
                                                                  (CSH) curriculum to increase the
                                   Supportive Housing             number of affordable housing
               MHAR-RSS16                                                                                     $150,000
                                   Institute                      development for individuals with
                                                                  mental health and substance use
                                                                  disorders.
                                                                  Utilize block grant funds that would
                                   Cover Foundational             cover Foundational Community
                                   Community Support              Support services for people
               MHAR-RSS19          Services in Institution for    transitioning out of Institution for        $500,000
                                   Mental Disease (IMD) when      Mental Disease (IMD) settings if
                                   Medicaid is Suspended          Medicaid does not get retroactively
                                                                  reconnected.




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                                                                 Enhance jail transition programs with
                                                                 SUD peers services to individuals who
                                                                 upon release will be homeless. SUD
                                   Peer Pathfinders Transition
               MHAR-RSS24                                        Peer Services begin prior to release to       $790,000
                                   from Incarceration Pilot
                                                                 establish relationship and upon release
                                                                 to support the transition to needed
                                                                 services.
                                   Add Co-Occurring Peer to      Add 1 peer to each of the four
                                   Forensic-Housing Housing      Forensic-Housing Housing and
               MHAR-RSS25                                                                                      $400,000
                                   and Recovery through Peer     Recovery through Peer Services (F-
                                   (F-HARPS) Services            HARPS) in Phase I regions.
                                                                 Helping individuals with the creation of
                                   Funding for SSI/SSDI          a Supplemental Security Income/Social
               MHAR-RSS36          Outreach, Access, and         Security Disability Insurance (SSI/SSDI)      $500,000
                                   Recovery (SOAR) Leads         outreach access and recovery
                                                                 community coordinators.
                                                                 Pilot enhancements to mobile crisis
                                   Enhance Mobile Crisis
               MHAR-RSS41                                        teams by adding CPCs to existing             $1,909,000
                                   Teams with CPCs
                                                                 teams.
                                                                    Total Recovery Support Services          $6,308,433

               Tribal
                                                                                                            Proposed
               Project #           Project Title                 Project Description
                                                                                                            Budget
                                   TARGET (database)             TARGET replacement program for SUD
               MHAR-TRB1                                                                                       $200,000
                                   Replacement                   and mental health data.
                                                                 Provide funding to 29 federally
                                                                 recognized Tribes and two Urban
                                   Funding to Tribes and         Indian Health Organizations to deliver
               MHAR-TRB3           Urban Indian Health           treatment for individuals diagnosed          $1,460,114
                                   Organizations                 with SMI/SED, prevention, treatment,
                                                                 and recovery support services within
                                                                 their Tribal communities.
                                                                                            Total Tribal     $1,660,114

               Crisis Set-Aside
                                                                                                            Proposed
               Project #           Project Title                 Project Description
                                                                                                            Budget
                                   Behavioral Health
                                                                 Services include 24-hour-a-day
                                   Administrative Service
                                                                 emergency care services, mobile crisis,
               MHAR-ASO2           Organization (BH-ASO)                                                      $3,320,228
                                                                 crisis line, and Designated Crisis
                                   Treatment Funding - Crisis
                                                                 Responders (DCR) services.
                                   Services




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                                                                                 Total Crisis Set-Aside     $3,320,228

               Technology Infrastructure
                                                                                                           Proposed
               Project #           Project Title                Project Description
                                                                                                           Budget
                                                                Support technological enhancements
                                                                to the CDR that will allow retention of
                                                                historical clinical data, including
               MHAR-TEC1           Clinical Data Repository                                                   $325,000
                                                                MH/SUD data, as well as
                                                                implementation of an analytic enclave
                                                                environment.
                                                                Enable meaningful, seamless exchange
                                                                of protected and sensitive BH and PH
                                   Consent Management
               MHAR-TEC2                                        information amongst those who are            $1,300,000
                                   Solution
                                                                authorized to receive it in order to
                                                                deliver services to Washingtonians.
                                                                Develop and implement a statewide
                                                                bed registry to track capacity and real-
                                                                time bed availability for psychiatric
                                                                hospital beds, freestanding evaluation
                                                                and treatment center beds, Secure
               MHAR-TEC3           Statewide Bed Registry                                                    $1,414,478
                                                                Withdrawal Management and
                                                                Stabilization Beds, crisis
                                                                triage/stabilization beds, and
                                                                substance use disorder residential
                                                                treatment beds.
               Total Technology Infrastructure                                                              $3,039,478


               TOTAL MHBG Covid Supplement Budget
                                                                                      Suicide Prevention     $1,660,114
                                                                                          FEP Set-Aside      $3,984,273
                                                                                             Treatment      $11,569,525
                                                                            Recovery Supports Services       $6,308,433
                                                                                                 Tribal      $1,660,114
                                                                                      Crisis Set-Aside       $3,320,228
                                                                             Technology Infrastructure       $3,039,478
                                                                                       Administrative        $1,660,114
                                                                                          Total Budget $33,202,279




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             Prevention Project Detail


             Project #: MHAR-Px1

             Project Title: Suicide Prevention            Proposed Budget: $1,660,114

             Scope:
             Washington State is facing an increased demand for suicide prevention services both before and in the
             face of the COVID-19 pandemic. To address the social and mental health needs of communities, the
             Washington Health Care Authority is requesting $1,660,114 for 2022 through 2025 to implement and
             expand projects/programs in communities where there is a demonstrated need for suicide prevention.
             The requested funds represent costs associated with the performance and administration of suicide
             prevention projects to community-based organizations in the state. HCA suicide prevention projects are
             direct service evidence-based, promising, and evidence-informed strategies with a focus in high-need
             communities. These services ensure that WA State keeps pace with best practices and has current
             training in providing services. Suicide prevention services are crucial for all communities in Washington,
             but current funding levels limit the reach of state sponsored programming. Of the twenty-three
             community-based applicants requesting suicide prevention funding, only twelve organizations were
             awarded based on current state funding levels despite the record number of quality submissions for the
             RFA. This demonstrates a need for suicide prevention in the state that is not currently being met due to
             funding, not capacity, limitations.

             The current proposal/project asks for funds to develop and expand programming for new and
             continuing community-based organizations with a specific focus on suicide prevention in high-need
             communities. The expanded programming will include:
                     • Evidence-based and promising programs identified on one or more evidence-based lists
                        showing effectiveness for mental health and/or suicide prevention outcomes.
                     • Mental health First Aid and/or Youth Mental Health First Aid provided to individuals working
                        in populations with individuals who may be experiencing suicidal ideation to recognize signs
                        and connect individuals to resources.
                     • Youth and parent programs focused on reducing stigma and encouraging individuals to seek
                        help.
                     • Information dissemination campaigns that target individuals at higher risk for death by
                        suicide.
                     • Evaluation of programming to assess desired outcomes being met.
                     • Continued training and professional development opportunities for partners and coordinators
                        of suicide prevention programming to ensure information sharing and implementation of
                        best practices.

             The global COVID-19 pandemic presents new and continued challenges in mental health promotion and
             suicide prevention in the State of Washington. Before the pandemic, the number of suicides in
             Washington State increased by 13 percent from 2016 to 2019, with a raw increase of 1123 deaths in
             2016 to 1263 deaths in 2019 (WA DOH, 2020). According to preliminary data from the Washington
             Department of Health in December 2020, the ongoing pandemic has the potential to create a disaster




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             cascade, causing the risk of suicide, depression, hopelessness, and substance use to increase due to
             isolation, stress, and fear from the economic, physical, social consequences of the crisis. This is
             especially felt among specific high-risk groups who are unable to assess healthcare or other necessary
             resources, like young adults, LGBTQ+, certain occupational groups, and persons who are undocumented.
             Youth data collected in Washington State during the pandemic reflect this. According to the COVID-19
             Student Survey (CSS), 45 percent of middle school students and 58 percent of high school students that
             completed the survey reported feeling sad or depressed most days in the past 12 months, as compared
             to 32 percent of middle school students and 41 percent of high school students self-reported in the
             2018 Health Youth Survey. (Note, while CSS and HYS are not directly comparable due to administration
             methods, it does provide context for comparison.) Though students reported higher rates of depression
             and sadness during the pandemic, around two thirds of respondents reported feeling hopeful about the
             future, demonstrating a social momentum that the State can capitalize on.


             The anticipated outcomes of being able to fund suicide prevention efforts in high-need communities
             throughout the state of WA include decreased risk of suicide ideation and ultimately lower rates of
             death by suicide. By allowing communities to identify local solutions to local problems under a
             framework that has demonstrated outcomes, impacts are optimized, inclusion and cultural competency
             around local populations are respected, sustainability is integrated in the process, and lives are saved.
             Communities funded at current levels have seen a positive change with the implementation of evidence-
             based suicide prevention programming. Snohomish county, in western Washington, has experienced a
             statistically significant reduction in suicide attempts across all grades as a direct result of our previous
             MHPP funded suicide prevention efforts; the self-reported suicide attempt rate dropped from 17.1% of
             10th graders in 2016, to just 6.7% in 2018, and when looking at the same graduating class of student
             from 2018, the self-reported suicide attempt rate dropped from 17.1% of 10th graders in 2016 to just
             10.0% for that same graduating class as 12th graders in 2018 (HYS, 2002-2018). Without MHPP CBO
             funding, and other Districts around Washington State, are left without adequate Mental Health
             Promotion and Suicide Prevention funding.

             C25       Monroe School District 10th Grade NO Adult to Turn Rates (HYS)
             2002      2004 2006 2008 2010 2012 2014 2016 2018
             n/a       n/a   18.1% 19.9% 16.6% 15.3% 15.4% 13.7% 8.2%

             H56       Monroe School District 10th Grade Attempted Suicide Rates (HYS)
             2002      2004 2006 2008 2010 2012 2014 2016 2018
             9.8%      8.6% 5.6% 12.3% 9.8% 8.3% 8.0% 17.1% 6.7%

             With additional funding we will be able to support additional communities like Snohomish County and
             short-term outcomes that include a decrease in youth reporting symptoms of depression, anxiety, and
             suicidal ideation as reported on our WA State Healthy Youth Survey. Longer term impacts include
             decreased suicide ideation, attempts, and deaths across the WA populace. Without these pointed
             efforts that are developed, implemented, and owned by the community, there is an increased likelihood
             that outside efforts will not align with local readiness, cultural nuances, and, in the end, lack
             sustainability. This ultimately leads to a lower quality of life for Washingtonians and preventable death.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             The success in Snohomish County illustrates the impact of community driven solutions on the rate of
             suicide among high-risk groups. But despite these accomplishments, the rate of suicide in Washington
             State is still higher than the national average. The suicide rate in Washington has increased from 13.8
             percent in 2010 to 16.2 percent in 2019, compared to the national suicide rate which increased from
             12.4 to 14.8 over the same time. For Washington State, that equates to 11,160 lives lost due to suicide
             from 2010 to 2019, and countless other family and community members lives affected after suicide (WA
             DOH, 2020). According to the state Suicide Prevention Plan, an average of 65 people in Washington each
             week are hospitalized due to intentional self-inflicted injuries. The Centers for Disease Control estimates
             that suicide and suicide attempts cost society about $70 billion a year nationally in combined medical
             and work loss costs.
             As the state and nation transition to a different phase of the pandemic, high risk individuals like young
             adults, face potentially new obstacles such as continued mental health issues, overcoming the potential
             disruptions in school, work, and finances, and re-engaging in social life with continued
             recommendations from the CDC and local health departments (e.g., mask mandates). There is a critical
             need for suicide prevention outreach and programs. This is a critical time to address potential harms and
             to encourage engagement in both adaptive coping behaviors and unique strategies of social
             engagement within current public health guidelines to reduce high-risk substance use and worsening
             mental health symptoms.
             We know that suicide impacts different populations in WA disproportionately. LGBTQ youth in
             particular. While some of this is attributed to factors such as access to lethal means and distance from
             medical facilities, some is attributable to social determinants of health and other factors that are
             nuanced within community. By utilizing a framework, the focuses on community identified and
             implemented solutions, and ensuring that this framework considers local conditions and factors,
             optimized outcomes become much more likely. This is particularly true when the application of the
             framework is inclusive of data and engagement of the target population in the process.
             Current funding is insufficient to meet demand for suicide prevention and crisis intervention. This is a
             significant public health issue as WA State’s suicide rate continues to increase. WA needs funding for
             adequate services in suicide prevention, intervention, treatment, and post-vention (resource provided in
             the aftermath of suicide) so we can support individuals, families, and communities affected by suicide
             deaths.
             The CDC Household Pulse survey from late February 2021, symptoms of anxiety disorder were reported
             by a greater percentage of participants who identified as non-Hispanic, other races and multiple races
             (42.8%), Hispanic or Latino (36.9%), or non-Hispanic, black, single race (35.5%) than those who identified
             as non-Hispanic white, single race (32.1%). According to the Washington Department of Health, 2020
             compared to 2019 saw an increase in suicides among person who identify as Hispanic (WA DOH, 2020).
             With evidence suggesting disproportionate impact of the COVID-19 pandemic on communities of color,
             and with other evidence suggesting less help-seeking and/or utilization of counseling or services
             requiring interaction with others (both within the 18–29-year-old age group and within select
             racial/ethnic groups), programming that supports suicide prevention for these high-risk groups is
             desperately needed.




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             First Episode Psychosis Project Detail


             Project #: MHAR-CYF1

             Project Title: Rural and AI/AN Evidence Based Coordinated Specialty Care for FEP

             Proposed Budget: $3,984,273

             Scope:
             This additional project amount would be to develop and adapt evidence based coordinated specialty
             care (CSC) programs for first episode psychosis (FEP) to meet the needs of rural, frontier, AI/AN
             communities, and other special populations; with the necessary support to operationalize the projects in
             a timely manner. The project would be to help to develop a rural and /or Tribal New Journeys/CSC
             model, to evaluate it, and broadly disseminate the results to inform future program development. This
             model can expand to other specific populations as the work advances. Other states are also interested in
             figuring out how to develop CSC services in rural areas and Tribal communities and other specific
             populations. There could be great value in collaborating with partners in other states on this (they would
             fund their own program development) and could help to define rural and AI/AN CSC in other parts of the
             U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation are essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early
             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.




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             Treatment Projects Detail


             Children, Youth and Family

             Project #: MHAR-CYF2


             Project Title: Developing Wraparound and Intensive Services (WISe) Workforce Support

             Proposed Budget: $600,000

             Scope:
             Expansion of Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder.



             Based on the initial model, identify additional WISe behavioral health agencies each year to plan and
             implement the project informed by local needs with logistical oversight provided the WISe Workforce
             Collaborative/En Route. Develop glide path for more expansive reach of focused special population
             services. A training component will be provided by Seattle Children’s Autism Center and offered to
             additional BH agencies. The proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the HCA and DDA convened WISe and ID/DD and ASD
             workgroup or Project Echo sessions. This allows the project to build more directly on the knowledge
             and efforts already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with ID/DD and
             ASD.

             During COVID the increased need of trained staff to provide stabilization support for youth in WISe with
             ID/DD including ASD has become apparent. The concern identifying the need for additional training has
             been expressed by caregivers, behavioral health agency staff and allied system partners. Our behavioral
             health workforce is often times generalists by education and don't have the training to best support
             youth with ASD and their families. This funding would provide the training support and consultation to




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             five behavioral health agencies as well as enhance community coordination in three regions for youth
             enrolled in WISe with ID/DD including ASD.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Provides workforce training and development to address the need in providing co-occurring services for
             youth with ID/DD including ASD. Also provides funding for community coordination and input from
             youth, families and system partners.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.



             Project #: MHAR-CYF5


             Project Title: Trauma Focused Cognitive Behavioral Therapy Training        Proposed Budget: $376,671

             Scope:
             Continue to provide training in TF-CBT to clinicians serving children and youth returning to school as part
             of the triage process post screening as a part of the recommended DOH fast response plan to help meet
             the needs of children and youth returning to school following the Governor's proclamation that in
             person options are required as of April 1, 2021. This will allow clinicians to continue to serve youth who
             indicate trauma exposure in the screening process (SED) following the pandemic to support increased
             access to necessary mental health supports. This will advance the Sonoma model and further enhance
             the clinical interventions available to children and youth across WA.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth throughout the pandemic regarding mental health
             impact are expected to surface as children youth and families begin the transition to in person
             education. This proposal meets an identified need, and the timeline will ensure that trauma informed
             clinical interventions will be available to children and youth as transition back to school and acclimate to
             new norms.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.




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             Adult Treatment

             Project #: MHAR-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis               Proposed Budget: $130,000

             Scope:
             This project will continue to enhance the workforce serving individuals with psychosis by delivering
             Cognitive Behavioral Therapy for Psychosis training and technical assistance to a cohort of outpatient
             and inpatient clinicians from selected contracted community-based sites who are serving people
             receiving 90/180-day involuntary civil commitment orders. This EBP helps people living with psychosis
             achieve a level of self-management that has shown great success, supporting individuals and their
             families in the community.

             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate EBP should assist this population in better managing their
             symptoms and reduce their need for further involuntary or inpatient treatment.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training on CBT for Psychosis will help empower individuals with psychosis to better manage symptoms
             that interfere with their ability to live their lives in the community. The BH workforce needs enhanced
             tools to treat psychosis beyond simply medication alone and this EBP is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about CBT for
             Psychosis and its success rate.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.



             Project #: MHAR-MHA3


             Project Title: Mental Health Specialist Training                        Proposed Budget: $396,671

             Scope:
             Provide training via a 100-hour course for Mental Health Professionals to secure credential to become
             an Older Adult MH Specialist, Intellectual/Developmental Disabilities Mental Health Specialist, and
             Ethnic Minority Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health
             Outpatient treatment. Training curricula will focus on recognizing unique needs of these populations,
             clinical best practices, understanding of the community resources and partners when working with
             these populations, the role of the Mental Health Specialist, and how to provide clinical consultation,
             cultural humity, and other relevant information specific to each demographic.




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             The Division of Behavioral Health and Recovery has not sponsored MH Specialist academies for almost
             10 years and as such, there are significant workforce shortages in specialists trained and credentialed to
             work with these populations. Each has their own unique needs or considerations that impact care and
             the BH workforce needs additional training and support in order to meet these needs.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for MHPs trained and sufficiently skilled to work with
             older adults is more critical than ever. The current workforce requires specialized skills and knowledge
             to better support BIPOC populations and people with intellectual or developmental disabilities. This
             workforce shortage must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.



             BH-ASO Treatment Funding

             Project #: MHAR-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding

             Proposed Budget: $10,066,183

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental




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             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI),
             or Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to
             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




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             Recovery Support Services Projects Detail

             Project #: MHAR-RSS1


             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams

             Proposed Budget: $50,000

             Scope:
             Adding additional support funds to each Housing and Recovery through Peer Support (HARPS contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The HARPS priority population is unable to earn wages while involved with inpatient treatment and is
             unlikely to have savings to secure housing upon discharge. Additionally, many participate intensive
             outpatient treatment which limits the amount of time to earn wages to afford housing, as well as other
             necessities to stay engaged in treatment and recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: MHAR-RSS2




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             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams

             Proposed Budget: $140,000

             Scope:
             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Scope:
             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.




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             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: MHAR-RSS12

             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams

             Proposed Budget: $1,759,433

             Scope:
             Proposed funds will continue funding for one peer counselor to the current Projects for Assistance in
             Transition from Homelessness (PATH). PATH programs assist individuals in accessing housing, mental
             health services, substance abuse treatment, disability benefits, and other services to stabilize them and
             facilitate recovery. Each agency hired a peer counselor to expand outreach and engagement services for
             individuals with a serious mental illness (SMI) and homeless or at risk of homelessness utilizing the Block
             Grant Covid Supplemental funding, this will continue support for those positions through mid-2025.
             Projects will work closely with BHASO's, MCO's and Crisis stabilization centers to create a referral flow
             and coordination of services.

             This continued support for a PATH peer counselor on the PATH teams will allow agencies to expand
             needed outreach and engagement efforts. The proposed funds will enhance the quality of program
             delivery and engagement and expand critical crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)




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             Project #: MHAR-RSS14


             Project Title: Operating Costs for a Housing Inventory/Estimator/Calculator Proposed Budget: $10,000


             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This funding supports the online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience
             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.



             Project #: MHAR-RSS16


             Project Title: Supportive Housing Institute                               Proposed Budget: $150,000


             Scope:
             DBHR proposes to use the proprietary curriculum from the Corporation for Supportive Housing to
             increase the number of affordable housing development for individuals with serious mental illness or
             serious emotional disturbance. HCA-DBHR will contract with CSH to assist with the design and
             implementation of two Supportive Housing Institutes (the “Institute”) for the State of Washington
             whose completion will coincide with the capital and operating fund cycles of both 2022 and 2023. Each
             Institute will take place over a five-month period and allow for up to eight project teams per Institute.




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             Each team will be required to include a SUD/MH service provider, developer, and operator (property
             manager) of a specific, proposed project. CSH will lead the teams through hands-on learning to take
             their projects from concept to fully developed project plans. Each Institute will produce projects that are
             well prepared for state and local funding and that align with the national Dimensions of Quality
             Supportive Housing, which include and supersede the fidelity indexes of SAMHSA, Pathways, and
             Watson HRM.

             The HCA oversees the State’s Medicaid benefits called Foundational Community Supports, which include
             supportive housing and supported employment services. Providers State-wide are expanding their
             delivery of these services to beneficiaries who are experiencing chronic homelessness, unnecessary
             institutionalization, and cycles of homelessness and system involvement, but scaling supportive housing
             itself remains constrained by a lack of supportive housing apartments. The HCA aims to build the
             capacity of mental health and substance use treatment providers to develop, operate, and/or form
             strong partnerships with other organizations to deliver new, high-quality supportive housing
             developments.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also
             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.




             Project #: BGCE-RSS19

             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Proposed Budget: $500,000


             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing




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             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;
             •       reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •       improve Substance Use Disorder system capacity; and
             •       improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.


             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000


             Scope:
             This funding will continue support for a Certified Peer Counselor to up to five existing BH-ASO contracts
             for jail transition services. Adding a Certified Peer Counselor to existing jail transition services teams will
             increase the level of services being provided, by having a CPC connect with the individuals while they are
             still in jail and helping them with transition to the community. The certified peer counselor will work




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             with individuals diagnosed with a serious mental illness, linking them to behavioral health services,
             including co-occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail
             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals
             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                             Proposed Budget: $400,000

             Scope:
             These additional funds would continue support for a certified peer counselor for each Forensic HARPS
             team in the phase 1 regions, originally funded through the Block Grant Covid Supplemental award. With
             this additional staff person, the teams would be able to increase caseload capacity. This position would
             also allow the Forensic HARPs teams to serve individuals diagnosed with serious mental illness or co-
             occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of
             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.




             Project #: BGCE-RSS36


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Proposed Budget: $500,000

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                       Proposed Budget: $1,909,000


             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by continuing support for certified peer
             counselors in Washington State. The intended outcome is to increase the engagement and outreach of
             MCR teams to include certified peer counselors to even more effectively support the peers they serve in
             crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




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             Tribal Projects Detail

             Project #: MHAR-TRB1


             Project Title: TARGET (database) Replacement                             Proposed Budget: $200,000


             Scope:
             Based on a pilot to work with a Tribe that currently has EPIC to develop a mechanism to automatically
             upload SAMHSA-required data to HCA's behavioral health data store, with minimal double entry of data,
             this project will support the expansion and maintenance of this pilot to other Tribes across the state.
             This project will offer funding to maintain the behavioral health data system that will replace the
             previously used TARGET system.

             This project will ensure that there is maintenance for the data system that will support the collection of
             SAMHSA-required data. As the pilot will help HCA to identify if we can use an existing EHR to build the
             necessary system to meet the needs of the Tribes and the state in SUD and mental health data
             collection for our reporting to our federal partners/funders and the state legislature, this project will
             maintain these efforts and address any system improvements needed along with the evolving landscape
             for behavioral health data collection and reporting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Tribes requested a solution for the TARGET replacement in 2016. Providing funding resources to
             maintain and improve data collection for Tribes will address a long-time gap for Tribal communities in
             SUD and mental health data collection in the new integrated health care environment.

             This project will systemically improve data reporting and surveillance of AI/AN communities to better
             address any health disparities. Data is very important in identifying needs and strengths in BIPOC
             communities.


             Project #: MHAR-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $1,460,114


             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed behavioral health, mental health services for individuals with
             SMI/SED and substance use disorder prevention, treatment, OUD intervention and recovery supports
             services within their Tribal communities. Tribes will submit a plan to implement recommended services
             as outlined in the NOA and allowed within the SABG/MHBG regulations. Additional funds for Tribes will
             be divided evenly between the Tribes and Urban Indian Health Programs (UIHP) (Native Project & SIHB).
             These funds will begin on March 2023 - Sept 2025 and may be an extension of the Tribe's and UIHP's
             COVID Enhancement projects to ensure a full recovery from the impacts of the COVID pandemic.




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             This project is important because AI/AN and Tribal communities have been greatly affected by the
             COVID pandemic and the various Tribal and State Stay at Home Orders. Tribes are identifying ways to
             maintain some of their BH program in a virtual and semi/virtual environment. Due to the pandemic,
             Tribes are stating that the individuals in their communities are struggling with social isolation and a lack
             of treatment services due to the pandemic. There has also been limited cultural activities available for
             Tribal communities due to the pandemic. The historic annual Canoe Journey was canceled two years in a
             row with very limited ability to implement cultural programs across all Tribal communities. These funds
             will support the Tribe's and UIHP's ability to address any gaps and needs in their behavioral health
             services and increase support individuals that may have lingering behavioral health impacts due to the
             COVID 19 pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our
             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:
             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.




             Crisis Set-Aside Projects Detail

             Project #: MHAR-ASO2


             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Proposed Budget: $3,320,228

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective crisis provider networks enhancing the provision of comprehensive community mental




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             health services to individuals who are either adults with a serious mental illness (SMI) or children with
             serious emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and
             Statistical Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services
             provided 24 hours a day, seven days a week including crisis call line, evaluation and treatment services
             for Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient
             services, crisis stabilization services, Employment and Training (E&T) services, and services for the
             priority populations defined per Contract. Services also include 24-hour-a-day emergency care services,
             mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic. All funded crisis workers will be required to be trained in trauma informed care,
             de-escalation techniques and the fundamentals of harm reduction.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




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             Technology Infrastructure Projects Detail

             Project #: MHAR-TEC1


             Project Title: Clinical Data Repository                                   Proposed Budget: $325,000

             Scope:
             This funding request is to support technological enhancements to the CDR that will allow retention of
             historical clinical data, including MH/SUD data, as well as implementation of an analytic enclave
             environment. This solution will allow authorized users, including researchers, evaluators, state staff,
             clinicians and others to access protected health information in a secure environment in order for them
             to conduct their research and analyses, without the need for these data to leave the CDR secure
             environment. This will support programmatic enhancements, overall program governance, and analytics
             in order to achieve meaningful results and support other key efforts such as Value Based Purchasing,
             Health Care Transformation and Health Care Cost/Quality Transparency.

             The current Medicaid CDR was established several years ago. There is now a need to enhance the
             current CDR and define a strategic vision focused on clinical quality and outcome analytics, total cost of
             care analytics and care coordination functions especially focused on MH/SUD clients. Washington’s CDR
             presents a unique opportunity to develop a true clinical data warehouse that is leveraged in conjunction
             with other State data assets such as the All-Payer Claims Database (APCD), the Health Information
             Exchange (HIE), Public Health disease registries and others, to generate true total cost of care and care
             quality/outcome analytics to inform research, policy and health system transformation.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless data exchange
             between providers. The CDR is a critical data asset which has the capabilities to help bridge this gap. This
             investment will significantly enhance the technological ability of this tool to enable appropriate and
             secure data sharing amongst those who need it in order to better serve the MH/SUD clients in
             Washington.

             Medicaid clients who need MH/SUD services are amongst the most vulnerable populations in our care.
             As stated above, care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless
             data exchange between providers. The CDR is a critical data asset which has the capabilities to help
             bridge this gap and help enhance equitable access to information about clients to their providers. This
             investment will significantly enhance the technological ability of this tool to enable appropriate and
             secure data sharing amongst those who need it in order to better serve the MH/SUD clients in
             Washington.

             Health IT Infrastructure




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             The Clinical Data Repository as implemented in the state of Washington is compliant with health
             information technology standards and implementation specifications as identified in 45 CFR 170,
             Subpart B.


             Project #: MHAR-TEC2


             Project Title: Consent Management Solution                                 Proposed Budget: $1,300,000

             Scope:
             The electronic consent management solution, which has been approved by Washington State HHS
             agencies, will be a key foundational investment in the state’s health information exchange infrastructure
             and will enable meaningful, seamless exchange of protected and sensitive BH and PH information
             amongst those who are authorized to receive it in order to deliver services to Washingtonians.

             Every initiative to support Behavioral Health Integration requires Behavioral Health (BH) and Physical
             Health (PH) data to be seamlessly shared amongst clinicians, and across the care continuum. Care
             coordination, case management, population health and even public health, as evidenced during this past
             year, are highly dependent on this seamless exchange of information. In addition to direct care
             clinicians, others in the care system such as care coordinators, case managers, managed care
             organizations, public health entities and others also need access to such data in order to be able to fulfill
             their respective missions. Lack of a standardized, centralized consent management solution has
             presented a significant barrier to realizing true BH-PH integration.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless data exchange
             between providers. A centralized consent management solution is a critical investment which will
             provide the capabilities to help bridge this gap. This investment will significantly enhance the
             technological ability that enables appropriate and secure data sharing amongst those who need it in
             order to better serve the MH/SUD clients in Washington.

             Medicaid clients who need MH/SUD services are amongst the most vulnerable populations in our care.
             As stated above, care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless
             data exchange between providers. A centralized consent management solution is a critical investment
             which will provide the capabilities to help bridge this gap and help enhance equitable access to
             information about clients to their providers. This investment will significantly enhance the technological
             ability to enable appropriate and secure data sharing amongst those who need it in order to better serve
             the MH/SUD clients in Washington.

             Health IT Infrastructure
             The consent management solution will meet health information technology standards and
             implementation specifications as identified in 45 CFR 170, Subpart B. Specifically, the consent
             management solution will be interoperable with ONC certified Electronic Health Record (EHR) systems
             and will use HL7 FHIR standards for secure data exchange between systems.




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             Project #: SAAR-TEC3


             Project Title: Statewide Bed Registry                                        Proposed Budget: $1,414,478

             Scope:
             This project will develop and implement a statewide bed registry to track capacity and real-time bed
             availability for psychiatric hospital beds, freestanding evaluation and treatment center beds, Secure
             Withdrawal Management and Stabilization Beds, crisis triage/stabilization beds, and substance use
             disorder residential treatment beds. The registry is intended to include both adult and youth/child beds.

             Contracted resources will be utilized to implement this new solution, with management of maintenance
             and operations to be supported by existing staff resources.

             The lack of a statewide bed registry has been a long-standing problem within the state. The need has
             been discussed in multiple work groups. This would include the legislative BHRST group and the ITA
             Work Group required by SB 5720. Both these workgroups have included stakeholder and consumer
             testimony on how difficult it is for a crisis worker, an individual or family member to find an available
             treatment bed. Currently, without a bed registry, multiple facilities have to be called to see if they
             provide the appropriate treatment services and to see if they have any vacant beds. Sometimes this
             process involves calling up to 20 facilities. Implementation of a registry will make it significantly easier to
             locate beds and access care. If this is not approved, crisis workers, individuals and families will continue
             to face obstacles in accessing critical care.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Ready access to mental health and substance use disorder treatment beds will benefit all populations.
             We know that due to social determinants of health and historical trauma, there is a disproportionate
             need for care for BIPOC individuals. That care should be readily available.

             Health IT Infrastructure
             The Statewide Bed Registry in the state of Washington will be compliant with health information
             technology standards and implementation specifications as identified in 45 CFR 170, Subpart B.




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                                                    Washington


                           American Rescue Plan Act Funding Work Plan for FY22-25



                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant APRA Funding Plan

             WA State Summary

             The COVID-19 pandemic has had a significant impact on people with Serious Mental Illness (SMI) and
             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
             examining trends from February 17, 2021, to March 1, 2021, this prevalence quadrupled to 33.4% for
             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
             14th highest of the 50 states, and 27.8% for depression, 23rd highest of the 50 states). The age group
             with the highest prevalence rates nationally is 18–29-year-olds (47.2% reporting anxiety, and 42.2%
             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).

             As the state and nation emerge from early Phases of the pandemic, the resulting impacts of the last year
             are a salient concern. People face potentially new obstacles such as continued mental health issues,
             overcoming the potential disruptions in school, work, and finances, and re-engaging in social life with
             continued recommendations from the CDC and local health departments (e.g., mask mandates). This is
             a critical time to address potential harms and to encourage engagement in both adaptive coping
             behaviors and unique strategies of social engagement within current public health guidelines to reduce
             high-risk substance use and worsening mental health symptoms, in both adults and youth.

             HCA’s Division of Behavioral Health and Recovery has reviewed the National Guidelines for Behavioral
             Health Crisis Care: Best Practice Toolkit and allocated a percentage of the total potential American Rescue
             Plan Act (ARPA) funding to address principles focused on recovery needs, support for the behavioral
             health workforce, particularly of Peers and Recovery Support Peers, and trauma-informed treatment
             services. Our intention is to use the ARPA funding to sustain projects originally funded through the Covid
             Supplemental award through September 2025, which will result in some of our contracts not being
             executed until March 2023. In addition to extending support for those projects, we are also adding in
             new funding for suicide prevention and technology infrastructure. The budget summary, on the following
             pages, provides the detailed amounts allocated across the continuum of behavioral health services
             through a wide variety of projects, treatment funds provided through our Behavioral Health
             Administrative Service Organizations (BH-ASOs) and Tribes. The Washington Health Care Authority
             respectfully submits the proposals you will find in the pages to follow.

             As part of our effort to seek stakeholder input, the Behavioral Health Advisory Council co-hosted a
             meeting with the Health Care Authority to invite input from various partners and representatives from
             across the state’s behavioral health system (from Peers to school districts, as well as counties, managed
             care organizations and others) on priorities for the Covid-19 Supplemental funding. Input on the
             proposals was received at the end of the event, which helped to inform the direction, as well as solidify
             the allocations to each section. We are utilizing the input received from this to guide us in our
             investments using the ARPA funding as well. The Health Care Authority may also require some flexibility
             to move allocations from one proposal, to another, within those in this application, in the event a




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             particular proposal is particularly successful and requires funding allocation from another proposal which
             may not require the entire allocation presented in this application. Additionally, the Washington
             Legislature will require the review and approval of our workplan in the 2023 Legislative session, which
             may create the need to shift funding based on their decisions at that time.

             Within the budget summary below, you will find the proposed project titles, a brief description and
             number for each project under the sections of Prevention, First Episode Psychosis, Treatment, Recovery
             Support Services, Tribal, Crisis Services and Technology Infrastructure. In the pages that follow, a longer
             project narrative will include the project title, budgeted amount, a description, or scope of work
             summary, as well as a narrative of how the project addresses state needs and gaps, especially gaps in
             equity.

             WA is grateful to SAMHSA for the opportunity to apply for the ARPA funds, as this has been an
             unprecedented year of extreme stressors to the most vulnerable among us, and the funding will
             undoubtedly support those persons at greatest risk, as well as those who seek support in treatment and
             ongoing recovery.



             Project List and Budget Table

               FEP Set-Aside
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget
                                                               Develop and adapt evidence based
                                   Rural and AI/AN Evidence
                                                               coordinated specialty care programs
               MHAR-CYF1           Based Coordinated                                                          $3,984,273
                                                               for FEP to meet the needs of rural,
                                   Specialty Care for FEP
                                                               frontier and AI/AN communities.
                                                                                  Total FEP Set-Aside       $3,984,273

               Treatment
               Children, Youth and Family Treatment Funding
                                                                                                           Proposed
               Project #           Project Title               Project Description
                                                                                                           Budget
                                                               Developing Wraparound and Intensive
                                                               Service (WISe) workforce to support
                                   Developing Wraparound
                                                               youth with SED who have Intellectual
               MHAR-CYF2           and Intensive Services                                                      $600,000
                                                               Disabilities/Developmental Disabilities
                                   (WISe) Workforce Support
                                                               (including Autism Spectrum Disorder
                                                               (ASD).
                                                                Trauma Focused Cognitive Behavioral
                                   Trauma Focused Cognitive    Therapy (CBT) Training for clinicians
               MHAR-CYF5           Behavioral Therapy          serving children and youth returning to         $376,671
                                   Training                    school as part of the triage process
                                                               post screening.




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                                                                Regional Response Teams are intended
                                                                as the interface with the TF-CBT
               MHAR-CYF5           Regional Response Teams      program and also manage the needs of
                                                                youth “stuck” on the queue awaiting
                                                                placement.
               Adult Treatment Funding
                                                                Expansion of current contract to
                                                                deliver Cognitive Behavioral Therapy
                                   Cognitive Behavioral
               MHAR-MHA1                                        for Psychosis to a cohort of clinicians         $130,000
                                   Therapy for Psychosis
                                                                who are serving people on 90/180
                                                                involuntary civil commitment orders.
                                                                Provide training via a 100-hour course
                                                                for Mental Health (MH) professionals
                                                                to secure credentials to become an
                                   Mental Health Specialist     Older Adult Mental Health Specialist,
               MHAR-MHA3                                                                                        $396,671
                                   Training                     Intellectual Disabilities /Developmental
                                                                Disabilities (ID/DD) Mental Health
                                                                Specialist, and Ethnic Minority Mental
                                                                Health Specialist.
               BH-ASO Treatment Funding
                                                                The community mental health services
                                                                provided include but are not limited to
                                                                outpatient services, including
                                                                specialized outpatient services for
                                                                children, the elderly, individuals with a
                                                                serious mental illness, residents of the
                                   Behavioral Health            service areas who have been
                                   Administrative Service       discharged from inpatient treatment at
               MHAR-ASO2                                                                                      $10,066,183
                                   Organization (BH-ASO)        a mental health facility, day treatment
                                   Treatment Funding            or other partial hospitalization services,
                                                                psychosocial rehabilitation services,
                                                                outreach to and services for individuals
                                                                who are homeless, at risk of
                                                                homelessness, or ready for discharge
                                                                from inpatient psychiatric care, and
                                                                individuals residing in rural areas.
                                                                                      Total Treatment $11,569,525

               Recovery Support Services
                                                                                                             Proposed
               Project #           Project Title                Project Description
                                                                                                             Budget




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                                                                  Mental Health Block Grant (MHBG)
                                                                  funds could be used to support case
                                   Participant Support Funds-
                                                                  managers, outreach workers, Assertive
                                   Housing and Recovery
               MHAR-RSS1                                          Community Treatment Services for           $50,000
                                   through Peer Services
                                                                  people experiencing homelessness,
                                   (HARPS) teams
                                                                  medications, coordination with primary
                                                                  care, case management etc.
                                                                  Mental Health Block Grant (MHBG)
                                   Participant Support Funds-     funds could be used to support case
                                   Projects for Assistance in     managers, outreach workers, Assertive
               MHAR-RSS2           Transition from                Community Treatment Services for          $140,000
                                   Homelessness (PATH)            people experiencing homelessness,
                                   teams                          medications, coordination with primary
                                                                  care, case management etc.
                                                                  Mental Health Block Grant (MHBG)
                                                                  funds could be used to support case
                                                                  managers, outreach workers, Assertive
                                   Participant support Funds -
               MHAR-RSS3                                          Community Treatment Services for          $100,000
                                   Peer Bridger
                                                                  people experiencing homelessness,
                                                                  medications, coordination with primary
                                                                  care, case management etc.
                                                                  Targeted peer outreach on Project for
                                   Adding a Peer to Projects      Assistance in Transition from
                                   for Assistance in Transition   Homelessness (PATH) teams focusing
               MHAR-RSS12                                                                                  $1,759,433
                                   from Homelessness (PATH)       on a by-name list of individuals who
                                   Outreach Teams                 have had multiple contacts with crisis
                                                                  system.
                                   Operating costs for a          Provide timely information for
                                   housing                        individuals with behavioral health
               MHAR-RSS14                                                                                    $10,000
                                   inventory/estimator/calcul     conditions to access housing services
                                   ator                           and resources.
                                                                  Corporation for Supportive Housing
                                                                  (CSH) curriculum to increase the
                                                                  number of affordable housing
                                   Supportive Housing
               MHAR-RSS16                                         development for individuals with          $150,000
                                   Institute
                                                                  mental health and substance use
                                                                  disorders. Note: Also funded with SABG
                                                                  ARPA for co-occurring.
                                                                  Utilize block grant funds that would
                                   Cover Foundational             cover Foundational Community
                                   Community Support              Support services for people
               MHAR-RSS19          Services in Institution for    transitioning out of Institution for      $500,000
                                   Mental Disease (IMD) when      Mental Disease (IMD) settings if
                                   Medicaid is Suspended          Medicaid does not get retroactively
                                                                  reconnected.




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                                                                 Enhance jail transition programs with
                                                                 SUD peers services to individuals who
                                                                 upon release will be homeless. SUD
                                   Peer Pathfinders Transition   Peer Services begin prior to release to
               MHAR-RSS24                                                                                      $790,000
                                   from Incarceration Pilot      establish relationship and upon release
                                                                 to support the transition to needed
                                                                 services. Note: Also funded with SABG
                                                                 ARPA for co-occurring.
                                   Add Co-Occurring Peer to      Add 1 peer to each of the four
                                   Forensic-Housing Housing      Forensic-Housing Housing and
               MHAR-RSS25                                                                                      $400,000
                                   and Recovery through Peer     Recovery through Peer Services (F-
                                   (F-HARPS) Services            HARPS) in Phase I regions.
                                                                 Helping individuals with the creation of
                                   Funding for SSI/SSDI          a Supplemental Security Income/Social
               MHAR-RSS36          Outreach, Access, and         Security Disability Insurance (SSI/SSDI)      $500,000
                                   Recovery (SOAR) Leads         outreach access and recovery
                                                                 community coordinators.
                                                                 Pilot enhancements to mobile crisis
                                   Enhance Mobile Crisis
               MHAR-RSS41                                        teams by adding CPCs to existing             $1,909,000
                                   Teams with CPCs
                                                                 teams.
                                                                    Total Recovery Support Services          $6,308,433

               Tribal
                                                                                                            Proposed
               Project #           Project Title                 Project Description
                                                                                                            Budget
                                                                 TARGET replacement program for SUD
                                   TARGET (database)             and mental health data. Note: Also
               MHAR-TRB1                                                                                       $200,000
                                   Replacement                   funded with SABG ARPA for co-
                                                                 occurring.
                                                                 Provide funding to 29 federally
                                                                 recognized Tribes and two Urban
                                   Funding to Tribes and         Indian Health Organizations to deliver
               MHAR-TRB3           Urban Indian Health           treatment for individuals diagnosed          $1,460,114
                                   Organizations                 with SMI/SED, prevention, treatment,
                                                                 and recovery support services within
                                                                 their Tribal communities.
                                                                                            Total Tribal     $1,660,114

               Crisis Set-Aside
                                                                                                            Proposed
               Project #           Project Title                 Project Description
                                                                                                            Budget




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                                   Behavioral Health
                                                                Services include 24-hour-a-day
                                   Administrative Service
                                                                emergency care services, mobile crisis,
               MHAR-ASO2           Organization (BH-ASO)                                                     $3,320,228
                                                                crisis line, and Designated Crisis
                                   Treatment Funding - Crisis
                                                                Responders (DCR) services.
                                   Services
                                                                                 Total Crisis Set-Aside     $3,320,228

               Technology Infrastructure
                                                                                                           Proposed
               Project #           Project Title                Project Description
                                                                                                           Budget
                                                                Support technological enhancements
                                                                to the CDR that will allow retention of
                                                                historical clinical data, including
               MHAR-TEC1           Clinical Data Repository     MH/SUD data, as well as                       $325,000
                                                                implementation of an analytic enclave
                                                                environment. Note: Also funded with
                                                                SABG ARPA for co-occurring.
                                                                Enable meaningful, seamless exchange
                                                                of protected and sensitive BH and PH
                                   Consent Management
               MHAR-TEC2                                        information amongst those who are            $1,300,000
                                   Solution
                                                                authorized to receive it in order to
                                                                deliver services to Washingtonians.
                                                                Develop and implement a statewide
                                                                bed registry to track capacity and real-
                                                                time bed availability for psychiatric
                                                                hospital beds, freestanding evaluation
                                                                and treatment center beds, Secure
               MHAR-TEC3           Statewide Bed Registry       Withdrawal Management and                    $1,414,478
                                                                Stabilization Beds, crisis
                                                                triage/stabilization beds, and
                                                                substance use disorder residential
                                                                treatment beds. Note: Also funded
                                                                with SABG ARPA for co-occurring.
               Total Technology Infrastructure                                                              $3,039,478


               TOTAL MHBG Covid Supplement Budget

                                                                                          FEP Set-Aside      $3,984,273
                                                                                             Treatment      $13,229,639
                                                                            Recovery Supports Services       $6,308,433
                                                                                                 Tribal      $1,660,114
                                                                                      Crisis Set-Aside       $3,320,228
                                                                             Technology Infrastructure       $3,039,478




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                                                                                        Administrative      $1,660,114
                                                                                         Total Budget $33,202,279




             First Episode Psychosis Project Detail


             Project #: MHAR-CYF1

             Project Title: Rural and AI/AN Evidence Based Coordinated Specialty Care for FEP

             Proposed Budget: $3,984,273

             Scope:
             This additional project amount would be to develop and adapt evidence based coordinated specialty
             care (CSC) programs for first episode psychosis (FEP) to meet the needs of rural, frontier, AI/AN
             communities, and other special populations; with the necessary support to operationalize the projects in
             a timely manner. The project would be to help to develop a rural and /or Tribal New Journeys/CSC
             model, to evaluate it, and broadly disseminate the results to inform future program development. This
             model can expand to other specific populations as the work advances. Other states are also interested in
             figuring out how to develop CSC services in rural areas and Tribal communities and other specific
             populations. There could be great value in collaborating with partners in other states on this (they would
             fund their own program development) and could help to define rural and AI/AN CSC in other parts of the
             U.S.
             This work is critical to accomplish the legislative mandate in SSSB 5903 requiring statewide expansion of
             treatment for FEP. Specialized knowledge and adaptation are essential to meet the unique needs of
             sparsely populated regions and minority communities in order to achieve the goal of decreasing the
             duration of untreated psychosis. Considering the magnitude of the impact of schizophrenia,
             interventions designed to treat the disorder effectively at the earliest possible point (e.g., during the
             first episode of psychosis) have the potential to improve its long-term trajectory, improve outcomes,
             improve lives, save lives and save health care dollars and to reduce the health care burden of the illness.
             The longer a person goes untreated, the more severe and chronic their symptoms become, often
             resulting in decreased functioning and other negative outcomes over their lifetime.
             Addressing State Needs and Gaps, Including Gaps in Equity:
             Initial examination of 2018 Medicaid data indicate that extra support is needed to ensure that
             intervention with first episode is equally available in rural geographical areas and in AI/AN communities.
             The data suggest there are existing geographical disparities and AI/AN disproportionality. The
             Washington State Legislature, Children’s & Youth Behavioral Health work group (CYBWHG) and SAMSHA
             have all prioritized early identification and intervention for psychosis. This is so screening and early




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             identification of psychosis among adolescents and young adults will become a universal health care
             practice, and evidence-based recovery interventions will be available to those who need them.




             Treatment Projects Detail


             Children, Youth and Family

             Project #: MHAR-CYF2


             Project Title: Developing Wraparound and Intensive Services (WISe) Workforce Support

             Proposed Budget: $600,000

             Scope:
             Expansion of Workforce & Enhancing Local Care Networks to support Youth with Intellectual or
             Developmental Disabilities including Autism Spectrum Disorder.

             Based on the initial model, identify additional WISe behavioral health agencies each year to plan and
             implement the project informed by local needs with logistical oversight provided the WISe Workforce
             Collaborative/En Route. Develop glide path for more expansive reach of focused special population
             services. A training component will be provided by Seattle Children’s Autism Center and offered to
             additional BH agencies. The proposed RUBI training model will include:

             (1)       An initial 16-hour workshop attended by all WISe team providers;

             (2)       20 weeks of ongoing consultation with the WISe team mental health therapist

             (3)       Fidelity review of WISe therapist implementation of RUBI sessions



             Agencies selected will have been involved in the HCA and DDA convened WISe and ID/DD and ASD
             workgroup or Project Echo sessions. This allows the project to build more directly on the knowledge
             and efforts already in process.

             The three lead agencies will dedicate a portion of a staff time to participate in developing the specialty
             team model, attend training, learning collaboratives and consultation. Lead sites will also convene
             community partners to plan for enhancing their local care network to support youth with ID/DD and
             ASD.

             During COVID the increased need of trained staff to provide stabilization support for youth in WISe with
             ID/DD including ASD has become apparent. The concern identifying the need for additional training has




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             been expressed by caregivers, behavioral health agency staff and allied system partners. Our behavioral
             health workforce is often times generalists by education and don't have the training to best support
             youth with ASD and their families. This funding would provide the training support and consultation to
             five behavioral health agencies as well as enhance community coordination in three regions for youth
             enrolled in WISe with ID/DD including ASD.

             Wraparound with Intensive Services (WISe) provides intensive home and community based mental
             health services to Medicaid eligible children and youth, in compliance with Title XIX of the federal Social
             Security Act. WISe is available for children and youth 20 years of age or younger who have a serious
             mental illness.

             To receive WISe a child or youth is 1) Medicaid eligible, 2) has a mental health diagnosis and 3) meets
             the WISe screening algorithm. The WISe screen is to help determine if the youth needs this intensive
             level of outpatient care.

             By design, WISe is a service delivery model for children and youth with the most complex mental health
             challenges in Washington state. WISe provides individualized, culturally competent services that strive
             to keep youth with intense mental health needs safe in their own homes and communities, while
             reducing unnecessary hospitalizations. WISe offers a higher level of care through these core
             components:

                  x    The Time and Location of services: WISe is community-based. Services are provided in locations
                       and at times that work best for the youth and family, such as in the family home and on
                       evenings and weekends.
                  x    Team-based Approach: Each WISe team includes youth, family members, a WISe care
                       coordinator, a therapist, a Certified Peer Counselor, includes natural supports and members
                       from other child-serving systems when they are involved in a youth’s life.
                  x    Help during a crisis: Youth and families have access to crisis services any time of the day, 365
                       days a year. Youth receive services by individuals who know the youth and family’s needs and
                       circumstances, as well as their current crisis plan.


             Intensive services provided in WISe include but are not limited to:

                  x    Individual treatment services
                  x    Family therapy services
                  x    Psychiatric medication services
                  x    Crisis mental health services—Outreach services
                  x    Recovery support—Wraparound facilitation services
                  x    Peer support services


             References:

                  x    The program, policy and Procedure manual can be found here WISe Manual and the WISe
                       screening algorithm is available on page 75
                  x    WISe meets the criteria established in the Children’s Mental Health Lawsuit under obligations
                       set forth in the T.R. Settlement Agreement
                  x    HCA WISe webpage




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             Provides workforce training and development to address the need in providing co-occurring services for
             youth with ID/DD including ASD. Also provides funding for community coordination and input from
             youth, families and system partners.

             The community coordination and development of this project would include outreach to BIPOC
             communities to participate and provide insight to specific community needs.



             Project #: MHAR-CYF5


             Project Title: Trauma Focused Cognitive Behavioral Therapy Training        Proposed Budget: $376,671

             Scope:
             Continue to provide training in TF-CBT to clinicians serving children and youth returning to school as part
             of the triage process post screening as a part of the recommended DOH fast response plan to help meet
             the needs of children and youth returning to school following the Governor's proclamation that in
             person options are required as of April 1, 2021. This will allow clinicians to continue to serve youth who
             indicate trauma exposure in the screening process (SED) following the pandemic to support increased
             access to necessary mental health supports. This will advance the Sonoma model and further enhance
             the clinical interventions available to children and youth across WA.

             The Governor issued a proclamation that in person options be available across WA as of April 1, 2021.
             The potentially unmet needs of children and youth throughout the pandemic regarding mental health
             impact are expected to surface as children youth and families begin the transition to in person
             education. This proposal meets an identified need, and the timeline will ensure that trauma informed
             clinical interventions will be available to children and youth as transition back to school and acclimate to
             new norms.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. This training further supports them in an
             evidence-based response to the expected wave of trauma exposure from impacts of the pandemic, to
             support and serve with resilience and strength based approaches and supports in pushing back
             compassion fatigue in ensuring they have the tools they need to feel effective in their work, resulting in
             resilient communities.

             Efforts will be made to ensure training is offered to diverse clinician groups including BIPOC and LGBTQ+
             clinician groups.


             Project Title: Regional response teams                                   Proposed Budget: $1,660,114




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             The regional response teams are intended to be the backbone all the initiatives at the regional level.
             They will be clinical and can manage referrals from schools, Emergency Departments and Primary Care
             Physicians. They are intended as the interface with the TF-CBT program and also to manage the needs of
             youth ‘stuck’ on the queue awaiting placement or solutions to their need for acute services. The team
             will also track local data and understand access issues at the regional level and support transitions of
             youth after crisis intervention,



             The Governor issued a proclamation that in person options be available across WA as of April 1,
             2021. The potentially unmet needs of children and youth throughout the pandemic regarding mental
             health impact are expected to surface as children youth and families begin the transition to in person
             education. This proposal meets an identified need, and the timeline will ensure that trauma informed
             clinical interventions will be available to children and youth as transition back to school and acclimate to
             new norms



             Addressing State Needs and Gaps, Including Gaps in Equity:

             The workforce serving children youth and families across Washington are dedicated to the age group
             and the developmentally appropriate interventions needed. Regional response teams will futher
             support schools in linking students to appropriate tier three services, triage youth across the region to
             support the right services at the right time and support families in the transition periods to further
             stabilize the family unit and reduce trauma exposure from impacts of the pandemic, to support and
             serve with resilience and strength-based approaches and supports. Additionally, with regional response
             teams in place tracking access, stuck points in access, and availability of services policy makers will have
             real time information on what is needed where to further support the system infrastructure and
             reducing workforce burnout in a very difficult and long COVID response, resulting in healthier and
             resilient communities.



             Adult Treatment

             Project #: MHAR-MHA1


             Project Title: Cognitive Behavioral Therapy for Psychosis                  Proposed Budget: $130,000

             Scope:
             This project will continue to enhance the workforce serving individuals with psychosis by delivering
             Cognitive Behavioral Therapy for Psychosis training and technical assistance to a cohort of outpatient
             and inpatient clinicians from selected contracted community-based sites who are serving people
             receiving 90/180-day involuntary civil commitment orders. This EBP helps people living with psychosis
             achieve a level of self-management that has shown great success, supporting individuals and their
             families in the community.




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             Training outpatient behavioral health agency staff and their locally corresponding contracted long term
             civil commitment sites in an appropriate EBP should assist this population in better managing their
             symptoms and reduce their need for further involuntary or inpatient treatment.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Training on CBT for Psychosis will help empower individuals with psychosis to better manage symptoms
             that interfere with their ability to live their lives in the community. The BH workforce needs enhanced
             tools to treat psychosis beyond simply medication alone and this EBP is targeted to the needs of a
             population that traditionally does not receive therapy as many clinicians do not know about CBT for
             Psychosis and its success rate.

             People living with psychosis experience much social isolation due to their symptoms. By providing them
             with greater skills to manage psychosis, this inequity will be better addressed. This enhancement will
             serve all populations living with psychosis, including members of BIPOC communities but is not a
             targeted outreach to them specifically.



             Project #: MHAR-MHA3


             Project Title: Mental Health Specialist Training                          Proposed Budget: $396,671

             Scope:
             Provide training via a 100-hour course for Mental Health Professionals to secure credential to become
             an Older Adult MH Specialist, Intellectual/Developmental Disabilities Mental Health Specialist, and
             Ethnic Minority Mental Health Specialist as defined in Washington's Rehab State Plan for Mental Health
             Outpatient treatment. Training curricula will focus on recognizing unique needs of these populations,
             clinical best practices, understanding of the community resources and partners when working with
             these populations, the role of the Mental Health Specialist, and how to provide clinical consultation,
             cultural humity, and other relevant information specific to each demographic.

             The Division of Behavioral Health and Recovery has not sponsored MH Specialist academies for almost
             10 years and as such, there are significant workforce shortages in specialists trained and credentialed to
             work with these populations. Each has their own unique needs or considerations that impact care and
             the BH workforce needs additional training and support in order to meet these needs.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             With a fast-growing aging population, the need for MHPs trained and sufficiently skilled to work with
             older adults is more critical than ever. The current workforce requires specialized skills and knowledge
             to better support BIPOC populations and people with intellectual or developmental disabilities. This
             workforce shortage must be addressed.

             BIPOC communities, older adults, and people with Intellectual Disabilities/Developmental Disabilities
             must receive culturally appropriate services from clinicians with relevant education, experience, and
             skills. This is a matter of equity and parity.




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             BH-ASO Treatment Funding

             Project #: MHAR-ASO2


             Project Title: Behavioral Health Administrative Services Organization (BH-ASO) Treatment Funding

             Proposed Budget: $10,066,183

             Scope:
             Funding directed to the Behavioral Health Administrative Services Organizations (BH-ASO) will support
             their respective provider networks enhancing the provision of comprehensive community mental health
             services to individuals who are either adults with a serious mental illness (SMI) or children with serious
             emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and Statistical
             Manual (DSM) of Mental Disorders. This includes a regionally based system of care that includes mental
             health services to enable such individuals to function outside of inpatient or residential institutions to
             the maximum extent of their capabilities. Including increasing capacity of Designated Crisis Responder
             (DCR) and Tribal Designated Crisis Responder (DCR) services.

             The community mental health services are provided to individuals with serious mental illness/serious
             emotional disturbance including specialized outpatient services for American Indian/Alaskan Native
             (AI/AN), children, and the elderly. Services provided include but are not limited to outpatient services
             for individuals who have been discharged from inpatient treatment, day treatment, psychosocial
             rehabilitation services, outreach to and services for individuals who are homeless, at risk of
             homelessness, and individuals residing in rural areas. Services also include 24-hour-a-day emergency
             care services, mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic.

             If funding were not approved the statewide behavioral health service delivery system will continue to
             face funding gaps, service delivery delays, and individuals diagnosed with Serious Mental Illness (SMI),
             or Serious Emotional Disturbance (SED) will be less likely to have opportunities to access services and
             function better in their communities experiencing an improved quality of life. Further, an opportunity to
             enhance and improve ongoing behavioral health system workforce recruitment and staff retention
             worsened by the pandemic will be missed.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support, and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,




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             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had negative effects on marginalized communities. This also supports an
             understanding that black indigenous people of color have distinctly unique needs and expectations and
             that engagement and treatment services are strategically implemented and culturally relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.

             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based behavioral health crisis services consistent with
             the National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health crises,
             strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric boarding in emergency
             departments.




             Recovery Support Services Projects Detail

             Project #: MHAR-RSS1


             Project Title: Participant Support Funds – Housing and Recovery through Peer Services (HARPS) Teams

             Proposed Budget: $50,000

             Scope:
             Adding additional support funds to each Housing and Recovery through Peer Support (HARPS contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.




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             We expect the housing crisis and behavioral health crisis to intensify as eviction protections are lifted.
             The HARPS priority population is unable to earn wages while involved with inpatient treatment and is
             unlikely to have savings to secure housing upon discharge. Additionally, many participate intensive
             outpatient treatment which limits the amount of time to earn wages to afford housing, as well as other
             necessities to stay engaged in treatment and recovery activities.

             Adding additional support funds to each Housing and Recovery through Peer Services (HARPS) contract
             to support case managers, outreach workers, Assertive Community Treatment Services for people
             experiencing homelessness, medications, coordination of other healthcare services and case
             management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Participant Support Funds will help the Housing and Recovery through Peer Support (HARPS) Teams to
             interweave care coordination, case management, and outreach services. People experiencing
             homelessness and behavioral health conditions benefit from connections to peer services and
             resources.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.



             Project #: MHAR-RSS2


             Project Title: Participant Support Funds – Projects for Assistance in Transition from Homelessness
             (PATH) Teams

             Proposed Budget: $140,000

             Scope:
             Proposed support service funds will be added to the current contracted programs, Projects for
             Assistance in Transition from Homelessness (PATH). PATH programs assist individuals in accessing
             housing, mental health services, substance abuse treatment, disability benefits, and other services to
             stabilize them and facilitate recovery. Each agency will be required to develop a detailed plan describing
             method and intended outcome for allocating client support service funding and submit to the Health
             Care Authority for approval by 09/30/2021. Plan must be based on Mental Health Block Grant (MHBG)
             guidance for Target Population* and Statement of Work.

             Persistent and consistent outreach and providing services at the individual’s pace are important steps to
             engage people with serious mental illness who are homeless. The proposed support service funds will
             enhance the quality of program delivery and engagement and expand critical client resources.




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             Addressing State Needs and Gaps, Including Gaps in Equity:
             Homeless outreach services intention is to reach individuals who are not currently engaged in services
             and potentially unable to navigate the system. The ability to have support services that offer basic needs
             upon engagement increases the likelihood for engagement in treatment and recovery.

             PATH teams serve individuals experiencing homelessness and Serious Mental Illness (SMI)e to BIPOC
             communities. BIPOC communities are overrepresented in homelessness. According to Research and
             Data Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: BGCE-RSS3


             Project Title: Participant Support Funds – Peer Bridger                  Proposed Budget: $100,000

             Scope:
             The goal of this project is to use participant funds to connect people to community supports and
             treatment and reduce recidivism to the state hospital admissions. Keeping individuals engaged in peer
             services creates personal connection, accountability, and someone to assist in navigating complicated
             systems. Without these added supports the system continues to be a revolving door for many.

             MHBG Funds could be used to support case managers, outreach workers, Assertive Community
             Treatment Services For people experiencing homelessness, medications, coordination with primary care,
             and case management.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support improves engagement and increases hope by modeling recovery. These
             complimentary services will enhance the already proven Peer Bridger model.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion (DEI) and provide specific outreach
             to the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.




             Project #: MHAR-RSS12

             Project Title: Adding a Peer to Projects for Assistance in Transition from Homelessness (PATH) Outreach
             Teams




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             Proposed Budget: $1,759,433

             Scope:
             Proposed funds will continue funding for one peer counselor to the current Projects for Assistance in
             Transition from Homelessness (PATH). PATH programs assist individuals in accessing housing, mental
             health services, substance abuse treatment, disability benefits, and other services to stabilize them and
             facilitate recovery. Each agency hired a peer counselor to expand outreach and engagement services for
             individuals with a serious mental illness (SMI) and homeless or at risk of homelessness utilizing the Block
             Grant Covid Supplemental funding, this will continue support for those positions through mid-2025.
             Projects will work closely with BHASO's, MCO's and Crisis stabilization centers to create a referral flow
             and coordination of services.

             This continued support for a PATH peer counselor on the PATH teams will allow agencies to expand
             needed outreach and engagement efforts. The proposed funds will enhance the quality of program
             delivery and engagement and expand critical crisis resources.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The intention of Homeless outreach services is to reach individuals who are not currently engaged in
             treatment, services and who are potentially unable to navigate the system. The ability to have one
             additional peer outreach team member will allow these programs to broaden the current outreach and
             engage services to a primary focus of crises response.

             Projects for Assistance in Transition from Homelessness (PATH) teams currently serve individuals
             experiencing homelessness and mental illness and BIPOC communities. According to Research and Data
             Analysis (RDA) research, people who are homeless are more likely to be African American or Native
             American. (Ford-Shah, M., 2012)



             Project #: MHAR-RSS14


             Project Title: Operating Costs for a Housing Inventory/Estimator/Calculator Proposed Budget: $10,000


             Scope:
             The Research and Data Analysis Division (RDA) within the Department of Social and Health Services
             (DSHS) completed a series of reports in 2012 examining the housing status of individuals following their
             exit from institutional or out-of-home care settings. More than one-quarter of all five study populations
             (individuals leaving Substance Use Treatment Facilities; State Department of Corrections Facilities;
             Foster Care; State Mental Hospitals and Juvenile Rehabilitation Facilities) experienced homelessness at
             some point over a 12-month follow-up period. This funding supports the online searchable tool based
             on various scenarios to connect individuals with behavioral health conditions to housing.

             This searchable tool that will be housed on the Research and Data Analysis Pathways to Housing site will
             be used to help address the fact that almost 50 percent of Individuals leaving residential substance use
             treatment facilities became homeless within the year of discharge. Individuals exiting prison, foster care,
             State Mental Hospitals, and Juvenile Rehabilitation facilities were more likely to experience




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             homelessness but as likely to obtain to permanent housing when they received housing assistance.
             Across the five study populations, the proportion of individuals in need of housing who received
             Homeless Management Information System (HIMS)-recorded assistance was highest for youth aging out
             of foster care (at 35 percent). Even though this report is dated, it is believed these relate to the
             population we intend to start with: individuals with behavioral health issues still exist and may even be
             more exacerbated with the COVID pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             This project will provide timely information for individuals with behavioral health conditions to access
             housing services and resources.

             The searchable housing tool will ensure individuals with Behavioral Health conditions and part of the
             BIPOC population will have access to housing services and resources.



             Project #: MHAR-RSS16


             Project Title: Supportive Housing Institute                               Proposed Budget: $150,000


             Scope:
             DBHR proposes to use the proprietary curriculum from the Corporation for Supportive Housing to
             increase the number of affordable housing development for individuals with serious mental illness or
             serious emotional disturbance. HCA-DBHR will contract with CSH to assist with the design and
             implementation of two Supportive Housing Institutes (the “Institute”) for the State of Washington
             whose completion will coincide with the capital and operating fund cycles of both 2022 and 2023. Each
             Institute will take place over a five-month period and allow for up to eight project teams per Institute.
             Each team will be required to include a SUD/MH service provider, developer, and operator (property
             manager) of a specific, proposed project. CSH will lead the teams through hands-on learning to take
             their projects from concept to fully developed project plans. Each Institute will produce projects that are
             well prepared for state and local funding and that align with the national Dimensions of Quality
             Supportive Housing, which include and supersede the fidelity indexes of SAMHSA, Pathways, and
             Watson HRM.

             The HCA oversees the State’s Medicaid benefits called Foundational Community Supports, which include
             supportive housing and supported employment services. Providers State-wide are expanding their
             delivery of these services to beneficiaries who are experiencing chronic homelessness, unnecessary
             institutionalization, and cycles of homelessness and system involvement, but scaling supportive housing
             itself remains constrained by a lack of supportive housing apartments. The HCA aims to build the
             capacity of mental health and substance use treatment providers to develop, operate, and/or form
             strong partnerships with other organizations to deliver new, high-quality supportive housing
             developments.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             WA State has a serious deficit of safe and affordable housing, and in turn, people are unable to maintain
             and/or obtain housing, increasing the number of unhoused individuals. Increases in homelessness also




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             increases experiences of trauma, co-occurring disorders, and increases chance of criminal justice
             interactions. The research is clear—homelessness, and unstable housing contribute to poor health.
             Homelessness is traumatic and cyclical; it puts people at risk for physical and mental health conditions
             and substance use disorders.

             Foundational Community Supports utilizes the evidence-based practices of SAMSHA's Permanent
             Supportive Housing and Westat's individual placement and support. The principles of these evidence-
             based practices encompass the idea of a holistic, person centered approach, which is all inclusive and
             embraces zero exclusion, access to an individual's choice of services. These services also value and
             approach participants with equity, respect as well as cultural humility with the hope of promising
             outcomes.




             Project #: BGCE-RSS19

             Project Title: Cover Foundational Community Support (FCS) Services in Institution of Mental Disease
             (IMD) When Medicaid is Suspended

             Proposed Budget: $500,000


             Scope:
             The Division of Behavioral Health and Recovery proposes to utilize block grant funds to cover
             Foundational Community Support services for people transitioning out of Institution of Mental Disease
             (IMD) settings if the Medicaid isn't retroactively reconnected. The Foundational Community Support
             (FCS) program assists eligible individuals with complex health needs obtain and maintain stable housing
             and can provide Foundational Community Support services within short-term Institution of Mental
             Disease (IMD) settings with housing assessments and begin the housing acquisition process prior to
             discharge. These newly added services to Foundational Community Support will include coaching,
             advocacy, information and referral, linking and coordinating, and ongoing supports that they may not
             otherwise have access to.

             The program offers an array of transition/pre-tenancy and tenancy-sustaining supports that have been
             effective in improving housing stability, health and employment outcomes for high need Medicaid
             beneficiaries. linking and coordinating, and ongoing supports that they may not otherwise have access
             to. Many of these individuals have complex health profiles and face multiple housing related barriers to
             effectively engaging with health care systems and managing their own plan of care to achieve improved
             health and wellness. Foundational Community Support have reduced the frequent use of emergency
             department and inpatient care, addressed significant gaps in connections to care, addressed
             homelessness, and now can help to facilitate timely, successful transitions from institutional settings to
             integration in community placements. Anticipated Outcomes:
             •       Effectively target interventions to eligible individuals in residential treatment settings;
             •       Streamline and standardize transition and tenancy-sustaining services for individuals exiting
                     residential treatment across agencies and systems;
             •       optimize and braid all available funding to fill gaps;




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             •         reduce Substance Use Disorder/Opioid Use Disorder (SUD/OUD) related deaths;
             •         improve Substance Use Disorder system capacity; and
             •         improve quality of care

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Currently there is no other mechanism to reimburse Foundational Community Support providers if the
             individuals Medicaid is not active at the time of authorization. The Health Care Authority has taken
             steps to attempt to mitigate this by providing Foundational Community Support providers access to
             Provider One to check Medicaid eligibility. This however is not a perfect solution and there are times
             when Foundational Community Support providers go unpaid.

             The Foundational Community Support program is based on the evidence-based practices (EBP) of
             Permanent Supportive Housing (PSH) and Individual Placement and Support (IPS). The principles of
             these Evidence-Based Practices encompass equity and racial justice through the promotion of choice,
             flexible voluntary services, and access.


             Project #: BGCE-RSS24


             Project Title: Peer Pathfinders Transition from Incarceration Pilot         Proposed Budget: $790,000


             Scope:
             This funding will continue support for a Certified Peer Counselor to up to five existing BH-ASO contracts
             for jail transition services. Adding a Certified Peer Counselor to existing jail transition services teams will
             increase the level of services being provided, by having a CPC connect with the individuals while they are
             still in jail and helping them with transition to the community. The certified peer counselor will work
             with individuals diagnosed with a serious mental illness, linking them to behavioral health services,
             including co-occurring treatment, Foundational Community Support (FCS), and other applicable services.

             Multiple studies support the fact that Peer support services has significant impacts on quality of life,
             reducing substance use, and improving positive social supports. Studies have also identified common
             elements of peer support, suggesting possible processes that underlie effective peer support. Peer
             services include shared experiences, role modelling, and positive social support. All of which are
             suggested to be vital aspect of peer support and moderate positive life changes. By adding a certified
             peer counselor to existing Jail Transition services allows for access to these vital services for individuals
             with SMI and co-occurring health conditions, reducing likelihood for further court involvement. Impacts
             that are likely to occur if this project is not approved included recidivism because the individual was not
             provided the needed services during their jail transition.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             People exiting jails are more likely to be successful when they are able to connect and engage in services
             in their communities upon release. Currently in some parts of the state jail transition services are only
             reaching jail populations a few times a month. By adding a Certified Peer Counselor to existing jail
             transition services, individuals who are in need of extra support in accessing community-based services
             can be offered the support of a peer. These certified peer counselors would focus on linking individuals




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             to behavioral health services, including co-occurring treatment, housing and employment, and
             community resources.

             A disproportionate number of individuals of color are represented in our criminal court system and they
             experience greater barriers in accessing healthcare and community behavioral healthcare. This problem
             is greater amplified the further away you move from urban settings and locations in which more services
             are available. By adding the support of a Certified Peer Counselor to existing jail transition services, this
             will increase the likelihood of individuals being able to overcome some of these barriers.


             Project #: BGCE-RSS25


             Project Title: Add Co-Occurring Peer to F-HARPS                               Proposed Budget: $400,000

             Scope:
             These additional funds would continue support for a certified peer counselor for each Forensic HARPS
             team in the phase 1 regions, originally funded through the Block Grant Covid Supplemental award. With
             this additional staff person, the teams would be able to increase caseload capacity. This position would
             also allow the Forensic HARPs teams to serve individuals diagnosed with serious mental illness or co-
             occurring.

             This project is critical because it will increase the capacity of the teams to serve more eligible individuals
             through the Forensic HARPS program, an element of the Trueblood Settlement. Housing access,
             support, and short-term subsidies increase an individual's opportunity for recovery. Housing is a basic
             need that reduces the likelihood of recidivism in the criminal court system. If this funding is not
             approved, the Forensic HARPS teams will not be able to serve all those who are eligible and in need of
             this service.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             The Forensic HARPS teams have short-term housing subsidy dollars to assist participants in obtaining
             and maintaining housing. The amount of subsidy dollars allocated to each team is greater than what the
             current staffing model allows them to spend. With this additional staff person, the Forensic HARPS
             teams will be able to fully utilize the subsidy dollars allocated to them. Funding Forensic HARPS teams is
             cost effective because it diverts individuals with serious behavioral health conditions into receiving the
             services, they need instead of being arrested or hospitalized. Supportive housing reduces inpatient
             hospitalization, incarceration and engagement in outpatient treatment increases when individuals are
             successfully housed (RDA, FCS preliminary outcomes 2020).

             Helping individuals obtain and maintain housing of their choice helps them be more successful in
             treatment. Forensic HARPS teams are trained in leveraging all community resources once an individual
             exits jail or an institutional setting, but the ‘bridge subsidy’ is still needed in order to assist individuals
             exit jail as quickly as possible.

             A disproportionate number of individuals of color are represented in our criminal court system. Many of
             these individuals experience significant barriers in accessing safe and affordable housing. WA State has a
             serious deficit of safe and affordable housing, and in turn, people are unable to maintain and/or obtain
             housing, increasing the number of unhoused individuals. People with trauma, a history of




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             homelessness, and co-occurring disorders have an increased likelihood of being involved in the criminal
             court system. Helping individuals find and maintain housing of their choice, and obtain wanted services,
             especially during an increased time of hardship such as COVID-19 is our states responsibility.




             Project #: BGCE-RSS36


             Project Title: Funding for SSI/SSDI, Outreach, Access, and Recovery (SOAR) Leads

             Proposed Budget: $500,000

             Scope:
             SSI/SSDI Outreach Access and Recovery (SOAR) is a proven effective model to increase access to
             governmental benefits. This project would create a SOAR Lead Position in multiple regions/counties
             (scalable). SSI/SSDI, Outreach, Access and Recovery (SOAR)Leads hold local steering committee
             meetings, lead SSI/SSDI, Outreach, Access and Recovery (SOAR) online course training cohorts and
             conduct half-day SSI/SSDI, Outreach, Access and Recovery (SOAR) online course review sessions.
             SSI/SSDI, Outreach, Access and Recovery (SOAR) Leads will also be mentoring individuals who complete
             the SSI/SSDI, Outreach, Access and Recovery (SOAR) online course and reporting on outcomes.

             This will provide increased access to the disability income benefit programs administered by the Social
             Security Administration (SSA) for eligible adults who are experiencing or at risk of homelessness and
             have a serious mental illness. Access to these benefits will help individuals stabilize their housing and
             health.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Many unhoused individuals qualify for disability benefits but have a difficult time getting through the
             application process. With an SSI/SSDI, Outreach, Access Recovery (SOAR) Representative assisting with
             the application process, individuals are approved more often and more quickly. Most landlords require
             some kind of monthly income, this will help provide that and allow more individuals to obtain housing.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote Diversity, Equity and Inclusion and provide specific outreach to
             the BIPOC communities, and employ staff that reflect the individuals we serve, ensuring health equity
             through policy, practices and resources. When providing training, contractors will reach out to
             community to ensure culture is appropriate and respected.


             Project #: BGCE-RSS41


             Project Title: Enhance Mobile Crisis Teams with CPCs                       Proposed Budget: $1,909,000




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             Scope:
             HCA will build upon the Transformation Transfer Initiative (TTI) crisis services continuing education
             curriculum for Certified Peer Counselors by piloting enhancements to mobile crisis teams by adding
             Certified Peer Counselors to existing teams. Funds will be issued to BH-ASOs to expand Mobile Crisis
             Response services serving those diagnosed with SMI/SED.

             This project will provide enhance mobile crisis services by continuing support for certified peer
             counselors in Washington State. The intended outcome is to increase the engagement and outreach of
             MCR teams to include certified peer counselors to even more effectively support the peers they serve in
             crisis settings.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Research shows peer support services improves engagement in increases hope by modeling recovery.
             Peer supports have also been shown to increase community tenure and reduce substance use disorder
             relapse. Expanding mobile crisis services to include Certified Peer Counselors will better support people
             as Washington expands peer services in crisis settings.

             All programs will ensure services and activities will be designed and delivered in a manner sensitive to
             the needs of all ethnic minorities. Sites will initiate actions to ensure or improve cultural relevance of
             services for ethnic minorities and other diverse populations typically underserved and marginalized in
             the system. Culturally and Linguistically Appropriate Services (CLAS) standards are required for all
             programming. Programs will promote DEI and provide specific outreach to the BIPOC communities, and
             employ staff that reflect the individuals we serve, ensuring health equity through policy, practices and
             resources. When providing training, contractors will reach out to community to ensure culture is
             appropriate and respected.




             Tribal Projects Detail

             Project #: MHAR-TRB1


             Project Title: TARGET (database) Replacement                              Proposed Budget: $200,000


             Scope:
             Based on a pilot to work with a Tribe that currently has EPIC to develop a mechanism to automatically
             upload SAMHSA-required data to HCA's behavioral health data store, with minimal double entry of data,
             this project will support the expansion and maintenance of this pilot to other Tribes across the state.
             This project will offer funding to maintain the behavioral health data system that will replace the
             previously used TARGET system.

             This project will ensure that there is maintenance for the data system that will support the collection of
             SAMHSA-required data. As the pilot will help HCA to identify if we can use an existing EHR to build the
             necessary system to meet the needs of the Tribes and the state in SUD and mental health data




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             collection for our reporting to our federal partners/funders and the state legislature, this project will
             maintain these efforts and address any system improvements needed along with the evolving landscape
             for behavioral health data collection and reporting.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Tribes requested a solution for the TARGET replacement in 2016. Providing funding resources to
             maintain and improve data collection for Tribes will address a long-time gap for Tribal communities in
             SUD and mental health data collection in the new integrated health care environment.

             This project will systemically improve data reporting and surveillance of AI/AN communities to better
             address any health disparities. Data is very important in identifying needs and strengths in BIPOC
             communities.


             Project #: MHAR-TRB3


             Project Title: Funding to Tribes and Urban Indian Health Organizations Proposed Budget: $1,460,114


             Scope:
             The Health Care Authority will provide contracts to 29 federally recognized Tribes and two Urban Indian
             Health Organizations to deliver needed behavioral health, mental health services for individuals with
             SMI/SED and substance use disorder prevention, treatment, OUD intervention and recovery supports
             services within their Tribal communities. Tribes will submit a plan to implement recommended services
             as outlined in the NOA and allowed within the SABG/MHBG regulations. Additional funds for Tribes will
             be divided evenly between the Tribes and Urban Indian Health Programs (UIHP) (Native Project & SIHB).
             These funds will begin on March 2023 - Sept 2025 and may be an extension of the Tribe's and UIHP's
             COVID Enhancement projects to ensure a full recovery from the impacts of the COVID pandemic.

             This project is important because AI/AN and Tribal communities have been greatly affected by the
             COVID pandemic and the various Tribal and State Stay at Home Orders. Tribes are identifying ways to
             maintain some of their BH program in a virtual and semi/virtual environment. Due to the pandemic,
             Tribes are stating that the individuals in their communities are struggling with social isolation and a lack
             of treatment services due to the pandemic. There has also been limited cultural activities available for
             Tribal communities due to the pandemic. The historic annual Canoe Journey was canceled two years in a
             row with very limited ability to implement cultural programs across all Tribal communities. These funds
             will support the Tribe's and UIHP's ability to address any gaps and needs in their behavioral health
             services and increase support individuals that may have lingering behavioral health impacts due to the
             COVID 19 pandemic.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Department of Health (DOH) reported that overdose rates have gone up over 154% during the first 6
             months of the pandemic and is the highest of other communities by race/ethnicity. The statewide
             increase overall is 30%. The Health Care Authority needs to continue to provide resources to Tribal
             communities to address those diagnosed with SMI or SED for American Indian/Alaskan Native (AI/AN) in
             WA. Providing direct funding to Tribes and Urban Indian Health Programs (UIHPs) also honors our




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             government-to-government relationships by partnering with Tribes to serve American Indian/Alaskan
             Native WA State residents.

             This project directly supports Diversity, Equity and Inclusion (DEI) by providing needed services to the
             American Indian/Alaskan Native (AI/AN) population in providing culturally appropriate services. This also
             honors our unique Government-to-Government (G2G) relationships with Tribal governments and our
             partnership with Urban Indian Health Programs (UIHPs).

             Crisis Services:
             Tribes and Urban Indian Health Programs (UIHPs) may provide crisis services with these funds. The
             Health Care Authority will pass down National Guidelines to Tribes to provide guidance on best practices
             for crisis services.




             Crisis Set-Aside Projects Detail

             Project #: MHAR-ASO2


             Project Title: Behavioral Health Administrative Service Organization (BH-ASO) Treatment Funding for
             Crisis Services

             Proposed Budget: $3,320,228

             Scope:
             Funding directed to the Behavioral Health Administrative Service Organizations (BH-ASO’s) will support
             their respective crisis provider networks enhancing the provision of comprehensive community mental
             health services to individuals who are either adults with a serious mental illness (SMI) or children with
             serious emotional disturbances (SED) as defined by the Psychiatric Association’s Diagnostic and
             Statistical Manual (DSM) of Mental Disorders. Funding will be used to enhance existing Crisis Services
             provided 24 hours a day, seven days a week including crisis call line, evaluation and treatment services
             for Individual’s ineligible for Medicaid, including involuntary inpatient services, voluntary inpatient
             services, crisis stabilization services, Employment and Training (E&T) services, and services for the
             priority populations defined per Contract. Services also include 24-hour-a-day emergency care services,
             mobile crisis, crisis line, and Designated Crisis Responder (DCR) services.

             This funding is critical for enhancing and improving statewide behavioral health system and community-
             based service capacity for adult individuals diagnosed as Serious Mental Illness (SMI) and youth
             diagnosed with Serious Emotional Disturbance (SED). This funding is also critical to improve the mental
             health crisis system of care. This funding will enable workforce enhancement and stabilize staff
             shortages and retainment issues that have increased throughout the behavioral health delivery system
             during the pandemic. All funded crisis workers will be required to be trained in trauma informed care,
             de-escalation techniques and the fundamentals of harm reduction.

             Addressing State Needs and Gaps, Including Gaps in Equity:




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             This project will address the needs related to statewide enhancement of timely access to community-
             based outpatient, crisis, recovery support and outreach mental health services. This also addresses
             ongoing issues of behavioral health staff recruitment and retention. This funding will address gaps in
             access to timely community-based services including outpatient treatment for uninsured individuals,
             services for individuals experiencing co-occurring disorders, transportation support, transition support
             services including recovery support housing, individuals transitioning from inpatient psychiatric care,
             homeless outreach, support for individuals transitioning from jails, services to meet needs of veterans
             and service members, people experiencing poverty, people of color and barriers experienced by non-
             English speaking individuals.

             This project will support a statewide community based mental health engagement and service delivery
             system that acknowledges individual and institutional bias have excluded marginalized members of our
             communities. This funding enhances a system that works toward equity and inclusion recognizing that
             policies and procedures have had different negative effects on marginalized communities. This also
             supports an understanding that black indigenous people of color have distinctly unique needs and
             expectations and that engagement and treatment services are strategically implemented and culturally
             relevant.

             This project supports the implementation of quality integrated health care to all persons without regard
             to race, color, national origin, gender, disability, religion, creed, age or sexual orientation.
             Organizations funded by this project will engage in ongoing efforts to improve services and ensure the
             implementation of the National Standards for Culturally and Linguistically Appropriate Services.

             Crisis Services:
             This project will enhance statewide community based mental health crisis services consistent with the
             National Guidelines for Behavioral Health Crisis Care that includes an effective strategy for suicide
             prevention, approaches that better align care to the unique needs of the individual, preferred
             strategies for individuals in distress that offers services focused on resolving mental health and
             substance use crises, strategies to reduce psychiatric hospital bed overuse and eliminate psychiatric
             boarding in emergency departments; and strategies to reduce the fragmentation of mental health care.




             Technology Infrastructure Projects Detail

             Project #: MHAR-TEC1


             Project Title: Clinical Data Repository                                  Proposed Budget: $325,000

             Scope:
             This funding request is to support technological enhancements to the CDR that will allow retention of
             historical clinical data, including MH/SUD data, as well as implementation of an analytic enclave
             environment. This solution will allow authorized users, including researchers, evaluators, state staff,
             clinicians and others to access protected health information in a secure environment in order for them




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             to conduct their research and analyses, without the need for these data to leave the CDR secure
             environment. This will support programmatic enhancements, overall program governance, and analytics
             in order to achieve meaningful results and support other key efforts such as Value Based Purchasing,
             Health Care Transformation and Health Care Cost/Quality Transparency.

             The current Medicaid CDR was established several years ago. There is now a need to enhance the
             current CDR and define a strategic vision focused on clinical quality and outcome analytics, total cost of
             care analytics and care coordination functions especially focused on MH/SUD clients. Washington’s CDR
             presents a unique opportunity to develop a true clinical data warehouse that is leveraged in conjunction
             with other State data assets such as the All-Payer Claims Database (APCD), the Health Information
             Exchange (HIE), Public Health disease registries and others, to generate true total cost of care and care
             quality/outcome analytics to inform research, policy and health system transformation.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless data exchange
             between providers. The CDR is a critical data asset which has the capabilities to help bridge this gap. This
             investment will significantly enhance the technological ability of this tool to enable appropriate and
             secure data sharing amongst those who need it in order to better serve the MH/SUD clients in
             Washington.

             Medicaid clients who need MH/SUD services are amongst the most vulnerable populations in our care.
             As stated above, care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless
             data exchange between providers. The CDR is a critical data asset which has the capabilities to help
             bridge this gap and help enhance equitable access to information about clients to their providers. This
             investment will significantly enhance the technological ability of this tool to enable appropriate and
             secure data sharing amongst those who need it in order to better serve the MH/SUD clients in
             Washington.

             Health IT Infrastructure
             The Clinical Data Repository as implemented in the state of Washington is compliant with health
             information technology standards and implementation specifications as identified in 45 CFR 170,
             Subpart B.


             Project #: MHAR-TEC2


             Project Title: Consent Management Solution                                Proposed Budget: $1,300,000

             Scope:
             The electronic consent management solution, which has been approved by Washington State HHS
             agencies, will be a key foundational investment in the state’s health information exchange infrastructure
             and will enable meaningful, seamless exchange of protected and sensitive BH and PH information
             amongst those who are authorized to receive it in order to deliver services to Washingtonians.

             Every initiative to support Behavioral Health Integration requires Behavioral Health (BH) and Physical
             Health (PH) data to be seamlessly shared amongst clinicians, and across the care continuum. Care
             coordination, case management, population health and even public health, as evidenced during this past




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             year, are highly dependent on this seamless exchange of information. In addition to direct care
             clinicians, others in the care system such as care coordinators, case managers, managed care
             organizations, public health entities and others also need access to such data in order to be able to fulfill
             their respective missions. Lack of a standardized, centralized consent management solution has
             presented a significant barrier to realizing true BH-PH integration.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless data exchange
             between providers. A centralized consent management solution is a critical investment which will
             provide the capabilities to help bridge this gap. This investment will significantly enhance the
             technological ability that enables appropriate and secure data sharing amongst those who need it in
             order to better serve the MH/SUD clients in Washington.

             Medicaid clients who need MH/SUD services are amongst the most vulnerable populations in our care.
             As stated above, care coordination for MH/SUD clients is greatly impeded currently by a lack of seamless
             data exchange between providers. A centralized consent management solution is a critical investment
             which will provide the capabilities to help bridge this gap and help enhance equitable access to
             information about clients to their providers. This investment will significantly enhance the technological
             ability to enable appropriate and secure data sharing amongst those who need it in order to better serve
             the MH/SUD clients in Washington.

             Health IT Infrastructure
             The consent management solution will meet health information technology standards and
             implementation specifications as identified in 45 CFR 170, Subpart B. Specifically, the consent
             management solution will be interoperable with ONC certified Electronic Health Record (EHR) systems
             and will use HL7 FHIR standards for secure data exchange between systems.

             Project #: SAAR-TEC3


             Project Title: Statewide Bed Registry                                        Proposed Budget: $1,414,478

             Scope:
             This project will develop and implement a statewide bed registry to track capacity and real-time bed
             availability for psychiatric hospital beds, freestanding evaluation and treatment center beds, Secure
             Withdrawal Management and Stabilization Beds, crisis triage/stabilization beds, and substance use
             disorder residential treatment beds. The registry is intended to include both adult and youth/child beds.

             Contracted resources will be utilized to implement this new solution, with management of maintenance
             and operations to be supported by existing staff resources.

             The lack of a statewide bed registry has been a long-standing problem within the state. The need has
             been discussed in multiple work groups. This would include the legislative BHRST group and the ITA
             Work Group required by SB 5720. Both these workgroups have included stakeholder and consumer
             testimony on how difficult it is for a crisis worker, an individual or family member to find an available
             treatment bed. Currently, without a bed registry, multiple facilities have to be called to see if they
             provide the appropriate treatment services and to see if they have any vacant beds. Sometimes this
             process involves calling up to 20 facilities. Implementation of a registry will make it significantly easier to




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             locate beds and access care. If this is not approved, crisis workers, individuals and families will continue
             to face obstacles in accessing critical care.

             Addressing State Needs and Gaps, Including Gaps in Equity:
             Ready access to mental health and substance use disorder treatment beds will benefit all populations.
             We know that due to social determinants of health and historical trauma, there is a disproportionate
             need for care for BIPOC individuals. That care should be readily available.

             Health IT Infrastructure
             The Statewide Bed Registry in the state of Washington will be compliant with health information
             technology standards and implementation specifications as identified in 45 CFR 170, Subpart B.




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                                                    Washington


                            COVID-19 Testing and Mitigation Work Plan for FY22-25
                                                   Revised February 2024




                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID-19 Testing and Mitigation Work Plan

             WA State Summary

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             Serious Emotional Disturbance (SED) in Washington State. During the first half of 2019, 8.2% of adults
             over 18 years of age had symptoms of anxiety disorder and 6.6% had symptoms of depressive disorder.
             By comparison, in the most recent Household Pulse Survey from the Centers for Disease Control
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             anxiety and 27.7% for depression (in Washington state, rates were slightly higher with 34.2% for anxiety,
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             reporting depression). The devastating impacts of the COVID-19 pandemic have clearly impacted young
             adults’ mental health and substance use (a population already at high risk).


             COVID-19 has both increased and revealed the need for a wide range of mental health services.
             Washington state is expanding mental health services across the continuum of care, from out-patient
             counseling services to recovery support services like housing and employment after treatment stays.

             A crucial part of service expansion is building new residential facilities for civilly committed 90- and 180-
             day stays, a growing need in communities across the state. The hope is that if people need more intensive
             treatment, there is treatment available in or near their community. While many are supportive of mental
             health treatment generally, residential facilities can be misunderstood by community members. The
             sentiment from community members resistant to localized services has been, “we support mental health
             services but…not in our backyard.”

             Stigma is one of the largest barriers to expanding mental health infrastructure. It is also one that can be
             addressed proactively through public education, addressing misconceptions and connecting with allies
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             The Washington Health Care Authority respectfully submits the proposal and budget summary you will
             find below. Our original intention for this funding was to purchase and distribute Covid-19 rapid tests to
             behavioral health providers, which was a critical need at the time we submitted our proposal. However,
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             Budget Table

                 MHBG Covid Mitigation Budget

                 Covid Mitigation Project Funds   $        1,085,482
                           Administrative Costs   $           57,131
                                   Total Budget   $        1,142,613




             Covid Mitigation Project Detail

             Project #: MHCM-01

             Project Title: Mental Health Stigma Campaign                               Proposed Budget: $1,085,482

             Scope:

             COVID-19 has both increased and revealed the need for a wide range of mental health services.
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             •       Addressing demographics most vocally opposed to expansion plans
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             •         Proactively engaging communities around proposed sites

             While this campaign aims to provide broader education and tools, we recommend developing materials
             and tactics with the most resistant demographic in mind. This has broadly been defined as:
             •       Women 55+ diagnosed with SMI
             •         Middle to upper income brackets
             •         Active in community efforts

             We are setting aside a total of 5% for administrative costs associated with the management of this
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                                                    Washington


                            COVID-19 Testing and Mitigation Work Plan for FY22-25
                                                   Revised February 2024




                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID-19 Testing and Mitigation Work Plan

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             Budget Table

                 MHBG Covid Mitigation Budget

                 Covid Mitigation Project Funds   $        1,085,482
                           Administrative Costs   $           57,131
                                   Total Budget   $        1,142,613




             Covid Mitigation Project Detail

             Project #: MHCM-01

             Project Title: Mental Health Stigma Campaign                               Proposed Budget: $1,085,482

             Scope:

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          CSAT-DSCS-SSPB Word Version of 2nd NCE Request for FY 21 SUPTRS (SABG) COVID-19 Supplemental Funding



                                                                SAMHSA
                                    Office of Financial Resources, Division of Grants Management
                          Center for Substance Abuse Treatment, Division of State and Community Systems
                                Center for Substance Abuse Prevention, Division of Primary Prevention
                      Center for Mental Health Services, Division of State and Community Systems Development

         Request for second No Cost Extension (NCE) for SUPTRS and MHBG COVID-19 Supplemental Funding

         Declaration of Intent: Required by Wednesday, March 13, 2024, 11:59 PM, ET
         Request for second NCE: Required by Friday, March 22, 2024, 11:59 PM ET

         COVID-19 Award Issue Date: 3/11/21      Current Approved Expenditure Period: 3/15/21 - 3/14/24

         SAMHSA has heard from recipients of the MHBG and SUPTRS BG (referred to as the SABG when the funding was
         initially awarded) that they would benefit from additional time to complete programmatic activities approved as
         part of their FY 21 Coronavirus Response and Relief Supplemental Appropriations Act (CRRSA) COVID-19
         Supplemental Funding award. Accordingly, SAMHSA is expanding the flexibility in the notice sent to all states
         with active CRRSA block grant awards on February 14, 2024.

         Current MHBG and SUPTRS grantees with active CRRSA block grant awards may request a second NCE under the
         FY 21 COVID-19 Supplemental Funding award for an additional expenditure period of up to twelve (12) months,
         through March 14, 2025. The second NCE cannot be used to initiate new projects or activities and must be
         implemented in accordance with:
             x the grantee’s SAMHSA currently approved MHBG COVID-19 Supplemental Funding Plan, or SUPTRS
                 COVID-19 Supplemental Funding Plan, as previously communicated to the grantee by the CMHS or CSAT
                 State Project Officer;
             x the March 11, 2021, Notice of Award (NoA) Terms and Conditions for the MHBG COVID-19
                 Supplemental Funding or the SABG COVID-19 Supplemental Funding; and
             x the March 11, 2021, COVID-19 Supplemental Funding Guidance Letter to the SSA Directors and the
                 SMHCs from Tom Coderre, then Acting Assistant Secretary for Mental Health and Substance Use.

         No further action is required by grantees who have already been approved for additional time to phase out and
         reconcile their FY 21 CRRSA block grant award and do not require additional time to complete programmatic
         activities. However, if interested, these recipients may also request a second NCE described below. Following
         the end of the second NCE grantees will still be afforded the 90-day closeout period.




                                                                1


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          CSAT-DSCS-SSPB Word Version of 2nd NCE Request for FY 21 SUPTRS (SABG) COVID-19 Supplemental Funding

                           Instructions for submitting a Declaration of Intent and Request for a second NCE:

         Declaration of Intent:

         Grantees who would like to request a second NCE must notify SAMHSA in writing no later than Wednesday,
         March 13, 2024, at 11:59 PM ET of their intent to take advantage of this flexibility. The declaration of intent
         must state that the grantee will submit a full NCE for COVID-19 Supplemental Funding by the stated deadline of
         Friday, March 22, 2024. This declaration of intent serves as preliminary approval of the NCE and will allow
         grantees who receive final approval of their NCEs the ability to charge costs to the grant dating back to March
         15, 2024. Grantees may submit a single email containing separate Declarations of Intent for the SUPTRS NCE
         and the MHBG NCE. Requests should be emailed to:

                  • Wendy Pang at wendy.pang@samhsa.hhs.gov, and
                  • Your assigned CMHS or CSAT State Project Officer

         Upon receipt of the Declaration of Intent, the CMHS and/or CSAT State Project Officer will create and send the
         grantee a Revision Request in the FY 21 MHBG Plan and/or FY 21 SABG Plan in WebBGAS, with instructions for
         uploading the NCE Request (see below) as an Attachment in the FY 21 MHBG Plan and/or the FY 21SABG Plan.
         Further information about this process may be requested from your CMHS, CSAT, or CSAP State Project Officer
         (SPO).




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          CSAT-DSCS-SSPB Word Version of 2nd NCE Request for FY 21 SUPTRS (SABG) COVID-19 Supplemental Funding

         Request for second No Cost Extension (NCE):

         For both the SUPTRS and MHBG, the SPO will initiate a Revision Request in WebBGAS in the FY 21 SUPTRS
         and/or FY 21 MHBG Plan, under Section I, as an addendum to the CEO’s Funding Agreement, with the grantee
         requested to upload the Attachment to the FY 21 SUPTRS and/or MHBG Plan.

         Grantees must submit the information below (as a Word document or PDF file) to WebBGAS no later than
         Friday, March 22, 2024, at 11:59 PM ET.

         Check One:                  __ X Request for Second NCE for FY 21 MHBG COVID-19 Supplemental Funding
                                     ____Request for Second NCE for FY 21 SUPTRS COVID-19 Supplemental Funding

          A. Name of MHBG            Washington State Health Care Authority
          or SUPTRS Grantee
          Organization
          B. Date of                 3/13/24                       C. Length of Time          12 months
          Submission of NCE                                        Requested (in
          Request                                                  Months) for NCE (12
                                                                   Mo. Max. through
                                                                   3/14/25)

          D. Name and Title of                           , Behavioral Health Grants Supervisor
          Grantee Finance Official
          Approving This NCE Request
          E. Name and Title of                            , Federal Block Grant Administrator
          Grantee Program Official
          Approving This NCE Request
          F. Name and Title of Other                         , Acting Director, Division of Behavioral Health and
          Grantee Official Approving        Recovery
          This NCE Request
          G. COVID-19 Award Total $         $19,222,372             H. COVID-19 Award Total        $14,141,999
          Amount Issued in NoA of                                   $ Amount Expended as of
          3/11/2021                                                 NCE Request Date Above
          I. COVID-19 Award Total $         $5,080,373              J. COVID-19 Award Total $ $5,080,373
          Amount Planned to be                                      Amount Requested for
          Expended through                                          NCE
          3/14/2025
          K. Please provide a brief justification of the need for the NCE to complete current programmatic
          activities approved as part of your FY 21 Coronavirus Response and Relief Supplemental
          Appropriations Act (CRRSA) COVID-19 Supplemental Funding award.
          As with other states, Washington state has suffered from a multitude of challenges, which
          include but are not limited to workforce shortages that have impacted all levels of our
          behavioral health system. We have been able to spend the majority of these funds within the
          time allotted, but these workforce impacts have caused delays. Washington appreciates the
          opportunity for a No-Cost Extension on the Covid Enhancement awards received for the
          Mental Health Block Grant as these funds are essential in providing critical services to
          Washington State’s most vulnerable populations.


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          CSAT-DSCS-SSPB Word Version of 2nd NCE Request for FY 21 SUPTRS (SABG) COVID-19 Supplemental Funding

          The Health Care Authority is working closely with contractors and providers to ensure all
          MHBG Covid-19 Enhancement funds are fully utilized. Steps being taken include reviewing
          all projects and contracts with contract managers, reaching out to our contractors to review
          timelines and deliverables, identifying what can be completed by March 14th, 2024 and what
          would benefit from an extension to ensure completion. Monthly check-ins with contract
          managers will continue to allow us to manage these funds efficiently and address any issues
          that may arise. This no cost extension will allow the greatest maximization of funding to serve
          these vulnerable populations in Washington.




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                                                    Washington


                            COVID-19 Testing and Mitigation Work Plan for FY22-25
                                                   Revised February 2024




                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID-19 Testing and Mitigation Work Plan

             WA State Summary

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             Budget Table

                 MHBG Covid Mitigation Budget

                 Covid Mitigation Project Funds   $        1,085,482
                           Administrative Costs   $           57,131
                                   Total Budget   $        1,142,613




             Covid Mitigation Project Detail

             Project #: MHCM-01

             Project Title: Mental Health Stigma Campaign                               Proposed Budget: $1,085,482

             Scope:

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             targets populations with Serious Mental Illness and Serious Emotional Disturbances by creating content
             and material that focuses on what mental health providers do and the different levels of mental health
             support available. The campaign will include interviews of individuals with SMI who have been through
             the mental health system and have success stories to share. We will use surveys during the campaign to
             ensure our target audience is reached and pivot messaging and distribution methods as needed.

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                                                    Washington


                            COVID-19 Testing and Mitigation Work Plan for FY22-25
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                                          COMMUNITY MENTAL HEALTH SERVICES
                                                   BLOCK GRANT




                                              Center for Mental Health Services
                                  Division of State and Community Systems Development




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             Mental Health Block Grant COVID-19 Testing and Mitigation Work Plan

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             Budget Table

                 MHBG Covid Mitigation Budget

                 Covid Mitigation Project Funds   $        1,085,482
                           Administrative Costs   $           57,131
                                   Total Budget   $        1,142,613




             Covid Mitigation Project Detail

             Project #: MHCM-01

             Project Title: Mental Health Stigma Campaign                               Proposed Budget: $1,085,482

             Scope:

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             targets populations with Serious Mental Illness and Serious Emotional Disturbances by creating content
             and material that focuses on what mental health providers do and the different levels of mental health
             support available. The campaign will include interviews of individuals with SMI who have been through
             the mental health system and have success stories to share. We will use surveys during the campaign to
             ensure our target audience is reached and pivot messaging and distribution methods as needed.

             Our strategy to address stigma focuses on three areas:
             •       Addressing demographics most vocally opposed to expansion plans
             •         Educating about specific treatment infrastructure and how they strengthen communities
             •         Proactively engaging communities around proposed sites

             While this campaign aims to provide broader education and tools, we recommend developing materials
             and tactics with the most resistant demographic in mind. This has broadly been defined as:
             •       Women 55+ diagnosed with SMI
             •         Middle to upper income brackets




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                   5:28 AM
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             •         Active in community efforts

             We are setting aside a total of 5% for administrative costs associated with the management of this
             project. Any unused administrative costs will go towards the stigma campaign.




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         7/15/2024 8:46
                   5:28 AM
                        PM - Washington                                                                           Page 338 of 338
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                   Exhibit G
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                   Exhibit H
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                              PageID #: 3464




                    Exhibit I
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                                          Notice of Award
 MHBG                                                    Issue Date:                   08/10/2021
 Department of Health and Human Services
 Substance Abuse and Mental Health Services Administration

 Center for Mental Health Services



  Award Number: 1B09SM085912-01
  FAIN:          B09SM085912-01
  Contact Person:

  Program: Block Grants for Community Mental Health Services

  HEALTH CARE AUTHORITY
  626 8TH AVENUE SE

  OLYMPIA, WA 98501

  Award Period: 09/01/2021 – 09/30/2025

  Dear Grantee:

  The Substance Abuse and Mental Health Services Administration hereby awards a
  grant in the amount of     $1,142,613 (see “Award Calculation” in Section I) to HEALTH
  CARE AUTHORITY in support of the above referenced project. This award is pursuant
  to the authority of Subparts I&III,B,Title XIX,PHS Act/45 CFR Part96 and is subject to
  the requirements of this statute and regulation and of other referenced, incorporated or
  attached terms and conditions.

  Acceptance of this award including the “Terms and Conditions” is acknowledged by the
  grantee when funds are drawn down or otherwise obtained from the grant payment
  system.

  If you have any questions about this award, please contact your Grants Management
  Specialist and your Government Project Officer listed in your terms and conditions.


  Sincerely yours,

  Grants Management Officer
  Division of Grants Management

  See additional information below




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  SECTION I – AWARD DATA – 1B09SM085912-01

  FEDERAL FUNDS APPROVED:                                                                      $1,142,613

  AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                       $1,142,613

  CUMULATIVE AWARDS TO DATE:                                                                   $1,142,613

  UNAWARDED BALANCE OF CURRENT YEAR’S                                                                 $0
  FUNDS:


  Fiscal Information:
  CFDA Number:              93.958
  EIN:                1911412780A
                                 1
  Document             21B3WACM
  Number:                    HSC6
  Fiscal Year:                2021

  IC                        CAN                                           01
  SU                        C96D210                                       $1,142,613



  PCC: CMHS / OC: 4115

  SECTION II – PAYMENT/HOTLINE INFORMATION –                                          1B09SM085912-01

  Payments under this award will be made available through the HHS Payment
  Management System (PMS). PMS is a centralized grants payment and cash management
  system, operated by the HHS Program Support Center (PSC), Division of Payment
  Management (DPM). Inquiries regarding payment should be directed to: The Division of
  Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
  – Telephone Number: 1-877-614-5533.

  The HHS Inspector General maintains a toll-free hotline for receiving information
  concerning fraud, waste, or abuse under grants and cooperative agreements. The
  telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
  of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
  Independence Ave., SW, Washington, DC 20201.

  SECTION III – TERMS AND CONDITIONS – 1B09SM085912-01

  STANDARD TERMS AND CONDITIONS

  MHBG FY2021 ARP Mitigation


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   Remarks:
   This Notice of Award (NoA) provides one-time funding made available by the
   American Rescue Plan Act of 2021, in accordance with H.R. 1319 – American Rescue
   Plan Act of 2021 the ARPA Act, 2021 [P.L. 117-2], available
   at https://www.congress.gov/117/bills/hr1319/BILLS-117hr1319enr.pdf.
   This funding is available to expand dedicated testing and mitigation resources for
   people with mental health and substance use disorders. These funds will provide
   resources and flexibility for states to prevent, prepare for, and respond to the
   coronavirus disease 2019 (COVID-19) public health emergency and ensure the
   continuity of services to support individuals connected to the behavioral health system.
   Required Plan Submission:
   Due by October 1, 2021. COVID-19 Response Workplan and Overview
   States must submit separate plans for expending these funds for both MHBG and
   SABG. States must explain the types of activities, including expenditures. Provide a
   detailed plan on how the state plan to implement COVID-19 testing and mitigation
   activities within the public mental health and or substance abuse system.
   Due by October 1, 2021. COVID-19 Response Budget and Budget Justification
   States must submit a budget and a budget justification capturing all expenses,
   including costs for administration at the state level and a plan to distribute it to
   providers, and subsequent reasons for the expenses in narrative format.
   Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
   upload the document (Microsoft Word or pdf) using the tab into the State Information
   Section, Chief Executive Officer’s Funding Agreement – Certifications and
   Assurances/Letter Designating Signatory Authority. Please title this document
   “COVID Mitigation Funding Plan 2021(MH)” for MHBG and “COVID Mitigation
   Funding Plan 2021 (SA)” for SABG.”
   States must upload separate proposals based on Mental Health Block Grant and
   Substance Abuse Block Grant guidance into the WebBGAS system. Upon submission,
   SAMHSA will review the proposal to ensure it is complete and responsive. Proposals
   must be submitted to WebBGAS by Friday, October 1, 2021.


   Standard Terms of Award:
   1) Acceptance of the Terms of an Award
   By drawing or otherwise obtaining funds from the HHS Payment Management System,
   the recipient acknowledges acceptance of the terms and conditions of the award and is
   obligated to perform in accordance with the requirements of the award. Once an award
   is accepted by a recipient, the contents of the Notice of Award (NoA) are binding on
   the recipient unless and until modified by a revised NoA signed by the GMO.
   2) Official Form Designee
   The States Chief Executive Officer, or authorized designee is considered the official
   form designee for this grant. The SAMHSA GMS and the MHBG Program Officer
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   must be notified immediately before any changes in this key position are made. Please
   note that individuals that are suspended or debarred are prohibited from serving on
   Federal grant awards.
   3) Availability of Funds
   Funds provided under this grant must be obligated and expended by September 30,
   2025.
   4) Fiscal and administrative requirements
   This award is subject to the administrative requirements for HHS block grants under
   45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
   75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
   requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
   (reference 45 CFR Part 75 Subpart B, 75.101(d)).
   Fiscal control and accounting procedures - Fiscal control and accounting procedures
   must be sufficient to (a) permit preparation of reports required by the statute
   authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
   adequate to establish that such funds have not been used in violation of the restrictions
   and prohibitions of the statute authorizing the block grant.
   Audits - Grantees and subgrantees are responsible for obtaining audits in accordance
   with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507) and revised
   OMB Circular A-133, “Audits of State, Local Governments, and Non-Profit
   Organizations.” The audits shall be made by an independent auditor in accordance with
   generally accepted Government auditing standards covering financial audits.
   Financial settlement - The State must repay to the Department amounts found after
   audit resolution to have been expended improperly. In the event that repayment is not
   made voluntarily, the Department will undertake recovery.
   5) Flow-down of requirements to sub-recipients
   The grantee, as the awardee organization, is legally and financially responsible for all
   aspects of this award including funds provided to sub-recipients, in accordance with 45
   CFR 75.351 75.353, Sub-recipient monitoring and management.
   6) Executive Pay
   The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
   December 27, 2020 restricts the amount of direct salary to Executive Level II of the
   Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
   Executive Level II is $199,300.
   For awards issued prior to this change, if adequate funds are available in active awards,
   and if the salary cap increase is consistent with the institutional base salary, recipients
   may re-budget to accommodate the current Executive Level II salary level. However,
   no additional funds will be provided to these grant awards.
   7) Marijuana Restriction
   SAMHSA grant funds may not be used to purchase, prescribe, or provide
   marijuana or treatment using marijuana. See, e.g., 45 C.F.R. 75.300(a)
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   (requiring HHS to ensure that Federal funding is expended in full accordance
   with U.S. statutory and public policy requirements); 21 U.S.C. 812(c)(10) and
   841 (prohibiting the possession, manufacture, sale, purchase or distribution of
   marijuana).
   8) Anti-discrimination
   You must administer your project in compliance with federal civil rights laws that
   prohibit discrimination on the basis of race, color, national origin, disability, age and,
   in some circumstances, religion, conscience, and sex (including gender identity, sexual
   orientation, and pregnancy). This includes taking reasonable steps to provide
   meaningful access to persons with limited English proficiency and providing programs
   that are accessible to and usable by persons with disabilities. The HHS Office for Civil
   Rights provides guidance on complying with civil rights laws enforced by HHS. See
   https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html and
   https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html.
   • You must take reasonable steps to ensure that your project provides meaningful
   access to persons with limited English proficiency. For guidance on meeting your legal
   obligation to take reasonable steps to ensure meaningful access to your programs or
   activities by limited English proficient individuals, see https://www.hhs.gov/civil-
   rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-
   guidance/index.html and https://www.lep.gov.
   • For information on your specific legal obligations for serving qualified individuals
   with disabilities, including providing program access, reasonable modifications, and
   taking appropriate steps to provide effective communication , see
   http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
   • HHS funded health and education programs must be administered in an environment
   free of sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
   discrimination/index.html.
   • For guidance on administering your project in compliance with applicable federal
   religious nondiscrimination laws and applicable federal conscience protection and
   associated anti-discrimination laws, see https://www.hhs.gov/conscience/conscience-
   protections/index.html and https://www.hhs.gov/conscience/religious-
   freedom/index.html.
   9) System for Award Management (SAM)
   This award is subject to requirement set forth in 2 CFR 25.110
   Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
   recipient, must maintain the currency of your information in the SAM, until you
   submit the final financial report required under this award or receive the final payment,
   whichever is later. This requires that you review and update the information at least
   annually after the initial registration, and more frequently if required by changes in
   your information or another award term. This requirement flows down to
   subrecipients and contractors under awards or subawards. SAM website: System for
   Award Management (SAM)
   10) Federal Financial Accountability and Transparency Act (FFATA)
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   Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part
   170
   The Federal Funding Accountability and Transparency Act (FFATA) was signed on
   September 26, 2006.
   Unless you are exempt, you must report each action that obligates $25,000 or more in
   Federal funds. The FFATA Subaward Reporting System (FSRS) is the reporting tool
   federal prime awardees (i.e. prime contractors and prime grants recipients) must use to
   capture and report subaward and executive compensation data regarding their first-tier
   subawards to meet the FFATA reporting requirements. Prime contract awardees must
   report against sub-contracts awarded. Prime grant awardees will report against sub-
   grants awarded. The sub-award information you enter in FSRS will display
   on USASpending.gov associated with the prime award. This furthers federal spending
   transparency.
   You must report each obligating action to http://www.fsrs.gov
   11) Mandatory Disclosures
   Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
   manner, in writing to the HHS Office of Inspector General (OIG), all information
   related to violations, or suspected violations, of Federal criminal law involving fraud,
   bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
   must disclose, in a timely manner, in writing to the prime recipient (pass through
   entity) and the HHS OIG, all information related to violations, or suspected violations,
   of Federal criminal law involving fraud, bribery, or gratuity violations potentially
   affecting the Federal award. Disclosures must be sent in writing to the awarding
   agency and to the HHS OIG at the following addresses:
       U.S. Department of Health and Human Services Office of Inspector General
       ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence
       Avenue,
       SW, Cohen Building Room5527 Washington, DC 20201
       Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
       email: MandatoryGranteeDisclosures@oig.hhs.gov
   Failure to make required disclosures can result in any of the remedies described in 45
   CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
   CFR parts 180 & 376 and 31 U.S.C. 3321).
   12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
   amended, and 2 C.F.R. PART 175
   The Trafficking Victims Protection Act of 2000 authorizes termination of financial
   assistance provided to a private entity, without penalty to the Federal government, if
   the recipient or subrecipient engages in certain activities related to trafficking in
   persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
   entity recipient, or a private entity subrecipient, or their employees: a) Engage in
   severe forms of trafficking in persons during the period of time that the award is in
   effect; b) Procure a commercial sex act during the period of time that the award is in
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   effect; or, c) Use forced labor in the performance of the award or subawards under the
   award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
   http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
   sec175-15.pdf.
   13) Drug-Free Workplace Requirements
   The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
   organizations receiving grants from any Federal agency agree to maintain a drug-free
   workplace. When the AR signed the application, the AR agreed that the recipient will
   provide a drug-free workplace and will comply with the requirement to notify
   SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
   comply with these requirements may be cause for debarment. Government wide
   requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
   part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
   recipients of SAMHSA grant funds must comply with the requirements in Subpart B
   (or Subpart C if the recipient is an individual) of Part 382.
   14) Lobbying
   No funds provided under the attached Notice of Award (NoA) may be used by you or
   any sub-recipient under the grant to support lobbying activities to influence proposed
   or pending federal or state legislation or appropriations. The prohibition relates to the
   use of federal grant funds and is not intended to affect your right or that of any other
   organization, to petition Congress or any other level of government, through the use of
   other nonfederal resources. Reference 45 CFR Part 93.
   15) Accessibility Provisions
   Grant recipients of Federal financial assistance (FFA) from HHS must administer their
   programs in compliance with Federal civil rights law. This means that recipients of
   HHS funds must ensure equal access to their programs without regard to a person s
   race, color, national origin, disability, age, and in some circumstances, sex and
   religion. This includes ensuring your programs are accessible to persons with limited
   English proficiency. The HHS Office for Civil Rights also provides guidance on
   complying with civil rights laws enforced by HHS. Please see
   http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
   of FFA also have specific legal obligations for serving qualified individuals with
   disabilities. Please see
   http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
   the HHS Office for Civil Rights for more information about obligations and
   prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
   rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
   an HHS Departmental goal to ensure access to quality, culturally competent care,
   including long-term services and supports, for vulnerable populations. For further
   guidance on providing culturally and linguistically appropriate services, recipients
   should review the National Standards for Culturally and Linguistically Appropriate
   Services in Health and Health Care at
   https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.
   16) Audits
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   Non-Federal recipients that expend $750,000 or more in federal awards during the
   recipient's fiscal year must obtain an audit conducted for that year in accordance with
   the provisions of 45 CFR 96.31.
   Recipients are responsible for submitting their Single Audit Reports and the Data
   Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
   Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
   after the FY s end of the audit period. The FAC operates on behalf of the OMB.
   For specific questions and information concerning the submission process: Visit the
   Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
   toll-free number: (800) 253-0696


   Reporting Requirements:
   Annual Report
   Reporting on the ARPA funding is required. After the end of each fiscal year, a FY
   annual report is required on December 31, until the funds expire, and states must
   upload a narrative report including activities and expenditures. States must prepare
   and submit their respective reports utilizing WebBGAS. Your assigned
   MHBG Program Official will provide further guidance and additional submission
   information.
   Failure to comply with these requirements may cause the initiation of enforcement
   actions that can culminate in discontinuation of MHBG grants.
   Federal Financial Report (FFR)
   The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
   close of the performance period (project period). The SF-425 shall report total funds
   obligated and total funds expended by the grantee.
   Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
   Financial Report (FFR) via the Payment Management System (PMS). If the individual
   responsible for FFR submission does not already have an account with PMS,
   please contact PMS to obtain access.
   Recipients must liquidate all obligations incurred under an award not later than ninety
   (90) days after the end of the award obligation and expenditure period (i.e., the project
   period) which also coincides with the due date for submission of the FINAL SF-425,
   Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
   locked. SAMHSA does not approve extensions to the ninety (90) day post-award
   reconciliation/liquidation period. Therefore, recipients are expected to complete all
   work and reporting within the approved project period and the aforementioned 90-day
   post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
   occurring after the aforementioned periods are denied. In rare instances, SAMHSA
   may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
   extension of the 90-day post award reconciliation/liquidation period, but rather only an
   extension to submit the Final SF-425 report (FFR).


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                                            PageID #: 3477


                                          Notice of Award
 SABG                                                    Issue Date:                  08/10/2021
 Department of Health and Human Services
 Substance Abuse and Mental Health Services Administration

 Center for Substance Abuse Treatment



  Award Number: 1B08TI084617-01
  FAIN:          B08TI084617-01
  Contact Person:

  Program: Substance Abuse Prevention & Treatment Block Grant

  HEALTH CARE AUTHORITY
  626 8TH AVENUE SE

  OLYMPIA, WA 98501

  Award Period: 09/01/2021 – 09/30/2025

  Dear Grantee:

  The Substance Abuse and Mental Health Services Administration hereby awards a
  grant in the amount of     $1,076,243 (see “Award Calculation” in Section I) to HEALTH
  CARE AUTHORITY in support of the above referenced project. This award is pursuant
  to the authority of Subparts II&III,B,Title XIX,PHS Act/45 CFR Part96 and is subject to
  the requirements of this statute and regulation and of other referenced, incorporated or
  attached terms and conditions.

  Acceptance of this award including the “Terms and Conditions” is acknowledged by the
  grantee when funds are drawn down or otherwise obtained from the grant payment
  system.

  If you have any questions about this award, please contact your Grants Management
  Specialist and your Government Project Officer listed in your terms and conditions.


  Sincerely yours,

  Grants Management Officer
  Division of Grants Management

  See additional information below




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  SECTION I – AWARD DATA – 1B08TI084617-01

  FEDERAL FUNDS APPROVED:                                                                      $1,076,243

  AMOUNT OF THIS ACTION (FEDERAL SHARE):                                                       $1,076,243

  CUMULATIVE AWARDS TO DATE:                                                                   $1,076,243

  UNAWARDED BALANCE OF CURRENT YEAR’S                                                                   $0
  FUNDS:


  Fiscal Information:
  CFDA Number:              93.959
  EIN:                1911412780A
                                 1
  Document            21B3WASAP
  Number:                     TC6
  Fiscal Year:                2021

  IC                        CAN                                           01
  SU                        C96D212                                       $1,076,243



  PCC: SAPT / OC: 4115

  SECTION II – PAYMENT/HOTLINE INFORMATION –                                          1B08TI084617-01

  Payments under this award will be made available through the HHS Payment
  Management System (PMS). PMS is a centralized grants payment and cash management
  system, operated by the HHS Program Support Center (PSC), Division of Payment
  Management (DPM). Inquiries regarding payment should be directed to: The Division of
  Payment Management System, PO Box 6021, Rockville, MD 20852, Help Desk Support
  – Telephone Number: 1-877-614-5533.

  The HHS Inspector General maintains a toll-free hotline for receiving information
  concerning fraud, waste, or abuse under grants and cooperative agreements. The
  telephone number is: 1-800-HHS-TIPS (1-800-447-8477). The mailing address is: Office
  of Inspector General, Department of Health and Human Services, Attn: HOTLINE, 330
  Independence Ave., SW, Washington, DC 20201.

  SECTION III – TERMS AND CONDITIONS – 1B08TI084617-01

  STANDARD TERMS AND CONDITIONS

  SABG FY2021 ARP Mitigation


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   Remarks:
   This Notice of Award (NoA) provides one-time funding made available by the
   American Rescue Plan Act of 2021, in accordance with H.R. 1319 – American Rescue
   Plan Act of 2021 the ARPA Act, 2021 [P.L. 117-2], available
   at https://www.congress.gov/117/bills/hr1319/BILLS-117hr1319enr.pdf.
   This funding is available to expand dedicated testing and mitigation resources for
   people with mental health and substance use disorders. These funds will provide
   resources and flexibility for states to prevent, prepare for, and respond to the
   coronavirus disease 2019 (COVID-19) public health emergency and ensure the
   continuity of services to support individuals connected to the behavioral health system.
   Required Plan Submission:
   Due by October 1, 2021. COVID-19 Response Workplan and Overview
   States must submit separate plans for expending these funds for both MHBG and
   SABG. States must explain the types of activities, including expenditures. Provide a
   detailed plan on how the state plan to implement COVID-19 testing and mitigation
   activities within the public mental health and or substance abuse system.
   Due by October 1, 2021. COVID-19 Response Budget and Budget Justification
   States must submit a budget and a budget justification capturing all expenses,
   including costs for administration at the state level and a plan to distribute it to
   providers, and subsequent reasons for the expenses in narrative format.
   Using the WebBGAS Revision Request for the FFY 2021 Block Grant Application,
   upload the document (Microsoft Word or pdf) using the tab into the State Information
   Section, Chief Executive Officer’s Funding Agreement – Certifications and
   Assurances/Letter Designating Signatory Authority. Please title this document
   “COVID Mitigation Funding Plan 2021(MH)” for MHBG and “COVID Mitigation
   Funding Plan 2021 (SA)” for SABG.”
   States must upload separate proposals based on Mental Health Block Grant and
   Substance Abuse Block Grant guidance into the WebBGAS system. Upon submission,
   SAMHSA will review the proposal to ensure it is complete and responsive. Proposals
   must be submitted to WebBGAS by Friday, October 1, 2021.


   Standard Terms of Award:
   1) Acceptance of the Terms of an Award
   By drawing or otherwise obtaining funds from the HHS Payment Management System,
   the recipient acknowledges acceptance of the terms and conditions of the award and is
   obligated to perform in accordance with the requirements of the award. Once an award
   is accepted by a recipient, the contents of the Notice of Award (NoA) are binding on
   the recipient unless and until modified by a revised NoA signed by the GMO.
   2) Official Form Designee
   The States Chief Executive Officer, or authorized designee is considered the official
   form designee for this grant. The SAMHSA GMS and the SABG Program Officer
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   must be notified immediately before any changes in this key position are made. Please
   note that individuals that are suspended or debarred are prohibited from serving on
   Federal grant awards.
   3) Availability of Funds
   Funds provided under this grant must be obligated and expended by September 30,
   2025.
   4) Fiscal and administrative requirements
   This award is subject to the administrative requirements for HHS block grants under
   45 CFR Part 96, Subpart C, and 45 CFR Part 75, as specified. Except for section
   75.202 of Subpart C, and sections 75.351 through 75.353 of Subpart D, the
   requirements in Subpart C, Subpart D, and Subpart E do not apply to this program
   (reference 45 CFR Part 75 Subpart B, 75.101(d)).
   Fiscal control and accounting procedures - Fiscal control and accounting procedures
   must be sufficient to (a) permit preparation of reports required by the statute
   authorizing the block grant and (b) permit the tracing of funds to a level of expenditure
   adequate to establish that such funds have not been used in violation of the restrictions
   and prohibitions of the statute authorizing the block grant.
   Audits - Grantees and subgrantees are responsible for obtaining audits in
   accordance with the Single Audit Act Amendments of 1996 (31 U.S.C. 7501-7507)
   and revised OMB Circular A-133, “Audits of State, Local Governments, and Non-
   Profit Organizations.” The audits shall be made by an independent auditor in
   accordance with generally accepted Government auditing standards covering
   financial audits.
   Financial settlement - The State must repay to the Department amounts found
   after audit resolution to have been expended improperly. In the event that
   repayment is not made voluntarily, the Department will undertake recovery.
   5) Flow-down of requirements to sub-recipients
   The grantee, as the awardee organization, is legally and financially responsible for all
   aspects of this award including funds provided to sub-recipients, in accordance with 45
   CFR 75.351 75.353, Sub-recipient monitoring and management.
   6) Executive Pay
   The Consolidated Appropriations Act, 2021 (Public Law 116-260), signed into law on
   December 27, 2020 restricts the amount of direct salary to Executive Level II of the
   Federal Executive Pay scale. Effective January 3, 2021, the salary limitation for
   Executive Level II is $199,300.
   For awards issued prior to this change, if adequate funds are available in active awards,
   and if the salary cap increase is consistent with the institutional base salary, recipients
   may re-budget to accommodate the current Executive Level II salary level. However,
   no additional funds will be provided to these grant awards.
   7) Marijuana Restriction
   SAMHSA grant funds may not be used to purchase, prescribe, or provide
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   marijuana or treatment using marijuana. See, e.g., 45 C.F.R. 75.300(a)
   (requiring HHS to ensure that Federal funding is expended in full accordance
   with U.S. statutory and public policy requirements); 21 U.S.C. 812(c)(10) and
   841 (prohibiting the possession, manufacture, sale, purchase or distribution of
   marijuana).
   8) Anti-discrimination
   You must administer your project in compliance with federal civil rights laws that
   prohibit discrimination on the basis of race, color, national origin, disability, age and,
   in some circumstances, religion, conscience, and sex (including gender identity, sexual
   orientation, and pregnancy). This includes taking reasonable steps to provide
   meaningful access to persons with limited English proficiency and providing programs
   that are accessible to and usable by persons with disabilities. The HHS Office for Civil
   Rights provides guidance on complying with civil rights laws enforced by HHS. See
   https://www.hhs.gov/civil-rights/for-providers/provider-obligations/index.html and
   https://www.hhs.gov/civil-rights/for-individuals/nondiscrimination/index.html.
   • You must take reasonable steps to ensure that your project provides meaningful
   access to persons with limited English proficiency. For guidance on meeting your legal
   obligation to take reasonable steps to ensure meaningful access to your programs or
   activities by limited English proficient individuals, see https://www.hhs.gov/civil-
   rights/for-individuals/special-topics/limited-english-proficiency/fact-sheet-
   guidance/index.html and https://www.lep.gov.
   • For information on your specific legal obligations for serving qualified individuals
   with disabilities, including providing program access, reasonable modifications, and
   taking appropriate steps to provide effective communication , see
   http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html.
   • HHS funded health and education programs must be administered in an environment
   free of sexual harassment, see https://www.hhs.gov/civil-rights/for-individuals/sex-
   discrimination/index.html.
   • For guidance on administering your project in compliance with applicable federal
   religious nondiscrimination laws and applicable federal conscience protection and
   associated anti-discrimination laws, see https://www.hhs.gov/conscience/conscience-
   protections/index.html and https://www.hhs.gov/conscience/religious-
   freedom/index.html.
   9) System for Award Management (SAM)
   This award is subject to requirement set forth in 2 CFR 25.110
   Unless you are exempted from this requirement under 2 CFR 25.110, you, as the
   recipient, must maintain the currency of your information in the SAM, until you
   submit the final financial report required under this award or receive the final payment,
   whichever is later. This requires that you review and update the information at least
   annually after the initial registration, and more frequently if required by changes in
   your information or another award term. This requirement flows down to
   subrecipients and contractors under awards or subawards. SAM website: System for
   Award Management (SAM)

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   10) Federal Financial Accountability and Transparency Act (FFATA)
   Reporting Subawards and Executive Compensation, 2 CFR, Appendix A to Part
   170
   The Federal Funding Accountability and Transparency Act (FFATA) was signed on
   September 26, 2006.
   Unless you are exempt, you must report each action that obligates $25,000 or more in
   Federal funds. The FFATA Subaward Reporting System (FSRS) is the reporting tool
   federal prime awardees (i.e. prime contractors and prime grants recipients) must use to
   capture and report subaward and executive compensation data regarding their first-tier
   subawards to meet the FFATA reporting requirements. Prime contract awardees must
   report against sub-contracts awarded. Prime grant awardees will report against sub-
   grants awarded. The sub-award information you enter in FSRS will display
   on USASpending.gov associated with the prime award. This furthers federal spending
   transparency.
   You must report each obligating action to http://www.fsrs.gov
   11) Mandatory Disclosures
   Consistent with 45 CFR 75.113, applicants and recipients must disclose in a timely
   manner, in writing to the HHS Office of Inspector General (OIG), all information
   related to violations, or suspected violations, of Federal criminal law involving fraud,
   bribery, or gratuity violations potentially affecting the Federal award. Subrecipients
   must disclose, in a timely manner, in writing to the prime recipient (pass through
   entity) and the HHS OIG, all information related to violations, or suspected violations,
   of Federal criminal law involving fraud, bribery, or gratuity violations potentially
   affecting the Federal award. Disclosures must be sent in writing to the awarding
   agency and to the HHS OIG at the following addresses:
       U.S. Department of Health and Human Services Office of Inspector General
       ATTN: Mandatory Grant Disclosures, Intake Coordinator 330 Independence
       Avenue,
       SW, Cohen Building Room5527 Washington, DC 20201
       Fax: (202) 205-0604 (Include “Mandatory Grant Disclosures” in subject line) or
       email: MandatoryGranteeDisclosures@oig.hhs.gov
   Failure to make required disclosures can result in any of the remedies described in 45
   CFR 75.371 remedies for noncompliance, including suspension or debarment (see 2
   CFR parts 180 & 376 and 31 U.S.C. 3321).
   12) The Trafficking Victims Protection Act of 2000 (22 U.S.C. 7104(G)), as
   amended, and 2 C.F.R. PART 175
   The Trafficking Victims Protection Act of 2000 authorizes termination of financial
   assistance provided to a private entity, without penalty to the Federal government, if
   the recipient or subrecipient engages in certain activities related to trafficking in
   persons. SAMHSA may unilaterally terminate this award, without penalty, if a private
   entity recipient, or a private entity subrecipient, or their employees: a) Engage in
   severe forms of trafficking in persons during the period of time that the award is in
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   effect; b) Procure a commercial sex act during the period of time that the award is in
   effect; or, c) Use forced labor in the performance of the award or subawards under the
   award. The text of the full award term is available at 2 C.F.R. 175.15(b). See
   http://www.gpo.gov/fdsys/pkg/CFR-2012-title2-vol1/pdf/CFR-2012-title2-vol1-
   sec175-15.pdf.
   13) Drug-Free Workplace Requirements
   The Drug-Free Workplace Act of 1988 (41 U.S.C. 701 et seq.) requires that all
   organizations receiving grants from any Federal agency agree to maintain a drug-free
   workplace. When the AR signed the application, the AR agreed that the recipient will
   provide a drug-free workplace and will comply with the requirement to notify
   SAMHSA if an employee is convicted of violating a criminal drug statute. Failure to
   comply with these requirements may be cause for debarment. Government wide
   requirements for Drug-Free Workplace for Financial Assistance are found in 2 CFR
   part 182; HHS implementing regulations are set forth in 2 CFR part 382.400. All
   recipients of SAMHSA grant funds must comply with the requirements in Subpart B
   (or Subpart C if the recipient is an individual) of Part 382.
   14) Lobbying
   No funds provided under the attached Notice of Award (NoA) may be used by you or
   any sub-recipient under the grant to support lobbying activities to influence proposed
   or pending federal or state legislation or appropriations. The prohibition relates to the
   use of federal grant funds and is not intended to affect your right or that of any other
   organization, to petition Congress or any other level of government, through the use of
   other nonfederal resources. Reference 45 CFR Part 93.
   15) Accessibility Provisions
   Grant recipients of Federal financial assistance (FFA) from HHS must administer their
   programs in compliance with Federal civil rights law. This means that recipients of
   HHS funds must ensure equal access to their programs without regard to a person s
   race, color, national origin, disability, age, and in some circumstances, sex and
   religion. This includes ensuring your programs are accessible to persons with limited
   English proficiency. The HHS Office for Civil Rights also provides guidance on
   complying with civil rights laws enforced by HHS. Please see
   http://www.hhs.gov/ocr/civilrights/understanding/section1557/index.html. Recipients
   of FFA also have specific legal obligations for serving qualified individuals with
   disabilities. Please see
   http://www.hhs.gov/ocr/civilrights/understanding/disability/index.html. Please contact
   the HHS Office for Civil Rights for more information about obligations and
   prohibitions under Federal civil rights laws at https://www.hhs.gov/civil-
   rights/index.html or call 1-800-368-1019 or TDD 1-800-537-7697. Also note that it is
   an HHS Departmental goal to ensure access to quality, culturally competent care,
   including long-term services and supports, for vulnerable populations. For further
   guidance on providing culturally and linguistically appropriate services, recipients
   should review the National Standards for Culturally and Linguistically Appropriate
   Services in Health and Health Care at
   https://minorityhealth.hhs.gov/omh/browse.aspx?lvl=1&lvlid=6.

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   16) Audits
   Non-Federal recipients that expend $750,000 or more in federal awards during the
   recipient's fiscal year must obtain an audit conducted for that year in accordance with
   the provisions of 45 CFR 96.31.
   Recipients are responsible for submitting their Single Audit Reports and the Data
   Collections Forms (SF-FAC) electronically to the to the Federal Audit Clearinghouse
   Visit disclaimer page (FAC) within the earlier of 30 days after receipt or nine months
   after the FY s end of the audit period. The FAC operates on behalf of the OMB.
   For specific questions and information concerning the submission process: Visit the
   Federal Audit Clearinghouse at https://harvester.census.gov/facweb or Call FAC at the
   toll-free number: (800) 253-0696


   Reporting Requirements:
   Annual Report
   Reporting on the ARPA funding is required. After the end of each fiscal year, a FY
   annual report is required on December 31, until the funds expire, and states must
   upload a narrative report including activities and expenditures. States must prepare
   and submit their respective reports utilizing WebBGAS. Your assigned SABG
   Program Official will provide further guidance and additional submission information.
   Failure to comply with these requirements may cause the initiation of enforcement
   actions that can culminate in discontinuation of SABG grants.
   Federal Financial Report (FFR)
   The recipient is required to submit a Federal Financial Report (FFR) 90 days after the
   close of the performance period (project period). The SF-425 shall report total funds
   obligated and total funds expended by the grantee.
   Effective January 1, 2021, award recipients are required to submit the SF-425 Federal
   Financial Report (FFR) via the Payment Management System (PMS). If the individual
   responsible for FFR submission does not already have an account with PMS,
   please contact PMS to obtain access.
   Recipients must liquidate all obligations incurred under an award not later than ninety
   (90) days after the end of the award obligation and expenditure period (i.e., the project
   period) which also coincides with the due date for submission of the FINAL SF-425,
   Federal Financial Report (FFR). After ninety (90) days, letter of credit accounts are
   locked. SAMHSA does not approve extensions to the ninety (90) day post-award
   reconciliation/liquidation period. Therefore, recipients are expected to complete all
   work and reporting within the approved project period and the aforementioned 90-day
   post-award reconciliation/liquidation period. Recipients (late) withdrawal requests
   occurring after the aforementioned periods are denied. In rare instances, SAMHSA
   may approve an extension to submit a FINAL SF-425 FFR report, but this is not an
   extension of the 90-day post award reconciliation/liquidation period, but rather only an
   extension to submit the Final SF-425 report (FFR).


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Enclosure
[[Correspondence Token: 4a588c06-8180-4c17-9f99-07f8eb4c23a8]] -- Do not delete or change this
line. --
Please 'Reply All' and do NOT delete eracorrespondence@nih.gov from the list of recipients or
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